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                              UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON
                                      EUGENE DIVISION

WELLS FARGO BANK, N.A.,                           Case No.: ______________________
                 Plaintiff,                       COMPLAINT AND APPLICATION FOR
                                                  INJUNCTIVE RELIEF, INCLUDING
          v.                                      APPLICATION FOR PRELIMINARY
                                                  INJUNCTION
ANDREW G. CLARK,
                 Defendant.


          Plaintiff Wells Fargo Bank, N.A. hereby brings the following Complaint and Application

for Injunctive Relief, including Application for Preliminary Injunction, against defendant

Andrew G. Clark for his misappropriation of Wells Fargo’s trade secrets and confidential

customer information, and requests that the Court enter judgment against Clark for breach of

contract, misappropriation of trade secrets, and violation of the Computer Fraud and Abuse Act,
18 U.S.C. § 1030.
                                            PARTIES

     1.          Wells Fargo Bank, N.A. is a federally-chartered National Banking Association

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that is organized and exists under the National Banking Act. Its main office is in Sioux Falls,
South Dakota.

       2.       Upon information and belief, Clark is a citizen of the State of Oregon.
       3.       Beginning in September 2009 and until June 28, 2011, Clark worked in Oregon as

an employee of Wells Fargo.1
       4.       Clark’s last known home address is in Eugene, Oregon.
                                   JURISDICTION AND VENUE

       5.       This Court has jurisdiction of this matter under 28 U.S.C. § 1331 (federal subject
matter jurisdiction) because Wells Fargo brings claims arising under a federal statute, the

Computer Fraud and Abuse Act, codified at 18 U.S.C. § 1030(g).

       6.       The Court has jurisdiction over the remaining, state-law based causes of action
under 28 U.S.C. § 1367 (supplemental jurisdiction).
       7.       Finally, the Court also has independent jurisdiction over the subject matter of the

action pursuant to 28 U.S.C. § 1332, because the parties are diverse and the loss of goodwill to
Wells Fargo alone will greatly exceed $75,000.
       8.       The Court has personal jurisdiction over Wells Fargo because it conducts business
in this district and because it consents to jurisdiction of this Court for purposes of this action.
       9.       The Court has personal jurisdiction over Clark because he resides in Oregon, he
worked as an employee for Wells Fargo in Oregon, and the acts giving rise to the action occurred

in Oregon.
      10.       Venue is properly laid in this Court pursuant to 28 U.S.C. § 1391 because Clark is

a resident of the State of Oregon, a substantial part of the events giving rise to the claim occurred

in this judicial district, and Clark is subject to personal jurisdiction in this judicial district.
                              FACTS COMMON TO ALL CLAIMS



1   Clark was hired by Wells Fargo Home Mortgage, a division of Wells Fargo Bank, N.A.

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A.     Wells Fargo’s Confidential Trade Secrets and Customer Information.
     11.       Wells Fargo engages in a variety of financial services, including the origination
and servicing of residential mortgage loans.

     12.       In connection with its mortgage business, Wells Fargo acquires personal, non-

public financial and personal information from customers.

     13.       Wells Fargo has expended a great deal of time, effort, and resources to protect
such confidential information.

     14.       Wells Fargo maintains an Information Security Guidance Matrix, setting out
certain Wells Fargo policies regarding information security. The policy requires that all laptop
and desktop computers be encrypted.        It further requires that any confidential email sent
externally be encrypted, and that any restricted information sent via email be encrypted. The
policy forbids the sending of any Wells Fargo information to or from an employee’s home email

address. Only Wells Fargo-approved software may be used. These policies and/or procedures

were applicable to Clark.
     15.       Wells Fargo’s 2011 Team Member Handbook, which also applied to Clark,

contained an “Information Security Policy Overview,” which expressly prohibits “[p]osting
proprietary content in unapproved or personal websites, blogs, chat rooms, or other social media

websites.” That policy further required all employees to preserve consumer trust and business
integrity by protecting company and consumer information. The policy describes protections for
all non-public information, including consumer data, which would be classified as for “internal

use” only, confidential, or restricted. Employees are required to “take appropriate measures to

safeguard company and consumer information from inappropriate use, access, alteration,

disclosure, or destruction. The Information Security Policy Overview also instructed employees
that data “may not be copied or transmitted outside the company without a predefined business

need, and then only in an authorized manner.” It further provides that, “[u]pon termination of

employment, no team member shall remove, copy, or destroy such software or data from


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company systems.”
     16.          Clark received training on “Protecting Wells Fargo Information” in 2009 and

2010. Clark also signed an acknowledgement that he understood Wells Fargo’s Information
Security Policy, would read it, and was expected to abide by its provisions.

     17.          Wells Fargo’s Agreement Regarding Trade Secrets, Confidential Information,
Non-Solicitation, And Assignment of Inventions prohibits employees from unauthorized

disclosures or use of confidential information. Wells Fargo’s Information Security Policy also

prohibits such unauthorized disclosures.
B.     Clark’s Employment at Wells Fargo and Clark’s Agreements with Wells Fargo as to
       the Confidentiality of Certain Information.

     18.          Clark began working for Wells Fargo in Eugene, Oregon, on or about

September 1, 2009, as a Home Mortgage Consultant.
     19.          On September 10, 2009, Clark executed an “Employment Agreement” with Wells
Fargo. That agreement contains a section entitled “Confidential and Proprietary Information,” in

which Clark promised and agreed, inter alia, as follows:
           (a)    Employee [Clark] agrees that all file materials and information of
           Employer [Wells Fargo], including, but not limited to loans, accounts, contracts,
           data, records, appraisals and comparable appraisals, financial information,
           software, customer leads and lists developed and/or delivered to Employee by
           Employer, product information, strategic business plans, business methodology
           and processes, and cost and pricing policies are confidential and proprietary
           information (hereinafter “INFORMATION”) and the sole property of Employer.
           All INFORMATION shall remain the property of Employer, even if Employee
           terminates his/her employment, whether voluntarily or involuntarily. Upon notice
           of termination, Employee’s physical taking or removal of the actual file materials
           and/or INFORMATION including but not limited to loan files, from Employer’s
           premises shall be a material breach of this Agreement.
           (b)     Employee further agrees to: 1) maintain the INFORMATION in
           confidence; 2) use an appropriate degree of care to maintain the INFORMATION
           as secret; 3) use the INFORMATION only in the course of his/her employment
           with Employer; and 4) deliver to Employer all notes, copies, packages, computer
           discs/drives/storage and all other materials containing any portion of the
           INFORMATION at Employer’s request.
Clark’s Employment Agreement, Exhibit 1, ¶ 6.


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    20.           Wells Fargo provided Clark with a laptop computer for use in his employment;
his Employment Agreement contained the following provision regarding that computer:

          Lap-Top Computer: Upon commencement of employment, employees in
          certain job classifications may be issued a lap-top model computer. Such
          computer and all software therein is the property of Employer and is intended for
          business use only. Employee agrees to abide by all of Employer’s policies and
          procedures regarding the use of the lap-top computer, as more fully set forth in
          the Wells Fargo Home Mortgage Laptop Policies and Procedures. Employee also
          agrees to reimburse Employer one hundred percent (100%) for any and all loss or
          damage to the computer. By his/her signature on this Agreement, Employee
          agrees that Employer may withhold the replacement cost of the laptop computer
          from any compensation due to Employee. However, Employer shall not be
          prohibited from making a claim against Employee to recover any amount due
          Employer by Employee, whether or not Employee is due sufficient compensation
          for Employer to recover any amount due Employer by Employee. In exchange
          for authority to receive from and use computer software of Employer, Employee
          agrees to cease using and return all copies of any software provided by Employer
          upon Employee’s termination of employment for any reason.
Exhibit 1, ¶ 9.
    21.           On September 10, 2009, Clark also executed the Wells Fargo Agreement

Regarding Trade Secrets, Confidential Information, Non-Solicitation, and Assignment of
Inventions (the “Confidentiality Agreement”). In the Confidentiality Agreement, Clark promised

and agreed, inter alia, as follows:
          During the course of my employment I may acquire knowledge of the Company’s
          Trade Secrets and other proprietary information relating to its business methods,
          personnel, and customers (collectively referenced as “Confidential Information.”)
          *                                        *                                          *
          The Company’s Trade Secrets include but are not limited to, the following:
          ◦       the names, address, and contact information of the Company’s customers
          and prospective customers, as well as any other personal or financial information
          relating to any customer or prospect, including, without limitation, account
          numbers, balances, portfolios, maturity dates, loans, policies, investment activities
          and                                                                      objectives;
          ◦       any information concerning the Company’s operations, including without
          limitation, information related to its methods, services, pricing, finances,
          practices, strategies, business plans, agreements, decision-making, systems,
          technology, policies, procedures, marketing, sales, techniques and processes;
          *                                        *                                          *
          I agree that Confidential Information of the Company is to be used by me solely
          and exclusively for the purpose of conducting business on behalf of the Company.
          I am expected to keep such Confidential Information confidential and not to
          divulge or disclose this information except for that purpose. If I resign or am
          terminated from my employment for any reason, I agree to immediately return to
          the Company all Records and Confidential Information, including information

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          maintained by me in my office, personal electronic devices, and/or at home.
Clark’s Confidentiality Agreement, Exhibit 2, Section II.

    22.          As a Home Mortgage Consultant, Wells Fargo provided Clark with access to
and/or facilitated his access to personal, non-public financial information of the Wells Fargo

customers whose loan applications he handled. Wells Fargo would not have provided Clark with
this information or facilitated his receipt of such information, but for his execution of the

Employment Agreement and the Confidentiality Agreement.

    23.          On June 2, 2011, Clark was formally disciplined by Wells Fargo for inappropriate
and unprofessional behavior in the workplace. The discipline related, in part, to Clark’s misuse

of Wells Fargo’s email systems.
    24.          Between June 7 and 9, 2011, Clark sent non-work-related emails to multiple

employees at Wells Fargo. Some of those non-work-related emails concerned subjects that were
inappropriate for the workplace, such as the “Bovine Freedom Movement,” Che Guevara,

“Arabs,” the enslavement of African-Americans, “genocide and burning,” and the history of
stagecoaches and horses. On June 7, 2011, Elise Reiser, of Wells Fargo’s Human Resources
department, advised Clark that his emails violated provisions of Wells Fargo’s employee

handbook and its policy regarding electronic communications. She explained that such material
was “not relevant to [his] job at Wells Fargo,” and informed Clark that he “should not be

utilizing Wells Fargo’s electronic systems for these types of communications.”
    25.          Despite the warnings during the month of June 2011, Clark continued to send

inappropriate emails or forward emails to Ms. Reiser and other Wells Fargo employees,

including emails about the “Bovine Freedom Movement,” Jesus Christ, Judaism, and the Lord’s
Prayer.

    26.          On June 27, 2011, Ms. Reiser contacted Clark to, among other issues, direct him

to stop sending such personal emails in violation of Wells Fargo policies and her previous

instructions. Clark yelled at Ms. Reiser in response, “I don’t have to do shit. I am going to


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fucking court.”
     27.       As a result of Clark’s repeated unprofessional conduct, Wells Fargo advised Clark

on June 28, 2011, that his employment was terminated.
C.      Early August 2011: Wells Fargo Becomes Aware that Clark Is Maintaining a
        Website on Which He Has Posted Confidential Information.

     28.       Wells Fargo issued Clark a laptop computer at the commencement of his
employment for exclusive use in connection with his job duties as a Home Mortgage Consultant.

On or about the day of Clark’s termination, June 28, 2011, Wells Fargo requested that the laptop
immediately be returned to the Company consistent with stated policy. Clark did not return the
laptop. Thereafter, counsel for Wells Fargo reiterated the request on July 22, 2011. It was not
until August 1, 2011, that two unidentified individuals dropped the laptop off at Clark’s former

work location in Eugene, Oregon.      The laptop, which came wrapped in a paper bag, was

seriously damaged. The laptop could not be opened and every portal on the laptop appeared
compromised.
     29.       Wells Fargo is in the process of retaining a computer forensic specialist to
determine the extent of damage to the computer’s hard drive, whether any external drives were

inappropriately attached to the computer, and whether any confidential or proprietary data was

downloaded or scrubbed from the laptop.
     30.       On or about August 2, 2011, the website www.wfopsreport.com, entitled “Wells

Fargo Homepage Crimepage,” came to Wells Fargo’s attention. See Exhibit 3, home page of
www.wfopsreport.com, (last visited August 4, 2011). Wells Fargo alleges, on information and

belief, that www.wfopsreport.com is maintained by Clark, because a number of documents

posted on that site claim to have been authored by him, the website contains a notarized copy of
a statement signed by Clark, and because Clark has sent Wells Fargo employees and the

undersigned counsel emails originating from the address “aclark@wfopsreport.com,” which

shares a domain name with the “Wells Fargo Homepage Crimepage.” Wells Fargo further


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alleges, on information and belief, that the website was created on or around July 14, 2011, well
after Clark was terminated from his employment at Wells Fargo, but before he remitted the

laptop to Wells Fargo on August 1, 2011. Wells Fargo further alleges, on information and belief,
that Clark transmitted confidential and proprietary bank information and financial records from

his Wells Fargo-issued laptop or preserved information found on his Wells Fargo-issued laptop
to www.wfopsreport.com or to another computer and then to www.wfopsreport.com.

    31.        As of July 14, 2011, Clark was not employed by Wells Fargo, but was

contractually required to protect the confidentiality of personal, non-public financial information
of Wells Fargo customers, as well as other proprietary information protected under his

Employment Agreement and Confidentiality Agreement.
    32.        When Wells Fargo accessed “www.wfopsreport.com,” on August 2, 2011, it

discovered that it contained links to documents, consisting of hundreds of pages, some of which
contained private customer information, including Wells Fargo customers’ names, addresses,

details of loans for which customers had applied, and other information protected by Clark’s
Employment Agreement and Confidentiality Agreement.
    33.        On August 3, 2011, counsel for Wells Fargo emailed, overnight-mailed, and hand

delivered to Clark a letter demanding that he remove from www.wfopsreport.com: (1) all
personal, non-public financial information of Wells Fargo customers; and (2) all other

information protected under his Employment Agreement and Confidentiality Agreement. Wells
Fargo demanded that Clark do so by 3:00 p.m. on August 4, 2011. As of the time this document

was filed, Clark had failed to remove the confidential information from the website.

    34.        In its August 3, 2011, correspondence, Wells Fargo further demanded return of all
information protected under Clark’s Employment Agreement and the Confidentiality Agreement.

As of the time this document was filed, Clark had not returned that information to any

representative of Wells Fargo.




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D.     Immediate and Irreparable Harm to Wells Fargo.
     35.        The information which Clark has misappropriated includes, at least, non-public,
confidential financial information of Wells Fargo’s customers.

     36.        The dissemination of this information will cause immediate injury to Wells

Fargo’s customers and to Wells Fargo’s goodwill.

     37.        Although Wells Fargo is entitled to an award of compensatory damages in the
form of money, such award will be inadequate to compensate Wells Fargo for its loss of

goodwill.
     38.        Neither Clark nor any third party has any right to receive or use this confidential
information.
     39.        The return of this information will leave Clark or any third party no worse off
than they were before the misappropriation.

     40.        The public interest will be served by preventing the unauthorized disclosure of

personal, non-public, and confidential financial information of Wells Fargo’s customers.
                                  FIRST CAUSE OF ACTION

                                     INJUNCTIVE RELIEF

     41.        Wells Fargo hereby realleges and incorporates by reference the allegations

contained in paragraphs 1-40 as if set forth in full herein.

     42.        By virtue of the foregoing, Wells Fargo has demonstrated: (1) a likelihood of
success on the merits; (2) that Wells Fargo would be irreparably injured in the absence of

injunctive relief; (3) that a balancing of the equities favors the issuance of an injunction against
Clark; and (4) that the public interest favor the issuance of an injunction against Clark.

     43.        Unless Clark is: (1) temporarily and permanently enjoined from using the

confidential information he has misappropriated; (2) temporarily and permanently enjoined from

disclosing to any third party Wells Fargo’s trade secrets and confidential information; and
(3) required immediately to account for and return to Wells Fargo the trade secrets and

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confidential information he has misappropriated, Wells Fargo will suffer irreparable harm.
    44.       Wells Fargo is entitled to and seeks:

       a) A temporary and permanent injunction ordering that:
              1.      Clark and all others who are in active concert or participation with Clark

                      shall be immediately ENJOINED from directly or indirectly using or
                      disclosing to any third parties Wells Fargo’s trade secrets and confidential

                      information, specifically including, but not limited to, any information

                      concerning current or former customers of Wells Fargo or any Wells
                      Fargo subsidiaries. This includes removing Wells Fargo’s trade secrets

                      and confidential information, specifically extending to, but not limited to,
                      any information concerning current or former customers of Wells Fargo or

                      any Wells Fargo subsidiaries, from any public forum, including any
                      website, on which Clark has posted or otherwise disseminated this

                      confidential information.
              2.      Clark shall identify, in writing to Wells Fargo, all of Wells Fargo’s trade
                      secrets and confidential information in his possession, custody, or control,

                      specifically including, but not limited to, any information concerning
                      current or former customers of Wells Fargo or any Wells Fargo

                      subsidiaries.
              3.      Clark shall disclose to Wells Fargo, in writing, the identity of any person,

                      entity, or destination, including but not limited to, internet websites to

                      which Clark transmitted, posted, or communicated Wells Fargo’s trade
                      secrets and confidential information, specifically including, but not limited

                      to, any information concerning current or former customers of Wells

                      Fargo or any Wells Fargo subsidiaries.




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               4.      Clark shall immediately return to Wells Fargo the originals and all copies
                       of paper documents containing or constituting Wells Fargo’s trade secrets

                       and confidential information, specifically including, but not limited to, any
                       information concerning current or former customers of Wells Fargo or any

                       Wells Fargo subsidiaries.
               5.      Clark shall preserve, without disseminating or altering, all electronic files

                       containing or constituting Wells Fargo’s trade secrets and confidential

                       information, specifically including, but not limited to, any information
                       concerning current or former customers of Wells Fargo or any Wells

                       Fargo subsidiaries, that are stored on any electronic storage device in his
                       possession, custody, or control.

               6.      Wells Fargo is granted leave to commence discovery immediately in aid
                       of preliminary injunction proceedings before the Court;

               7.      The requirement of Wells Fargo to post a bond be waived;
       b) Reimbursement for its costs, expenses and attorney’s fees; and
       c) That the Court award such other and further relief as the Court deems just and

           reasonable.
                                 SECOND CAUSE OF ACTION

                         MISAPPROPRIATION OF TRADE SECRETS

    45.        Wells Fargo hereby realleges and incorporates by reference the allegations

contained in paragraphs 1-40 as if set forth in full herein.

    46.        The information concerning Wells Fargo’s customers and their loan applications
constitutes a trade secret and is protected pursuant to Oregon Revised Statutes Section 646.463.

This information:




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               1.      Derives independent economic value, actual or potential, from not being
                       generally known to the public or to other persons who can obtain

                       economic value from its disclosure or use; and
               2.      Is the subject of efforts that are reasonable under the circumstances to

                       maintain its secrecy.
    47.        Clark acquired his knowledge of the aforesaid information in the course of a

confidential relationship.

    48.        Clark disclosed the aforesaid information without Wells Fargo’s express or
implied consent and/or without its customers’ express or implied consent, despite the fact that

Clark knew or had reason to know that his knowledge of the information was acquired under
circumstances giving rise to a duty on Clark’s part to maintain its secrecy or limit its use.

    49.        Clark disclosed the aforesaid information even though he owed a duty to Wells
Fargo and to Wells Fargo’s customers to maintain its secrecy or limit its use. Clark’s use and

disclosure of that information constitutes a breach of Clark’s Employment Agreement and
Confidentiality Agreement with Wells Fargo.
    50.        Clark’s continued use and dissemination of Wells Fargo’s trade secrets is in bad

faith, particularly after August 3, 2011, on which date he received notice that his actions
constituted a breach of his Employment Agreement and Confidentiality Agreement.

    51.        Wells Fargo has suffered and will suffer injury as a result of Clark’s
misappropriation of Wells Fargo’s trade secrets and confidential information.

    52.        Money damages will not adequately compensate Wells Fargo for its injury.

    53.        Wells Fargo requests that the Court enter judgment in its favor against Clark on
its claim of misappropriation of trade secrets and award it: (1) compensatory damages in an

amount to be proven at trial; (2) injunctive relief as described in Wells Fargo’s first cause of

action; (3) attorney’s fees pursuant to Oregon Revised Statute Section 646.467; and (4) such

other and further relief as the Court deems just and proper.


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                                  THIRD CAUSE OF ACTION

                 BREACH OF CONTRACT – SPECIFIC PERFORMANCE

    54.        Wells Fargo hereby realleges and incorporates by reference the allegations
contained in paragraphs 1-40 as if set forth in full herein.

    55.        Clark has willfully, intentionally, in bad faith, and in gross violation of express
contractual provisions and accepted standards of business ethics and integrity, breached both his

Employment Agreement and his Confidentiality Agreement by misappropriating confidential
information and disclosing it to third parties.

    56.        As a direct and proximate result of Clark’s actions, Wells Fargo has suffered and

is suffering injury including, among other things, threats to the integrity of its trade secrets and
confidential information, loss of goodwill and business reputation, present and future economic
loss, and other irreparable damages for which it has no adequate remedy at law.
    57.        Wells Fargo requests that the Court enter judgment in its favor against Clark on

its cause of action for breach of contract and specifically enforce such contract by, among other

things, issuing temporary and permanent injunctions as described in Wells Fargo’s first cause of
action.
                                 FOURTH CAUSE OF ACTION

                           BREACH OF CONTRACT – DAMAGES

    58.        Wells Fargo hereby realleges and incorporates by reference the allegations
contained in paragraphs 1-40 as if set forth in full herein.

    59.        Wells Fargo seeks damages against Clark for breach of contract.

    60.        Clark has willfully, intentionally, in bad faith, and in gross violation of express
contractual provisions and accepted standards of business ethics and integrity, breached both his

Employment Agreement and his Confidentiality Agreement by misappropriating confidential

information and disclosing it to third parties.

    61.        As a direct and proximate result of Clark’s actions, Wells Fargo has suffered and

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is suffering injury including, among other things, threats to the integrity of its trade secrets and
confidential information, loss of goodwill and business reputation, present and future economic

loss, and other irreparable damages for which it has no adequate remedy at law.
    62.        Wells Fargo requests that the Court enter judgment in its favor against Clark on

its claim of breach of contract and award it: (1) compensatory damages in an amount to be
proven at trial; (2) its costs, expenses, and attorney’s fees; and (3) such other and further relief as

the Court deems just and proper.
                                   FIFTH CAUSE OF ACTION

                VIOLATION OF THE COMPUTER FRAUD & ABUSE ACT

                                     (18 U.S.C. § 1030, et seq.)

    63.        Wells Fargo hereby realleges and incorporates by reference the allegations
contained in paragraphs 1-40 as if set forth in full herein.

    64.        The Computer Fraud and Abuse Act is codified at 18 U.S.C. Section 1030, et seq.
It makes it a violation of the law to “intentionally accesses a computer without authorization or

[to] exceed[] authorized access, and thereby obtain[]” “information contained in a financial
record of a financial institution,” or “information from any protected computer.”
    65.        Wells Fargo is a financial institution under the meaning of 18 U.S.C. Section

1030(e)(4), because it is a member of the Federal Deposit Insurance Corporation, and deposits
are insured by the Federal Deposit Insurance Corporation. Clark’s laptop and other computer

systems to which he had access at Wells Fargo were protected computers involved in interstate

or foreign communications.
    66.        Wells Fargo has a private right of action under the Computer Fraud and Abuse

Act pursuant to Section 1030(g), which provides that “[a]ny person who suffers damage or loss
by reason of a violation of this section may maintain a civil action against the violator to obtain

compensatory damages and injunctive relief or other equitable relief” if the conduct “involves 1

of the factors set forth in subclauses (I), (II), (III), (IV), or (V).” of Section 1030(c)(4)(A)(i).

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Under Section 1030(a)(4)(A)(i)(I), a civil action may be maintained upon a showing of a “loss to
1 or more persons during any 1-year period . . . aggregating at least $5,000 in value.”

    67.        Upon information and belief, Clark acquired some of Wells Fargo’s customer
information, trade secret information, or other information or property owned by Wells Fargo by

intentionally accessing, without Wells Fargo’s authorization, a protected computer owned by
Wells Fargo, through which Wells Fargo provides electronic communication service to its

employees and authorized users throughout the United States and worldwide, and on which

Wells Fargo stored the confidential customer information, trade secret information, or other
information or property, both temporarily incidental to the electronic transmission thereof and

for purposes of archiving and backup protection of such information and communications. On
information and belief, Clark wrongfully obtained some of the confidential customer information

and trade secret information while that information was stored on Wells Fargo’s systems.
    68.        Upon information and belief, by his foregoing actions, Clark intentionally

exceeded any authorized access to Wells Fargo’s protected computers and/or engaged in
unauthorized access to Wells Fargo’s protected computers, and thereby obtained protected
information and other electronic information stored on Wells Fargo’s computers involved in

interstate or foreign communication.
    69.        Upon information and belief, by his foregoing actions, Clark intentionally

accessed Wells Fargo’s protected computers without authorization, and as a result of such
conduct, caused and is causing, or recklessly caused and is causing, damage and loss to Wells

Fargo that exceeds $5,000 in value. Specifically, Wells Fargo has suffered loss in that it was

forced to engage legal counsel in responding to the offense, will incur significant cost in
retaining a forensic expert to conduct a damage assessment and to restore the data, program,

system or information on the laptop to its condition prior to Clark’s offense. Furthermore,

Clark’s conduct has exposed Wells Fargo to potential violation of the Gramm-Leach-Bliley Act

(a violation of which may carry substantially monetary penalties) and claims by Wells Fargo


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customers under that Act.
        70.       The actions of Clark constitute violations of the Computer Fraud and Abuse Act.

        71.       Wells Fargo requests that the Court enter judgment in its favor against Clark on
its claim of violation of the Computer Fraud and Abuse Act and award it: (1) compensatory

damages in an amount to be proven at trial; (2) its costs, expenses, and attorney’s fees; and
(3) such other and further relief as the Court deems just and proper.
                                      PRAYER FOR RELIEF

WHEREFORE, plaintiff Wells Fargo requests that the Court enter judgment:
        1. In favor of Wells Fargo and against defendant Clark on Causes of Action One through

Five;
        2. Enjoining and restraining Clark from any further violations of his contractual and

common law duties not to misappropriate trade secrets and confidential information of Wells
Fargo, consisting of at least confidential customer information;

        3. Ordering Clark to remove from the www.wfopsreport.com website (and any other public
forum) any trade secrets and confidential information of Wells Fargo, consisting of at least

confidential customer information;
        4. Ordering Clark to account for and return all copies of trade secret and confidential
information he has misappropriate from Wells Fargo;

        5. Awarding damages to Wells Fargo for Clark’s breach of his contractual and common law

duties not to misappropriate its trade secrets or confidential information;
         6.       Awarding damages to Wells Fargo on the basis alleged in the Complaint;

         7.       Awarding Wells Fargo pre-judgment and post-judgment interest;

         8.       Awarding Wells Fargo its costs, expenses, and attorney’s fees;




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      9.         Awarding Wells Fargo such other and further relief as the Court deems just and
reasonable.

           Dated: August 5, 2011.

                                             OGLETREE, DEAKINS, NASH, SMOAK &
                                             STEWART, P.C.

                                             By:    /s/ Leah C. Lively
                                                     Leah C. Lively, OSB No. 962414
                                                     leah.lively@ogletreedeakins.com
                                                     503.552.2140
                                                     Attorneys for Plaintiff Wells Fargo Bank,
                                                     N.A.

10736108.2 (OGLETREE)




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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF OREGON

                              EUGENE DIVISION


WELLS FARGO BANK, N.A.;

                      Plaintiff,                 Case No. 6:11-cv-06248-HO

                             v.                  ORDER

ANDREW G. CLARK;

                Defendant.


                                  Introduction

     Currently before the court are: defendant's (Clark): Motion for

Separate Trial [#102], Motion to Refer [#103]; Motion to Enter Audio

Recording [#116]; Motion to Enter Correspondence [#117]; Motions to

Compel [#118; #119; #130]; Motion to Unseal [#124]; and Motion to

Suspend [#131] and plaintiff's (Wells Fargo) Motion for Summary

Judgment and for Entry of Permanent Injunction [#105]; and Second

Motion for Contempt [#113].

                             Background Summary

     Plaintiff, Wells Fargo, employed defendant Clark as a Home


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Mortgage Consultant from September 1, 2009, until he was terminated

for "repeated unprofessional conduct" on June 28, 2011.            [#1-pp.4-

5].    Defendant subsequently launched a website which publicly

disclosed some of plaintiff's trade secret and confidential

information.

       Plaintiff filed a Motion for a Temporary Restraining Order

which the court granted on August 10, 2011.         [#10]. After oral

argument on August 22, 2011, the court granted plaintiff's Motion

for Preliminary Injunction which, inter alia, enjoined defendant

from further disclosure of plaintiff's trade secret and confidential

information and ordered him to return any and all documents

containing plaintiff's trade secrets and confidential information.

[ #23] .

       On November 3, 2011, plaintiff filed a Motion for Contempt

[#32], which was denied in part and granted in part- both at oral

argument and in a written order, the court warned defendant that he

was prohibited from re-posting any confidential material and must

limit his communications to plaintiff's law firm in Portland,

keeping those to a strictly professional tone.          [#72].

                                  Discussion

       1.   Plaintiff's Motion for Summary Judgment and Permanent
            Injunction [#105] :

       Plaintiff moves for summary judgment on its First 1 ,      Second 2 and


              Plaintiff's First cause of action seeks injunctive
                                                          (continued ... )

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Third 3 causes of action and requests that the court issue an order

making permanent the existing preliminary injunction.           [#105].

      a) Legal Standard for Summary Judgment

      Summary judgment may be granted if the pleadings show that

there is no genuine issue as to any material fact and that the

moving party is entitled to a judgment as a matter of law.            See

Fed.R.Civ.P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317,

322 (1986).      All justifiable inferences must be viewed in the light

most favorable to the nonmoving party.        Matsushita,   475 U.S. at 587.

      However, the non-moving party may not rest upon the mere

allegations or denials of his pleadings, but must produce specific

facts, as provided by Rule 56(e), showing there is a genuine issue

for trial.      Anderson v. Liberty Lobby, Inc.,    477 U.S. 242, 256

( 1986) .     "[U]ncorroborated and self-serving testimony," without

more, will not create a "genuine issue" of material fact precluding


      1
     ( • • • continued)
relief enjoining defendant from using or disclosing the
confidential information he misappropriated, requiring that he
identify the trade secrets and confidential information in his
possession and those to whom he had disclosed that material;
ordering him to return all originals and copies of the material
and preserve all electronic files that contained any confidential
material or trade secrets. [ # 1-pp. 9-11] .
          2
           Plaintiff's second cause of action seeks declaratory
 judgment against defendant on plaintiff's claim of
 misappropriation of trade secrets and an award of compensatory
 damages and attorney fees. [#1-pp.11-12].
          3
           Plaintiff's third cause of action seeks declaratory
 judgment against defendant for breach of contract and an order
 enforcing specific performance of the contract. [#1-p.13].

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summary judgment. Villiarimo v. Aloha Island Air, Inc., 281 F.3d

1054, 1061 (9th Cir.2002).       Summary judgment shall not be granted if

a reasonable jury could return a verdict for the nonmoving party.

Anderson, 477 U.S. at 248.

     While pro se litigants are not held to the same standard as

attorneys, a pro se litigant is not entirely immune from the civil

rules of procedure.     King v. Atiyeh, 814 F.2d 565, 567     (9th

Cir.1987).    Although the court must construe the pleadings

liberally, pro se litigants must follow the same rules of procedure

that govern other litigants.       Ghazali v. Moran,   46 F.3d 52, 54    (9th

Cir.1995)    ("Although we construe pleadings liberally in their favor,

pro se litigants are bound by the rules of procedure.").         Because

this is a motion for summary judgment which if granted will dismiss

the action, the court has given defendant notice as required under

Rand v. Rowland, 113 F.3d 1520, 1525 (9th Cir 1987) overruled on

other grounds 154 F.3d 952       (9th Cir. 1998) (en bane).

     lQl     Undisputed Facts:

     The following undisputed facts are gleaned from the pleadings

and previous testimony:

     (1)     Defendant worked for plaintiff from September 1, 2009

until plaintiff terminated his employment on June 28, 2011.

     (2)     Upon beginning his employment with plaintiff, defendant

executed an employment agreement with plaintiff which contained a




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section entitled "Confidential and Proprietary Information 4 . "

         (3)   At that same time, defendant also executed an agreement

with plaintiff regarding trade secrets and confidential information

in which he agreed to use the confidential information "solely and

exclusively for the purpose of conducting business on behalf of the

Company.".      [ #106-pp. 3-4; #4-Ex. 2] .

         (4)   Defendant was formally disciplined by plaintiff for misuse

of Wells Fargo's email systems and unprofessional behavior in the

workplace beginning on June 2, 2011 and continuing through June up

to and including his termination on June 28, 2011.             [#106-pp.4-5;

# 4] .



            The clause stated:
       (a) Employee [Clark] agrees that all file materials and
 information of Employer [Wells Fargo], including, but not limited
 to loans, accounts, contracts, data, records, appraisals and
 comparable appraisals, financial information, software, customer
 leads and lists developed and/or delivered to Employee by
 Employer, product information, strategic business plans, business
 methodology and processes, and cost and pricing policies are
 confidential and proprietary information (hereinafter
 "INFORMATION") and the sole property of Employer. All
 INFORMATION shall remain the property of Employer, even if
 Employee terminates his/her employment, whether voluntarily or
 involuntarily.   Upon notice of termination, Employee's physical
 taking or removal of the actual file materials and/or
 INFORMATION, including but not limited to loan files, from
 Employer's premises shall be a material breach of this Agreement.
       (b) Employee further agrees to: 1) maintain the INFORMATION
 in confidence; 2) use an appropriate degree of care to maintain
 the INFORMATION as secret; 3) use the INFORMATION only in the
 course of his/her employment with Employer; and 4) deliver to
 Employer all notes, copies, packages, computer
 discs/drives/storage and all other materials containing any
 portion of the INFORMATION at Employer's request.
  [#106-p.3; #4-Ex1-~II].

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     (5)     Immediately following his termination, defendant filed a

whistle-blowing complaint with the Department of Labor which was

dismissed on August 9, 2012.                 [#107-Ex. 3].

     (6)    On or about August 2, 2011, plaintiff became aware of

defendant's website 5 entitled Wells Fargo Homepage Crimepage which

contained links to documents containing private customer information

including Wells Fargo customer names, addresses, loan numbers and

other confidential information.                 [ #3-Ex. 4] •

     (7)    The court issued a temporary restraining order on August

10, 2011.    [#10]

     (8)    Defendant temporarily removed the confidential information

but did not comply with the rest of the court's order requiring him

to return plaintiff's documents and disclose the identity of the

persons and websites to whom he communicated the confidential

information .   [ # 1 0 6- p p . 7 - 8 ] .

     (9) As a result, plaintiff sought a preliminary injunction

which, after oral argument by both parties, the court granted on

August 23, 2011.         [ #23] .

     (10)    By September 9, 2011, defendant had removed all of the

confidential information from his website.                      [#35-<][6].

     (11)   On October 11, 2011, plaintiff discovered that defendant

had re-posted all of the information subject to the preliminary



      5
           At oral argument defendant admitted that he created and
 maintained this website.

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injunction and specified in plaintiff's September 13, 2011, letter

to defendant.    [#107-Ex.4 Lively Decl III].

     (12)    On November 3, 2011, plaintiff filed a Motion for

Contempt and Order requiring defendant to comply with standards of

professionalism in all communications.       [#32].

     (13)   In light of defendant's prose status the court denied

plaintiff's Motion for Contempt however, defendant was sternly

admonished by the court both orally and in the court's written

order.     [#70; #72].

     (14)   Defendant has recently resumed sending inappropriate and

offensive emails, letters and faxes to plaintiff's counsel, to his

former manager and to other clients and offices of plaintiff's

counsel.

     ~      Permanent Injunction:

     To be entitled to a permanent injunction, the party seeking the

injunction must actually succeed on the merits. Amoco Prod. Co. v.

Village of Gambell, 480 U.S. 531, 546 n.12      (1987).   The party must

also show that there is no adequate remedy at law.        Continental

Airlines v. Intra Brokers, Inc., 24 F.3d 1099, 1102 (9th Cir.1994).

If there is the possibility of future wrongful conduct, a legal

remedy is inadequate.     Orantes-Hernandez v. Thornburgh,     919 F.2d

549, 564 (9th Cir.1990).

     In seeking a permanent injunction, Wells Fargo must

demonstrate:    ( 1) that it has suffered an irreparable injury;     ( 2)


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that remedies available at law, such as monetary damages, are

inadequate to compensate for that injury;         (3) that, considering the

balance of hardships between the plaintiff and defendant, a remedy

in equity is warranted; and (4) that the public interest would be

served by a permanent injunction.         eBay Inc. v. MercExchange, LLC.,

547   u.s.   388, 391 (2006).     The decision to grant or deny permanent

injunctive relief is within the equitable discretion of the district

court. Id.

        Protected trade secrets are defined by state law as:

         "information, including a drawing, cost data, customer list,
        formula, pattern, compilation, program, device, method,
        technique or process that:
              (a) Derives independent economic value, actual or
        potential, from not being generally known to the public or to
        other persons who can obtain economic value from its disclosure
        or use; and
              (b) Is the subject of efforts that are reasonable under
        the circumstances to maintain its secrecy.

ORS 646.461 (4).

        I find that the confidential information at issue in this

matter are protected trade secrets.         IKON Office Solutions v.

American Office, 178 F.Supp.2d 1154, 1167         (D.Or.2001), aff'd,       61

Fed.Appx. 378     (9th Cir.2003) (list of customers can constitute a

trade secret); see also 15 U.S.C. §§6801-09 (Gramm Leach Bliley

Act).    There is no genuine issue of material fact regarding

defendant's misuse of plaintiff's trade secrets or his breach of his

employment contracts - his employment agreement and his

confidentiality agreement.


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     A financial institution is legally prohibited from disclosing

nonpublic personal information to a non-affiliated third party.               15

u.s.c.   §6802.   Such disclosure may subject the financial institution

to enforcement actions under subtitle B of the Consumer Financial

Protection Act of 2010, by the Bureau of Consumer Financial

Protection, the Federal functional regulators, the State insurance

authorities, and the Federal Trade Commission.        15   u.s.c.   §6805.

Defendant's publication of confidential customer information

therefore not only exposed plaintiff to adverse enforcement

action(s) but also to loss of reputation and customer good will.

     Defendant has clearly demonstrated an unwillingness to cease

his website publications even after this suit was filed and a

preliminary injunction was issued.      Absent permanent injunctive

relief, plaintiff would be forced to repeatedly file suit every time

defendant republishes this confidential information.          Continental

Airlines, Inc. v. Intra Brokers, Inc., 24 F.3d 1099, 1104-05 (9th

Cir.1994) ("the multiplicity of suits necessary to be engendered if

redress was sought at law, all establish the inadequacy of a legal

remedy and the necessity for the intervention of equity").

     Furthermore, the balance of hardships weighs strongly in

plaintiff's favor.     Defendant has no legitimate interest in

publishing the confidential information.       I find that without

permanent injunctive relief, plaintiff will suffer irreparable harm

to both it's reputation and it's consumers' privacy as a result of


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defendant's continued publication of confidential customer

information.    Thus, the public interest is well served by the

issuance of a permanent injunction preventing such misappropriation

and publication.     T-Mobile, USA, Inc., v. Terry, 2012 WL 1409287,

*10   (2012).

      For the reasons stated above, the following permanent

injunction is therefore entered:

      1.   Defendant Clark, and all others in active concert or

participation with him and who received actual notice of this

Preliminary Injunction, are permanently enjoined from directly or

indirectly using or disclosing to any third parties, plaintiff Wells

Fargo's trade secrets and confidential information, specifically

including, but not limited to, any information concerning current or

former customers of Wells Fargo or of any Wells Fargo subsidiaries.

This specifically includes removing Wells Fargo's trade secrets and

confidential information, such as any information concerning current

or former customers of Wells Fargo or any Wells Fargo subsidiaries,

from any public forum,     including any website, on which defendant has

posted or disclosed this confidential information.

      2.   Within a reasonable time     (not to exceed ten business days),

of receiving actual notice of this Injunction, defendant shall

identify in writing to plaintiff all of it's secrets and

confidential information remaining in his possession, custody, or

control, specifically including, but not limited to, any information


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concerning current or former customers of Wells Fargo or of any

Wells Fargo subsidiaries.

     3.   Within a reasonable time (not to exceed ten business days),

of receiving actual notice of this Injunction, defendant shall give

plaintiff written notice of the identity of any person, entity, or

destination, including but not limited to internet websites, to

which defendant transmitted, posted, or communicated Wells Fargo's

trade secrets and confidential information, specifically including,

but not limited to, any information concerning current or former

customers of Wells Fargo or of any Wells Fargo subsidiaries.

     4.   Within a reasonable time (not to exceed ten business

days), of receiving actual notice of this Injunction, defendant

shall immediately return by certified mail to plaintiff's counsel,

Ogletree, Deakins, Nash, Smoak & Stewart, P.C.,all originals and

copies of paper documents containing or constituting Wells Fargo's

trade secrets and confidential information, specifically including,

but not limited to, any information concerning current or former

customers of Wells Fargo or of any Wells Fargo subsidiaries.

     5.   Defendant shall preserve all electronic files containing or

constituting Wells Fargo's trade secrets and confidential

information, specifically including, but not limited to, any

information concerning current or former customers of Wells Fargo or

of any Wells Fargo subsidiaries, that are stored on any electronic

storage device in his possession, custody, or control.


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     lQl   Plaintiff' Second Motion for Contempt Order [#113]:

     Plaintiff moves the court for an order finding defendant in

contempt of the court's previous order [#72], and requiring

defendant to comply with standards of professionalism in all his

communications with Wells Fargo and its counsel.       [#113].    In support

of its motion, plaintiff asserts that despite repeated warnings,

defendant is willfully ignoring the court's direct order to limit

communication to plaintiff's Portland firm and to professional

content.

     Specifically, plaintiff alleges that on January 31, 2012, two

weeks after the court's order was issued, defendant resumed sending

voluminous, numerous 6 faxes that have little to no bearing upon this

proceeding or any other legal issue between plaintiff and defendant,

to Ogletree Deakins offices other than that of plaintiff's counsel

in Portland, Oregon.    [#115-   p.2,~~3-4].   Subject lines of

defendant's   communications include, "What the Hell is wrong with

you people?" and "Nuclear Attacks and Deathcamps[sic]," and the

content includes language such as, "I hope what you did to me

happens to you or your kids. I really do so you can FEEL it. But ... I

will do all I can to ensure you feel it. You will suffer as you made

me. You are all sick animals and you must all be dealt what you

dealt to me." [#115- Ex.2].


      6
           From February 1, 2012, to August 20, 2012, Clark sent
 more than 200 combined emails and faxes to Ogletree Deakins.
 [#115- ~4].

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      Further, on February 3, 2012, Ms. Lively reviewed defendant's

website of www.wfopsreport.com and determined that customer

information remained linked to the website.          [#115-p. 2, 'II 6].   That

same day, Ms. Lively sent defendant a letter directing him to

immediately remove the customer information and also instructing him

to cease sending correspondence to other than the Portland, Oregon

offices of counsel in this case.      [#115-Ex.3].     On or about February

8, 2012, Ms. Lively determined that the customer information had

been removed from defendant's website.       [#115-p.2,'1! 8].

      However, on March 2, 2012, defendant sent Ms. Lively an email

stating, "Due to the gruesome death scene involving a cal poly

attorney and the fixation of emotional control as a substitute for

Evidence, I was compelled to Create just yesterday the above Video

production featuring the Beatles as theme music[,]" along with a

link to a Youtube.com video.     [#115-Ex.4].    On several occasions

prior defendant had referred to Ms. Lively's graduation from Cal

Poly (as listed on her firm biography) .        [#115-pp.2-3,'1! 10 and Ex.

5].   Ms. Lively, in viewing the link, saw a scene depicting a woman

impaled in the chest with the caption "Cal Poly law graduate."

[#115-p.2,'1! 9].   Defendant's current website www.osunriseusa.com,

refers to "Bitch of the Week, from Cal Poly Law School and Brothel:

Ms. Leah Livelinsky[,]" as well as other offensive statements.

[#115-Ex. 6].

      On March 17, 2012, defendant sent an email to at least two


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attorneys at Ms. Lively's former law firm as well as to attorneys at

various other firms in Portland.     [#115-Exs. 7, 8].    On April 13,

2012, defendant sent a fax to Alan Martin (his former manager at

Wells Fargo), and to Wells Fargo Employee Relations Manager, Tim

O'Hara, telling Mr. O'Hara to "get on it," discussing court and

filings, and stating "seems that is just one more way that courts

'screw' the citizen." [#115-Ex. 9].

     That same day, Ms. Lively sent defendant another letter

reminding him to only communicate with counsel of record and in a

professional manner.   [#115-Ex. 10].    However, on June 20, 2012,

defendant refused to limit his communications saying         "I do not owe

you people any particular style of communications"; threatened to

start certified mailings to plaintiff's external board and faxed

Wells Fargo Executive Vice President, Patricia Callahan, complaining

about his termination.   [#115 Exs. 11; 12].    On June 25, 2012,

plaintiff sent defendant a letter delineating his specific

inappropriate communications, reminding him of the court's order,

and informing him that if he did not cease violating the Order,

Wells Fargo would move for an order of contempt.       [#115- Ex. 30].

     On or around July 19, 2012, defendant sent his former manager

Alan Martin, a package that contained highly offensive and

inappropriate statements concerning Mr. Martin's alleged personal

life and making offensive criminal accusations against Mr. Martin.

[#108-Ex.1].


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       On July 31, 2012, Clark sent three emails directly to Ms.

Lively's administrative assistant (not copying Ms. Lively or any

other lawyer), soliciting her to "[c]onsider switching your

affiliations. View my material posted, all first hand ... Stop putting

out for the Warmongers and Criminals who Profit from War of any

kind ... including Ogletree Deakins [,]" and "If you want I can send you

Professional looking Trifold marketing brochures to distribute via

our interoffice mail. I am working on postcards mailed to all

Ogletree Deakins staff nationwide announcing the Plans."            [#115-

Ex.13].     Defendant followed this with a vaguely threatening email to

Ms. Lively stating,"You freaks are going down. There will be nothing

left. You will be living in tents eating bugs for what you did. Ms.

Lively: get ready for buying clothing at the Salvation Army Counters

after the 5 year stretch.          . Such is the War of the Apocalypse. I

told you: RAND Parents. Strat Ops .... blah blah, all true."        [ #115-

Ex. 14] .

       On August 8, 2012, defendant sent Ms. Lively another

threatening and vulgar email.       [#115-Ex. 15].    The same day,

defendant sent Ms. Lively another more offensive email.          [#115- Ex.

16].    On August 22, 2012, defendant sent Ms. Lively an email

entitled "I made Wells Fargo contact" in which he stated "I made

Executive VP contact out of San Francisco .            "   [#115-Ex. 17].

       In the last three weeks of August alone, defendant sent faxes

to at least three different external clients of Ogletree Deakins,


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(none of which have any connection to Wells Fargo or this case), as

well as at least ten faxes to at least six different offices of

Ogletree Deakins.    [#115-Ex. 18].    After plaintiff filed its Motion

for Summary Judgment on August 22, 2012, defendant responded by

sending Ms. Lively eight separate, unprofessional e-mails as well as

multiple faxes to Ogletree Deakins offices in Atlanta, Georgia,

Columbia, South Carolina, and Greenville, South Carolina.

     Contempt power inherent in Article III courts, gives district

courts the power to hold in civil contempt, any person who willfully

disobeys a specific and definite order requiring him to do or to

refrain from doing an act.     Michaelson v. U.S. ex rel. Chicago, St.

P., M., & O.R. Co., 266 U.S. 42,      65-66 (1924);see also Shuffler v.

Heritage Bank, 720 F.2d 1141, 1146 (9th Cir. 1983).

     Civil contempt, a remedial punishment, is for the benefit of

the complainant, whereas criminal contempt is a punitive measure to

vindicate the court's authority.      Gompers v. Bucks 221 U.S. 418, 441

(1911).    Civil contempt is a refusal to do an act the court has

ordered for the benefit of a party; the sentence is remedial.            In

re. Sepquoia Auto Brokers Ltd., Inc., 827 F.2d 1281, 1283 (9th Cir.

1987).    Criminal contempt is a completed act of disobedience; the

sentence is punitive to vindicate the authority of the court.            Id.

     Under Oregon law, "[t]he power of a court to impose a remedial

or punitive sanction for contempt of court is an inherent judicial

power."    ORS 33.025(1).   A "contempt of court" includes willful


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disobedience of a court's orders.      ORS 33.015(2) (b).    The remedial

sanctions authorized include inter alia, confinement of not more

than six months or payment of all or part of any attorney fees

incurred by a party as the result of a contempt of court.          ORS

33.105(b)and (e).     Compensatory sanctions may be paid to the party

moving for contempt to compensate for injuries resulting from the

contempt.     General Signal v. Donallco, 787 F.2d 1376, 1380      (9th

Cir.1986).     The amount of compensatory sanctions is determined by

the actual costs incurred by the moving party.        Id.

     The court has both orally and in a written order, instructed

defendant of the seriousness of his actions and sternly reminded him

that subject to the injunction ordered by this court, he is not to

re-post any confidential material, is to limit his communications to

plaintiff's counsel's firm in Portland and to keep those to a

strictly professional tone.     [see e.g., #72].     Plaintiff's first

Motion for Contempt [#32] was denied however, defendant was reminded

that the court would not treat any further violation of its orders

lightly.

     Defendant has repeatedly, willfully ignored the court's

admonishments regarding professional communications as well as the

court's orders prohibiting his publication of plaintiff's trade

secrets.     Similarly, defendant has continued to communicate with

plaintiff's counsel in a harassing, vulgar and threatening manner,

willfully ignoring reasonable requests to conform his communications


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to a professional standard.

     Plaintiff's Motion for order of Contempt is therefore granted.

Defendant is ordered to pay reasonable attorney fees and costs that

plaintiff has incurred from it's second motion for contempt.

Plaintiff will prepare a detailed bill of costs and submit it to the

court to enable determination of the amount of defendant's

compensatory sanction.

                                Conclusion

     As stated above, plaintiff's Motion for Summary Judgment and

for Entry of Permanent Injunction [#105] is GRANTED to the extent

detailed above.   Plaintiff's Second Motion for Order of Contempt

[#113] is GRANTED.   All other pending motions are DENIED as moot.

     IT IS SO ORDERED

     DATED this      ~~       day of October, 2012.




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             United States District Court District of Oregon -Eugene Oregon Division




Andrew G. Clark, Plaintiff Pro Se
3270 Stoney Ridge Rd Eugen~ OR 974.05
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    v.
Wells Fargo Bank, N.A         (WFB)
1300 S.W. 5th Ave. 20th Floor Portland OR 97201                Complaints:
Martin Ogno Security Worker
Donald Pearson, Bank President                                 Violations of 18 U.S.C. § 1961, et seq.


Ogletree Deakins Nash Smoak and Stewart                        Violations of 18 U.S.C. § 241 & 242
Attorneys leah lively, David P.R. Symes, Elizabeth
Falcone, Amanda Bollinger and others.                          Violations of 42 U.S.C § 1983
222 SW Columbia Street #1500 Portland OR 97201
Managing Partner Kim Ebert                                     Defamation, libel, False light Invasion of
111 Monument Circle # 4600                                       Privacy
Indianapolis, IN 46204
Christopher Mixon, General Counsel                             Gross Negligence
401 Commerce Street# 1200 Nashville, TN 37219
                                                               Violations of Workplace Protection laws
Wells Fargo Home Mortgage (WFHM)
P.O. Box 10335 Des Moines, lA 50306-0335                       Conspiracy
Franklin Codel, Executive Vice President
William Hunnicutt Conflict Resolution Attorney                Demand for Jury Trial
Michael Heid, President of WFHM


Wells Fargo and Company (WFC)
420 Montgomery Street San Francisco, CA 94104
Responsible Corporate Officers:
James Strother Sr. Executive Vice President
General Counsel-legal Group
John Stumpf, Chief Executive Officer


Securitas Corp. c/o Responsible Corp. Officer
2 Campus Dr. Parsippany, New Jersey 07054-4400
Denis R. Brown Chief Executive Officer




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                                          Jurisdictional Allegations


1. Plaintiff brings this action pursuant to 42 U.S.C. § 1983, 18 U.S.C. § 1964, the United States

Constitution, the First, Fourth, Fifth, and Fourteenth Amendments to the United States

Constitution, and other pendent statutory and state common laws.



2. This Court has jurisdiction of Plaintiffs' federal law claims pursuant to 28 U.S.C. § 1331. This

Court has supplemental jurisdiction over Plaintiffs' state law claims pursuant to 28 U.S.C. §

1367(a). Plaintiff requests random assignment to a Judge who did not participate in District

Court 6.11.cv.6248.HO.



3. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b-2 and/or c-2). It is the

Judicial district in which a substantial part of the events or omissions giving rise to the claim

occurred. The entities named in the complaint with the capacity to sue and be sued in its

common name under applicable law, whether or not incorporated, shall be deemed to reside, if

a defendant, in any judicial district in which such defendant is subject to the court's personal

jurisdiction with respect to the civil action in question. All entities have Oregon offices/agents.


                                                  General Allegations


4. Plaintiff is a ProSe litigant. He was employed as a mortgage originator at Wells Fargo Home

Mortgage (WFHM) at 100 E. Broadway Eugene, OR 97405 from c. September 2009 -June 2011.

That office was not in a Wells Fargo Bank (WFB). Wells Fargo Bank became involved as alleged

via use of their bank security staff. Wells Fargo and Company (WFC) is responsible for the

activity of the subsidiary operations.



5. Ogletree, Deakins, Nash, Smoak, and Stewart (Ogletree Deakins) is a national employer law

firm. They were contracted by WFHM, WFB, and/or WFC. Their Portland Oregon office staff

Leah Lively, David P.R. Symes, Amanda Bollinger, and Elizabeth Falcon are the attorney

reasonably known to Plaintiff to have perpetrated the events or omissions giving rise to the

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claims. Kim Ebert is a managing partner in the Ogletree Deakins Indianapolis office.

Christopher Mixon is General Counsel for Ogletree Deakins and operates out of their Nashville,

office. They are RCOs who were aware of the activity of their Portland Office and instead of

investigating and remediating they aided, abetted, and conspired the majority of the illegal

actions.



6. Securitas Corporation is a nationwide contractor of security services. Their agents named

perpetrated a falsified police call-in upon encouragement or request of Wells Fargo (et al). They

can be heard on legally obtained police dispatch audio falsely reporting bank. Their actions and

omissions were limited as compared to the other Defendants. They played a key role in the

overall events. It is necessary to hold the RCOs of Securitas Corp. partly responsible in order to

punish Securitas and to prevent them from using similar methods against other any citizen.



6-a. The individuals named at each entity are most responsible or culpable based upon

tangible, objective evidence and/or application of the Park Doctrine defining "responsible

corporate officers" (RCO).



                                         Factual Basis for Complaint



7. Plaintiff was a mortgage originator with 30 years in the industry, 13 oft hem with Fannie

Mae in Washington DC and the rest at several different local mortgage providers. The last two

years were at WFHM in Eugene, OR. It is a lowest-level position with a $12/hour base. Plaintiff

earned $200,000 mostly in commissions in his last full year of employment at WFHM,

consistent with his earnings over the prior 10 years. Plaintiff also holds Certified Public

Accounting credential but does not practice. Plaintiff was a well-regarded professional in his

relatively small area. His long-term earning record indicates community satisfaction.



8. Dodd-Frank Act and related internal WFHM training demanded the low-level employee

report suspected fraud of any form internally and then externally if it is not being addressed by


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the corporation. The Federal Bureau-Investigation (FBI) was named as one of the agencies to

go to with any suspicion of corporate wrongdoing of any form.



8. The "SAFE Act" mandated all mortgage originators be licensed or registered. Plaintiff was

subjected to the SAFE Act lifetime background check and he was awarded his unique SAFE Act

identifier on 4-19-11. The unique SAFE Act identifier is akin to a license to originate mortgage

loans. It was a new law with broad mandates of the licensee/registrant.



9. Plaintiff, the lowest level customer contact employee, identified operational and financial

issues that required reporting as they affected WFHM, WFB, and WFC. He reported first to his

manager who wrote on company email"stop whining". He reported above the level ofthe

perceived problem in accordance with WFC policy as. He reported formally in a detailed letter

to Mark Oman, then Executive Vice President of WFHM who by coincidence completed his

retirement three weeks later. The letter triggered an immediate security response. Within a

week he was called to a 'plan meeting' by his manager. There was no plan. His manager told

him he needed psychological help and told him to quit. Plaintiff did not quit and was not

terminated at that time. Oregon is an 'employment at will' state.



10. Plaintiff entered the human resources process upon suggestion of a local district manager.

He was not satisfied with the WFHM answer to his very simple but serious specific job concerns

that had importance to all of WFHM. They were not interpersonal concerns but that is how the

Des Moines telephone human resources department treated them. The human resource

personnel have no knowledge of the job function as regulated by the SAFE Act and WFHM

policy and systems. The actual activity of Wells Fargo Human Resources as it was applied in

Plaintiffs situation was insulting and demeaning as they had no job knowledge. It is a process

used to conceal and to collect information for later use against the employee-reporter.



11. Plaintiff noticed with dismay that most of his mortgage loans in process (upon which he

earned commissions when funded) were suddenly being scrutinized on a disparate basis by


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higher level WFHM underwriters. He also documented other highly disparate treatment by the

human resource department. Plaintiff attempted to notify WFC management via telephone

and email while employed. In late April 2011, he was advised by the human resource contact

that all his emails anywhere in the corporation were channeled directly to her by the system

and were not seen by the intended recipients. Those internal, channeled em ails were later

presented to Courts by the Defendants against Plaintiff as if they had been seen by the RCOs.



12. In early May 2011 Plaintiff explained to the human resources contact he was of Jewish

ethnicity and he felt ethnically offended when he was told to stop whining and told to seek

treatment for mental conditions "diagnosed" by his manager. He explained on email and

telephone he "felt like a Jew on the wagon train to be burned". Incredibly, he was referred to

Peggy Burns, MFT in San Francisco who research indicated was a Christian/Catholic mental

health worker on WF tab. Plaintiff researched on internet and discovered the human resource

representative was almost certainly a conservative, activist Catholic in the Des Moines area.

Plaintiff made contact with Ms. Burns as requested. He explained he did not need her

assistance and she said "oh but I think you do". Plaintiff thanked her for her time and

terminated the call. He mentioned it to the WFHM human resources representative and she

chuckled about it. Plaintiff found it amusing on one level but ghastly on a higher level as it

could be inflicted upon others later who do not have Plaintiff's very non-typical sense of humor.



13. WFHM has a subsidiary or related entity known as RELS that provides credit reports and

appraisals for the WFHM loans. Plaintiff received an email accusing the crime of fraud in

violation of Dodd-Frank for undue influence on an appraiser. That was incorrect and Plaintiff

asked for a retraction letter, assuming it would one day potentially affect his SAFE Act

license/registration. WFHM refused to provide the letter of retraction of 'criminal' charges.

He explained to the human resource he considered that akin to Crystal Night in Nazi Germany

and that his Jewish ethnicity required he pursue it as a presumably existential threat to his

livelihood and ability to originate mortgage loans in the future. He also consistently explained

he felt deeply offended with the racial and mental health profiling activity against anyone.


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14. A company email copied to Howard Atkins, long time Executive Vice President was

returned to Plaintiff in late May 2011. Plaintiff, the lowest level worker, researched it quickly

online and determined that Atkins was fired amidst significant mystery and controversy for

refusing to sign the financial statements. Plaintiff also learned Atkins was Jewish and seemed

to have had similar or related concerns Plaintiff had detailed from the lowest level. That

inflamed the Plaintiff under the circumstances and he decided to compile a report to the most

detailed level possible for the lowest level worker to provide and walk it over ... in person ... to the

local office of the Federal Bureau-Investigation (FBI) while employed on 5-25-11. A copy was

received by Department of Labor (DOL), Portland OR office and offered to Plaintiffs manager.



15. c. May 23, 2011 Plaintiff advised the human resources representative he was going to

compile the FBI report the following week. All material for the report was stored on Plaintiff's

company-issued laptop. He was able to compile it and file it with Agencies 5-25-11. The

following day, by coincidence perhaps, the company laptop issued new to Plaintiff just months

before became inoperable. Given the number of WF staff and laptops, there was a department

that quickly issued another but it lacked all the files that were on the inoperable laptop.

Plaintiff accepted it was a coincidence but considered that maybe it was not as all responsible

companies use standard technology to allow company laptops to be remotely disabled.



16. Plaintiff was working on the newly received company laptop at his home. He determined

that the camera in the laptop was remotely activated and provided all the technical details to

the Des Moines human resources contact. She again chuckled and the icon that appeared

briefly when it activated disappeared. Plaintiff did not dispute its technical legality, he

questioned it as it related to his detailed report to FBI and Dodd-Frank/SAFE Act mandates.



16. The following week (first week of June 2011) Plaintiff was placed on employment

probation. Unrelated and separate from the probation, he received a call and email from a

human resource contact in Denver CO who accused him of Armed Robbery and Theft in 1979.


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     He explained to her he passed the lifetime background check and was SAFE Act Registered by

     government processes. Plaintiff contacted the Ethics Hotline because it was a "pretexting call".

     He also reported it and the related investigation to be "retaliation" under Sarbanes-Oxley and it

     was accepted by OSHA and assigned a number c. June 25, 2011. Plaintiff later learned the 1979

     erroneous crime material had been entered into the District Court and/or Labor Court. Thus,

     Defendants did knowingly and deliberately manufacture criminal records that are not in public

     records and used them in Courts and even to the local police in 2013. By contrast, Defendants

     did NOT include Plaintiff's CPA credential or the fact he was a long-term high producing

     mortgage originator. Defendants cherry-picked all information provided to Courts and others

     in order to defame and conceal the matters duly reported by Plaintiff to local FBI and other

     Agencies as part of their deliberate, concerted effort to tamper with and retaliate against him.



     17. By that time, Plaintiff felt lied to and deceived at every turn by WFHM so he was 'googling'

     all contacts. He was horrified to discover the Denver human resources representative shared

     the same conservative Catholic persuasion as the Des Moines contact. Plaintiff considered it
1    was a coincidence but given how wrong it felt at the time to Plaintiff given the matter of Peggy

     Burns, MFT he felt it could be deliberate. He asked for but did not receive a clear answer.

     Plaintiff is not including civil rights violations regarding the events. He is including them to

     demonstrate the level of determination: "Never Again" and "Respond at First Sign".



     18. Plaintiff has significant experience and knowledge of computer systems, system

     implementation, and what is sometimes called "system obfuscation". WFHM was rolling out a

     new mortgage origination system and imaging system called CORE/ELF. The matter ofthe

     possible 'laptop spying' caused Plaintiff to begin detailed research online into the activities of

     an entity then called Wells Fargo India Solutions, which was based in Hyderabad and Bangalore,

     India. He studied job postings, equipment used, affiliate relationships then with entities such

     as Global Spectrum, STAR India, Magnum Productions, and many possible but rather likely

     scenarios and risks such relations can facilitate due to the system obfuscation. Low level



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     financial staff must report reasonably documented 'first person standing' suspicions, they are


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not expected to prove them or even have evidence, which Plaintiff did. The ELF imaging

system was 'down' for an extended period. Plaintiff determined nearly as a certainty the

development work was being performed in India and felt that Americans may object if their

financial or filmed transactions or activity was offshore. Despite possible legality the common

person would object or question the possibility. The India Operations were the global security

providers for Wells Fargo as a whole at that time. It was a 'nerve center operation', not a call

center. During the same period, he determined that Wells Fargo had potentially problematic-

to-national-security links between the India Operations and the HSBC affiliation, affiliations of

Wells Fargo executives to an entity called Shanghai Commercial, and possible tax haven activity

on Mauritius. He reported the matters to the Hyderabad and Bangalore Consulates in June

2011 which is a possible way of Central Intelligence Agency Reporting. Plaintiff later faxed

material to the CIA central fax number shown on their website. Plaintiff's concern was such he

personally contacted Avid Modjatbai, then Executive Vice President of Technology on her cell

phone. Ms. Modjatbai was the only executive to personally answer her telephone. She asked

him to forward concerns to one of her office staff members, which Plaintiff did. Within weeks,

Ms. Modjatbai was, by coincidence, reassigned and on July 7, 2011 Reuters News from India,

again by coincidence, reported the 'de-risking' of the Wells Fargo Hyderabad Operation.



19. Plaintiff was terminated from employment June 28, 2011 after becoming exasperated with

the telephone human resource contact in Des Moines. He utilized one of the most commonly

and broadly used words in the English language with the telephone-only Des Moines human

resource contact which was the event used to justify termination of employment. Plaintiff

wondered why that did not happen months prior in an employment-at-will state such as

Oregon, . His concern at that point in time was possible problems obtaining an independent

SAFE License because of the Wells Fargo allegations of fraud via their RELS subsidiary.



20. After employment, Plaintiff became more determined to obtain a measure of justice for the

ordeal as he then realized their actions likely affected future employment due to the SAFE Act.

However: at that point, the 'in your face' perceived ethnic offense became the focus, along with


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    Plaintiffs perception the significant operation detail he provided while in human resource

    process was stolen and used by WF as they were 'burning the Jew'. ProSe Plaintiff realizes

    that may sound obsessive or paranoid to some until they really understand and empathize with

    the totality of the fear and worry and disgust at that time coupled with the vulnerability of any

    low-level worker. Plaintiff has a creative and possibly offensive way of coping with extremely

    debilitating situations: exercising First Amendment obligations of speech, sometimes duly

    outraged but never in an illegal or threatening fashion.



    21. To appreciate how the fear affects thinking, consider the anguish experienced just with the

    simple act of returning their worthless laptop that has no data stored on it. Policy is to return it

    to the office but Plaintiff had been told not to trespass. He was then told via email from a

    Minneapolis WFHM human resource contact to bring it to FBI. He was told via email by the

    OSHA representative in Seattle to bring it to the nearest Department of Labor office even

    though it had already been returned to the Eugene OR workplace. All those emails were filed

    with FBI on 7-27-11, in person at the Eugene OR office. They were also filed with many other

    agencies over the course of the past two years. The conflicting requests where to bring the

    laptop coupled with all other circumstances cause extreme fear and paralysis. Plaintiff

    arranged with others to return it to the office. WF claimed it was destroyed in the return

    process. It was a worthless, obsolete 'dumb terminal' worth c. $100 or less and commonly

    damaged in employee's vehicles if left in the sun too long for example.



    22. On July 18, 2011 Plaintiff arrived home and noticed a City of Eugene police squad car parked

    in front of his home and two large police officers in uniforms peering through the side windows.

    He approached the police and asked what was going on, they asked if he was Andy Clark and

    they said they were sent by Wells Fargo on a "well-being visit" regarding an email referencing

    genocide. That home visit audio and email is legally posted on www.RisePatriot.com or

    www.osunrise.com. Police are heard morphing their "well-being visit" into a "trespass

    warning". Plaintiff was detained in home under false pretenses by uniformed armed police in

    the evening at home. That is not a typical response to email to a designated Wells Fargo


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Human Resource contact in Minneapolis. It is far from the level of dedicated service involving a

large platoon of police other citizens would receive for an email. The email in question is in a

business tone, communicating serious business facts. Police do not normally enforce email in

similarly situated citizens. Police normally do not enforce interstate business communication.



23. Within an hour of the 7-18-11 police visit, Plaintiff went to police headquarters to order a

copy of the in-home audio. That entire interaction is posted with officially obtained from City

of Eugene, OR. Police are heard on their audio discussing in no uncertain terms what Wells

Fargo had communicated to them regarding Plaintiff as a threat. Police are heard on that

audio saying "if you can wrap your head around it, Wells Fargo let him go for acting crazy. He

says he is in contact with the FBI and CIA .... "       Plaintiff had in fact been in contact with both

agencies. That shows how early-on Defendants corrupted, obstructed, and concealed material

duly reported by then to FBI, etc. WF also hired special guards, which terrified the staff

working there because they knew Plaintiff was benevolent and harmless. They were afraid of

the guards according to later accounts. It was a small mortgage office not in a bank. At any

given time fewer than five staff total would be in the office. The guards were hired to 'paint' a

threat. Plaintiff had a perfect prior record of pacifism and non-violence.



24. On July 27, 2011 Plaintiff augmented his FBI report with the police interaction and with

other operational concerns that he had determined since the 5-25-11. That was filed in person

with affidavit and statement of qualifications and sound mind. On July 28, 2011 Securitas

Agents Christensen and "Brin" are heard on the police dispatch audio falsifying a police call of

"trespass" and portraying it as a bank threat.



25. On July 29, 2011 at approx. 6 pm, two police arrived at Plaintiff's home to arrest him. He

did not ask to see the warrant and he is heard on police car video assuming it was a mistake

caused by Wells Fargo. There was a k-9 assist. Two SUV and two squad cars were involved

from Eugene West Side SWAT. The charge was 2"d degree municipal trespass. Plaintiff was

marched in chains and no shoes for a block in front of neighbors in the evening and taken to jail


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holding for 18 hours. The trespass charges were later dismissed without hearing. As described

below, Plaintiff later received the police reports and they are clear: Martin Ogno of Wells Fargo

Bank security in Portland Oregon obstructed and corrupted the FBI processes to falsely transmit

a bank threat to the local police. Discovery and the common sense of the reasonable person

will show Eugene OR Police do not respond to second degree trespass allegation called in by

hired security guards the day before with that level of force, at-home after fact "arrest" and

subsequent jailing.



26. On July 31 2011, Plaintiff determined that he had to purse legal remedy so he placed the FBI

filing on a secure archiving host called Simplicato under the obscure name:

www.wfopsreport.com. He never had or made a website previous to that need to

communicate detailed material. He IMMEDIATELY advised Ogletree Deakins of location and

purpose. He also placed it under confusing, self-effacing material knowing that c. 85% of

people who might look at a website do not go beyond the first page.



27. Within two days he received a threat from Ogletree Deakins he would be sued for posting

the information. They would have been unaware had Plaintiff not notified them as a courtesy.

He removed the material within 24 hours but was unaware that removing the link did not

remove the material so he corrected that immediately upon knowledge. He placed the

material back online using crude password protection which Ogletree Deakins "hacked" into.

Within days they obtained a vague temporary injunction and used it to frighten the owner of

his secure web archiving host so as to terminate hosting.



28. Concurrent to that communication, vehicles came frequently to Plaintiff's home. After the

police action the prior week, he was terrified and generally avoided answering the door.

Around August 8, 2011 he became so frightened he left his home for several days while another

person answered the door. It was seemingly endless piles of boilerplate legal filings against him

in District Court on Emergency Basis.




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29. He also received them via email and mail and had to correlate the three sets of sometimes

different material. He placed calls to attorney for defense but none returned his calls within

the three weeks between the boilerplate filing and the first hearing. The volume of

Defendant's boilerplate filings was so extreme an attorney could not possibly grasp it and

defend it in three weeks, especially in Eugene OR which lacks a financial industry and lacks

specialty attorney. He was forced to go to the first hearing undefended but he carefully and

totally evidenced the actual facts, none of which were heard in the less-than-an-hour-total

court hearings neither of which discussed underlying facts. After hearing, Plaintiff could not

locate an attorney in this small area who had the skills to defend him and also did not have

'conflicts of interest' that prevented them from defending Plaintiff.



30. Wells Fargo Bank instituted the District Court Civil lawsuit in August 2011. Plaintiff did not

notice that detail until May 2013 and called Donald Pearson, President of Wells Fargo Bank for

Oregon. He was adamant the Bank would not be involved in any matter related to a mortgage

company worker. Plaintiff does not hold Mr. Pearson to that as it is a detail of which he may

not have been aware, either. Based upon Mr. Pearson's adamant statement, it is possible

Wells Fargo Bank did not provide to Ogletree fully-informed authorization of the lawsuit based

on facts known to Defendants.



31. Plaintiff was charged in District Court with "releasing confidential Wells Fargo mortgage

account numbers". Wells Fargo attorney were not aware the mortgage loan number is a public

record recorded on the Wells Fargo trust deeds and thus is not confidential. Plaintiff evidenced

in writing to the Court in advance of hearing there were no cyber-offenses as accused and in

fact they were impossible due to Wells Fargo system security. Plaintiff questioned their lack of

damages sufficient for District Court. Defendants accused breach of contract. It is a catch-all

employment contract that does not account for reporting corporate criminality.



32. Plaintiff asked for at the hearing and received within 30 days a list of the offending data

and was given a list of approximately 10 public loan records, mostly repeating the same


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numbers which included several declined loans (meaning they were not Wells Fargo

customers). It was a minimal amount of public records within an FBI filing placed on a disclosed

site. None of the extensive evidence Plaintiff submitted prior to the first hearing was Heard in

Court and it appears as if much of it was sealed in PACER without a hearing based on the

incorrect statement there were confidential records. Plaintiff was also asked in Court to

provide trade secrets and names of any accomplices .... as if the $12/hour base worker could

possibly have any trade secrets of Wells Fargo Home Mortgage (et al) or is likely to have

accomplices. As can be seen from the court records, the lack of ability to disclose secrets and

accomplices was used as allegation of guilt by Defendants.



33. A human being has limits to the perceived abuse he or she can tolerate. Plaintiff has a

$5,500 per month spousal support obligation relating to mentally retarded offspring affected

with Fragile X syndrome. On August 10, 2011 all his available cash was garnished from his bank

account by his ex-wife's attorney and Plaintiff lacked funds for an attorney even if one could

have been located. Within 30 days a complex family court action to remove longstanding

guardian of a retarded adult offspring was consummated. It was precipitated by the Wells

Fargo et al actions and possibly conspired informally via attorney affiliations. At the least, the

action was an effect of Wells Fargo et al actions against Plaintiff. Audio of that hearing is

posted: www.RisePatriot.com, it is a very poignant audio towards the end and acts to catalog

Plaintiffs emotional destruction.



34. It took six months to finally get a spousal support reduction hearing. Audio of that

proceeding is also posted. Despite no job the $5,500 was not reduced and the Wells Fargo

matter is clearly heard in the audio to be intertwined in the spousal support matter. The

actions of the judge are not within the law or logic as any reasonable person would feel when

they listen to the audio recordings and consider how THEY would obtain that level of cash each

month even if employed. It was either an effect of or caused by Wells Fargo (et al) actions

against Plaintiff.




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35. In the same timeframe as the Guardian Removal action, Plaintiff received the City of

Eugene police reports. There was no evidence of trespass and the warrants appeared after-

fact. The police reports contain disgusting innuendo provided to them by Wells Fargo. It was

written in police reports that "(Plaintiff) threatened to rape his bosses". In a later arrest

affidavit, it was re-worded to "threatened to sexually assault area managers". The police

reports also show Plaintiff was placed on an "internal only list for police use" of possible violent

and/or sexual offenders. The statements were ascribed to "un-named witnesses" at first.

There were only two managers of any sort within 100 miles at that time, both male and neither

reported any form of rape threat. Please be mindful those allegations were contained within a

police report relating to Wells Fargo manufactured trespass charges which involved SWAT

resources, a night arrest, and jailing .... later dismissed.



36. Plaintiff discovered within the police reports that Martin Ogno, security worker at Wells

Fargo Bank in Portland OR had lied to police about Plaintiff's FBI filings. Ogno claimed to police

he had been in contact with FBI and "they did not take Clark's reports seriously". The

augmented report was approximately 175 pages. It was the 5-25-11 report re-filed with other

suspicions. Martin Ogno lied about FBI contact with the effect of intensifying police response.

That represents Defendant's corruption ofthe FBI process in order to deceive local police into

undue action not inflicted upon others similarly situated and to conceal a federal crime report.



37. Plaintiff at that point in time, October 2011, was psychologically affected as any human

being would be by the actual EFFECTS of Wells Fargo (et al) actions against him. He wrote

scores of letters to City of Eugene Prosecutor who eventually dropped the entirely

manufactured municipal charges. It caused ProSe to be unable to comprehend much less

defend in District Court and Labor Court, where he had filed a retaliation complaint under

Sarbanes-Oxley while employed.



38. In October 2011 Plaintiff obtained and processed the audio/video from City of Eugene

Police of all the July 2011 "arrest event" material. They are posted: www.RisePatriot.com. It


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clearly proves police were unduly influenced by Wells Fargo and performed police action very

far from their policy and far from what is available to similarly situated citizens. The police

audio and records from 7-2011 clearly proved the early conspiracy amongst Defendants.



39. Plaintiff's polite letters did not get answered. Just as his while-employed emails were

channeled to Des Moines human resources and only seen there, he discovered that

government agencies also channeled issues to other agencies who in turn would do the same.

Plaintiff at times then started using "metaphoric communication" with the government

agencies and with the non-responsive Ogletree Deakins attorneys in Portland OR. Virtually all

of it was via fax. All had predominate underlying factual matters . It was always identity-

disclosed with his home telephone number, name, and address on each.



40. Plaintiff's emotionally-pretexted fax material was placed into District Court, under seal in

October 2011. There is no relationship between long-after-employment fax material to

Ogletree Deakins, etc. and the contrived, bogus charges they presented to the District Court.

There as a full-court hearing devoted to the fax material and again Plaintiff implored to the

Court he was unable to understand the charges, they were wrongful, and he was undefended.

He had previously alleged the District Court action was a Strategic lawsuit Against Public

Participation {SLAPP) which Wells Fargo et al denied. Time has shown it to be malicious

prosecution of SLAPP, just part of Defendant's overall concealment and obstruction of justice.



41. District Court and labor Court were timed together by Ogletree Deakins. There appeared

to be no limits whatsoever on their ability to corrupt and subvert each and every legal

protection of a citizen and human being using vast numbers of attorney, as needed. None of

the very simple issues were heard by a Court. In all that time and attorney action, nothing of

substance was heard by the court despite pleas of Plaintiff that Court was being used as a

concealment mechanism. The EFFECT due to internet search is permanent unemployment in

profession. The related manufactured and dismissed crime aggravated that as 'jail mugshots'

are commonly shared within the community, particularly amongst and by the children of the


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affected adults. Meanwhile, actual, simple facts were buried in courts. Plaintiff had no defense

attorney, no trial and the courts were drowned in piles of irrelevant legal boilerplate. Plaintiff's

outraged, emotionally pretexted, factual but irrelevant faxes were systematically collected by

Ogletree Deakins who placed them in all the courts in order to defame Plaintiff and to conceal

Defendant's crimes, actions, and omissions along with underlying facts. The faxes were

irrelevant to the case in front of District Court as was all of Defendants inputs and actions.



42. Plaintiff agreed in May 2012 to mediate and allowed the Judge ofthe District Court to be

his mediator. The mediation session July 2012 lasted c. 35 minutes and Plaintiff determined the

Judge had absolutely no working knowledge of even the most basic facts of the case. It appears

Defendants corrupted the district court so badly they wrote the Court findings for the judge to

sign without hearing or consideration of the underlying tangible, simple, factual evidence.

Plaintiff was offered a small amount of cash but not the removal of the bogus District Court

action and not the investigation/remediation of the illegal/improper police action from the

prior year. The Judge said otherwise he would order a Trial. Plaintiff felt it was said in a

threatening tone. He thanked the Judge for his time and requested a Trial or further mediation.

Neither happened and at the worst possible time given all else happening to Plaintiff judgments

were entered against the evidence and with no hearing of any form and the judge retired.



43. In February 2012 Plaintiff finally received Court hearing of his $5,500 per month spousal

support and related reduction request. Against logic and facts it was not reduced. The audio of

the court hearings is posted: www.RisePatriot.com. It shows how the Wells Fargo matter

interfaced with and impacted that court result and was precipitated by the outrageous and

illegal conduct of Defendants. In August 2012 Plaintiff received a Sheriff Sale notice against his

freely owned home for non-payment of spousal support. Plaintiff, at cost, liquidated his last

remaining financial asset, a 401-k, in order to avert the foreclosure action.



44. In the same month, Plaintiff received notice there would be no hearings by the District

Court and he was considered 'guilty'. The Labor Court responded similarly. Plaintiff hired a


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local attorney named Barry Davis who promised to emplace an appeal. He demanded a very

large retainer (over $10,000) and over the next 7 month (September 2012- April 2013) had

done nothing for Plaintiff on the District Court appeal and in fact had been regularly

communicating with leah lively of Ogletree Deakins. The effect was to deny Plaintiff appeal

rights due to time limitations, completely against what he was told by attorney, Barry Davis.



45. In early May 2013 Plaintiff received another Sheriff Sale notice against his freely owned
home for spousal support. He determined Barry Davis had done nothing whatsoever, including

not filing for modification of spousal support. Plaintiff collected all the material he provided to

Mr. Davis, who had organized it in chronological order in a large notebook but had done

nothing else regarding the District Court and Plaintiff's overall problem with the $5,500 per

month support. Plaintiff was compelled to borrow the funds from his elderly parents.



46. Plaintiff, by May 2013 had everything taken from him over a two year period and his ability
to earn had been removed. He increased his legal, personal fax activity from his home

telephone number. He felt he had no other options and frequently referred to feeling like a

"Jew on the train to the death camps". The blind trust in Barry Davis and Mr. Davis' deceit

caused extreme emotional distress in Plaintiff as he realized he should have demanded results

much sooner from Mr. Davis and had let too much time go by in false hope.

Plaintiff faxed many non-commercial communications mostly to government agencies, news

agencies, and groups of attorney from June 1- July 25 2013. The fax numbers were obtained

by Plaintiff via the various websites.        He received approximately 10 calls from recipients asking

to be taken off the mailing list. Plaintiff explained that he would remove their number, which

he then did. He also tried to confirm from each caller they were not receiving very many from

him. All agreed they had not but asked to be taken off the list. He also explained to each of the

few callers that: a) it is possible their number will be re-acquired via another website b) he

lacks staff resources c) in addition, he suggested to each they "block" his home number to

absolutely ensure no more faxes.




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47. The faxing was nationally but focused on the east coast and California as that is where

Plaintiff perceived the news agencies, government offices, and Dodd-Frank/SAFE Act attorney

are.   Plaintiff did receive many form letters from various agencies and organizations thanking

him for his correspondence and indicating they cannot be of assistance.



48. Plaintiff also filed very large and comprehensive reports with various agencies of the

government in June 2013. Those include a TCR-supported SEC whistleblower report. Plaintiff

held off filing the report with the FBI due to his well-evidenced perception it could damage Ms.

Lively, Ogletree Deakins, and Wells Fargo. His messages clearly and repeatedly implored for a

solution outside of the Courts and outside the Agencies. His messages clearly and repeatedly

explained or indicated in some fashion his disgust with being forced to formally name people as

criminals in an FBI report along with reasonable evidence and then pursue civil recovery.



49. On July 18, 2013 two plain clothes police officers arrived at Plaintiff's home. They

produced cards showing they were with the Eugene Police Violent Crimes division and were

investigating a FAX threat to Ogletree Deakins and attorney Leah Lively. Plaintiff was

cooperative and calm but very outraged. Police did not show him any of the faxes but

described one that was felt to be threatening and told Plaintiff that if he faxed any more, it

would be pursued as "criminal stalking" by the Eugene Violent Crimes unit. Plaintiff denied it

was threatening at all. He also told police that it seemed absurd and wrongful to him that once

again high levels of police resource were being expended on fax communication matters

between a citizen and a business over 100 miles from Plaintiff. Plaintiff repeatedly opined to

Police their visit was wrongful, was not supported by the Law, and was not supported by Policy.

Mostly: Plaintiff noted the obvious repeatedly- Police simply do not normally go to people's

homes over faxes in absence of any form of physical threat, especially violent crimes unit

detectives who are presumed to have more immediate threats involving their respective

communities to investigate.




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50. Plaintiff agreed to not fax anymore to Ogletree Deakins in Portland Oregon despite his

belief that Police had no right to make such a restriction of the verbal-only expression of

emotion and facts. Plaintiff repeatedly noted to police anyone who does not want a fax should

also take the simple step of blocking his. It takes under a minute. Corporations such as

Defendants often use 'fax routers' or have office support 'picking up faxes from the machine'.

It is normally assigned to a low-level staff member. The police detective was adamant people

and companies should not be expected to block numbers and instead he thought it was

appropriate to expend massive taxpayer-funded police resources on it. The police treatment

was completely the opposite of how similarly situated complaints by other citizens are handled

by police. Wells Fargo et al and Agents such as Ogletree Deakins (i.e. Defendants) lied to police

and used undue influence upon police to perform police actions against Plaintiff far from

normally available to similarly situated citizens with business fax or email issues.



51. Plaintiff, predictably, was consumed by the repeated outrage of police, especially violent

crimes. The faxes are factual, non-threatening, self-effacing, and somewhat random. 15 pages

of 208 pages of faxes over a year had the Olgetree Deakins Portland fax-stamp, the rest did not

including most used as basis for stalking charges. Olgetree Deakins et al did not allege any

form of personal contact or attempts at personal contact. Police could not satisfactory-to-

Plaintiff explain how words alone sent in the context described to a business could possibly

warrant "stalking" investigation or arrest so far outside the police attention given to others.



52. Plaintiff sent many more faxes after 7-18-13, all non-threatening and mostly to the east

coast to avoid any possible confusion with the police "orders". Plaintiff faxed to several offices

of the FBI for example, asking them to investigate and advising them the comprehensive crime

report was sent to Director's Office, FBI and it needed to be looked at in overall context ofthe

5-25-11 and 7-27-11"evidence parking".



53. Plaintiff, on 7-23-2013 among other lists sent a complaint to his short fax mailing list of

local police auditor and police advisory committee members. The FAX was non-threatening. It


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clearly expressed Plaintiff's disgust with the Wells Fargo/Ogletree Deakins use of local police in

people's homes to criminalize him, an honest worker who reported in detail correctly to the

Government, including a genuine report of significant, major Federal Crime to the FBI.



54. The list long contained the fax number of Ogletree Deakins in Portland OR. Plaintiff had put

it there over a year prior for a particular fax at that time and did not remove it then. On July 23,

2013 Plaintiff received a call from Eugene Violent Crimes unit to confirm with Plaintiff he sent a

fax against police "orders".       Plaintiff checked his fax log with police on the telephone and said

that he had in error and explained the circumstances of the error given the very high volume of

communications, all without assistance. Plaintiff was, predictably enough, outraged again by

the fact of instant police response to such a trivial Ogletree Deakins workplace issue that was

best solved via call blocking, not the massive police involvement of the type not available to

typical citizens with similar, distant business-only FAX related to serious FBI filings.



55. On July 25, 2013 at approximately 4 pm, Plaintiff received a call from Eugene Police Violent

Crimes unit and was told to meet the detectives because they need to arrest him. Plaintiff did

as directed, was arrested and charged with ten (10) counts of "stalking" which in Oregon are

Class A misdemeanors punishable by up to a year in jail and fines. There is and was no personal

threat as Ogletree Deakins/Leah Lively testified, it was an entirely pretexted, manufactured

police activity. It was similar to the first incident in 7-2011 only they had more time to pretext

(cause) the illusion of a fax threat and falsely accuse a much more serious crime completely out

of proportion to harmless words on paper to an office which could have blocked the number in

under one minute. It was an entrapment activity perpetrated by Defendants.



56. Due to the unique and capricious pre-trial services system in Lane County Oregon, 10

charges automatically cause very high risk assessment, high bails, and harsher jail treatment.

The pre-trial services staff have ability to over-ride the system results but they did not due to

corruption and misinformation provided by Defendants. They were advised by Plaintiff while

he was in jail the charges were duplicates and there was no physical threat.                  Plaintiff also


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noticed the same erroneous criminal data from 1979 "dug up" by Wells Fargo et al in May 2011.

That also caused heightened risk assessment, higher bail, and more restrictive jailing.



57. Plaintiff was held in brutal, high-risk jail conditions for six days. He was confined in an 8 x

10 foot cell 22/24 hours per day and was denied adequate medical care for his high blood

pressure condition. Lights were 24/7. The loud noise was continuous. Bail was set at

$200,000 and plaintiff's elderly parents once again became involved. That caused unimaginable

and abject emotional distress to his elderly parents. Plaintiff, due to the automated pre-trial

services program was also required to wear an electronic ankle bracelet, despite the confirmed

fact of a fax-only business dispute that totally lacked any personal interface.



58. Once again, the "jail mugshots" of the Plaintiff, this time a multiple stalker, are plastered all

over the internet. Only the charges are listed and the accused is presumed and treated as

guilty in advance of any hearing. The ankle bracelet is extremely destructive to personal and

family relationships. No matter what the outcome of Trials ... the internet arrest mugshot

pictures and initial arrest charges are all most people will ever see due to the way internet

search engines works.        The commercialization of the record and the public fascination with

the sensational cause the search algorithms to favor the mugshots and initial arrest record.



59. The Court must consider obvious reality of the internet age. It is generally known that

personal contacts, employers, and family members commonly "Google" others. The immense

defaming and illegal actions against Plaintiff have immediate effects. Family members are

deeply hurt by it. Potential personal contacts are scared. Employers normally have policy

(official or de facto) that renders anyone with any form of adverse internet presence

unemployable. The problem of permanent Ghettoization due to a simple arrest event alone is

new within the last 10 years but escalated greatly in the last 5 years due to massing of high

speed internet and the explosion of mobile devices which allows more people to more easily ·

access the record to be. There is no way to escape the later effects of an arrest event. Plaintiff

is a victim of a specific and large problem the Laws and the American Justice System never


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envisioned: permanent Ghettoization due to internet defaming deliberately perpetrated by

Wells Fargo et al and their Agents such as Ogletree Deakins.




                                                    COUNT 1

                        Racketeering Violations under 18 U.S.C. § 1961, et seq.

          Wells Fargo, Ogletree Deakins, Securitas and Employees Named in Complaint

                     Kidnapping as defined by 18 U.S.C. § 1201 (a)(1). (b). (c). (d)



60. Plaintiff alleges again and incorporates by reference allegations set forth in each of the

preceding and following paragraphs of the Complaint as if set forth fully herein.



61. All Defendants named were participants or compensated agents of an enterprise known

variously as Wells Fargo Home Mortgage, Wells Fargo Bank, or Wells Fargo and Company and

their participation by action or omission is on-going prior to and since the beginning of events

leading to this Complaint. All Defendants are large national corporations involved in interstate

and international commerce.



62. Plaintiff was involuntarily removed from his home by police acting under the color of legal

police authority. The facts presented show the police activity was conspired and manufactured

by Defendants on a deliberate, planned basis. The facts show that Defendants actively

corrupted local police with falsifications, innuendo, and abuse of authority to induce them to

perform Plaintiff's removal from his home and related jailing.



63. The same kidnapping activity occurred at least twice over the last two years to Plaintiff as a

result ofthe Defendant's continued actions. The same general methods were used by the

Defendants both times. As described, the kidnapping events were 7-29-11 and 7-25-13.




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64. Defendants all have a monetary, professional, and/or political benefit in kidnapping Plaintiff

to terrorize and destabilize him in order to conceal their illegal activity. Defendants all are part

of national organizations engaged in interstate and international business.



65. Their actions and the effects of their actions fully meet the definitions of kidnapping

described in 18 U.S.C. § 1201. The 7-29-11 holding period was 18 hours, not 24. The objective

of the kidnapping event was to terrorize for economic or political purposes. Per 18 U.S.C. §

1201 (b) kidnapping investigation does not require 24 hour holding.



                                                    COUNT2

                        Racketeering Violations under 18 U.S.C. § 1961, et seq.

                   Wells Fargo, Ogletree Deakins. Employees Named in Complaint

     18 U.S.C. §§ 1512 Obstruction of Justice Tampering with Witness, Victim, or Informant

                 18 U.S.C. §§ 1513 Retaliation Against Witness, Victim, or Informant



66. Plaintiff alleges again and incorporates by reference allegations set forth in each of the

preceding and following paragraphs of the Complaint as if set forth fully herein.



67. All Defendants named were participants or compensated agents of an enterprise known

variously as Wells Fargo Home Mortgage, Wells Fargo Bank, or Wells Fargo and Company and

their participation by action or omission is on-going prior to and since the beginning of events

leading to this Complaint. All Defendants are large national corporations involved in interstate

and international commerce. Defendants perpetrated many instances of Obstruction of Justice.




                                               18   u.s.c. §§ 1512
68. Plaintiff did file detailed material, the best available to the lowest level worker, to the FBI as

described in previous paragraphs. Defendants were aware of the filing and thus any and all

subsequent actions against Plaintiff represent tampering and retaliation.



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69. The FBI filing and reasonably supported suspicions constitutes information in accordance

with 18 U.S.C. § 1512 {3) as does the 5-25-11 Department of Labor filing of the same

information provided to FBI. 18 U.S.C. §§ 1512 (f) specifies an official proceeding need not be

pending or about to be instituted at the time of the offense; and the testimony, or the record,

document, or other object need not be admissible in evidence or free of a claim of privilege.



70. Defendants did knowingly intimidate, threaten, corruptly persuade other persons and

engaged in misleading conduct towards Plaintiff with intent to:

(1) influence, delay, or prevent the testimony of any person in an official proceeding;

(2) cause or induce others to withhold testimony, or withhold a record, document, or other

object, from an official proceeding;

{3) hinder, delay, or prevent the communication to a law enforcement officer or judge of the

United States of information relating to the commission or possible commission of a Federal

Offense as Plaintiff's FBI (and other agency) filings clearly described to FBI for investigation.



71. Improper sealing of PACER and/or sealing of material in PACER not authorized to be Sealed

represents an example that Defendants did corruptly alter, destroy, mutilate, or conceal a

record, document, or other object, or attempted to do so, with the intent to impair the object's

integrity or availability for use in an official proceeding. Defendants did otherwise obstruct,

influence and impede the official proceedings.



72. Defendants did intentionally harass Plaintiff via several police actions at his home and by

malicious prosecution of groundless civil and criminal offenses. It is obvious to the reasonable

person by reading the fax material Plaintiff sent to Defendants in June and July 2013 warned

the parties of an upcoming, large filing to FBI. It is also obvious it was something Plaintiff

preferred to work out with Defendants otherwise. Ogletree Deakins use of police described in

prior paragraphs to charge that as "stalking" is among the large amount of evidence that

Defendants did intentionally harass Plaintiff in order to: hinder, delay, prevents, or dissuade


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Plaintiffs reporting to a law enforcement officer or judge of the United States the commission

or possible commission of a Federal offense which included reasonably supported detail that

could cause their arrest and/or criminal prosecution in connection with Federal offenses as

enumerated within this Complaint, the FBI filings, and the other Agency filings.



                                               18   u.s.c. §§ 1513
73. Defendants did knowingly, with the intent to retaliate, cause action harmful to Plaintiff,

including interference with his lawful employment or livelihood for providing to a law

enforcement officer {FBI) truthful information relating to the commission or possible

commission of any Federal offense, referring to the FBI reports.



74. Defendants Ogletree Deakins et al, their employees and agents are a national employment

law firm. They have a greater responsibility to follow the law and insist their Client (Wells Fargo

et al) also abide by the law. They also can be presumed to have known that the SAFE Act

mortgage originator license is most likely not available to Plaintiff due to their actions and

omissions as described. Nevertheless: Plaintiff was also a salesperson in a small community so

their defaming activity was deliberately calculated to cause permanent unemployment of

Plaintiff in order to retaliate for and to tamper with his filings to the FBI and other Agencies.

The result of Defendant's actions is complete lack of ability to be employed due to internet

access of their false and defaming information by personal contacts, family, and employers.


(Complaint continues on page 27)




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                                           Counts 3, 4, 5, 6, 7, 8, 9

                        Racketeering Violations under 18 U.S.C. § 1961, et seq.

                   Wells Fargo, Ogletree Deakins, Employees Named in Complaint

                                               18 u.s.c. §§ 1519
           Destruction, Alteration, or Falsification of Records in Federal Investigations



76. Plaintiff alleges again and incorporates by reference allegations set forth in each of the

preceding and following paragraphs ofthe Complaint as if set forth fully herein.



77. All Defendants named were participants or compensated agents of an enterprise known

variously as Wells Fargo Home Mortgage, Wells Fargo Bank, or Wells Fargo and Company and

their participation by action or omission is on-going prior to and since the beginning of events

leading to this Complaint. Defendants perpetrated many violations against Plaintiff over time.



78. Defendant knowingly altered, destroyed, mutilated, concealed, covered up, falsified, or

made false entries in records, documents, or tangible object with the intent to impede,

obstruct, or influence the investigation or proper administration of matters within the

jurisdiction of any department or agency of the United States or any case filed under title 11, or

in relation to or contemplation of any such matter or case. Defendants are being charged with

one count of violation of 18 U.S.C. §§ 1519 relating to significant information reports made by

Plaintiff to each of the following Agencies from May 2011- July 2013 relating to his Complaints:



        Count 3: Federal Bureau-Investigation

        Count 4: Central Intelligence Agency (CIA)

        Count 5: Securities and Exchange Commission (Accepted Whistleblower Investigation)

        Count 6: Senate Banking Committee

        Count 7: Department of Labor, Office of Fraud and Labor Racketeering

        Count 8: Attorney General's Office, Department of Justice

        Count 9: Board of Governors - Federal Reserve


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                                                   COUNT 10

    Violations of 42 U.S. C. § 1983: Free Speech and Free Press, Abuse of Process, Malicious

           Prosecution, Defamation, Equal Protection, and Law Enforcement Retaliation



79. Plaintiff alleges again and incorporates by reference allegations set forth in each of the

preceding and following paragraphs of the Complaint as if set forth fully herein.



80. All Defendants named were participants or compensated agents of an enterprise known

variously as Wells Fargo Home Mortgage, Wells Fargo Bank, or Wells Fargo and Company and

their participation by action or omission is on-going prior to and since the beginning of events

leading to this Complaint. All Defendants are large national corporations involved in interstate

and/or international commerce.



81. At all times material hereto, all Defendants were acting under color of law and in their

capacity as employees or agents of Defendants.



           General Statement Regarding Violation of Rights: Civil v. Criminal Protection

82. Plaintiff was placed into District Court for civil offenses as described in previous paragraphs

and as a matter of record. Numerous constitutional protections are no longer readily available

in civil proceedings. The Court, with a series of cases beginning in the 1990s, starting

with United States v. Ursery, returned to the original dichotomy between civil and criminal

constitutional protection. Ursery and its progeny abrogated the lenient constitutional

interpretation established in Halper. Following Halper's short lived precedent, Ursery again

introduced a two-prong test, originally articulated in United States v. Ward, 448 U.S. 242

(1980). The Ward test, overall, limits the constitutional protection provided in civil

cases. The Ward two-prong test helps determine whether a penalty is sufficiently punitive to

rise to that of a quasi-criminal punishment. The first prong ascertains Congress' intent to label

a penalty as civil or criminal. ld. at 248--49. Where Congress establishes a civil penalty, the


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second prong looks to whether the statutory scheme is so punitive as to require procedural

protection ordinarily given in criminal proceedings. Deference is given to legislative intent and

"only the clearest proof [can] suffice to trigger constitutional protection in civil cases."


83. The Court could not possibly have envisioned the effects on Citizens and less-powerful

entities of internet defaming and ghettoization in advance of fact-finding, hearings, or trials.

The Ward Test was not applied to the District Court Civil action against Plaintiff

(6.11.cv.6248.ho) but circumstances show that Ward should have applied. The effect of such

litigation against a licensed financial worker has quasi-criminal effects and he should have been

appointed suitable counsel and enjoyed all Constitutional protections.


84. The Court could also not have envisioned or even imagined the advance destabilization

caused by "internet defaming" and the publication of the arrest "mugshots" with summaries of

charges and no detail. Meanwhile, major employment attorney such as Ogletree Deakins

recommend policy to employers that dissuade hiring of anyone who has any form of internet

presence questionable or objectionable to hiring managers or perceived to be against policy.


85. The result speaks for itself. Corporations are able to use the Police and Courts to inflict

punishment on workers and conceal their illegal actions. Sometimes punishment of workers is

needed but it must conform to the law. It cannot be inflicted in the deliberate, planned and

malicious fashion demonstrated by Defendants. They exploited recent technology and people's

perceptions of others based on personal caution that cause such action to have the same or

worse and more immediate effects as Criminal Proceedings. The below Complaints do not

assume application of the Ward Test, which would yield more Complaints.


                                         First Amendment Violations

         State of Oregon Constitution Article 1 Section 8 and subsequent interpretations.

86. Police were used twice by Defendants as the reason given to go to Plaintiff's home and to

effect arrest of Plaintiff as described. The reason for the first visit and then arrest was a

harmless email regarding serious business topics. The reason for the next arrest and jailing

activity was entirely due to factual fax material allegedly sent to Defendants.

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87. Words alone are generally not justification to charge others with crime and to cause their

arrest, jailing, and the downstream effects on a citizen of such actions. Plaintiff was jailed

based solely upon words and emotional art to a place of business relating to the business. In

both cases whoever claimed a "threat" lived and worked over 100 miles from Plaintiff and had

obvious political and pecuniary interests in the results of their actions and omissions.



88. A vague temporary injunction was used to shut down Plaintiff's disclosed website. That

activity is a further example of violation of free speech as well as being one of their many

components of concealment and obstruction of justice as charged within this Complaint.



                                       Fourth Amendment Violations

89. The Defendants directed and influenced police action against Plaintiff that were and are in

violation of Fourth Amendment protections against unreasonable use of police powers.




                                         Fifth Amendment Violations

90. Plaintiff was prosecuted on emergency basis in District Court. The immediate and long term

social and economic effects equal or surpass the effects of criminal prosecution against a

criminal. It was a quasi-criminal proceeding as part of the overall obstruction of justice and

other Complaints against Defendants. The use of fax communication to obtain "contempt of

court charges" against Plaintiff in the District Civil matter involving Defendants is a matter of

record. The subsequent use of it to do the same in State courts with fax material via "stalking"

charges has been demonstrated.



91. Defendants had no right or business reason to place material into Courts unrelated to the

charges that acted to incriminate him or cause others to color him guilty. Fax material is one

such example as it had no relationship to the Defendant's charges against Plaintiff in the Court.

Faxes and telephones are now very easy to 'block' as described elsewhere in this Complaint. It


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is also very easy to manufacture fax material and use it against others, a factor that could apply

in other cases. It was a violation of protections against self-incrimination. It was an emotional

entrapment activity performed by very powerful corporate entities against the undefended

Citizen. The wrongful conduct of Defendants alleged herein constitutes violations of the United

States Constitution, including but not limited to Amendments I, IV, V, and XIV, in that Plaintiff

was deprived of privileges and immunities guaranteed to all citizens of the United States, was

subjected to law enforcement retaliatory conduct, invasion of privacy, malicious and selective

prosecution, and was prosecuted civilly and criminally without proper cause, with an

unconstitutional motive and malice, and without equal protection or due process in an attempt

to chill Plaintiff's free speech, and to intimidate, harass, and discredit Plaintiff's FBI and other

Agency information filings and whistleblower actions.



92. Defendants treated Plaintiff, as a class of one, differently from others similarly situated.

Upon information and belief, no other citizen of Lane County has ever been treated in such an

illegal manner and under color of the law for matters such as business em ails or faxes to distant

business.



93. There is no rational basis for the difference in Defendants' treatment of Plaintiff from others

similarly situated. As a direct and proximate result of Defendants' wrongful conduct as alleged

herein, Plaintiff's constitutional rights were violated and he has suffered harm and has been

injured. The wrongful conduct of these Defendants as alleged herein was undertaken with

malice and/or with improper and unconstitutional motives in an attempt to interfere with

conduct protected by the Constitution. Plaintiff was investigated, prosecuted civilly and

criminally, intimidated, harassed, and coerced by or at the behest of Defendants for improper

unconstitutional motives, was treated differently than others similarly situated, and was

subjected to improper abuse of process and power for improper motives, without proper or

probable cause, and with malice and with clear political and pecuniary motivation.




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94. Plaintiff was subjected to Defendants' wrongful and unconstitutional conduct as alleged

herein in a particularly egregious, conscience-shocking manner. The Defendant's use of local

police against Plaintiff must be of extreme concern to the Court due to the applicability of the

method elsewhere against anyone. It is especially troubling that local police showed fealty and

a sense of affiliation to Defendants that is not afforded to Plaintiff or other typical citizens.



95. The acts and omissions of Defendants acting in their individual capacity and under color of

law as alleged herein, were malicious, punitive, and in reckless disregard of Plaintiff's Rights.



96. As a result, punitive damages in an amount to be determined by a jury should be awarded

against Defendants to punish them for wrongdoing and to prevent them and others from acting

in a similar manner in the future.



              Eighth Amendment- Protection Against Cruel and Unusual Punishment

The Court must understand the immense social problem that is completely contradictory to

American Jurisprudence. Immediate and total effect of internet defaming in advance of court

determinations constitutes de facto Cruel and Unusual Punishment. Whether found guilty or

not, the social stigma and lack of employment is instant and total upon arrest or filing of District

Civil employment charges. The courts have not considered this aspect as it relates in particular

to situations where powerful entities such as Defendants use very significant resources against

the undefended low level worker. The immediate effect is extremely punishing economically,

socially, and in all other fashions. In case of Plaintiff, jailing and Defendant-induced use of ankle

bracelet monitor is intrusive in a dirty way and totally halts any form of normal human

interaction without providing any proven protection to anyone. They are inappropriate to the

un-tried peaceful citizen. Plaintiff asks the Court to consider the effects of Defendant's long-

term, planned actions and omissions and realize their methodology is used against others all

the time as a business model they perceive to be effective when in fact it is highly illegal and

very punishing to the low level worker. Defendants may be perpetrating the same all over.




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Plaintiff was hauled out his home, chained and jailed and forced to endure legal processes

manufactured by Defendants while lacking employment due to their actions. The effect on

career and social relationships was immediate and total Ghettoization. This is presented to the

Court in order to obtain a ruling that broadens the use and loosens the requirements of the

Ward test to better protect citizens and weaker entities placed into courts by larger entities

such as Defendants who do it as part oftheir ongoing criminal activity as Complained.



                                                   COUNT 11

                       Defamation, Libel. and/or False Light Invasion of Privacy

97. Plaintiff re-a lieges and incorporates by reference the allegations set forth in each of the

preceding or following paragraphs of the Complaint as if set forth fully herein.



98. Defendants caused the police actions that resulted in extreme defaming within the

community due to internet access of the records in advance of facts, as described in prior

paragraphs.



99. Defendants published significant incorrect criminal data in various public court records as

described in prior paragraphs. Defendants obtained the material and used it knowing it was

incorrect and with the sole purposes of defaming Plaintiff as part of their Obstruction of Justice

charges filed within this Complaint.



100. Common internet search engines such as Google, Yahoo, Bing, etc., when provided with

just a name and city (for example) will show any related PACER records among the first choices.

Placing material into PACER or sealing PACER selectively therefore constitutes "publication"

that has far greater access and longevity than traditional publication. Defendants collected

emotional fax material they attributed to Plaintiff from their office fax machines and placed it

into Courts. The material had no relevance to the charges or evidence in front of the Courts.

Defendants sealed significant amounts of factual evidence in PACER without hearing. That acts

to defame Plaintiff by leaving a "one-sided" record in PACER and acts to conceal Evidence.


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101. Plaintiff's website presentation of the same data does not constitute "publication" in the

same context because: 1) Plaintiff can remove it at any time. Material in PACER and other

official systems is permanent and/or difficult to remove. 2) Users of data such as employers

or personal contacts will, presumably, be more interested in official records and not material on

a personal website which is removable as noted. 3) Internet search engines favor commercial

and official information and put low priority on rarely visited personal websites.



102. Defendants' statements made and/or released in District Court or the OSHA proceeding as

alleged herein were knowingly false, defamatory, and disparaging. They cherry-picked

information to defame, such as not disclosing Plaintiff's credentials which included his CPA

certificate and related experience and the SAFE ACT Registration to originate 'loans'.

The omission of such facts constitutes the offenses set forth in this Charge.



103. Defendants are responsible for the publication of the false and misleading statements and

irrelevant emotional material in the PACER system and records of the OSHA proceeding.

Defendants caused the false and defamatory statements to be published with knowledge of

their falsity and/or with reckless disregard as to their truth or falsity and without relationship to

the matters in front of the Courts.



104. Defendants' false and defamatory statements were directed to the honesty, integrity, and

reputation of Plaintiff constituting defamation per se.



105. As a direct and approximate result of Defendants' false and defamatory statements,

Plaintiff has been damaged in an amount to be proven at trial. As a direct and proximate result

of the conduct described in this Complaint, Plaintiff suffered irreparable harm, including

damage to his reputation and good name, suffered severe emotional distress, adverse physical

maladies and manifestations, family and personal relationships, and physical injury and/or
harm.


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106. The acts and omissions of Defendants acting in individual and/or group capacity under

color of law as alleged herein, were malicious, punitive, and in reckless disregard of Plaintiff's

rights.


107. Defendant's conduct, which was performed in their capacity as private citizens and/or as a

group, was done with the intent to harm Plaintiff in conscious disregard of causing significant

harm to Plaintiff. Defendants acted deliberately, overtly, and dishonestly. Their motives were

political and pecuniary and so improper and their conduct so oppressive, outrageous, and

intolerable that punitive damages are warranted.



108. As a direct and proximate result, punitive damages in an amount to be determined by a

jury should be awarded against the Defendants to punish them for wrongdoing and to prevent

them and others from acting in a similar manner in the future.



                                                    COUNT 12

                        Violation of 42 U.S.C. § 1983-Substantive Due Process

109. Plaintiff re-a lieges and incorporates by reference the allegations set forth in each of the

preceding paragraphs of the Complaint as if set forth fully herein.



110. Defendants' conduct as alleged herein violates the laws ofthe United States: Conspiracy

against Rights, in violation of 18 U.S.C. § 241; under color of Law, in violation of 18 U.S.C. § 242;

and all other violations and/or crimes as specified within the Charges of this Complaint or

arising from them in the future.



 111. At all times material hereto, all Defendants were acting under color of law and in their

 capacity as employees and/or agents of Defendants. The wrongful conduct of Defendants

 alleged herein also constitutes violations of the United States Constitution, including but not

 limited to Amendments I, IV, V, and XIV, in that Plaintiff was deprived of privileges and


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immunities guaranteed to all citizens of the United States, was subjected to retaliatory conduct,

invasion of privacy, malicious and selective prosecution, and was sued civilly and criminally

without proper cause, with an unconstitutional, pecuniary/political motive and malice, and

without equal protection or due process in an attempt to chill Plaintiff's free speech, and to

intimidate, harass in order to discredit Plaintiff's FBI and other Agency filings, and exact revenge

for and to conceal duly reported financial misconduct in accordance with Law affecting his

employment and livelihood.



112. As a direct and proximate result of Defendants' wrongful conduct as alleged herein,

Plaintiffs constitutional rights were violated and he has suffered and has been injured. The

wrongful conduct of the Defendants as alleged herein was undertaken with malice and/or with

improper and unconstitutional motives.



113. The acts and omissions of the Defendants acting in their individual capacities and under

color of law as alleged herein, were malicious, punitive, and in reckless disregard of Plaintiff's

rights.



114. In its totality, Defendants' entire course of conduct against Plaintiff as set forth in the

preceding allegations of the Complaint (and all other allegations that may arise) was arbitrary,

irrational, extreme, outrageous, unjustified by any governmental interest, beyond all possible

realms of decency; it also shocks the conscience and constitutes a gross abuse of individual,

corporate and collective authority. Their tactics are tantamount to an expensive "mob hit" on

the law-abiding citizen and whistleblower-employee who reported in advance to FBI, etc.



115. As a result, punitive damages in an amount to be determined by a jury should be awarded

against the Defendants to punish them for wrongdoing and to prevent them and others from

acting in a similar manner in the future against others.




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                                                    Count 13

         Violations of Occupational Safety and Health Act of 1970 (Public Law 91-596)

                      Violations of ORS 654.001 "Oregon Safe Employment Act"



116. Plaintiff re-a lieges and fully incorporate the allegations set forth in each of the preceding

and following paragraphs of this Complaint



117. Plaintiff was affected and harmed as described within the complaint by Defendant

violations of cited employment law. Defendants both involved police and security forces in the

workplace that represented a grossly unreasonable response to their strategically-imagined

threats and to fax communication to and within the workplace. WFB, WFHM, WFC used

guards to "paint" a threat after employment to further their overall conspiracy, actions, and

omissions as described within this Complaint. That frightened and confused the workers. It

created an unsafe workplace as police and sometimes the guards were armed which increases

the probability of accidental shootings (for example).



118. Both Defendants responded illegally to fax material to their offices by not responding in a

reasonable fashion as provided for by the Law. The common person when confronted with an

unwanted but identified fax communication, telephone call, or email first simply "blocks" the

incoming telephone number/email address or promptly destroys irrelevant fax material. In this

case, Defendants are shown to: 1) emotionally pretext a fax response by Plaintiff

( 2) have accepted or routed the faxes elsewhere (3) placed them into court in order to defame

and punish Plaintiff (4) then claimed they were a workplace stalking threat and once again

involve armed police response. It is a form of harassment perpetrated by the Defendants.



119. Workplaces such as Ogletree Deakins have the obligation under the laws cited to use

reasonable methods to ensure workplace safety. Blocking a fax number normally takes one

minute or less and has no marginal cost to a company as a low level staff can perform the


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function in the course of their duties. Instructing low level staff to destroy irrelevant, unwanted

fax material upon receipt and to not discuss it with others is another solution. Use of police

and trumped up criminal charges against Plaintiff represents an unreasonable and illegal

response that endangers the workers and the general public.



                                                   COUNT 14

                                               Gross Negligence

120. Plaintiff re-a lieges and fully incorporates the allegations set forth in each of the preceding

and following paragraphs of this Complaint.



121. Defendants have both statutory and lawful duties of care to Plaintiff and all citizens when

performing the functions of their positions. Defendants owe a duty of care to Plaintiff with

respect to conducting criminal and/or civil accusations investigations and prosecutions.



122. Defendants are legally responsible for the management of the civil processes they file

against citizens and/or criminal and/or the filing of police reports based upon accurate

information. That includes the establishment and implementation of policies, procedures, and

protocols that govern the fact-finding and litigation against worker-citizens, processing,

handling, and management of civil processes and police reports against citizens and litigation

 against the citizen-worker within their control. Their responsibility includes making certain that

 such policies, procedures, and protocols satisfy all federal and state standards which apply to

 banking and mortgage originations and all other laws.



 123. Defendants are legally responsible for the screening, hiring, training, retaining, and

 supervision of all employees and agents who have responsibility for the investigation,

 processing, handling, and management of civil and/or criminal allegations and civil certain that

 such screening, hiring, training, retaining, and supervision of such employees and agents satisfy

 all federal and state standards, including the SAFE Act, Dodd-Frank Act, Sarbanes-Oxley, etc.




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124. Defendants breached their duties owed to Plaintiff, as alleged in this Complaint, by (inter

alia), failing to conduct the duties of their positions with reasonable care; failing to establish

and implement proper policies, procedures, and protocols governing the investigation,

processing, handling, and management of civil and/or criminal allegations and civil prosecutions

in their control; and failing to properly screen, hire, train, retain, and supervise employees and

agents who have responsibility for the investigation, processing, handling, and management of

criminal complaints to the police regarding citizen-workers and litigation that is within their

control and by which they profit.



125. Defendants' breaches of their duties owed to Plaintiff directly and proximately caused

Plaintiffs to suffer damages in an amount to be proven at trial.



                                                   COUNT 15

                        Conspiracy Against Rights, Violations of 18 U.S.C. § 241

126. Plaintiff re-a lieges and incorporates by reference the allegations set forth in each of the

preceding and following paragraphs of the Complaint as if set forth fully herein.



127. The wrongful conduct of the Defendants, as alleged herein, was undertaken pursuant to

an agreement or meeting of the minds among them. Defendants acted in concert to violate

Plaintiffs constitutional rights, chill his free speech and retaliate, discredit, defame and conceal

his detailed Agency reports, and to intimidate, harass, and exact revenge for prior reporting of

suspicions of their crime to FBI (etc.) in accordance with law and in pursuit of his rights.



128. During at least part of the time in which the acts of conspiracy were engaged in, the

Defendants were acting outside the course and scope of their employment because they were

acting solely to further their own personal, political, or pecuniary interests in a manner that was

actually detrimental to their respective employers.




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129. Defendants' acts and/or omissions as alleged herein to defame, pursue and conduct the

criminal allegations and civil litigation of Plaintiff, were undertaken pursuant to a conspiracy

among the Defendants to cause injury to Plaintiff and to violate his constitutional rights and to

continue to tamper with and retaliate for the earlier FBI filings in accordance with the Law in

order to conceal and obstruct justice as demonstrated by their egregious actions and omissions.



130. As a direct and proximate cause of the Defendants' conspiracy, Plaintiff was damaged as

set forth within the Complaint. His ability to perform his family responsibility relating to

retarded adult offspring was affected along with his livelihood and all other aspects of the life

he worked hard for so long to achieve. His ability to provide his retarded adult offspring health

and dental insurance and other care has been obliterated. His constitutional rights were

violated by Defendants. His own ability to survive was jeopardized by Defendants as described.



131. The acts and omissions of the Defendants in furtherance of their conspiracy, acting in

their individual or collective capacities and under color of law, were malicious and/or in reckless

disregard of Plaintiff's rights.



132. The acts and omissions of the Defendants acting in their individual capacity and under

color of law as alleged herein, were to further their personal and political agendas and were

malicious, punitive, and in reckless disregard of Plaintiff's rights.



133. As a result, punitive damages in an amount to be determined by a jury should be awarded

against the Defendants to punish them for wrongdoing and to prevent them and others from

acting in a similar manner in the future.




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                                                   JURY TRIAL

Plaintiff hereby requests a trial by jury.



                                              PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for damages for judgment, jointly and severally, against Defendants

as follows:

(a) General damages in an amount to be proven at trial;

(b) Punitive damages in an amount deemed just and reasonable as to the causes of action

alleged herein;

(c) Costs and attorneys' fees against all Defendants as to the causes of action

alleged under the Constitution and laws of the United States, pursuant to 42 U.S.C. § 1988;

(d) Treble damages and attorneys' fees against all Defendants as to the causes of action alleged

    under 18 U.S.C. § 1961, et seq.

(e) The costs of litigation;

(f) All remedies provided by 42 U.S.C. § 1983, 18 U.S.C. § 1961, et seq; and

(g) Such other and further relief which may seem just and reasonable under the circumstances.




RESPECTFULLY SUBMITIED AND SWORN TO this                     -1     day of September, 2013




Andrew G. Clark ProSe

3270 Stoney Ridge Rd.

Eugene, OR 97405

541-510-3915        541-636-3662




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                       Of Attorneys for Ogletree, Deakins, Nash, Smoak & Stewart, P.C., Leah Lively,
                       David P.R. Symes, Elizabeth Falcone, Amanda Bolliger, Kim Ebert, and
                       Christopher Mixon




                       IN THE LTNITED STATES DISTRICT COURT OF THE STATE OF OREGON
                                                  DISTzuCT OF OREGON

                                                      Eugene Division




          ANDREV/ CLARK,
                                                                                      NO. 6:13-cv-01546-AA
                                                      Plaintiff,
                                                                         MEMORANDUM IN SUPPORT OF
                                     V.                                  DEFENDANTS' MOTION FOR
                                                                         APPOINTMENT OF GUARDIAN
          V/ELLS FARGO BANK, N.4., et al,                                AD LITEM FOR PLAINTIFF, OR
                                                                         IN THE ALTERNATIVE, FOR
                                                   Defendants.           DISMISSAL

                                                                         Pursuant to Federal Rule of Civil
                                                                         Procedure 17(c)

                                                                         Request for Oral Argument


                                                   1. INTRO
                       The plaintiff is mentally incompetent to understand the meaning and effect of the legal

          proceedings he has instituted. As a consequence, the court should set these matters for a hearing

          for the purpose of the determining whether there is cause to appoint a guardian ad litem. If the

          court orders a mental examination, and the plaintiff refuses to cooperate, the court should dismiss

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         Page 1
         MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
         PLAINTIFF, OR IN THE ALTERNATIVE, FOR DISMISSAL                               SAMUELS YOELIN KANTOR LLP
                                                                                                 Attornevs at Law
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          the plaintiff s complaint.

                                                    2. BACK GROIINI)
                       Clark (55) is a former employee of Wells Fargo. He was hired in September 2009                      as

          a home loan       officer in Eugene, Oregon.
                       In about April 20II, Clark began exhibiting signs of erratic behavior. At that time, he
          was disciplined by Wells Fargo for unprofessional conduct in the worþlace.

                       In May 2011, Clark filed a Department of Labor complaintl against Wells Fargo for
          alleged violation of the Sarbanes-Oxley        Act.   Ogletree, Deakins, Nash, Smoak             &     Stewart,

          P.C. (hereinafter "Ogletree") was hired by Wells Fargo to defend that complaint.

                       Clark's erlratic behavior continued. He was disciplined on June 2, 2011, for
          workplace behavior (altercation with his supervisor) and was terminated on June 28,2011.

                       In July 2011, Clark was cited for trespass at his former place of employment.
                       In August 2011, Wells Fargo learned that Clark was posting confidential Wells Fargo

          customer information on his public website. His refusal               to   remove that confidential

          information led to Ogletree ñling a complaint for injunctive relief in federal court on the
          behalf of Wells Fargo. The lawsuit sought a temporary restraining order, preliminary
          injunction and permanent injunction. Ogletree was successful in obtaining a temporary
          restraining order and preliminary injunction requiring Clark to remove the confidential client

          information, which he eventually did.

                       During the litigation, Clark, appearing pro se, engaged in a pattern of offensive,
          obscene, sometimes lurid, and often hostile communications with Ogletree and their client,

          Wells Fargo. Some of these communications were styled as "pleadings" and mar¡y of them

          were direct communications to the Ogletree attorneys and staff'


          I Clark's claim was filed under Section 806 of the Corporate and Criminal Fraud Accountability Act of
          2002,TitleVII of the Sarbanes-Oxley Act of 2002,18 U.S.C. $ 15144, and the implementing regulations
          found at 29 C.F.R. $ 1980.

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         MÕTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
         PLAINTIFF, OR IN TFTE ALTERNATIVE, FOR DISMISSAL                               SAMUELS YOELIN KANTOR LLP
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                      The DOL case was dismissed on August 9, 2012 on Wells Fargo's Motion for
          Summary Decision. The federal case was resolved in Wells Fargo's favor on its motion for

          summary judgment on October 5, 2012.                 In that case, Judge Hogan issued a permanent
          injunction prohibiting Clark from posting confidential client material on his public website,
          and found Ciark in contempt, based on his inappropriate communications.

                      Resolution of these cases did not, however, abate Clark's deluge of offensive and

          threatening communications             to Ogletree and its attorneys.         Clark's communications
          continued on an almost daily basis through his arrest on July 25,2013. At that time, the tone

          and content of his communications appeared to be growing more aggressive.

                      Clark sent these communications, not only to Ogletree's Portland office, but also to

          several of their offices around the United States. These communications have also been sent

          to random attorneys in Oregon and other states and to the Oregon State Bar.

                      By May 2013, there was no reason to believe that these communications will                       cease

          without judicial intervention. Therefore, on May 30, 2013, plaintiff s cotuse of conduct against

          Ogletree and one of its attorneys, Leah Lively (hereinafter, collectively, the "Victims") was

          presented      to Detective Anthony D. Veach, Violent Crimes Unit, Eugene Police                   Department

          (Exhibit     1,   with redactions for Victims' protection). After further investigation, Detective Veach

          and counsel for the Victims presented this case to the Lane County Prosecutor, who issued a 10-

          count criminal complaint against the plaintiff for stalking Ogletree Deakins and Leah Lively

          (Exhibit 2).

                      Plaintiff was arrested on July 25, 2013 and eventually released on $200,000 bail with

          conditions prohibiting him from contacting the Victims and limiting his mobility to the Eugene

          area (Exhibit       3). This federal lawsuit followed.




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        MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
        PLAINTIFF, OR IN TI{E ALTERNATIVE, FOR DISMISSAL                                   SAMUELS YOELIN KANTOR LLP
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                                      3. FACTS \ryHICH RAISE ISSUES OF COMPETENCY
          A.          Plaintiff s Conduct During Prior Litigation.
                      During the Department of Labor and federal court proceedings which concluded in late

          2072, the plaintiff engaged           in   unconscionable conduct which not only confused and often

          offended the tribunals, but also failed to articulate a cogent advocacy on the plaintiffs own

          behalf.

                      The following are some examples of the plaintiffls pleadings in those proceedings:

                      1.     From the Department of Labor case no. 2012-SOX-00003:

                             a.          Clark's Motion for Reinvestigation of Initial Retaliation Complaint;
          Exhibit 4.

                             b.          Clark's Motion to Find an Attorney in Contempt of Court and Sanction

          with Prejudice (including a motion for DOL/OSHA investigation into specific corruption of
          DOL in this case by Leah Lively) Exhibit          5.

                      2.     From U.S. District Court Case No. 6:Il-cv-6248-HO:

                             a.          Clark's Motion for Separate Trial (Application of Anti-Cartel; Application

          of R.I.C.O.; Regulations Against Plaintiff and/or Securitas, Inc., Joindered (sic)). Exhibit 6.

                             b.          Clark's Affidavit and Motion to Augment Record (including Motion to

         Remand to Congress for Hearing) Exhibit 7.

         B.           Plaintiff   s   Conduct Outside and After Prior Litigation.

                      During and after the prior litigation, plaintiff has engaged in repeated and unwanted
          contact with Ogletree which has caused Ogletree, and its attorneys and staff, reasonable

          apprehension regarding the personal safety of the Ogletree attorneys and staff. That evidence

          consists, in material part, of the following written and video communications, which are

          attached as Exhibits 8 through 30:




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        MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
        PLAINTIFF, OR IN T}M ALTERNATIVE, FOR DISMISSAL                                     SAMUELS YOELIN KANTOR LLP
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         8.           Undated fax which reads inpart:
                            ta
                                      RNEY OGLE                                           RAPISTS
                                      KILLERS. Your Child           NEXT."


         9            Email dated March 8,2012 10:56 a.m. which reads in part:
                             "I hope what you did to me happens to you qr your kids. -I
                            really do so you can FEEL
                                 -You                       it.
                                                              . . You will suffer aq yoy made
                            me.       arc all sick animals and you must all be dealt what you
                            dealt to me."

          10          Email dated June 20, 2012l:06 a.m. which reads in part:

                            "You are abject criminals of the very most obvious sort. I am
                            not talking about "torts" . . . you are Criminals. Your action is
                            SLAPP and it is tandem to RICO. And then YOUR FIRM tries
                            to BURN ME MORE? Bring it ON, Ms. Lively. . . Bring it On
                            if that is what YOU want."
          11          Email dated August 2,2012 6:30 p.m. which reads in part:

                             "You freaks are going down. There will be nothing left. You
                             will be living in tènts eating bugs for what you did. Ms. Live_ly:
                             get ready foi buying clothing at Salvation Army Counters after
                             the 5 year stretch."

          t2.         Email dated August 8,201210:39 p.m. which reads in part:
                             "Bunch of sick fuks (sic), you will get your payback each day as
                             you have to live with yourself. Not much longer liddos,.not
                             inuch longer. Infowars are ON pigs! Thank you for stealing
                             and crushing. You all suck except people who want to look at
                             this horror and actually help. thanks u."

          I3          Fax dated 912612012   I2:2I p.m. which      reads in part:

                             "Never again will      a                     An Person
                             of                         H                                 Response.
                                                                   S                      to politely
                                                              destroy me utterly."

          t4          Fax dated   April 05,2013 I:22 a.m. which        reads in part:

                             "4.4.13, Hate-O-Gram . . . Charges Against Portland Attorneys
                             Leah Lively, David Symes and Wells Fargo Security ,A.gent
                             Martin Ogiro. It is possible Leah Lively's husband was
                             involved. . .



             - MEMORANDUM IN SUPPORT OF DEFENDANTS
        Page 5
        MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
        PLAINTIFF, OR IN THE ALTERNATIVE, FOR DISMISSAL                                     SAMUELS YOELIN KANTOR LLP
                                                                                                   Attomevs at Law
                                                                                               lllsw5hÃve suire3800
                                                                                                Portland- OR 97204-3642
                                                                                                Teleohoíe ( 503\ 226-29 66
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                                                                                                                    EXHIBIT 6
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                              They are the worst of the many anal worms who attacked me.
                              They go first. It will taken (sic) down to the level of the process
                              server. The Bar Association is going to be decertified. The
                              local judges will be shipped out on rail after tar artd feathering.
                              One of the sickest most disgusting blots on the planet is the
                              used-tampon of a beast named Leah Lively who is a filthy
                              stinking corporate whore with intellectual Ebola. She thinks she
                              is pretty. She is Ghastly Ugly. Her ugliness inside is so horrific
                              it ruins an otherwise decent looking woman. Bust them,
                              impoverish them, put them on the streets . . . I will start all-out-
                              legal-war shortly due to necessity."

           15.         Fax dated 4lI3l20I3 6:57 a.m. which reads in part:

                              "4.12.2013 Christopher Mixon Ogletree Deakins et al . . . I must
                              now ramp up neutralization of legal opposition forces. There is
                              no doubt in my mind all Attorney at Ogletree Deakins with
                              CLIENTS will be finding another place to work within 30 days
                              leaving the rest stuck with all the bills and no income and you
                              and your families will possibly die on the streets. . . That is what
                              shall be delivered to you and all who did Wrong to Me. What
                              you dished out will be served Cold and in Spades and Beyond
                              Comprehension."

           r6          Fax dated 4lI8l20I3 8:51 a.m. which reads in part:

                              "Ogletree Attorney are Know-Nothing Perverted Anal Worms
                              Who Rape, Kill, and Eat our Children . . . Workers: Lock &
                              Load NOW - Annihilate Stupid Overpaid Management."
           t7          Fax dated 412012013 10:10 a.m. which reads in part:

                              "BLAME:     Ogletree Deakins Employment Law . . . They are a
                              mindless, expensive, know-nothing Boilerplate Legal Filing
                              Dumping Machine. Their piles of legal crap may impress the
                              uneducated but it is treasonous tripe from the Rotted Fetid Ogle
                              Tree. They are the Death of Intellect, the Death of the Worker.
                              They are the Death of their Clients and all of America. Their
                              rapacious tyranny must End. Drown them in Feces. Thank you
                              very much."

           18          Fax dated   4l2ll20l3 12:15 a.m, which   reads in part:

                             "Ogletree Deakins Attorney are cheating fee-gouging Pus-Filled
                             Anal Worms of Holocaust. They are expensive, know-nothing
                             Gaping Legal Rectums Grunting Out Fecal Filings in Courts.
                             Their boilerplate piles of random idiocy may impress others as
                             stupid as them but it is treasonous Ebola-infected tripe from the
                             Rotted Ogle Tree of Homicide. They are the Death of Intellect,
                             the Death of the Worker. They are the Death of their Clients
                             and all of America. Ogletree rapacious tyranny by fear and

              - MEMORANDUM IN SUPPORT OF DEFENDANTS'
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         MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
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                             degradation of the American Worker must End."

          t9          Fax dated 4124120131:53 a.m. which reads in part:

                             "Leah and Ogletree: There is a lot more to this meets the eye.
                             This was among correspondence sent to Ms. Lively. I will let
                             her show you the hilarious ones where I suggested we drop
                             the case and have loving sexual relations instead."

          20          Fax dated 4l24ll3 8:i5 a.m. which reads in part:

                             "Leah and Ogletree: There is a lot more to this meets the eye.
                             This was among correspondence sent to Ms. Lively. I will let
                             her show you the hilarious ones where I
                             the                                                      were
                             SO                                                             ate
                             by the                        Fallacy."

          21.         Fax dated 412712013 10:00 a.m. which reads in part

                             "Leah Lively, O gletree                                  are going to be
                             Toasted. At a mmlmum                                     and shamed until
                             they turn to dirt.
                                                       I       ki         I am not.


          22.         Fax dated 412712013 10:59 a.m. which reads in part:
                             (a
                                          Deakins and most attorney are fee-                           fee-
                                                     of the lowest order.
                                                        Tar and Feathers
                             imprisonment."

          23          Fax dated 412812013 4:17 p.m. which reads in part:

                             "Ogletree Deakins         a            are mean Faggots
                             tim                                             Tacticstt . ..
                                      or \il hat it   is
                                                                       coordinated for the "Bank"
                             should sub



                             You      Art." ote          bits 17, 18, 19, 20 and22references to
                             a Youtube video which includes an image of an actor suffering
                             death on an electric chair)



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        MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
        PLAINTIFF, OR IN THE ALTERNATTVE, FOR DISMISSAL                                           SAMUELS YOELIN KANTOR LLP
                                                                                                         Attomevs at Law
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                                                                                                      Portlând- oR 9?204-3642
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          24          Fax dated 51612013 10:24 p.m. which reads in part:

                             "All attorney involved in this matter acted illegally and due to
                             my Agency filing there is absolutely no exit and no escape for
                             what Ogletree/Wells Fargo perpetrated unless we Work
                             Together for Progress."

          25          Fax dated 51712013 8:33 a.m. which reads in part:

                             "NEW MUSIC ART Tool: "Liars, Lawyers what's the
                             Difference" with Extremely BLOODY VAMPIRE Attorney
                             Footage    about 2 minutes until the end.
                                                                  B                   its
                                   into     F
                                                                                     tn


                             Dear Ms. Lively: . .   .



                             Nobody wants to think of a really good looking woman as a
                             Felon subject to Life in Prison or the Death Penalty but that is
                             your new reality." (See Exhibit22 which links to the referenced
                             video.)

          26          Fax dated 51712013 9:38 a.m. which reads in part:

                             "Art Film depicts District Court. The Judge oozes Blood from
                             its freshly bitten arm into the Female Attorney's Mouth.
                             Another Female Attorney is smearing Blood all over herself in
                             open COURT wearing almost nothing. .           .



                             Dear Ms. Lively: . .   .



                             The simplest solution is usually correct.          If   Vog did that,     it   is
                             my opinion that Specific act of Genocide for
                             economic/political reasons tied into the Kidnapping,
                             Concealmento and the arguably-treasonous violation of
                             Dodd Frank/SOX in context with my Wells Fargo India
                             Solutions reporting is what propels this matter into
                             something so criminal, so novel, that it will require
                             application of the Death Penalty on a Liberal Basis."
          27          Fax dated 51812013 7:27 a.m. which reads in part:
                             ((
                                                District Court.
                                                                                            ts
                             its                                                 A
                                            e
                             open COURT wearing a swimsuit. .         .



                             Ms. Leah Lively Attorney Ogletree Deakins


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        MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
        PLAINTIFF, OR IN TFIE ALTERNATIVE, FOR DISMISSAL                                          SAMTJELS YOELIN KANTOR LLP
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                             I think Attorney REALLY screwed up. Let's compound it wíth
                             øn  Act of Genocide to Retaliøte. . . Leah Lively: Literally this-
                             if you personally coordinated this by calling up security at Wells
                             Fargo Bank in Portland to mess with mortgage biz in Eugene
                             and then take my family away, you will be Dealt the Death
                             Penalty if possible under the Law for your disgusting,
                             treasonous, sickening coordinated act of Holocaust. Disbarment
                             is going to happen. You appeæ to be the worst type of Bank
                             Robber, Kidnapper, and Manipulator. You are a blight upon the
                             entire human race the likes never before seen if you actually did
                             what it seems that you did."

          28          Fax dated 51912013 5:33 p.m. which reads in part:
                             ..URGENT UPDATE LEAH LIVELY/OGLETREE DEAKINS

                             " . . . my recent Vampire Video which was a Grave Yard Hit . . .
                             over 12,000 views in just a couple days. It is on sites or on
                             youtube channel RisePatriot. It can be "our song". 13 4 u"

          29.         Email dated I|l4ay 17,2013 7:32 p.m. Subject

                             Andrew Clark dead at Albertson's     S
                                                                                 ) This video
                             1S            1n           r'7,                 2l and shows the
                             scenes referenced   in those Exhibits.      Screen shots   of   those
                             scenes are attached to Exhibit 22.

          30.         Fax dated 512312013 l:22 p.m. which reads in part:

                             "Ogletree Deakins attorney Leah Lively . . . caused a police and
                             SLAPP action against me. . . . I have no option and in fact have
                             the obligation to return in spades what Oppressors deal out . . .
                             until a victim's last breath. As I have written and said hundreds
                             of times during the corporation/community anti-Sementic
                             profiling and cleansing . . . Never Again. This Jew will not go
                             quietly. I will scream loudly, clearly, daily . . . and I will make
                             sure to bring as many of my oppressors with me to the same
                             legal graveyard of ghettoization and defamittg endless
                             lawsuits against you and your companies and massive negative
                             publicity. Endless 'smearing.' The innocent-but-rich
                             executives will be "perp-walked and then sent to prison."

                      Another uncommon feature       of Clark's campaign was its sheer volume.                      The

          communications with the more threatening aspects are outlined above. However, over the

          course of this campaign, Clark sent over 2,500 communications to Ogletree and other third

         parties. This overwhelming barrage has been intimidating and bizarce if only because of the


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        MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
        PLAINTIFF, OR IN T}IE ALTERNATIVE, FOR DISMISSAL                                           YOELIN           LLP
                                                                                             lil             3800




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                                                                                                              EXHIBIT 6
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          energy and intensity required to provide it.

          C.          Plaintiffls Repeated Complaints to the Securities and Exchange Commission, the
                      Federal Bureau of Investigation, Congress and other Federal Agencies.

                      Since the resolution   of the prior litigation, plaintiff has purported to continue to file
          massive complaints with several federal agencies, the purpose of which is not ascertainable from

          those   filings. As examples, the following communications from plaintiff      are provided:

          A.          Filed with the Securities and Exchange Commission.

                      Plaintiff has purportedly filed the following complaints with the Securities and Exchange

          Commission as shown by the following exhibits:

                      (1)    Corespondence to SEC Chairman and Commissioners dated 5l3lll3, Exhibit 31;

                      (2)    Report   to United States Securities and Exchange Commission:                           Wells

          Fargo/Andrew Clark dated 5122113, Exhibit 32;

                      (3)    Correspondence with a facsimile date of 512112013, Exhibit 33;

                      (4)    Report to the United States Securities and Exchange Commission with a facsimile

          date of May 22,2013, Exhibit 34;

                      (5)    Report to the United States Securities and Exchange Commission with a facsimile

          date   of 512412013, Exhibit 35;
                      (6)    Correspondence    to   SEC Chairman and Commissioners with a facsimile date

          61212013,     Exhibit 36; and

                      (7)    Correspondence to Sean McKessy, Chief, SEC Office of the Whistleblower, dated

          7l8lI3, Exhibit 37.
          B.          To the Attomey General of the United States, the following:

                      (1)    Correspondence dated 613113, Exhibit 38;

                      (2)    Correspondence dated 616113, Exhibit 39; and

                      (3)    Correspondence dated 6128113, Exhibit 40.




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        MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
        PLAINTIFF, OR IN THE ALTERNATTVE, FOR DISMISSAL                                  SAMUELS YOELIN KANTOR LLP
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          C.           Correspondence to the Senate Committee on Banking, Housing and Urban Affairs dated

          July 8, 2013, Exhibit 41.

          D.           Correspondence         to the Offrce of   Labor Racketeering and Fraud Investigations,
          Department of Labor, dated 7lzll3,Exhlbit 42.

          E.           Correspondence to Richard S. Clark, Deputy Assistant Inspector General, dated 6110113,

          Exhibit 43.

          F.           Correspondence to the Office of the Comptroller of the Currency, dated 611113, Exhibit

          44.

          G.           Correspondence to the Central Intelligence Agency dated 41212013, Exhibit 45.

                              1 I-r)ITRT'S ATITIIr)RTTY TO DETERMINE COMPE,TENCY
                       Once a factual issue has been raised as to whether a plaintiff is mentally competent to

          understand the meaning and effect              of legal proceedings he has instituted, the court has the
          authority to conduct an inquiry regarding his competency. That authority is based on a grant of

          power under Fed.R.Civ.P. 17(c), to determine whether a guardian ad litem should be appointed

          to represent a litigant in the pending civil action. Cintje v. Government of the Virgin Islands,95

          F.R.D. 430,43t-432 (D.V.I. 1982).

                       When the competency of a party is raised, a court may require that party to submit to

          psychiatric examination, so that the court may have a medical basis for its decision on the

          necessity of appointing a guardian ad litem. Cintie af 432.

                       If a party plaintiff   refuses to submit to a court-ordered mental examination regarding his

          competency, the courtmay dismiss his complaint. Bodnerv. Bodner,44I F.2d 1103, 1104 (5th

          Cir. l97l); Cintje at 432.

                       Further, the plaintifPs complaint is subject to dismissal    if he refuses to permit a court-
          appointed guardian ad litem to act on his behalf. Gale v. Wagg,140 F.Supp. 6, 9 (E.D. Mich.

          I es6).




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         MOTION FOR APPOINTMENT OF GUARDIAN AD LITEM FOR
         PLAINTIFF, OR IN THE ALTERNATTVE, FOR DISMISSAL                                    SAMUELS YOELIN KANTOR LLP
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                                                    4. CONCLUSION
                      For the above reasons, the court should initiate proceedings to determine whether the
          plaintiff should be appointed    a guardian ad litem.




                      Dated this 26th day of September ,2013

                                                           SAMUELS YOELIN KANTOR LLP



                                                          By /*y' Steve'ru |il. Sev rnotot
                                                                STEVEN W. SEYMOUR, OSB No. 75332
                                                                  Telephone: 503 -226-2966
                                                                  Facsimile : 5 03 -222-2937
                                                                  SV/S@Samuelslaw.com

                                                                  Of Attorneys for Defendants Ogletree,
                                                                  Deakins, Nash, Smoak & Stewart, P.C.,
                                                                  Leah Lively, David P.R. Symes,
                                                                  Elizabeth Falcone, Amanda B olliger,
                                                                  Kim Ebert, and Christopher Mixon




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        MOTION FOR APPOINTMENT OF GUARDTAN AD LITEM FOR
        PLAINTIFF, OR IN THE ALTERNATIVE, FOR DISMISSAL                                 SAMUELS YOELIN KANTOR LLP
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                                CERTIFICATE OF SERVICE
       I hereby certify that, on the date set forth below, I caused a true, exact, eq¿ !r!_goqy^{
the foregoing'MEMoR.{NDUM IN SUPPORT OF DEFENDANTS' MOTION FOR
APPOIN-TUNNT OF GUARDIAN AD LITEM FOR PLAINTIFF, OR IN THE
ALTERNATIVE, FOR DISMISSAL to be served on each of the following parties or persons:

        Andrew G. Clark Pro Se
        3270 Stoney Ridge Road
        Eugene, OR 97405

by the following method:

        ø    First Class Mail, postage PrePaid            tr   Hand Delivery

        tr   FacsimileTransmission                        tr   Overnight Delivery

        tl   Electronic Mail


       DATED:      September 26,2013

                                             SAMUELS YOELIN KANTOR LLP



                                             By:               W.
                                                    STEVEN W.            OUR, OSB No. 15332
                                                    Telephone: 503 -226-29 66
                                                    Facsimile: 503 -222-2937
                                                    SWS@Samuelslaw.com

                                                    Of Attomeys for Defendants Ogletree,
                                                    Deakins, Nash, Smoak & Stewart, P.C.,
                                                    Leah Lively, David P.R. Symes,
                                                    Elizabeth Falcone, Amanda Bolliger,
                                                    Kim Ebert, and Christopher Mixon




Page 1 - CERTIFICATE OF SERVICE




                                                                                          EXHIBIT 6
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                IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF OREGON


ANDREW G. CLARK,                            Case No. 6:13-cv-01546-AA
                                                    OPINION AND ORDER
          Plaintiff,
     v.
WELLS FARGO BANK, N.A.,
WELLS FARGO HOME MORTGAGE,
and WELLS FARGO AND COMPANY,
          Defendants.

Andrew G. Clark
3270 Stoney Ridge Road
Eugene, Oregon 97405
     Pro se plaintiff
Christian Rowley
Peter D. Urias
Seyfarth Shaw LLP
560 Mission Street, Suite 3100
San Francisco, California 94105
David C. Campbell
Sharon C. Peters
Williams Kastner & Gibbs, PLLC
888 S.W. Fifth Avenue, Suite 600
Portland, Oregon 97204
     Attorneys for defendants

Page 1 - OPINION AND ORDER



                                                                  EXHIBIT 7
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AIKEN, Chief Judge:
        Defendants Wells Fargo Bank and Wells Fargo Home Mortgage 1
(collectively           "Wells   Fargo")    move    to    dismiss        plaintiff Andrew
Clark's complaint pursuant to Fed.                  R.    Civ.    P.    12(b)(6).      For the
reasons set forth below, Wells Fargo's motion is granted and this
case is dismissed.
                                       BACKGROUND
        Beginning in September 2009, Clark was employed by Wells Fargo
as a mortgage originator. At some point during his tenure at Wells
Fargo, Clark began compiling reports regarding the bank's alleged
violations         of    the     Sarbanes-Oxley          and     Frank-Dodd        Acts;       he
transmitted        this     information      both    internally           and     to   various
government agencies, including the Federal Bureau of Investigation
and Central Intelligence Agency. In June 2011, Clark was terminated
for repeatedly displaying unprofessional conduct. He then posted
Wells       Fargo's     confidential       and   proprietary           records,    including
private customer information, on his website.
        On July 18, 2011, the Eugene Police Department contacted Clark
at his home because Wells Fargo reported that he was trespassing
and had sent an email referencing genocide. Police officers warned
Clark to avoid Wells Fargo property in the future.                              On July 29,
2011,       the   police    arrested       Clark    for    second       degree     municipal
trespass. Plaintiff was held in the Lane County jail for 18 hours
before being released. The trespass charge was later dismissed.

        1
       Clark elected not to serve the other listed Wells Fargo
entity - i.e. Wells Fargo and Company - because he no longer
perceives it as a necessary party. Defs.'s Mem. in Supp. of Mot.
Dismiss 4, 16; Pl.'s Resp. to Mot. Dismiss 2, 18. Accordingly,
pursuant to Clark's stipulation, Wells Fargo and Company is
dismissed as a defendant from this action.
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        In August 2011,     Wells Fargo commenced a lawsuit seeking to
enjoin Clark from publishing, controlling, disclosing, or retaining
any of its equipment, confidential customer information, or trade
secrets. Clark filed numerous motions, which, amongst other things,
attacked Wells Fargo's counsel, Ogletree, Deakins, Nash, Smoak and
Stewart,     P. C.   ("Ogletree") ,     and   alleged    that    Wells   Fargo   was
engaging in racketeering and retaliation; the Court denied each of
Clark's motions. The Court, however, permitted Wells Fargo to file
documents reflecting Clark's inappropriate correspondences under
seal.
        On October 5,     2012,    after two hearings,          the Court granted
summary judgment in favor of Wells Fargo and entered a permanent
injunction. See generally Wells Fargo Bank, N.A. v. Clark ("Clark
~,      2012 WL 4794156 (D.Or. Oct. 5, 2012). At that time, the Court
held Clark in contempt for failing to "comply with standards of
professionalism in all his communications with Wells Fargo and its
counsel."       Id. at *5-7. Clark sent hundreds of emails and faxes to
Ogletree, some of which were threatening and/or obscene, and all of
which "had little to no bearing upon              [any]    legal issue between
plaintiff and defendant," despite being repeatedly instructed by
the Court "to limit his communications to plaintiff's counsel's
firm in Portland and to           keep those to a        strictly professional
tone."    Id.    Thereafter,      the   Court   denied    several    motions     for
reconsideration filed by Clark.            See generally Wells Fargo Bank,
N.A. v. Clark ("Clark II"), 2013 WL 2038561 (D.Or. May 14, 2013).
        On July 18, 2013, police officers arrived at Clark's home to
interview him about certain faxes and emails he had sent Ogletree
and one of its attorneys, Leah Lively. Although Clark denied that

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the communications at issue were threatening, officers warned him
if he continued to communicate inappropriately with Ogletree and
Lively, he may be criminally charged with stalking. On July 23,
2013,       Clark      sent     another       fax     to    Ogletree       and    Lively      in
contravention          of     police    orders.      On    July    25,    2013,    Clark     was
arrested and charged with ten counts of stalking; he was jailed for
six days        and released with an electronic ankle bracelet                           after
posting bail.
        On August 3, 2013, Clark initiated this lawsuit against Wells
Fargo, Ogletree, and Securitas Corporation ("Securitas"), as well
as certain individually named employees, alleging:                           (1) violations
of the Racketeer Influenced and Corrupt Organizations Act ("RICO")
(claims one through nine) ;                ( 2) deprivation of his First, Fourth,
Fifth, Eighth, and Fourteenth Amendment rights in violation of 42
U.S.C.      §   1983    (claims      ten     and    twelve);      (3)    defamation      (claim
eleven);        (4) violations of the Occupational Safety and Health Act
("OSHA")        (claim thirteen);          (5) gross negligence (claim fourteen);
and (6) a conspiracy against constitutional rights in violation of
18   U.S.C.      §§    241,    242     (claim fifteen) . 2        That    same    day,   Clark
effectuated service on Ogletree and Securitas.
        On September          26,    2013,    Ogletree moved to           dismiss     Clark's
complaint        or,   alternatively,          appoint      a   guardian     ad    litem.     On
October 21,         2013,     Securitas      filed a motion to dismiss                Clark's
claims. On October 24, 2013, pursuant to notification by the Lane


        2
       Clark additionally lists libel,                      false light, invasion of
privacy, and violations of the Oregon                      Safe Employment Act as
causes of action without any specific                      allegations in support
thereof. The Court therefore declines                      to address these claims
further.
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County Circuit Court, the Court stayed these proceedings pending
resolution of the criminal stalking charges brought by Ogletree and
Lively. On January 9, 2014, Clark entered into a plea agreement,
which, in relevant part, precludes him from contacting Ogletree or
its attorneys, except through counsel, for ten years.
        On January 31, 2014, the Court resolved several motions filed
by Clark.     Notably,   the Court dismissed Securitas and all of the
individually named defendants pursuant to Clark's stipulations.
Moreover, based on the terms of the plea agreement entered into by
Clark and the Lane County District Attorney's Office,                    the Court
also dismissed Ogletree from this lawsuit unless and until Clark
retains     counsel,     leaving   Wells    Fargo    as    the    only   remaining
defendant.         Accordingly,    the     Court     denied      Securitas's        and
Ogletree's motions to dismiss is moot.              On April 29,      2014,     Clark
effectuated service on Wells Fargo. On May 20,                2014, Wells Fargo
moved to dismiss Clark's complaint.
                             STANDARD OF REVIEW
        Where the plaintiff "fails to state a claim upon which relief
can be granted," the court must dismiss the action. Fed. R. Civ. P.
12(b) (6). To survive a motion to dismiss, the complaint must allege
"enough facts to state a claim to relief that is plausible on its
face." Bell Atlantic Corp. v. Twombly,              550 U.S. 544, 570         (2007).
For purposes of a motion to dismiss,            the complaint is liberally
construed in favor of the plaintiff and its allegations are taken
as true.     Rosen v. Walters,     719 F.2d 1422, 1424           (9th Cir.     1983).
Bare    assertions,    however,    that    amount    to   nothing more        than    a
"formulaic recitation of the elements" of a claim "are conclusory
and not entitled to be assumed true." Ashcroft v. Iqbal, 556 U.S.

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662, 681 (2009). Rather, to state a plausible claim for relief, the
complaint "must contain sufficient allegations of underlying facts"
to support its legal conclusions.            Starr v.       Baca,   652 F.3d 1202,
1216 (9th Cir. 2011), cert. denied, 132 S.Ct. 2101 (2012).
                                     DISCUSSION
        Wells Fargo contends that, "[g]iven Clark's failure to allege
plausible facts supporting his claims, Clark's complaint and each
Count thereof should be dismissed for failure to state a claim."
Defs.'s Mem. in Supp. of Mot. Dismiss 3. In the alternative, "Wells
Fargo      joins Ogletree's Motion to Appoint           a    Guardian ad Li tern,
pursuant to Fed. R. Civ. P. 17(c), due to Clark's well-documented
history of mental instability and harassment of opposing counsel."
Id. at 16.
I.      Preliminary Matters
        Three     factual   issues merit    clarification before the Court
reaches the substantive merits of Wells Fargo's motion.
      A.        Remaining Parties
        Clark asserts repeatedly that Ogletree and the Eugene Police
Department are agents of or engaged in a conspiracy with Wells
Fargo.     See,    e.g.,    Pl.'s Resp.   to Mot.   Dismiss 2,      32 3 ;   see also
Compl.     ~~   50,   59,   62.   Although Clark concludes that an agency
relationship exists, none of his factual allegations demonstrate


      3
        Ordinarily, "[i]n determining the propriety of a Rule
12(b) (6) dismissal, a court may not look beyond the complaint to
a plaintiff's moving papers, such as a memorandum in opposition
to a defendant's motion to dismiss." Schneider v. Cal. Dep't of
Corr., 151 F.3d 1194, 1197 n.1 (9th Cir. 1998). Nevertheless, in
light of Clark's prose status, and in order to provide the most
complete review of this dispute, the Court considers new
allegations contained in Clark's opposition, as well as the
"evidence" he cites from his website, www.risepatriot.com, in
evaluating Wells Fargo's motion.
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that the investigating officers or Ogletree were subject to the
control of Wells Fargo,            except to the extent Ogletree performed
legal services on behalf Wells Fargo. See Eads v. Borman, 351 Or.
729, 735-36, 277 P.3d 503 (2012)           (defining an agency relationship).
Likewise,    his assertions concerning a              conspiracy are vague and
conclusory,    such that they lack the requisite specificity to be
considered plausible. Regardless, as Clark acknowledges, Ogletree
is no longer a party to this lawsuit. Further, the Eugene Police
Department and/or the City of Eugene are not, and never have been,
named as defendants.          Thus,     neither Ogletree's nor the police's
alleged actions are actionable at this stage in the proceedings.
     B.      Underlying Criminal Conviction for Stalking
     Clark    devotes       considerable     portions        of   his    complaint   and
response to collaterally attacking his                  criminal conviction          for
stalking.    See,   e.g.,    Pl.'s Resp.     to Mot.        Dismiss 10-11,     21;   see
also Compl.    ~~   21,     51,   59.   Clark also filed a motion with this
Court impugning his plea deal and indicating that he would appeal
that conviction. See generally Pl.'s Mot. to Augment the Record.
     Initially,      this Court is without authority to overturn or
otherwise alter a state court judgment in this context. See Weems
v. Or. Univ. Sys., 2012 WL 4093539, *3-4                    (D.Or. Sept. 17, 2012),
aff'd,    2014 WL 1409992         (9th Cir. Apr.      14,    2014)      (explaining the
Rooker-Feldman doctrine, which "bars any suit that seeks to disrupt
or undo a prior state-court judgment,              regardless of whether the
state court proceeding afforded the federal court plaintiff a full
and fair opportunity to litigate              [his]     claims")        (citations and
internal quotations omitted).
     Further, because Clark was criminally convicted, the alleged

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actions       of    Wells     Fargo    that   precipitated           his   arrest   are    not
litigable at this time. This is especially appropriate given that,
as    discussed        above,     there       are     no    well-pleaded       allegations
indicating that Wells Fargo was responsible for or involved in the
charges Ogletree and Lively filed against him. In other words, any
allegations of kidnaping or wrongdoing relating to this event are
not     plausible.       In    fact,    Clark's        plea    agreement,       wherein     he
stipulated to one count of stalking, establishes that Ogletree's
and Lively's complaints, as well as the actions of law enforcement
in charging him and taking him into custody, were legally valid.
Accordingly,          Clark's claims that are premised on his July 2013
interactions with the police and subsequent arrest and criminal
conviction fail.
        C.     Previous Lawsuit with Wells Fargo
        Clark's claims are based, in part, on the alleged injustices
he suffered pursuant to his previous litigation with Wells Fargo,
including       the    fact    that    the    Court    permitted Ogletree           to    file
certain documents under seal. See, e.g., Compl.                       ~~   9-32, 39-42, 44;
see also Pl.'s Resp. to Mot. Dismiss 38. Clark, however, did not
appeal       that   lawsuit.     In    any    event,       because    those    issues     were
previously litigated between the same parties and resulted in a
final    judgment,      they cannot form the basis of this action.                         See
generally Clark I, 2012 WL 4794156 (D.Or. Oct. 5, 2012); see also
Clark II, 2013 WL 2038561 at *1 (denying Clark's motions regarding
a mistrial, RICO claims, and to unseal PACER accounts); Siegel v.
Fed. Home Loan Mortg. Corp., 143 F.3d 525, 528-29 (9th Cir. 1998)
(claim preclusion, also known as res judicata, "bars all grounds
for recovery that could have been asserted, whether they were or

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not, in a prior suit between the same parties on the same cause of
action")       (internal citation omitted). As such, to the extent this
lawsuit involves related claims or causes of action, res judicata
precludes re-litigation of those issues.
II.     Racketeer Influenced and Corrupt Organizations Act Claims
        Clark alleges that Wells             Fargo violated RICO by "actively
corrupt[ing] local police with falsifications, innuendo, and abuse
of authority to induce them to perform Plaintiff's removal from his
home and related jailing," such that "their actions fully meet the
definitions of kidnaping described in 18 U.S.C.                      §       1201." Compl.            CJ[CJ[

62,   65.   In addition,      Clark asserts that Wells                     Fargo improperly
filed documents under seal in its previous lawsuit,                                      retaliated
against him for "providing                         the FBI     [with]              reports,"         and
"intentionally          harassed     [him]     by    malicious                prosecution            of
groundless civil and criminal offenses." Id. at                          CJ[CJ[   70-73, 78.
        RICO    makes    it   "unlawful      for    any    person            employed           by   or
associated with any enterprise engaged in,                     or the activities of
which    affect,    interstate       or   foreign      commerce,                  to    conduct      or
participate,       directly     or   indirectly,          in   the        conduct          of    such
enterprise's affairs through a pattern of racketeering activity."
18 U.S.C. § 1962(c); see also 18 U.S.C. § 1961(1)                                 ("racketeering
activity" includes any act "indictable" under certain enumerated
federal criminal statutes) . 4 To state a RICO claim,                                  "a plaintiff

     4
       Clark opposes dismissal, in part, because "the State of
Oregon has its own set of Racketeering and Kidnaping laws [and
Wells Fargo] has not discussed that aspect." Pl.'s Resp. to Mot.
Dismiss 37. Clark's complaint only alleges claims under the
federal RICO statute, such that it was unnecessary for Wells
Fargo to brief Oregon's racketeering requirements. See, e.g.,
Compl. CJ[CJ[ 60-78. In any event, any state law racketeering claims
fail for the same reasons as Clark's federal RICO claims.
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must plead facts establishing:                                       (1) that the defendant;                             (2) through

the       commission                of      predicate               criminal             acts         which          constitute                a

pattern            of      racketeering                   activity;                (3)        directly            or       indirectly

invests in, or maintains an interest in, or participates in;                                                                         (4) an

enterprise."                   See Hogan v. NW Trust Servs., Inc., 2010 WL 1872945,

*10      (D.Or. May 7, 2010), aff'd,                                   441 Fed.Appx. 490                        (9th Cir. 2011)

(citation omitted) . A pattern of racketeering "must be based on at

least two acts of racketeering,                                          must show that the racketeering

predicates are related, and that they amount to or pose a threat of

continued crimina 1 activity. " .::,C'""'o'""o~p~e""r=---=I-"'n'""d"-"u"'-!s~.L'--"'I""n"-"c"-'--._v.!!.....!_•--=L~a~g::~-r~a"""n~d~T=..,l=..r~e
Chains, 205 F.Supp.2d 1157, 1165 (D.Or. 2002)                                                        (citations omitted).

          Clark's RICO claims are defective in many respects.                                                                      First,

because           Wells          Fargo          is      the        only        remaining               defendant,                Clark's

complaint fails to allege the existence of both a "person" and a

distinct              "enterprise,"                     the        affairs               of      which           that          "person"

improperly conducts. See Cedric Kushner Promotions, Ltd. v. King,

533 U.S. 158, 161-66 (2001)                                  (explaining distinctness requirement).

Second, Clark does not plead what was specifically communicated by

Wells Fargo to the police or Ogletree, or when and by what means

the alleged misrepresentations took place.                                                        See Edwards v.                     Marin

Park, Inc., 356 F.3d 1058, 1066 (9th Cir. 2004)                                                          (RICO claims based

on a false representation must "state the time, place, and specific

content of the false representations as well as the identities of

the      parties            to      the       misrepresentation")                             ( citation            and       internal

quotations               omitted) .              Third,           although               Clark         makes          general            and

conclusory               statements                about          the        predicate               acts        of       tampering,

destruction                or       falsification                   of       records,             and        retaliation,                   he

nonetheless neglects to provide the required specificity.

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          Regarding his allegations                  concerning the predicate act of
kidnaping, the only direct wrongdoing that Clark alleges against
Wells Fargo is contacting the Eugene Police Department. See Pl.'s
Resp. to Mot. Dismiss 33 ("I am not including the City of Eugene
police as participants in RICO [instead] I allege and evidence that
Defendant         transmitted     lies         and     used     various       forms       of   undue
influence to affect illegitimate and illegal police activity").
Given that the police have an independent duty to investigate any
report       of    potential      criminal            activity,        this       allegation       is
inadequate to state a RICO claim against Wells Fargo. See Kahre v.
Darnrn,    342    Fed.Appx.    267,      268        (9th     Cir.   2009)     (legitimate         law
enforcement activity cannot serve as the basis of a RICO claim) . In
any event, Clark cannot establish the predicate act of kidnaping
because he was not transported across                           state lines,            which is a
requisite element. See 18 U.S.C.§ 1201(a) (1).
          Even if Clark's allegations of lawful arrest and litigation
conduct are construed as predicate acts,                            he    fails     to evince a
pattern of racketeering activity. Indeed, his complaint refers to
a single scheme perpetrated by Wells Fargo: "Defendants all have a
monetary,         professional,       and/or         political        benefit      in    kidnaping
Plaintiff to terrorize and destable him in order to conceal their
illegal activity." Compl.              <JI    64;    see also SIL- FLO,           Inc.    v.   SFHC,
Inc.,      917    F.2d 1507,    1516         (10th Cir.       1990)      (pattern of illegal
activity requirement unsatisfied where, "[w] hile the plaintiffs may
have      alleged     a   closed-ended              series     of   predicate        acts,      they
constituted a         single scheme to accomplish                     'one discrete goal,'
directed at one individual with no potential to extend to other
persons      or    entities").    Similarly,               Clark does       not    assert      facts

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sufficient for the Court to conclude that there is any continuing
threat    of       criminal              activity;        he   neither     outlines     any     ongoing
relationship with Wells Fargo, outside of this lawsuit, nor asserts
that Wells Fargo engaged in these allegedly wrongful practices as
"a     regular           way         of       conducting         [their]     ongoing        legitimate
business[es] ." H.J. Inc. v. N.W. Bell Tel. Co., 492 U.S. 229, 242
(1989). For these reasons, Wells Fargo's motion is granted as to
Clark's RICO claims.
III. 42 U.S.C.            §    1983 Claims
       Clark       next        asserts           that    Wells     Fargo    deprived     him    of    his
substantive and procedural constitutional rights, in violation of
42 U.S.C.      §    1983, by reporting:                   (1) inaccurate information to the
police, which resulted in his arrest and "internet defaming" via
"the    publication                 of     the    arrest       'mugshots'     with     summaries       of
charges";          and        (2)        to   the       District    Court    that      he   had      sent
threatening faxes and emails, which resulted in him being held in
contempt. Compl.               ~~    79-96, 109-15.
       To state a claim under 42 U.S.C.                              §   1983,    a plaintiff must
demonstrate that:               (1) the conduct complained of deprived him of an
existing federal constitutional or statutory right;                                     and    (2)   the
conduct was committed by a state actor or a person acting under
color of state law. See L.W. v. Grubbs, 974 F.2d 119, 120 (9th Cir.
1992), cert. denied, 508 U.S. 951 (1993). In other words, there is
no   right     to        be         free      from      the    infliction        of   constitutional
deprivations by private parties, "no matter how discriminatory or
wrong." Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 50 (1999)
( citation and internal quotations omitted) . Courts employ "four
different criteria" to identify state action:                                (1) public function;

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(2) joint action;         (3) governmental compulsion or coercion; and (4)
governmental nexus.         Kirtley v.    Rainey,       326 F.3d 1088,          1092   (9th
Cir. 2003)       (citations and internal quotations omitted).
        Even assuming that Wells Fargo's alleged actions violated an
established right, Clark's 42 U.S.C. § 1983 claims fail because he
neglected to allege the requisite state action.                        Indeed,     beyond
concluding that "all Defendants were acting under color of law,"
Clark does not address how the state was involved in the alleged
violation of his constitutional rights. Compl.                   ~   81. In any event,
a private bank and its employees function to provide financial
services      to    the   community.     This        function,       however,     is    not
"traditionally and exclusively governmental." Kirtley, 326 F.3d at
1093;     see also Flagg Bros.,         Inc.    v.    Brooks,    436 U.S.       149,    158
(1978)     ("[w]hile many functions have been traditionally performed
by governments,        very few have been        'exclusively reserved to the
State'").     Further,      neither    Wells    Fargo     nor    its    employees       are
appointed or paid by the state, and they act independently thereof.
See Parks Sch. of Bus., Inc. v. Symington, 51 F.3d 1480, 1486 (9th
Cir. 1995)       (no joint action exists where "benefits of [state-law
designated loan guarantor]            flow directly to students, not to the
state itself," even while "in a broad sense" conferring public
benefits).
        The state also does not direct a specific outcome in regard to
the services Wells Fargo provides or the actions Wells Fargo takes
in regard to its staff; rather, those decisions lie within Wells
Fargo's discretion. See Mathis v. Pac. Gas & Electric Co., 75 F.3d
498,    503-04     (9th Cir. 1996)     (no state action where the plaintiff
failed to present evidence that state officials participated in the

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actual decision to terminate him) . As Clark points out, Wells Fargo
is     regulated       by    the     government       and   is   qualified        to     provide
financial services pursuant to federal and state law.                               See Pl.'s
Resp.     to Mot.      Dismiss 13. Yet uthe mere fact that a business is
subject to state regulation does not by itself convert its action
into that of the State." Blum v.                       Yaretsky,       457 U.S.     991,     1004
(1982).       Moreover,        Clark     does        not    allege      that      the     police
participated in Wells Fargo's administration of financial services
or in the development or implementation of Wells Fargo's polices.
        In   other     words,       Clark's     contention       that     Wells    Fargo,       or
Ogletree as its agent, and the                E~gene    Police Department were acting
in     concert    with       each    other      amounts     to   nothing        more     than     a
description of a citizen making a complaint and the officer making
an independent judgment that an arrest was warranted. See Levi v.
Safeway, 1994 WL 706341, *3-4 (N.D.Cal. Dec. 12, 1994), aff'd, 94
F.3d 652        (9th Cir.      1996)     (no state action where,                although the
plaintiff ugenerally alleges multiple conspiracies to violate his
rights       [between the          defendant,    a    private    corporation,           and the
police],      he has not stated any facts to support his conclusory
allegations that these conspiracies existed"); see also Collins v.
Womancare, 878 F.2d 1145, 1155 (9th Cir. 1989), cert. denied, 493
U.S.     1056     (1990)        (umerely       complaining        to      the     police"       or
uexecuti[ng] a sworn complaint which forms the basis of an arrest"
does unot convert a private party into a state actor")                             (citations
omitted) . In sum, Clark does not plausibly assert, nor can he, that
the     state    has    so    far     insinuated       itself      into    a    position        of
interdependence with or control over Wells Fargo that it could be
considered a         joint    participant        in the      challenged conduct.              See

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Torabi v. Wash. Mut. Bank, 2013 WL 6229349,                    *4   (S.D.Cal. Dec. 2,
2013)     (private   banks   are        ordinarily    not   state     actors    for    the
purposes of a 42 U.S. C.       §        198 3 claim) . Wells Fargo's motion is
granted as to Clark's 42 U.S.C.             §   1983 claims.
IV.     Defamation Claim
        Clark contends that Wells Fargo "caused the police actions
that     resulted in extreme defaming within the community due                          to
internet     access"   and   "collected            emotional    fax    material       they
attributed to Plaintiff from their office fax machines and placed
it into Courts." Compl.        CJ[Cj[    97-108.    Clark elaborates upon these
allegations in his opposition, explaining that the first instance
of defamation relates to a 1979 criminal conviction that Ogletree
raised during his previous lawsuit with Wells Fargo; the second
instance     of   defamation       transpired         via   the     allegedly      false
statements Wells Fargo or Ogltetree made to police officers. Pl.'s
Resp. to Mot. Dismiss 46-47.
        To allege a claim for defamation, the complaint must assert
facts sufficient to establish that the defendant published to a
third person a false and defamatory statement about the plaintiff.
Marleau v. Truck Ins. Exchange, 333 Or. 82, 94, 37 P.3d 148 (2001).
An absolute privilege exists, however, where the publication was
consented to or made in the context of a judicial or quasi-judicial
proceeding. Wallulis v. Dymowski, 323 Or. 337, 348-49, 918 P.2d 755
(1996)    (citations omitted).
        As a preliminary matter, in part because Clark never details
what Wells Fargo communicated to whom,                 it is not clear from the
face of his complaint that the allegedly defamatory statements
were, in fact, false. Specifically, Clark does not dispute that he

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participated in criminal proceedings in 1979 or authored and sent
the communications underlying the contempt order and his stalking
conviction.    See generally Compl.;             see also Pl.'s Resp.              to Mot.
Dismiss 46     (noting only that his previous criminal "matters were
legally    expunged      in    the     State    of   Oregon").         Regardless,        the
defamatory     publications          identified      by    Clark       occurred        during
judicial     proceedings       and/or    appear      on    his     website.       As    such,
assuming     these     allegedly       defamatory      actions        can    be   properly
attributed to Wells Fargo, Wells Fargo is protected by absolute
privilege.
      Finally,    to    the    extent    Clark attempts          to    distinguish        his
publication of the allegedly defamatory material from that of Wells
Fargo, his argument is unavailing. Clark asserts "[a]ny content I
placed on the Internet can be instantly removed by me [such that
it] is not permanently defaming." Pl.'s Resp. to Mot. Dismiss 15.
Yet permanence, or lack thereof, is not an element of defamation.
Accordingly,     the    fact    that    Clark    can      remove      content     from    his
website but not a criminal database or court record is immaterial.
Therefore,    Wells     Fargo's motion to dismiss                is    granted in this
regard.
V.    Occupational Safety and Health Act Claim
      Clark also alleges that Wells Fargo violated OSHA by refusing
to block his fax number and employing "police and security forces
in the workplace," both of which represented "grossly unreasonable
response[s]" to his correspondences. Compl. <JI'!I 117-19. "OSHA does
not provide a private right of action for employees to bring claims
in federal court based on alleged violations of its                         provi~ions     or
associated regulations." Jacobsen v. N.Y.C. Health & Hosps. Corp.,

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2013 WL 4565037,               *7    (S.D.N.Y. Aug. 28, 2013)           (collecting cases);
Boyd v. Accuray, Inc., 2012 WL 4936591, *6 (N.D.Cal. Oct. 17, 2012)
 ("OSHA does not provide a private right of action"). Thus, Wells
Fargo's motion is granted as to Clark's OSHA claim.
VI.        Negligence
           Clark asserts that Wells Fargo was negligent in performing its
"duties of care to Plaintiff with respect to conducting criminal
and/or civil accusations" and are "legally responsible for .
the filing of police reports based on accurate information." Compl.
<J[<J[   121-22.
           To state a negligence claim under Oregon law, plaintiff must
establish          "(1)    a        duty   that    runs   from    the    defendant     to    the
plaintiff;         (2) a breach of that duty;              (3) a resulting harm to the
plaintiff measurable in damages; and (4) causation, i.e., a causal
link between the breach of duty and the harm." Swanson v.                                   Coos
Cnty., 2009 WL 5149265, *5 (D.Or. Dec. 22, 2009)                         (citing Stevens v.
Bispham,       316 Or.         221,    227 851 P.2d 556          (1993)).     Whether a duty
exists is a question of law to be determined by the court. Brown v.
Far W. Fed. Sav. & Loan Ass'n, 66 Or.App. 387, 392, 674 P.2d 1183
(1984)       (citation         omitted).      Generally,     no    duty exists       where    "a
private citizen merely lays the facts before a police officer and
the officer,          relying on his              judgment and discretion,           makes    an
arrest."       Id.    at       390     (citation    omitted).     Due    to   public    policy
considerations, a person who mistakenly summons the police "cannot
be held liable for damages due to negligence in reporting the crime
or instigating the arrest." Id. at 392 (citation omitted).
          Here, the Court finds that these public policy considerations
preclude the imposition of a duty on Wells Fargo or its employees

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to investigate further Clark's purported criminal conduct before
calling the police.              Despite concluding that Wells Fargo's intent
was malicious and retaliatory, there are no well-plead allegations
evincing        that    Wells         Fargo    called    the     police      in   bad   faith    or

otherwise did not reasonably believe that Clark imposed a threat or
was    trespassing.        See Dauven v.             U.S.      Bank Nat'l Ass'n,         2010 WL
2640119,        *6-10    (D.Or. June 7), adopted by 2010 WL 2640115                         (D.Or.
July       1,   2010).      In        fact,    although        Clark    never      specifically
articulates what was false about Wells Fargo's communications with
the    police,      there        is    no     indication       from    the    general     factual
recitations in Clark's complaint that Wells Fargo's statements were
defamatory or otherwise inaccurate. Clark therefore cannot state a
claim for negligence and Wells Fargo's motion is granted as to this
issue.
VII. Conspiracy Against Constitutional Rights Claim
       Lastly, Clark alleges that Wells Fargo violated 18 U.S.C. §§
241 and 242 by engaging in a criminal conspiracy to defame him,
deprive him of his rights, and impair "[h]is ability to preform his
family responsibility relating to retarded adult offspring" and
earn a      livelihood. 5 Compl.              '!I'll 128-32.    As    criminal statutes,         18
U.S.C. §§ 241 and 242 do "not provide a person with a private right
of action to pursue a claim for civil liability." Cooper v. Welsh,
2010 WL 3943000, *4              (E.D.Cal. Oct. 1, 2010)               (citing Allen v. Gold



       5
       Clark's complaint refers exclusively to 18 U.S.C. §§ 241
and 242; however, his response also cites to 42 U.S.C. §§ 241 and
242. See Pl.'s Resp. to Mot. Dismiss 17. The Court presumes that
this was a clerical error and that Clark intended to exclusively
assert a claim under 18 U.S.C. §§ 241 and 242, as 42 U.S.C. §§
241 and 242, which govern public health research and funding, are
inapplicable here. See Pl.'s Am. Resp. to Mot. Dismiss 2.
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Country Casino, 464 F.3d 1044, 1048 (9th Cir. 2006), cert. denied,
549 U.S. 1231     (2007); Aldabe v. Aldabe,   616 F.2d 1089, 1092       (9th
Cir. 1980)). As such, Wells Fargo's motion is granted.
                               CONCLUSION

     Wells Fargo's motion to dismiss (doc. 48) is GRANTED and this
case is DISMISSED. Clark's request for oral argument is DENIED as
unnecessary.
     IT IS SO ORDERED
     Dated this       /




                     United                   Judge




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                            United States District Court for the State of Oregon
                Wayne Morse Courthouse 405 East Eighth Ave. Eugene, OR 97401


                                                                           Case Number: (~>. l '-\-       c v- QII 03 ·- TC.
Plaintiff: Andrew G. Clark                                                Complaint Filed Under:
3270 Stoney Ridge Rd. Eugene, OR 97405                                    Civil Rights Violations 42 USC 1983
541.510.3915                                                              Civil Racketeering 18 USC 1964(c)
                                                                          JURY TRIAL OR MEDIATION
                                                                          DEMANDED

Defendants:
City of Eugene, Oregon Police Department/Police Auditor
Served to Mayor's Office 125 E. 8'h Avenue Eugene, OR 97401                  *
Lane County, Oregon- Sheriffs Department and Jail
Served to Lane County Commissioners Public Window
125 E. 8th Avenue Eugene, OR 97401 *

State of Oregon - District Attorney's Office for Lane County
and Pre-Trial Release Office.
Served to Public Window ofDistrictAttorney's Office
125 E. 8'h Avenue Eugene, OR 97401 *

Mailed to Director of the Oregon Dept. Administrative Services
Department of Administrative Services Executive Building
155 Cottage St. NE, U20 Salem 97301-3972 *

Alex Gardner- District Attorney for Lane County
Served to Public Window of District Attorney's Office            *
Wells Fargo Bank, NA Registered Agent for Oregon
Corporate Service Company 285 Liberty Street NE
Salem, OR 97301 via process server.

*Rule 4 G) Serving a Foreign, State, or Local Government. (2) State or Local Government. A state, a municipal corporation,
or any other state-created governmental organization that is subject to suit must be served by: (A) delivering a copy of the
summons and ofthe complaint to its chief executive officer; or (B) serving a copy of each in the manner prescribed by that
state's law for serving a summons or like process on such a defendant (ORS 30.275)

Defendants: Individuals know or suspected to be participants will be identified within this Notice of
Claim in order to provide a legal basis for racketeering claims which require known human 'actors' to be
identified in a Complaint against the organization which employs them. I reserve the right to litigate
individuals in addition to any and all city, county, state or federal agencies not currently included.



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l    Jurisdiction
     District Court is the correct Court for this Complaint for these primary reasons:

I        1. It involves several Questions of Federal Law and Rights and Obligations Under the Constitution
             ofthe United States as well as the State of Oregon.

II       2. One of the defendants, Wells Fargo Bank is a company involved in interstate commerce and its
             headquarter office is located outside of Oregon.


     Sample Justice Department Publication Applicable to this Complaint of Civil Racketeering
     http://www.justice.gov/usao/eousa/foia_reading_room/usam/title9/civrico.pdf



     Plaintiff Statement Re2ardin2 Judicial Assi2nment:
     Plaintiff was recently involved in a tangentially related case 6.13.cv.O 1546.AA, to be Appealed.
     Plaintiff respectfully Demands of the Court to appoint a different Judge to this Complaint.


     Evidence Presentation Site: www.RisePatriot.com: Only in the last several years has technology
     advanced to make such a presentation is possible. It is an integral part of my Claims as it allows the
     Defendants to view and discuss the evidence with me. So far, there is no indication they have in any
     meaningful and total context. It is official police material, legally obtained and posted for review. It is
     included here as if this were a hyperlinked PDF in an electronic filing. I will expect that any attorney
     who responds to this material will respond to the evidence that is presented rather that submitting
     obstructive filings to avoid Discovery and Trial. I assert for the record: if a licensed attorney in any
     capacity files or accepts Defendant responses to dismiss my Complaint that do not specifically address
     the evidence presented to them implicates that attorney in the Racketeering being alleged and
     documented. There is no known-to-me precedent for such an evidence presentation in a civil Complaint
     by a Citizen against corporate and government entities that includes such a complete papertrail and
     reasonable proof of allegations. Actual Evidence will be Heard by a Court, not obstructed.


     Jury Trial Demanded.             Complaint - Claims for Relief of


     Civil Rights Violations under 42 USC 1983. Repeated violations of 18 USC 241 and 242 against me
     that constitute Conspiracy Against Rights under color of law. Fabrication of crime and evidence.




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     S. 1964(c) Civil Racketeering and knowing participation in Kidnapping to Terrorize for
     Political/Economic Motivations. Corporate corruption and use of police and prosecutor to enforce civil
     matter is a gangland tactic used by organized crime. What police and prosecutor perpetrated based on
     lies and fealty is exactly what the Mobs used to do prior to RICO enforcement. Police and Prosecutor
     activity are proven to be entirely corporate driven for the clear pecuniary motivations of the corporation.


     Defamation, Negligence, Dereliction of Duty, Failure to Train and Supervise, Invasion of Privacy


     Police Emotional Entrapment Activities, Malicious Prosecution, Battery by Legal Processes, Police
     Practice of Medicine (Psychiatry) without qualification or license.


     Arrest and imprisonment based on knowingly false evidence.
     Excessive bail and illegal pre-release conditions, unconstitutional search/seizure of computers.


     Coercion and Duress; battery by Legal Processes, Waste of Public Resources (claim as a taxpayer)


     Novel Claims and Facts: Participation in Corporate Espionage and Organized Domestic Terrorism.


     A Factual Basis for Relief under the Above Claims Exists as Summarized and further detailed in
     court filed material and official material posted www.RisePatriot.com. The material is an
     integral part of the Case Presentation and will be submitted to Court in various formats as it fully
!    supports Factual Statements relay the circumstances that support the charges for Trial.

I
II   Summary Version: twice in a two year period I was removed from my home by police who acted
     against the law based on Wells Fargo or their Agent's falsified threat reports and jailed. That
     constitutes 'kidnapping' perpetrated upon me and/or concealed by the Defendants within a two
I    year period which constitutes Racketeering. Police acted as Agents "directed by" Wells Fargo as
     demonstrated in their own words with official material, posted on www.RisePatriot.com .
I
         1. I worked for Wells Fargo Home Mortgage in Eugene Oregon in 2011. I reported significant
I            suspected and evidenced technical business irregularities to local Federal Bureau-Investigation

I            per law and Wells Fargo and Company policy. I was terminated 6.28.11.


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   2. Martin Ogno, Corporate Security Agent of Wells Fargo Bank, NA in Portland Oregon did on
       and/or before July 18, 2011 contact City of Eugene Police and directed them to perform what
       was first said to be a well-being call at my home. Two large, armed police in uniform were sent
       to my home to interrogate me in behalf of Wells Fargo Bank. Police were provided content of a
       email (posted) I sent to a designated representative of Wells Fargo in Minneapolis as their next
       reason for that in-home detention and interrogation. Police then gave a third reason for their
       visit: a 'trespass warning'. Police are heard, in my home, advising/ordering me to not contact
       Wells Fargo and also being aware that I was planning to sue Wells Fargo. Police have no
       authority or right to issue such requests in my home. It is a most extreme, chilling violation of
       First Amendment. It was terrorizing and it appears police are aware that such visits are terrifying
       to the citizen unless wanted by the citizen. It appears they do their visits in the evening hours
       with the result ofto maximum defaming and threat painting in the neighborhood. Novel claim:
       it represents deliberate, organized domestic terrorism and in this case it was corporate-directed.


   3. Hear on Audio: Police coerced me to provide to them my birthplace and social security number. I
       see no reason for that bizarre removal of privacy and discovery will show exactly why police
       obtained that data and how it was used. I assert it was illegally collected and used.


   4. Police are clearly heard violating my Second Amendment obligations regarding doing Right with
        firearms. They determined I did not own firearms and reported that back to Wells Fargo as heard
        on internal police audio. City of Eugene Police were sent to my home to silence my speech in
        behalf of Wells Fargo and to determine if I had firearms. Arguably, that combination of activity
        directed by a corporation based on a business email involving business facts as well as a real
        ethnic issue I experienced is the most chilling violation of the Constitution that is possible. They
        reported significant information back to Mr. Ogno. Novel claim: I assert that transfer of
        information represents knowing participation in corporate espionage activities: police were sent
        to my home by the Enterprise to collect information in behalf of the Enterprise:


    5. The case was assigned to Eric Klinko of West Side SWAT. The use of SWAT to discourage and
        prevent me from communicating business facts to a corporation is far outside normal police
        policy and practice. It is far outside state and federal laws. Eric Klinko has been the target of
        several successful 'excessive force' lawsuits against City of Eugene Police and he is implicated in


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       other cases. Discovery will show the exact communication channel and path that lead to the
       SWAT assignment of a fabricated municipal trespass telephoned in to 911 the day before.


   6. The police action was directed by Wells Fargo Bank. That is clear from internal police
       headquarter audio (posted) from July 18, 2011 in which police call him and can be heard saying
       they were "directed" to perform the intimidating, defaming evening visit to my home against all
       normally practiced police policy and they reported back to Mr. Ogno with fealty.


   7. Police were aware July 18, 2011 that a significant commercial dispute existed between myself
       and Wells Fargo Bank (et al). They choose to act in behalf of Mr. Ogno and do as he directed.
       That reflects lack of training and supervision and is also a waste of the public resources.


   8. Police are heard on their headquarter audio promulgating Wells Fargo assertions that I lacked
       mental stability. Quoting a police officer seemingly in authority: "if you can wrap your head
        around it, Wells Fargo let him go because he was acting crazy...... ". Under the circumstances,
       that constitutes the practice of medicine (psychiatry) without qualification or license. Their
       prescription was increased police action, duress, jailing, defaming, and battery by legal process.
        Please go listen to the audio and compare the voice tone of the police when speaking with me,
        the Citizen while showing dripping fealty to the Wells Fargo Bank Security Worker in Portland,
        OR. It is a very noticeable difference. Click the 'Dog at Computer' Thumbnail on
        www.RisePatriot.com for that Audio, accompanied by emo-art. Note: the police on-audio
        urination event heard loud and clear is real. Their microphones were on their belts.


   9. Police are heard actively discussing my banking information with Mr. Ogno of Wells Fargo
        Bank. Police are heard conspiring and pre-meditating further police response for Wells Fargo.
        Police are also heard asking Mr. Ogno about my claim of Federal Bureau-Investigation contact
        and accepted Mr. Ogno's statements with regard to FBI as evidenced. That represents Police
        Corruption of FBI Processes and is an aspect of my Racketeering claim against Defendants.


    10. In writing I notified each of the Defendants of the dispute on a large number of occasions. Some
        of those notices were discovered in 'evidence' to be used against me. Nothing at all was done to
        prevent the next illegal police activity. That is complete dereliction of duty and lack of response


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       to the citizen and crime reporter based upon the public corruption by the corporate Enterprise.


   11. On July 27,2011 Ire-filed with FBI and included a narrative of the police action of July 18. At
       that time, I did not have or know that I could obtain the police audio and reports. I never had a
       website prior to that. I reported it then as a situation of suspected corruption of police and FBI
       processes by Wells Fargo. I notified Defendants of that filing at various times.


   12. On July 28, 2011 Wells Fargo, using a Securitas guard transmitted a falsified threat report to
       Eugene Police involving municipal trespass. Police acted aggressively upon that threat report
       without confirming its validity fully knowing it was related to a commercial (civil) dispute. That
       represents negligence, failure to train and supervise, dereliction of duty, and participation in the
        racketeering activity of a corporate enterprise. Discovery will show if the 911 dispatch operator
        was told by police to respond a certain way because in my opinion, she seems to be leading the
        call to a certain conclusion. It differs so much from my experience calling 911 or the police on
        other matters that it requires discovery to determine the extent of the corporate-police conspiracy.


    13. On July 29, 2011 c. 6:00pm SWAT arrived at my home to perform an "arrest" for 2nd degree
        municipal trespass. Two SUV's and two squad cars were used. I was force-marched barefoot in
        chains approximately one block to the waiting police vehicles. I was taken to jail and released
        18 hours later. That act constitutes Kidnapping #1 by Wells Fargo et al using corrupted and lied
        to police who were fully aware of the possibility of a commercial dispute yet chose to take the
        side of the Enterprise. Police acted with undue force. No other 2nd degree trespass case known
        was prosecuted by SWAT and at-home arrest. A later review of police reports shows that police
        fabricated evidence and did not have correct in-advance legal authority for the arrest. It
        represents false arrest as it relates to police as well as complicity in Civil Racketeering charges.
        Legal Note: Kidnapping for Ransom generally requires 24 hours holding. Kidnapping to
        Terrorize for Political/Economic Motivations does not. The act itself is designed to meet the
        objective of the kidnappers. In context, it could be argued that the July 18, 2011 home detention
        and interrogation was a kidnapping event. It was very intimidating. I was detained AFTER
        inviting police into my home. I was clearly given a corporate-sponsored message by them by
        armed police in my home who were fully aware of what they were doing to me and my
        objections to it. All parts of the process were audio or video recorded (and posted


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           www.risepatriot.com) except the arrest event itself and the vehicles were within range to record
I
I          but it is claimed they did not. That omission appears as manipulation of police technology to
I          conceal actual police activity.
I
       14. The charges were dismissed with no hearing. I wrote (and posted on www.risepatriot.com) many
           letters to many different offices of the Defendants, including Lane County District Attorney Alex
I          Gardner to complain about my treatment. All were ignored and in fact later used as some form
           of evidence against me in kidnapping event #2. Defendants responded as a lynch mob against
           me when I went to them for help as a citizen. It is a horrific example against 42 USC 1983.


       15. The page that follows this is from the police reports I obtained and posted. It is a small example.
           Police claimed and placed into affidavit that I had threatened to rape my bosses. They had no
           evidence ofthat and they failed to mention the only bosses for 100 miles are two males, neither
           of whom shared their fears (or hopes as the case could be) of homosexual rape by me. Those
           abject lies are representative of the type of extreme defaming and libel that police felt free to
           introduce into police reports but more importantly: an ARREST AFFIDAVIT, a sworn statement
           of truth that seemingly was not executed (signed or notarized) until after-fact.


        16. The arrest affidavit and lack of a judge's signature for at-home arrest for second degree
            municipal trespass is a massive violation of Constitutional Rights under the circumstances of no
            physical threat. All appeared to be executed after-fact. Discovery will show that 2"d degree
            municipal trespass is never handled by SWAT and is dealt with at the scene (usually, unless a
            video exists or witnesses are willing to testify) via the issuance of a citation to appear. That type
            of analysis of departure for typical procedures and policies is one metric of 42 USC 1983/ 18
            USC 241 and 242 violations. It establishes on a factual basis illegal activity perpetrated under
            color of law and excessive force that endangered me and the general public needlessly.


        17. I obtained and posted the police audio/video and correlated it back to the written reports. That
            material is a major part of the evidence against the Defendants. It demonstrates their negligence,
            dereliction of duty, improper supervision, malice, and incorrect application of the law far outside
            what is provided for the Construct of Oregon Criminal Law. What you hear is police actively
            interpreting and rendering orders on the most fundamental constitutional issue: freedom to


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                                                                             case #11· jz;.q~·
                                                                          Incident #11-60717

                                                                                    Page2ot~



 I responded to Wells Fargo Mortgage at 100 E Broadway regarding a trespass
 complaint

 I contacted Christiansen and Potter. 'Christiansen is a security guard hired by Wells
 Fargo t?ecause of safety concerns abo.ut a former employee, Clark. Potter is a mortgage
 consultant in the office. They told me that Claric had recently (weeks ago) been
 tenninated from his position at the. office and had been repeatedly trying to come back
 in and entering back onto.the property.

  Potter said that Cleric has, for several months, been demonstrating increasingly bizarre
  behavior. He described behavior that can be generalized as conspiratorial, neurotic, and
  obsessive. He said that he is tuming the organization into the· FBI for prosecution under
  the RICO statute. He said that he will ra e his bo      because the fi · · · . He has
· continually come back and tapped on the Windows and opened t e front doors of the
  business after being told not to enter the premises.

 Both Potter and Christiansen told me that they have authority to trespass people from
 the premises and they have done so with Clark via police contact. (on 071811, Officer
 Esch contacted Clark and told him that he was not allowed on any WeDs Pargo Property
 -this was documented in an Fl)                                     .•.

 Because of Clark's behavior which resembles psychosis, Wells Fargo hires
 Christiansen as a guard for the safety of the wor1ters there. On the above date and time,
 Christiansen and Potter told me that they saw Clark ride up on his bike and approach
 the doors of the business to· within one foot ofthe doors. The business is on a comer
 and this would clearly be on the business property. He left when he saw he was being
 observed. As they were relating this to me, we all observed Clark approach the same·
 comer on his bike. He appeared to observe me inside and rode off eastbound. By the.
 time I could get out of the building, he was gone.

 Potter and Christiansen both told me th~t the manager, Martin, has formally trespassed
 him from the location. Martin did not answer his phone. They satd that they wanted him
 arrested for trespass.

 I attempted to call Clark but he would not anS'Ner his phone.

 The employees whom I spoke to were very concerned for their· safety. They asked if
 they should carry guns to protect themselves from Claric should he return. They
 describe him as very mentally unstable and unpredictable.



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    One Page of Police Evidence Report Dated 7.29.11 Follows This Page              ;~      ~-or   !1
                                                                                   .Jv{j"4A \.._. ~~~}NT S
    MALE BOSS RAPE THREAT REPORT within their manufactured 2"ct Degree Municipal Trespass.

    It is just one of about 20 pages of police reports related to Kidnapping # 1. Other pages are just as 'bad'.
    All that followed was the result of me refusing to allow the perpetrators and defendants to 'get away
    with what they did' because I realized they do it all the time to others for various reasons.

        1. They claimed I threatened to rape my bosses. They failed to mention that the only bosses for
           100 miles are two men. That allegation was placed on the seemingly-signed-after-fact arrest
           affidavit as well. Neither men (or anyone else) reported their homosexual rape fears or
           fantasies to police or anyone else. It is unacceptable to anyone that police should be placing
           that nonsense in a report about 2"ct Degree Municipal Trespass except to facilitate guilty by
           proxy. Discovery will show exactly why that got in there and that could lead to some other
           rather shocking possible allegations in involving police activity.

            Another page of the police reports (all posted) used that rape nonsense to "place me on a police-
            only list for potential violent offenders". That is illegal threat profiling and secret listing. Both
            are elements of almost all of the Claims against defendants.

        2. Police repeatedly place their diagnosis of mental health issues into the report. They appears
           nearly obsessed with it at every stage of their persecution. They use mental health against the
           citizen as demonstrated in many areas of this case. It is akin to calling someone a 'witch' or a
           'Jew' and then burning them. It might sound more scientific but the police are not trained to
           make or act upon such determinations.

        3. Notice the last paragraph about employees asking if they should bring guns to work. I think it
           is obvious to most people on the face that the employees either never said that or, it was meant
           as a slur against the police and security guards for their intense and terrifying activity. Simply
           put: the presence of guards in a tiny MORTGAGE OFFICE NOT IN A BANK frightened many
           workers at many of their area locations. Discovery will show I was well like and a top producer
           just doing my job at the time.

    Simply put: what the police did to me and the community is Terrorism. On an organized basis police
    go around town and cause trouble. What they did in my case is typical police behavior. They over-
    react and excuse it by claiming public safety. They are also rapacious. It is a national endemic.

    Police are like any other workers. If they are not carefully managed they will find ways to circumvent
    processes and controls for all reasons they can. Police literally get away with murder all over America
    and claim not only public safety but their own safety as why they have to over react. Have they never
1   considered just staying at their stationhouse until a citizen calls? They go around town doing this stuff
I   to everyone and it really upsets the Citizen. Fire department does just fine without setting fires.
I
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~
    POLICE AS A GROUP APPEAR TO CONSIDER EUGENE OREGON TO BE FALLUJAH IRAQ
    AND THE CITIZEN IS THE ENEMY. THAT IS PRETTY CLEAR FROM THE IN-STATION

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I
J
    POLICE AUDIO (POSTED) where they treat me like excrement while bowing to the Wells Fargo
    security agent in Portland. They trusted him WAY above their own citizen and homeowner.

    The solution is technology but after this case police probably got rid of their a/v recorders :)




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            peacefully communicate from my Home.              It is a uniquely convincing presentation once
            understood. It is forensic evidence above and beyond what is used in most criminal trials, let
            alone a civil Complaint. I did not sue police at that time for a wide variety of reasons but I did
            complain a lot about it in various formats and forums. It greatly enraged City of Eugene
            Prosecutor Daniel Barkovic (since fired for refusing a breath test while apparently driving
            intoxicated). He is shown on the posted 5-30-13 letter from Ogletree Deakins et al (agents of
            Wells Fargo et al) as being the one who involved City of Eugene Violent Crimes ... Tony Veach
            due to a cartoon vampire picture in a Youtube video I created. I assert that Mr. Barcovic's
            conduct shortly after that time speak to his potential lack of judgment in considering a cartoon
            vampire picture and Youtube video a matter that deserved the significant and limited resources of

I
II
            Tony Veach, City of Eugene Violent Crimes and his various partners. The Corporate Enterprise
            was allowed to utilize violent crime police to investigate and prosecute Art in violation of State
i           and Federal Free Speech Rights and Obligations.

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!       18. The commercial dispute continued for approximately two years. Per First Amendment
!            obligations and as required under the provisions of the Dodd-Frank Act relating to financial
             professionals I continued filing very detailed and technical government reports to agencies such
             as FBI, SEC, Board of Governors ofthe Federal Reserve, and others. I also used automated
             FAX transmissions to publicize the business issues in order to obtain a resolution outside of the
             court system. Some of the faxes contained a minor amount of language and concepts that are
             typical in today's culture and heard in nearly all media in order to grasp reader attention. There
             were absolutely no threats of physical violence. All were fully identified. All were faxed to law
             enforcement agencies as well as to the corporate offenders. Faxing is not a criminal act and
             remedy for fax issues is provided for by special and specific Federal legislation, not stalking law.


         19. On July 18,2014 Tony Veach ofEugene Violent Crimes Police came to my home with his
             partner. They issued an illegal order/request to stop communicating with the attorney for Wells
             Fargo (Ogletree Deakins in Portland OR). I asked police if they were recording our
             conversation and they said they were not. A recording of the conversation would show subtle but
             important differences in what police actually said versus what they wrote in their written reports.
             That appears as deliberate manipulation of police technology to conceal their actual activity.
             Police do not have authority to go to Citizen's homes and issue orders to stop communicating.


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            That power resides with judges via restraining orders and due process. Due process did not
            occur, it was deliberately circumvented under Color of Law for the second time in two years
            upon direction of the same actors in order to silence and chill Free Speech Obligations.


        20. I considered the visit by Eugene Violent Crimes to be a supreme insult, extremely coercive and
            intimidating. Discovery will reveal the extent to which police were aware their activity was
            LIKELY to precipitate more fax activity. Police have visited my home several times over the
            two years for no valid reason rooted in fact or law. Each time it prompted a flurry of
            communication in accordance with First Amendment Obligations to warn others of danger with
            evidence. That is generally known as "emotional pretexting" and is a widely reported,
             controversial police tactic. I considered the visit a serious waste of public resources in Lane
             County in behalf of a large, wealthy corporation and its bevies of attorneys and agents. I was
            terrorized by that visit and it was very clear to me that police had absolutely no idea of the details
             of the Oregon Stalking laws when they proposed that fax communication constituted stalking in
             absence of a stalking protective order which was not obtained. Police claimed but did not
             confirm a physical threat. Police also did not question that the complaint was provided by a
             corporation and there is no precedent under Oregon Law for corporations to be a stalking victim.
             Regardless of all else, there are clearly defined stalking protective order requirements and
             practices and they were massively circumvented by Defendants who were aiding and abetting
             Wells Fargo. It was above all else: a supreme insult to actual stalking victims and significant
             resources were diverted, thus endangering the general public.
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         21. Per First Amendment obligations, I redoubled my notification efforts and faxed by the hundreds
             using automated methods to warn others of what police, Wells Fargo, and Ogletree Deakins were
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             perpetrating. I faxed to various law enforcement agencies and city/county offices. In addition, I

I            accidentally sent ONE more fax to Ogletree Deakins in Portland Oregon c. July 22, 2013. Their
             fax number is a matter of record and is on a variety of other lists, such as the Oregon Bar
             Association's online material and I used automated extraction software to develop marketing
             lists. The single "error" was unintended and was the product of automation despite that I am just
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             one human being lacking the office support enjoyed by the corporate Enterprise and its lawyers.

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I        22. I was following the directives of the Police even though their request to stop communicating was
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        illegal. Faxing is not a crime and it is outrageous and reeks of police misconduct to charge 10
        counts of stalking based upon one additional fax. One count of stalking would not have resulted
        in pre-trial duress and coercion. According to the RAT manual, I would have been released on
        recognition or just issued a citation to appear as is common in non-violent misdemeanors. That
        is further support for my claim the 10 charges were deliberately duplicated in order to mete out
        punishment regardless of trial results and to coerce some form of'guilty' plea. Discovery will
        confirm the extent of that apparent truth.


   23. I received a telephone call from Tony Veach, Eugene Violent Crime detective asking me ifi had
        faxed to Ogletree Deakins. I told him that by error I had faxed one item to them. He did not
        advise me of my rights to remain silent at that time. 51h Amendment claims are extraordinarily
        complex and theoretical but I go on record as asserting that call was a violation of 51h
        Amendment protections against self-incrimination.            Had I denied (lied) about sending the fax or
        been unaware that I sent it.. .. it is presumed that Police would have had to obtain a warrant to
        compel production of telephone records to confirm that a fax had indeed been transmitted. That
        one fax was used as the basis for 10 stalking charges so in context it may be considered after
        discovery and trial to be a violation of 51h Amendment protections. Had he warned me in
        advance that my answer to his question would result in my arrest I definitely would have
        contacted an attorney immediately and NOT answered his question. I assert that by then, I
        should have been advised of 'Miranda Rights' under these particular set of circumstances.


    20. On July 25, 2013 c. 4:00pm Tony Veach of Eugene Violent Crimes Police called me on the
        telephone and told me he needed to meet with me. He refused to say on the telephone that he
        intended to arrest me until I had repeatedly questioned him to that effect. I told him I needed to
        contact my attorney prior to meeting him. Tony Veach told me it was necessary to meet him
        right away to be charged for a crime. He did not mention that he had an arrest warrant for 10
        stalking charges because if he had, I definitely would have taken a moment to at least notify my
        attorney. I contend that is a deliberate denial of a due process rights that had significant impact
        and damage to me and further removal of due process rights at the later in-jail preliminary
        hearing. Once in jail, it was not possible for me to notify my attorney and arrange his presence
        at the preliminary hearing which is a massive violation of due process and the Oregon Law. It
        converted the preliminary hearing into a meaningless 'show trial', coincidentally presided over by


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            the same Judge (Rooke-Ley) as signed the arrest and later search/seizure warrants.


        21. The 10 charges were absolutely identical in time, place, and victim. I assert that it is not possible
            to simultaneously stalk the same entity 10 times in the exact same time frame and the Judge
            should not have signed that. They were based on a "Criminal Information" presented by a
            corporation with clear pecuniary motivations for making a falsified or exaggerated complaint.
            The facts were not presented to a grand jury for indictment even though the cumulative penalty
I           of the charges was a much as 10 years in prison and $62,500 in fines I was only to receive a 6

II          person Jury. I contend that is also a violation of due process that had at least a slight affect on
            trial planning as that could have been contested resulting in yet further delays of trial and abusive
I           coercive pre-trail treatment for misdemeanors.


I       22. The ten charges caused the Lane County Risk Assessment tool to consider me among the highest

I           possible risks and nearly ineligible for release from jail pre-trial due to computer generated
            danger scores. That is exhaustively detailed in my evidence presentation on
I            www.RisePatriot.com. That resulted in violations of Federal and State bail laws and violations
             of gth Amendment protections against cruel and unusual punishment in context of pre-trial
            treatment for business communications with a corporate entity. It resulted in extreme coercion

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             and life-threatening duress as carefully explained and documented. Our Chief Criminal Judge
             Vogt is heard on court audio blindly accepting the results of the Risk Assessment Tool without
             being able to define its inputs or the meaning of its outputs. Instead she relied on her 'trust in the
             system' as captured on court audio. Blind trust in science without factual basis is the "Religion
             of Science" and arguably violates separation of Church and State mandated by the Constitution.


         23. The Risk Assessment Tool scores also determine security level in Lane County Jail. I was
             housed in a maximum security area and subjected to barbaric conditions and medical malpractice
             that are detailed in my evidence material. Conditions were so horrific that I signed under duress
             of my life a pre-release agreement (posted) that on a pre-trial basis makes a large number oflegal
             activities to be illegal. The terms of the pre-release agreement constitute jailing and in fact is
             officially in lieu of jailing.   I claim the pre-release contract is unconstitutional and was in this
             particular case obtained via massively undue, deliberately inflicted duress.



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l       24. The pre-release conditions included the mandatory use of an electronic ankle bracelet monitor. I
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I           had to report to the jail facility each week and pay for it and it cost over $2,000 in total which is

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            an absurd burden on a citizen in such a case as this on top of the attorneys and all else. The
            ankle bracelet monitor had no relationship to the conduct (faxing). It represents a most cruel and
I            unusual punishment in this case as I carefully detailed in my evidence. I included a


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            comprehensive 2010 Register Guard article that detailed the abusive, coercive nature ofthe
            program as used in Lane County, OR.



I           The Risk Assessment Tool also includes a bail matrix that caused bail to be $200,000, an amount


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             higher than required of most felonies. It all was caused by use of 10 identical charges. Once 9
             or more charges of any type are placed in Risk Assessment Tool, it causes the person to be
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~            considered an extreme danger. That in turn causes time spent in jail prior to trial and the bail to
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I            be higher due, all against the constructs of State and Federal Bail laws:
J           There is absolutely no basis for jailing or ankle braceleting of a citizen charged with non-violent

1           misdemeanors that do not involve any known physical threat of any form. Oregon law is very
I           clear that bail is designed to insure appearance at a trial. I own my home here free and clear and
            have significant ties to the community. Pre-trial release conditions are to be used to prevent
            danger to society of the alleged conduct of the criminal charges. It was unconstitutional to
            prohibit or specifically monitor any other of my activity and use it as a pretext to revoke bail and
            re-jail but that later happened.


         25. I hired an attorney, Laura Fine Moro at significant expense. She refused to file a demurrer as I
             requested of her. She claimed it was unethical and there was no basis. I hired her to do what I
             wanted her to do, not what she considered 'ethical'. I later learned her flamboyant husband is
             affiliated in some meaningful way with the prosecutor's office suggesting yet another possible
             reason for her refusal to perform her job per the Law. I obtained through Ms. Moro the police
             evidence material. Ms. Moro's failure to file a demurrer as demanded in conjunction with the
             time spent in jail caused a statutory period for a particular type of demurrer to pass. That type of
             demurrer was referenced by Judge McAlpin in a later demurrer hearing of a different type
             submitted by my next attorney. I conclude the long-term fealty between Ms. Moro and the
             District Attorney's office caused further violation of due process rights and compromised rights
             to an attorney who was supposed to be acting in my behalf. The fact of the charges originating


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            via an 'information' versus an 'indictment' also limited demurrer rights per related ORS. Any
1           conflicts or obfuscation that limits the right to have evidence looked at early on is an obvious
1           violation of due process. Example: Suppose I had been charged with Murder of Ogletree

!l          Deakins (the corporation) ... as absurd as stalking Ogletree Deakins but more obviously so. There
            would be no release provision because it is impossible to 'produce the body' of the murdered
I           corporation. In Lane County there is nothing that would prevent the prosecutor from claiming

II          that until the evidence is looked at in trial it is not possible to conclude the corporation was not
            murdered. I realize murder and stalking are different, the point being both are equally absurd for
            a corporation to claim or prosecute but it was ... with extreme prejudice and malice.
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        26. My review of the police evidence showed they manufactured a crime upon repeated written
~           request and visits by the corporate accusers. Almost none of the material was sent to the
I           corporate Enterprise or the human-proxy Leah Lively. The letters are all posted on
I           www.RisePatriot.com. My review of the case law (State of Oregon v. Rangel and State of

II           Oregon v. Ryan) showed very clearly that my conduct did not even come close to constituting
             stalking and that a stalking protective order was required in advance of arrest in a
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             communication-only situation. That is NOT the way specified under Oregon Law that stalking
             arrests are initiated and it represents clear and outrageous willing, deliberate participation in
             public corruption initiated by and for the pecuniary motivations of corporate entities.


        27. My review ofthe evidence turned up the actual conspiracy letters dated 5-30-13 and 6-21-13.
             Those letters are posted and the significance explained. Simply put: police and prosecutors
             conspired with Ogletree Deakins/Wells Fargo for two months, accepted without investigation
             written physical threat reports, all without telling me about it until they were ready to arrest me.
             It is a very blatant conspiracy against rights under color of the law. Police and prosecutor were
             fully aware of their corporate direction and were working directly and frequently with the
             corporate instigators. I accuse police of being knowing accomplices to "RICO" perpetrated by a
             corporation and the undue police response represents kidnapping by the corporations that ordered
             and directed it I also allege false arrest performed under color of the law using falsified
             evidence (false physical threat reports in the 6-21-13 letter and faxes NOT to the enterprise.)


         28. I brought my evidence directly to the District Attorney's office. That was ignored and in fact


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1          caused the District Attorney to heighten defaming activity and malicious prosecution. That is

J          best encapsulated in the attached October 2, 2013 letter written by District Attorney Alex


l          Gardner to Ms. Moro before she 'fired me'. It shows the District Attorney had no working
           knowledge of Oregon stalking case law and charged non-criminal conduct as a crime then
           maliciously prosecuted, fully aware of the duress I was subjected to, and branded me a threat.


       29. The case was assigned to Erik Hasselman, who generally prosecutes the most serious, violent
           and lurid crimes. Discovery will show why a communication based misdemeanor case was so
           assigned, just as discovery will determine why Tony Veach of violent crimes was assigned to the
           case and why Erik Klinko of SWAT was assigned the 2011 case. The results of the combination
           of the two related police activities represents vastly excessive force against at-home peaceful
           communications that are fully protected by State and Federal Constitutions and case law.


       30. Mr. Hasselman missed the "35-day call" hearing due to his schedule. I was there with attorney at
            great expense to me but he did not show up and the matter pended. All the while I was subjected
           to the ankle bracelet and pre-release conditions. Citizens and tax payers deserve better service.


       31. The 35-day call hearing process is the result of inefficiencies and scheduling problems of Lane
            County. It caused me expense and discomfort (punishment) prior to trial. It is an unreasonable
            delay and added to duress and feelings of hopelessness. The citizen should not be responsible
            for the gross inefficiency of government. There is no reason the backlog cannot be whittled
            down so that justice is conducted in accordance with the Constructs of Oregon Criminal Law and
            on a timely basis. The backlog allows legal battery of misdemeanor criminal suspects awaiting
            trial in order to induce guilty pleas, which evidence shows is a common practice in Lane County
            due to its unique and highly controversial Pre-trial release process and total reliance on an easily
            'gamed' (i.e. frauded) Risk Assessment Tool that metes out punishment pretrial based almost
            entirely on the NUMBER of charges without considering evidence or even reasonability. That
            results in a situation which has already been reported by local media as endangering the public:
            serious violent criminal suspects charged with a single crime are released from jail while minor
            non-violent misdemeanor suspects who were 'slap-sticked' with charges are subjected to higher
            bails, longer jailing pre-trial, and stringent pre-trial release conditions as has been documented.



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                               ~_,    '

       ALEX R. GARDNER          "/
                                 .----~
       LANE COUNTY DISTRIC1. ATiORNEY

                                                              LANE COUNTY DISTRICT ATTORNEY'S OFFICE:
                                                                   125 EAST 8TH AVENUE. ROOM 400
                                                                     EUGENE, OREGON 9740 1·2926
                                                                       FAX ONLY (541) 682·3890
                                                                            (541) 682·4261



 October 2, 2013

                                                       Sent via Facsimile and U.S. Mail

 Laura Fine Moro
 Law Office of Laura Fine Moro, P.C.
 541 Willamette Street, Suite 403
 Eugene, OR 97401

 Re:      State v. Andrew Glen Clark
          Lane County Circuit Court case no. 21-13-14234
          DA Case no. 039-271301

 Dear Laura:

 Last week, your client filed a written complaint with our office alleging my misconduct.
 Within that complaint, your client makes representations that indicate a clear disconnect
 between you and your client, or at a minimum, apparent misunderstandings.

  First, your client indicates that he did not commit the crime of Stalking, and that he
  understands "a judge agreed it is not 'stalking'." He further represents, "A judge
  concurred the faxes do not represent stalking as there was no physical or actionable
  contact."

  To my recollection, the only judicial conversation we have had regarding this matter is
  the settlement conference we had before Judge McAlpin on September l6 1h. My
  recollection of that discussion is that Judge McAlpin was aware of the Rangel case.             r(b..J~<", .r)\) f   <.__

  Judge McAlpin made no assertion that the case prevented this prosecution, nor did Judge             I.N ~N (;
  McAlpin in any way indicate he thought it absolved your client from any criminal
  responsibility. Perhaps you can clear up with your client why he would conclude the
  judge "agreed" your client's actions did not amount to Stalking.

  Second, your client indicated in his complaint that I met with you on Septt:mber 16, 2013,                 v.
  and that I "will offer [your client] a deal of some form to plead guilty to unrelated
  charges such as 'telephonic harassment' or 'disorderly conduct'." My recollection of our                 fL ~A"';
  conversation is that you suggested the State should settle this case for a Disorderly
  Conduct, which you indicated was actually your client's idea.                                             Nv ?p'"'

   You represented to me that your client suggested settling the matter for that charge in lieu
   of Stalking charges, yet he claims that I am trying to "use the Ankle Bracelet and threat




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         of jail to extort beaten down human beings into pleading guilty." He continues, "I cannot
         speak for other cases. In my case, pleading guilty would be committing perjury. I
         committed no crimes."

         Given your client's posture, I don't believe there is any settlement to be reached. We
         have a fundamental difference of opinion regarding his acts. Despite his protestations, I
         believe his behavior has been criminal, and prosecution will continue. My reading of
         Rangel does not comport with your client's interpretation. I believe his intent through his
         repeated, unwanted contacts was to put the victims in fear that violent crimes would be
         committed against them. His reliance on the geographical separation between Eugene
         and Portland is unpersuasive to the State.

         Further, please advise your client I have no interest in receiving communications directly
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         from him. Any communications should be made through his counsel. I consider Mr.
    \    Ciark a threat to my safety and to public safety in general.

         As always, thank you for your attention to this matter.

          Sincerely,

          ALEX GARDNER, District Attorney

    -=~UA~
          Erik V. Hasselman
          Assistant District Attorney
          Major Crimes Division




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   32. After Ms. Moro 'fired me' I sought other counsel. I also placed Motion into court to modify pre-
       release conditions. That motion was heard and denied by Judge Vogt, Chief Criminal Judge of
       Lane County. The hearing audio and transcript are posted. She acted against the Law but has
       immunity. The transcript is also very clear: Judge Vogt stated that she only had partial
       information about the case and 'wished she could ask the DA's office questions but could not'.
       That aspect will be further dissected in the section ofthis Claim regarding personal liability of
       the District Attorney and District Attorney's Office. They lost their immunity by directing the
       police activities per Buckley v. Fitzsimmons (91-7849), 509 U.S. 259 (1993).


   33. In October 2013 I delivered formal Notice of Claim #1 in this case. That was necessary because
       it must be done within 180 days of when the offending activity occurred so I used the arrest date
       as the conservative basis. At that time, trial was scheduled for December 6, 2013 so I turned it in
       early in case I did not prevail at trial and got placed into prison where it would be more difficult.


   34. Within a week of that, I was subjected to a "random" urine analysis by pre-trial services. That is
       one of the many agreements made under life-threatening duress by the pre-release "contract". I
       have been treated by a physician for Seizure Disorder for almost 40 years. That treatment
       includes the use of medical marijuana. I was not charged with any drug related offenses and my
       medical use of marijuana is unrelated to the charges or alleged conduct. I later learned that the
       Ankle Bracelet allowed Sheriffs office to know that I went to a medical marijuana dispensary.
       They knew I went yet did nothing to prevent it. It represents further conspiracy against rights
        and deliberate, cruel use of medical conditions as a coercive device on a pre-trial basis.


   35. On November 5, 2013 I attended a demurrer hearing. I had retained Kevin Bons who promptly
        did what Ms. Moro would not: file a demurrer (the type of demurrer still available as the
        timeframe for the first type had long lapsed due to attorney neglect and fear of the DA). The
        prosecutor handed Mr. Bons his response. Mr. Bons said he would need time to review it and the
        hearing was rescheduled for the next day. At that time, I was informed in Court that I was being
        taken back into jail for failing the urine analysis due to use of medical marijuana for medically
        recognized seizure disorder. It is common knowledge that police are generally against
        marijuana use. As one example, police organizations are often in the Voter's Pamphlets publicly
        opposing medical or recreation use of marijuana. While they are entitled to their wrongful,


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       worthless, ignorant, bully opinions ... they do not have the right to enforce their obsolete,
       disgraceful, cruel, inhuman opinions via pre-trial release agreements. That contributes to claims
       of practicing medicine without qualification or license in the State of Oregon as it relates to
       Seizure Disorder: A licensed physician has long treated me for Seizure Disorder. The Oregon
       Medical Marijuana Program is clear about parole and probation but pre-trial misdemeanor
       situations are vague at best and simply had no place in logic or law in my particular case.


   36. Tony Veach, Eugene Violent Crimes Police was also at the otherwise unattended hearing. He got
       up and led me to the most public area of the Lane County Courthouse: the area right outside of
       Judge McAlpin's courtroom 205 in front of the public window where citizens line up to conduct
       business at the public window. I was dressed in suit and tie. I was handcuffed in front of
       everyone. Det. Veach presented me with a search and seizure warrant of my home. That
        warrant was the product of the same fabricated threats and fabricated evidence as the original
        arrest. The arrest act in court represents excessive force and deliberate defaming and violation
        of due process rights. There was no reason they could not have waited because I was due to
       report to the pre-trial office that week anyway. It is a barbaric practice to publicly arrest people
        in courts and it speaks of undue police control or influence over court processes, to be
        determined further via Discovery. Bail was doubled an additional $400.000 for a total of
        $600,000. The judge made it somewhat clear in the court that we had 30 days to request relief
        from the original $200,000 bail. That represents further due process violations and is not in
        accordance with the Construct of the Oregon Criminal law or the state/federal Constitutions.


   37. I was taken back to jail and placed in an even more restrictive maximum security cell. The jail
        guard told me that Tony Veach has specifically told him that I was not allowed to communicate
        with the outside for 24 hours. The actual amount of time was more than that due to the 1 hour
        out of 24 hours allowed out of the maximum security cell .... all pre-trial for faxing, not a crime.


    38. Police did a very thorough but gentle search of my home. I appreciate their restraint. I expected
        they would trash the place but instead, it was very clear they 'touched' every spot in that house
        but did not disrupt it much. All occupants of my home are appreciative but we all still feel
        terribly violated by the unreasonable search and seizure that was conducted under color of law
        per corporate direction. It was unconstitutional and there was no valid basis for the warrant. I


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        was 'robo-signed' by Judge Ilisa Rooke-Ley.


   39. All my computer equipment was taken including the family computer that is never used for
        business. It contained irreplaceable family photos and other personal material. None of the
        equipment has been returned as of yet and part of the relief requested is immediate return of all
        items taken from my home. Police have no reason to keep it as they download the entire
        contents of them onto their computers for analysis. It is an element of malicious prosecution and
        coercion because I telephoned Erik Hasselman in January 2014 and he told me that ifl wrote a
        letter promising not to appeal he would tell police to give me back my equipment. Opinion: they
        stole my equipment (warrant obtained with falsified or incomplete evidence) and held them for
        ransom of giving up appeal rights. It is additive of all the other malicious prosecution and
        prosecutor misconduct so rife in this case.


   40. Computer equipment is akin to a person's brain. A computer stores thoughts. As police found
        out, my thoughts and activity with computers are beyond the highest standards of reproach and
        morality. They seized a total of 4 computers, one of them very broken as described by police in
        their reports. The three computers that have been used for the past several years were used to
        store family pictures, financial records, thoughts, exculpatory evidence, materials needed for
        trials, art, and paid software. All that was taken from me without any evidence that justified it.
        It appears that information about the findings were fed back to the corporate accusers. That will
        be fully discovered as will all that they did to analyze my equipment. Police also may have
        taken papers from my home that are not permitted by the warrant, which will also be discovered.
        As an anecdote, the news has since reported a case involving a local police employee found with
        child pornography on his computer. My computers were all devoid of a naked human images or
        any history of access to any form of pornography. Police must have been shocked and
        disappointed that my computer activity and morality far exceeds their own.


    41. In their police reports, police referred to my home in very derogatory terms. They reported a
        moldy smell, sparse furniture, unclean conditions, and other very defaming content unrelated to
        their police fishing expedition four months after the original misdemeanor arrest. That
        represents further examples of malicious prosecution, police misconduct, robo-judging, and a
        massive violation of Constitutional protections of property and home. I exclaim with emotion:
                                                                                                                 f
Complaint: Clark v. City of Eugene, Lane County, State of Oregon et al, Wells Fargo Bank NA     Page 17 of 26    l
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       you try cleaning or maintaining your home in an ankle bracelet while being financially and
       emotionally bled to death and then tell me about it. Let that stand as further evidence of the
       extreme battery and damage to me as a human being that will be recovered with this lawsuit. Let
       that stand as a measure of the cynical and cruel behavior tolerated by City of Eugene Police.


   42. Judge Rooke-Ley also signed the original arrest warrant, presided over the in-jail preliminary
       "show trial" hearing, and signed the search/seizure warrant. Review of records shows that she
       most likely knows or has heard of Leah Lively... attorney for Ogletree Deakins used as a human-
       proxy for their corporate complaint and objectives. They share affiliations on the board of
       directors of close sister organizations. At the minimal I am asserting judicial misconduct that
       requires her removal from the bench unrelated to any possible affiliation with the 'victim': she
       'robo-signed' warrants that affected constitutional rights in a non-violent misdemeanor case
       orchestrated by a corporation for pecuniary reasons. She had no basis to sign a warrant with 10
       identical charges as she did. She did not act in accordance with Oregon Bail law at the in-jail
       show trial preliminary hearing. Worst case: if she was familiar with Leah Lively and signed the
       warrants based on that affiliation or even worse .. contact... then Judge Rooke-Ley is a felon.
       Discovery will determine if she is merely a robo-judge or a major criminal.


   43. I arrived in Court November 6, 2103 in jail clothing and jail chains on both and and foot. I
        managed to pour some water. I was allowed to drink the cup I poured but the pitcher was taken
        away from me. The demurrer hearing is posted. I ask people to listen to that and consider I was
        in jail clothing and chained hand and foot. After it was denied, I was placed in a courtroom jail
        cell (awaiting ride back to jail) that lacked water. Eventually I was compelled to drink from the
        toilet. That and much more systemic abusive treatment is posted www.RisePatriot.com.


   44. The demurrer hearing was outside the constructs of Oregon's Criminal law. The judge was not
        allowed to have and/or consider any evidence despite four months of abusive pretrial treatment
        as described. The event represented violation of due process and yet another 'show trial' because
        Court Procedures in Lane County Oregon shield a judge from the evidence. Discovery will
        determine the extent, if any, that stems from the District Attorney's Office. The Court did not
        address whether Ogletree Deakins could be a victim but the District Attorney allowed them
        victim status. That will be further dissected in the section on Prosecutor Misconduct.


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       45. The hearing did not conclude that a corporation could be a stalking victim but accepted that Leah
           Lively, an Ogletree Deakins attorney was. She did not follow the established procedure for a
            stalking protective order. I found no evidence at all that she personally complained of stalking.
            The formal request to District Attorney for a stalking protective order (6.21.13 correspondence,
           posted) specifically did NOT include her as a co-complainant. It is obvious on the face she was
            added in by civil attorneys who were aware that stalking requires a natural born 'victim'. All fax
            material in question was sent to thousands upon thousands of recipients. It represents legal
            information marketing. Matters involving unwanted faxes are a very well defined area of
            Federal Law does not include stalking charges or criminal charges as a consequence. There is
            absolutely no evidence Leah Lively ever saw the material. It was sent to a large law office that
            presumably has policy to dispose of unwanted fax material.


       46. A review of the fax material will show that 95% of the words are communicating detailed
            business and legal facts. 5% at best represents non-threatening but possibly vulgar inducements
            to gain reader interest. Out of over 200 pages of police "evidence", there are c. 10
            communications over a one year period with the Enterprise. It is a perfectly legal activity and no
            word written was threatening in any way and no physical threat was ever confirmed. As


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            example, Ogletree Deakins is in a secure Portland office tower and I have not been to Portland in
            four years now nor have I been alleged to have been anywhere near there. City of Eugene Police


I           did not, per evidence, confirm with Portland Police if any threat existed. Logically: if someone
            is experiencing an "immediate or eminent fear of serious personal violence" they would first


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            seek protection by their police who in turn would work with Eugene Police after determining the
            actual threat, if any. Police evidence (posted) did include reports from Multnomah Sheriff
            showing they received the faxes but did not consider them 'stalking' or even a threat worthy of
t           continued investigation. They also failed to consider them Crime Reports. They were branded

j           'vulgar' and filed. While I disagree with that artistic interpretation, 'vulgar' is not stalking.


I       47. The cumulative effects of the duress and coercion were taking their toll upon me. Still, I was


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            determined to hold out for a trial. Mr. Kevin Bons (my attorney at the time) was very sure we
            did not have to file for release from the $200,000 bail that was forfeited unless retrieved via court
            order. The transcript of the hearing clearly shows the judge indicating we had 30 days but Mr.
I
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            Bons did not agree that was the case. Reluctantly, at the last moment, I was compelled to locate
            another attorney who could release me from the $200,000 judgment that was about to accrue
!           against me. I retained John Halpern, a renowned trial attorney. I paid him a flat $15,000
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            because that is what he asked for. He was able to get the Motion in to avoid the judgment on the
            very last possible day and it was successful.



I       46. Trial was delayed by Mr. Bons from December 6, 2013 until January 14,2014. Had Ms. Moro
I           performed her job as I paid her to and not been cowed by the District Attorney's office that would
i           not have been necessary. As noted previously, Ms. Moro refused to file a demurrer and fired me.
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I,          It was not my choice and it cost me plenty to switch out of necessity, as it did the next time.

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        47. Over the Christmas Holidays, I was in ankle bracelet and subject to the unconstitutional, cruel,
I
            and medically dangerous pre-trial release conditions. I stumbled across a study published by the
            National Institutes of Health (Cancer Institute) advising against close exposure to cellular
             radiation for more than five hours per day. That study was formalized c. 6.24.13. Prior to that, it
            was not an official recommendation or warning by the Government. After that, it was reasonable
             to assert that it was potentially life threatening as there was no way for me to determine signal
             type or strength. Discovery will reveal all those details as well as the fact that worrying about
             unknown health risks can itself lead to terminal health conditions. At that point, I communicated
             my concern to my attorney Mr. Halpern and told him to pursue a negotiated agreement with
             District Attorney's office and he did so.


        48. Still, I was determined to hold out for a trial scheduled for January 14. Mr. Halpern will confirm
             that I did not want to plead any form of guilt but was willing at that point to consider what the
             District Attorney would offer. Around that time I learned the following:
             a. the January 14, 2014 trial was going to be postponed indefinitely. Prosecutor Hasselman is
             extremely busy and on any given day had more serious and pressing cases than a misdemeanor.
             As previously stated, discovery will determine how and why Erik Hasselman was assigned this
             case at that time. His wife was pregnant with twins then so his personal life may have also
             caused delays.
             b. I learned that trial could and likely would be postponed for as long as two years and then
             ended with dismissal of charges, all the while with me subjected to ankle braceleting, etc.


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   49. During the time in ankle bracelet, I received several calls that will be a matter of record. They
        generally were very late at night and woke my household. It was the Sheriffs office claiming
        they could not pick up a signal and wanted to see if I was home. Those calls were intimidating,
        defaming in my household, and terrorizing to me and my household. The added to the
        cumulative duress and coercion. A fact finder could look at any single element of my pre-trial
        treatment and try to excuse it as within policy and do the same with the next. The cumulative
        effect cannot and will not be discounted as that represents the true effect upon the human
        organism. That will be backed up with professional testimony at Trial.


   50. I met with Mr. Halpern and Erik Hasselman in Mr. Hasselman's conference room. I concluded
        that Erik Hasselman was an equal victim to myself (of a different kind). On one hand, I must
        vigorously pursue damage recovery as well as do all possible to expose the role of each person
        and to hold them personally accountable professionally and financially. On the other: Erik
        Hasselman was tricked and backed into continuing prosecution. He should have not. He
        should have moved to dismiss charges. The District Attorney is most responsible. This aspect
        will be dissected more in the section regarding prosecutor misconduct and malicious prosecution.


    51. On January 9, 2014 I agreed in court to a set of stipulated facts. I agree that any fear oftrial and
        sentencing 1s not coercive. The jailing, pre-release conditions, bail, indefinite trial, and ankle
        bracelet most certainly are as described. District Attorney wrote in his October 4, 2013 letter
        that I considered it perjury to plead guilty. I hereby invoke 51h Amendment protection if later
        needed for placing a statement into court that is sworn to that I openly lied in Court on January 9,
        2014 but that it appears specifically allowed by Oregon Law per Mr. Halpern, my attorney. He
        will confirm that I expressed misgivings about lying in court about guilt, duress, etc. and he
        confirmed it is provided for in Oregon Law.


    52. Prosecutor Erik Hasselman, after the judge had accepted Stipulated Facts, went on in Court to
        place on the record what I consider to be tantamount to a confession that I had not actually
        committed any crime. In my opinion, his testimony in court that day is the exact opposite of his
        previous posture towards me and is more or less what a defense attorney might argue. I am
        placing this as an opinion so others can listen or read it and see it is like a Confession of sorts.


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       53. The sentencing agreement was dictated by the corporate complaints despite it not having been
            confirmed by the Court at demurrer hearing that a corporation could be a victim of stalking. I
            assert what is obvious to anyone:
            a. It is not in the public interest to allow corporations to claim they are being stalked by citizens
            peacefully in their home communicating via fax.
            b. Corporations should first try simple solutions such as blocking my fully disclosed home
            telephone number if they do not want informational material. There are also clearly defined civil
            remedies provided for in Federal fax laws that were all bypassed by corporate civil attorneys.
            c. Corporations cannot be stalked, murdered, raped, assaulted, strangled, or maimed. The
            stalking laws were not written as a vehicle to limit corporate communication as used in this case.


        54. The sentencing agreement called for a cursory $200 mental health examination but specifically
            excluded the need to complete treatment. That is practice of medicine without license or
            qualification because the District Attorney decoupled evaluation and treatment. As far as I can
            ascertain, decoupling evaluation and treatment is not a permitted activity in the mental health

I           industry. Dr. Miki Mace of Quality Research Associates had never seen that before. She did not
            provide her opinion of its propriety but she did help me address it with the Court. As an aside, I
            strongly recommend that instead of allowing police to handle imagined or real mental health
            issues .... get the professionals such as Dr. Mace and Quality Research Associates in the loop from

I           the get-go to avoid the illegal and immoral conduct described in this complaint along with other

l           such conduct that arises from Discovery.




I           Cumulatively, there was significant 'second hand' involvement of the mental health industry.
            The use of psychiatric resources to affect political or economic outcomes is generally considered
            to be a crime against humanity but not currently a specific crime in the United States from what I
            can discern as Pro Se. There have been attempts at the national level to label it as such but last I
            knew, those were all derailed. It is instead practicing medicine without license or qualifications.
            I propose that use of psychiatric resources to conceal or to affect political outcomes provides a
            set of facts that provides a basis for civil relief. This is put on the record as contingency.


        55. The agreement included verbiage that I was not allowed to contact Ogletree Deakins or their


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       Attorney Steven Seymour. The prosecutor was fully aware that I had filed a lawsuit against the
       accusers in District Court. I assert that action was clearly against the American Bar Association
       suggested rules of conduct of the Prosecutor and if reported to ABA could result in investigation.
       Please note: the ABA recognizes departure from its suggested rules when there is any form of
       valid reason involving public safety in major crime situations. This case should have had no
       departure at all from code of conduct. That caused a major denial of my ability to act as Pro Se
       in that case and I could not afford what civil attorneys were charging in light of all my other
       financial obligations without income or employment. That restraining order is prima facie, clear
       willful, knowing involvement of the prosecutors office in the racketeering activity ofthe
       corporate Enterprise and the product of conspiracy against rights: Corruption of Court. With
       that action, the Racketeers corrupted the Court itself. Non-victims cannot dictate such terms.
       My District Court complaint was postponed by the District Court specifically for the reason of
       concluding the criminal stalking charges. I hereby allege improper collusion and corruption of
       District Court processes. District Court used the 'no contact with Ogletree Deakins' as a basis to
       dismiss Ogletree Deakins from my District Court lawsuit. I am making a note of it here. That
       aspect will be addressed in the District Court and/or Appeals court of the related case. It
       potentially implicates the District Court in the racketeering activity of the corporate Enterprise.
        Discovery will determine the nature and extent of coordination between Lane County Criminal
        Justice System and United States District Court- Civil. It will be litigated and prosecuted (or
        not) based on the facts themselves, once discovered fully. On the face: it is smoking gun public
        corruption of the judiciary branch of the state and federal government by a corporate enterprise
        for clear pecuniary motivations. They deliberately manufactured a crime and then systematically
        used the results of their activity to further violate my due process rights and Defendants willingly
        participated and are thus fully liable and culpable.


    56. I immediately appealed the conviction within the 30 day period. My legal research showed that
        appeal rights in stipulated facts trials were limited by ORS. Mr. Halpern, my attorney, suggested
        filing for Post Conviction Relief, so I did. That required me to withdraw the appeal so I did. I
        paid for and filed for Relief and it was twice denied for being in the wrong format. No guidance
        was provided as to correct format and I used a format accepted in Tillamook County, which
        should have sufficed a Pro Se in Lane County. The presiding judge ordered that I must use an
        attorney for the process despite my onerous financial obligations and costs to date.         The effect


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       of the Court Actions coupled with the fine details of ORS have thus far resulted in denial or
       discouragement of due process- right to Appeal and well established right to act as Pro Se. I
       assert: an appeal is a fundamental right in all American legal proceedings and any obfuscation of
       that right via conflicting Oregon Revised Statutes is unconstitutional. So is acting as Pro Se and
       case law shows the Court is supposed to recognize and adapt reasonably to Pro Se limitations.
       Because this situation is still in process, I am just making a note of it here and it will be
       addressed in the Prayer for Relief at the conclusion of this Claim.


   57. Since then, I have been most patient as I have attempted to work out grievances with Wells Fargo
       et al and their agents out-of-court in order to avoid this litigation against subject Defendants. As
       a citizen, I chose to do what I consider morally correct which means trying to work it out with
       the cause of the problem rather than involving my friends and neighbors in this small town via
       this Complaint. I have also presented significant evidence to our Presiding Judge and District
        Attorney, all of it was completely ignored and not even made a formal part of the record.
        Accordingly, that is why this lawsuit is made necessary at this time.


Prosecutor Misconduct and Malicious Prosecution - Several times within this Complaint I referenced
Prosecutor Misconduct and Malicious Prosecution and provided specific, factual examples form part of
the factual basis for my Claims ofRelief. I am adding the District Attorney (Alex Gardner) as
personally liable and lacking immunity from civil liability due to Buckley v. Fitzsimmons (91-7849),
509 U.S. 259 (1993). I am adding the District Attorney's Office as the public vessel ofthe DA, hence
the notification to the Director of Administrative Services. They actively directed the police activity
over time. They interpreted communications and related art content against the Constitution. They
terribly misunderstood the Oregon Stalking case law.           They availed themselves on an undue basis to the
corporate accusers. They circumvented the Oregon Stalking Protection Order laws and policies, which
are extremely clear and were not followed. They acted with extreme malice and against the evidence,
the law, and common sense itself.


City of Eugene, Lane County, and the State of Oregon did waste enormous public resources on this case.
They pulled MANY different violent crimes and financial detectives away from their work in attempts
to frame me in behalf of and upon direction of a corporate Enterprise. There is no more clear sign that a
Corporation is actually a mob enterprise necessitating RICO enforcement than having the structure and


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practice of using police/prosecutors to enforce their business objectives. There is no worse or more
damaging form of public corruption except influencing judges and court processes, which also clearly
and obviously happened in this case as evidenced with the details of the judgment described herein.


Courthouse Threat Profiline and Armed Guard Response
This appears to be related to prosecutor misconduct and discovery will determine the source of this
complaint aspect. I am reporting this as a form of Conspiracy Against Rights, coercion, duress, and
further evidence of the terrorizing conduct of Defendants and/or their affiliates. It is being presented as
Fact that can be confirmed via the Sheriffs office which ordered it. It extended across all courts via
their security personnel. It is unclear with who and where this threat-painting started but it will be
discovered. It also affected my deliveries to the FBI and to District Court until I was able to partially
resolve the problem.


Starting around the same time I presented First Notice of Claim or the evidence material in advance of
that I was followed everywhere I went in the Court by armed guards, agents of the sheriffs department.
They attended hearings, including a divorce related matter. I saw one of them engaging in verbal
intercourse with my ex-wife. I just stood there and watched. It is human to wonder how armed guards
in a courtroom on a divorce matter or for non-violent misdemeanor charges affects the judges and the
attorneys but my observation is that it certainly is not beneficial to my cause.


Mr. Halpern reported to me that my picture was posted on the wall between Judge Vogt and Judge
Rasmussen's office as an extra-ordinary threat. That same threat profiling in complete absence of a
reason is absolutely bizarre and childish. It reminds me of activity that was normally a feature in
famous court events such as the Salem Witch Trials or the Soviet Gulag Processes.


It is a gross, horrific added element to the overall Conspiracy Against Rights under Color of Law.


Prayer for Relief
    1. $4 million (four million dollars) representing economic/general damages to me. I was a high
        earning professional and my ability to earn was removed from me by what Defendants did under
        color of law. That figure represents approximate value of lost income and interests plus a small
        and arbitrary amount of general damages for emotional and physical harm.


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   2. Criminal Prosecution of Ogletree Deakins and Wells Fargo for filing falsified physical threat
       reports with our police, kidnapping using corrupted (tricked) police as agents, and racketeering
       in the State of Oregon, Lane County. I am a citizen presenting evidence and demanding they be
       prosecuted and District Attorney's office or the State's Attorney General is obligated to do that
       under the Law based on my evidence and my complaint. They should not need or want a court
       order to do their job. They should be eager for the opportunity. All actors are presented with
       amazing opportunity to do the right thing and prosper immensely. It defies my sensibilities they
       do not yet seem to conclude the same.


   3. Return of all material taken from my home, including my computer equipment. Police can if
       they want retain copies but my property must be returned to me.


   4. The District Attorney and/or Presiding Judge appear to be vested with power under ORS to
        vacate the criminal convictions, expunge and seal the records. They do not even have to provide
        a detailed reason to do that. It appears they can just ... do it to cure a major violation of due
        process. That is also requested relief. It is also in the best interests of all parties.


Statement of Separability of Claims and Factual Allegations
All claims are alleged as a group and individually. They are stated as a group of facts and allegations as
it relates to Racketeering and Conspiracy Against Rights under Color of Law. If any fact or claim is
discovered inaccurate or invalid that item is edited or removed and the rest stand. Discovery can and
likely will result in significantly more allegations and claims and those will be added in if and when
appropriate. Other parties will be joined as defendants or allowed as interveners as facts are discovered.




Signed and Sworn to:




Andrew (Andy) Clark 3270 Stoney Ridge Rd. Eugene, OR 97405 541.510.3915



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                        UNITED STATES DISTRICT COURT

                               DISTRICT OF OREGON


ANDREW G. CLARK,

                   Plaintiff,                    6:14-cv-01103-TC

                 v.                              ORDER

WELLS FARGO BANK, N.A.,
Et al.,

                  Defendants.

Coffin, Magistrate Judge.

      Plaintiff pro se has filed what can only be characterized

as a nuisance lawsuit against various defendants. Plaintiff's

complaint       does     not     comply   with     the    minimal     pleading

requirements      of    Federal    Rule   of Civil       Procedure   8 (a)     and

plaintiff   has        alleged   claims   against    defendants      that      are

immune   from    liability or have other dispositive                 defenses.

Moreover, the record before the court indicates that most if

not all of plaintiff's claims are barred by res judicata or

the doctrine of issue preclusion.

      Several defendants have filed motions to dismiss.                      (#7),

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 ('# 1 0 ) ,    (# 4 3 )    and     ( # 6 6) .    Plaintiff has           filed a       number of

 mostly         improper           motions,        but     has     not     responded       in   any

 meaningful way to defendants' dispositive motions.

  Therefore,               IT IS HEREBY ORDERED that plaintiff shall show

 cause in writing within 30 days of the date of this order why

 defendants' motions to dismiss                           (#7),    (#10),       (#43)   and (#66)

 should not be allowed. No extensions of time to comply with

 this order will be allowed. Plaintiff is advised that failure

 to show cause as directed herein will result in the dismissal

 of this proceeding for failure to prosecute.

          Defendant Alex Gardner and State of Oregon's Motion to

 Stay Discovery (#42) is allowed.

          All     other pending motions                    (#21),        (#23),    (26),    (#36),

 (#38)         (#41)       (#45)    (#46),       (#48),    (#49),    (#50),       (#51),    (#52),

 (#53),         (#55),        and     (#61)      are      denied    without       prejudice      to

 request reconsideration after plaintiff has filed a response

 as directed herein.

          Plaintiff is advised that litigation is not a game in

 which he can make up his own rules.                                Pro se litigants must

 follow         the        same     rules        of    procedure         that     govern    other

 litigants.            Ovitsky v. Oregon,                 2014 U.S. Dist. LEXIS 12892,

 *7-8      (D. Or.         Feb.     3, 2014),         citing King v. Atiyeh,             814 F.2d

 565, 567         (9th Cir. 1987), overruled on other grounds by Lacy·

v. Maricopa County, 693 F.2d 896 (9th Cir. 2012).


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       Plaintiff is further advised that vexatious and abusive

 tactics will not be tolerated and may subject him to penalties

 for contempt of court.

       IT IS SO ORDERED.



       DATED this JJeday of November, 2014. ·



                                                             Judge




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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON



ANDREW G. CLARK,                                                     Civ. No. 6:14-cv-01103-TC

               Plaintiff,                                            FINDINGS AND
                                                                     RECOMMENDATION
               v.

ERIK HASSELMAN, District Attorney's
Office for Lane County, Oregon;
WELLS FARGO BANK, N.A.;
OGLETREE, DEAKINS, NASH, SMOAK &
STEWART, P.C., a South Carolina Corporation;

               Defendants.



COFFIN, Magistrate Judge:

       Defendant Wells Fargo Bank, N.A., ("Wells Fargo") moves to dismiss plaintiff Andrew

Clark's claims against it with prejudice pursuant to Fed. R. Civ. P. 12(b)(6) or in the alternative,

to strike plaintiffs First Amended Complaint ("FAC") pursuant to Fed. R. Civ. P. 12(±). (# 110).

Wells Fargo also filed a Request for Judicial Notice in Support of its Motion to Dismiss(# 112).

For the reasons set forth below, Wells Fargo's motion to dismiss plaintiffs claims against it with

prejudice (# 110) should be granted and Wells Fargo's Request for Judicial Notice of its Motion

to Dismiss for Failure to State a Claim(# 112) should be denied as moot.


1 - FINDINGS AND RECOMMENDATION

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                                        BACKGROUND
       Plaintiff was employed by Wells Fargo as a mortgage originator from September 2009

until June 2011, when he was terminated for "repeatedly displaying unprofessional conduct."

Clark v. Wells Fargo Bank, NA. ("Clark III"), No. 3:13-cv-01546-AA, 2014 WL 2998600, *1

(D. Or. July 1, 2014). At some point during his tenure at Wells Fargo, plaintiff began compiling

reports regarding the bank's alleged violations of the Sarbanes-Oxley and Frank-Dodd Acts,

which he transmitted both internally and to various government agencies, including the Federal

Bureau of Investigation and Central Intelligence Agency. Id. After being terminated from Wells

Fargo in June 2011, plaintiff posted Wells Fargo's confidential and proprietary records, including

private customer information, on his website. Id.

       On July 18, 2011, the Eugene Police Department contacted plaintiff at his home because

Wells Fargo reported that he was trespassing and had sent an email referencing genocide. Id.

Police officers warned plaintiff to avoid Wells Fargo property in the future. On July 29, 2011,

the police arrested plaintiff for second degree municipal trespass. Id. Plaintiff was held in the

Lane County jail for 18 hours before being released and the trespass charge later being

dismissed. Id.

       In August 2011, Wells Fargo commenced a lawsuit seeking to enjoin plaintiff from

publishing, controlling, disclosing, or retaining any of its equipment, confidential customer

information, or trade secrets. Id. Plaintiff filed numerous motions, which, amongst other things,

attacked Wells Fargo's counsel, Ogletree, Deakins, Nash, Smoak and Stewart, P .C. ("Ogletree"),

and alleged that Wells Fargo was engaging in racketeering and retaliation; the court denied each

of plaintiffs motions. Id.    The court, however, permitted Wells Fargo to file documents

reflecting plaintiffs inappropriate correspondences under seal. Id.



2 - FINDINGS AND RECOMMENDATION

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       On October 5, 2012, after two hearings, the court granted summary judgment in favor of

Wells Fargo and entered a permanent injunction. See generally Wells Fargo Bank, NA. v. Clark

("Clark!''), 2012 WL 4794156 (D. Or. Oct. 5, 2012). At that time, the court held plaintiff in

contempt for failing to "comply with standards of professionalism in all his communications

with Wells Fargo and its counsel." Id at 5-7. Plaintiff sent hundreds of emails and faxes to

Ogletree, some of which were threatening and/or obscene, and all of which "had little to no

bearing upon [any] legal issue between plaintiff and defendant," despite being repeatedly

instructed by the court "to limit his communications to plaintiffs counsel's firm in Portland and

to keep those to a strictly professional tone."   Id Thereafter, the court denied several motions

for reconsideration filed by plaintiff. See generally Wells Fargo Bank, N .A. v. Clark ("Clark

II''), 2013 WL 2038561 (D. Or. May 14, 2013).

       On July 18, 2013, police officers arrived at plaintiffs home to interview him about

certain faxes and emails he had sent Ogletree and one of its attorneys, Leah Lively. Clark Ill,

2014 WL 2998600, *1.        Although plaintiff denied that the communications at issue were

threatening, officers warned him if he continued to communicate inappropriately with Ogletree

and Lively, he may be criminally charged with stalking. Id On July 23, 2013, plaintiff sent

another fax to Ogletree and Lively in contravention of police orders. Id On July 25, 2013,

plaintiff was arrested and charged with ten counts of stalking; he was jailed for six days and

released with an electronic ankle bracelet after posting bail. Id

       On August 3, 2013, plaintiff initiated the Clark Illlawsuit against Wells Fargo, Ogletree,

and Securitas Corporation ("Securitas"), as well as certain individually named employees,

alleging: (1) violations of the Racketeer Influenced and Corrupt Organizations Act ("RICO"); (2)

deprivation of his First, Fourth, Fifth, Eighth, and Fourteenth Amendment rights in violation of



3 - FINDINGS AND RECOMMENDATION

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42 U.S.C. § 1983; (3) defamation; (4) violations of the Occupational Safety and Health Act

("OSHA"); (5) gross negligence; and (6) a conspiracy against his constitutional rights in

violation of 18 U.S.C. §§ 241, 242. Id.

       On January 9, 2014, Plaintiff entered into a plea agreement, which, in relevant part,

precludes him from contacting Ogletree or its attorneys, except through counsel, for ten years.

Id. On July 1, 2014, Wells Fargo's motion to dismiss was granted in the Clark III suit and the

case was dismissed. Id. at 9. On July 16, 2014, plaintiff filed a motion to set aside the Clark III

judgment alleging fraud upon the court. Plaintiffs motion was denied and on July 22, 2014,

plaintiff appealed the dismissal. Pl. 's Resp. to Mot. to Dismiss 4, 9. However, on July 11, 2014,

eleven days prior to filing the aforementioned motion and appeal to the Clark III judgment,

plaintiff filed the immediate action against Wells Fargo; the City of Eugene, Oregon; Lane

County, Oregon; the State of Oregon; Alex Gardner of the District Attorney's Office for Lane

County, Oregon; Ogletree; and Eric Hasselman, of the Lane County District Attorney's Office.

Pl.' s Compl. 1.

       On August 4, 2014, Wells Fargo filed a motion to dismiss plaintiffs claims against it(#

10) and on November 24, 2014, this court ordered plaintiff to show cause why Well's Fargo's

motion to dismiss should not be granted. (# 70). On December 9, 2014, plaintiff filed a motion

objecting to this court's order to show cause(# 75) and on April 9, 2015, District Judge Michael

McShane adopted this court's order to show cause "in full" and agreed with this court's view that

"plaintiffs action can only be characterized as a nuisance lawsuit" and that this court's warning

that his actions could subject him to contempt of court was "entirely appropriate." (# 87).

       On December 24, 2014, plaintiff filed a motion for leave to file a FAC (# 76), which this

court denied without prejudice because plaintiffs motion failed to comply with Local Rules



4 - FINDINGS AND RECOMMENDATION

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("LR") 7-l(a) and 15-l(d)(l). (# 86). On May 1, 2015, plaintiff filed another motion for leave

to file a FAC, this time including a copy of the proposed FAC, as well as all exhibits referenced

by the FAC as LR 15(d)(l) requires.       (# 92).   On September 21, 2015, this court granted

plaintiffs motion for leave to file a FAC (# 99) and on September 28, 2015, plaintiff filed the

FAC (# 100) that is now before the court. Plaintiffs FAC asserts two causes of action against

defendants, the first of which, implicates only defendant Eric Hasselman, and makes no

allegations against Wells Fargo. FAC (# 100) at 9-10. Plaintiffs second cause of action alleges,

in relevant part, that Wells Fargo violated the RICO Act, 18 U.S.C. § 1962(c), by: (a)

"transmitting a threat report to the Eugene Police Department on July 28, 2011 with no factual

basis to support probable cause for arrest"; (b) commencing the Clark I suit against him; (c)

conspiring with defendants Ogletree and Hasselman to deprive him of his equal protection rights

between June 14, 2013 and January 9, 2014; 1 and (d) "commit[ting] at least two predicate acts

constituting a 'pattern' of 'racketeering."' Id. at 10-12. On November 16, 2015, Wells Fargo

submitted the Motion to Dismiss (# 110) and Request for Judicial Notice (# 112) that are

presently before the court.

                                  STANDARD OF REVIEW

       Where the plaintiff "fails to state a claim upon which relief can be granted," the court

must dismiss the action. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, the complaint

must allege "enough facts to state a claim to relief that is plausible on its face." Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 570 (2007). For purposes of a motion to dismiss, the complaint

is liberally construed in favor of the plaintiff and its allegations are taken as true. Rosen v.



1
  Plaintiffs allegations in the FAC that correlate with the date range from June 14, 2013, to
January 9, 2014, all relate to plaintiffs arrest, plea agreement, and conviction stemming from his
stalking charges. Pl.'s FAC (# 100) iii! 31-46.
5 - FINDINGS AND RECOMMENDATION

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Walters, 719 F.2d 1422, 1424 (9th Cir. 1983). Bare assertions, however, that amount to nothing

more than a "formulaic recitation of the elements" of a claim "are conclusory and not entitled to

be assumed true." Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009). Rather, to state a plausible claim

for relief, the complaint "must contain sufficient allegations of underlying facts" to support its

legal conclusions. Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir.2011), cert. denied, 132 S.Ct.

2101 (2012).

                                           DISCUSSION

         Wells Fargo moves the court for an order dismissing with prejudice plaintiffs claims

against it under Fed. R. Civ. P. 12(b)(6) because: (1) plaintiffs claims against it are barred by the

doctrine of res judicata; and (2) plaintiff cannot state a claim upon which relief can be granted.

Wells Fargo's Mot. to Dismiss and Mot. to Strike 2. In the alternative, Wells Fargo moves the

court to strike plaintiffs FAC pursuant to Fed. R. Civ. P. 12(f) because plaintiffs FAC is

"materially different than the complaint the court granted plaintiff leave to file." Id.

   I.       Res Judicata

         Plaintiff argues that its claims against Wells Fargo are not barred by resjudicata because:

(1) Wells Fargo already presented a resjudicata argument in its prior motion to dismiss and the

court allowed repleading; (2) the FAC alleges actions that occurred after the complaint in the

Clark III lawsuit was filed, specifically that "the plea deal that resulted in Ogletree's dismissal

from the prior action was a product of defendant's racketeering activity"; and (3) "the prior case

was not litigated on its merits," which "led to the RICO claim being dismissed without

addressing the merits." Pl.'s Resp. to Wells Fargo's Mot. to Dismiss 4.

         Claim preclusion, otherwise known as res judicata, "bars all grounds for recovery that

could have been asserted, whether they were or not, in a prior lawsuit between the same parties



6 - FINDINGS AND RECOMMENDATION

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on the same cause of action." Siegel v. Fed. Home Loan Mortg. Corp., 143 F.3d 525, 528-29

(9th Cir. 1998). The doctrine "conserves judicial resources and fosters reliance on judicial action

by minimizing the possibility of inconsistent decisions." Tahoe-Sierra Preservation Council,

Inc., v. Tahoe Reg'/ Planning Agency, 322 F.3d 1064, 1077 (9th Cir. 2003).

       "Res judicata is applicable whenever there is (1) an identity of claims; (2) a final

judgment on the merits; and (3) privity between parties."           Id. (internal citation omitted).

"Identity of claims exists when two suits arise from the same transactional nucleus of facts." Id.

'"Unless the court in its order for dismissal otherwise specifies, a dismissal ... other than a

dismissal for lack of jurisdiction, for improper venue, or for failure to join a party under Rule 19,

operates as an adjudication upon the merits."' Stewart v. US. Bancorp, 297 F.3d 953, 957 (9th

Cir. 2002) (quoting Fed. R. Civ. P. 41(b)). Finally, "a dismissal for failure to state a claim under

Rule 12(b)(6) is a 'judgment on the merits' to which res judicata applies." Communication

Mgmt. Servs., LLC v. Qwest Corp., 67 F. Supp. 3d 1159, 1169 (D. Or. 2014) (quoting Stewart,

297 F.3d at 957).

       Here, the court finds unpersuasive plaintiffs argument that his claims are not barred by

res judicata simply because Wells Fargo already presented a res judicata argument in its prior

motion to dismiss and the court allowed repleading. Plaintiff was allowed to replead in this case

only after being ordered to show cause why defendants' motions to dismiss should not be

granted because, as stated above, this court found that plaintiffs action can only be characterized

as a nuisance lawsuit and warned that his actions could subject him to contempt of court. In so

finding, this court noted that: (1) plaintiffs complaint did "not comply with the minimal

pleading requirements of Federal Rules of Civil Procedure 8(a)"; (2) plaintiff had "not responded

in any meaningful way to defendant's dispositive motions"; and (3) "the record before the court



7 - FINDINGS AND RECOMMENDATION

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indicates that most if not all of plaintiffs claims are barred by res judicata." (# 70) at 1.

Consequently, Wells Fargo's motion was denied without prejudice, until such time that plaintiff

complied with this court's order.     Accordingly, because Wells Fargo's motion was denied

without prejudice, it has appropriately reasserted a res judicata defense here.

       Similarly unpersuasive is plaintiffs argument that res judicata does not apply here

because the FAC alleges actions that occurred after the complaint in the prior Clark III lawsuit

was filed, specifically that the plea deal from the prior action was a product of Wells Fargo's

alleged racketeering activity. An inspection of the Clark III opinion reveals that plaintiff filed a

motion to augment the record in that case, which caused the court to consider whether Wells

Fargo was responsible for any wrongdoing relating to plaintiffs plea deal. See Clark III, 2014

WL 2998600, *3 ("Clark also filed a motion with this court impugning his plea deal and

indicating that he would appeal that conviction.       See generally Pl.' s Mot. to Augment the

Record."). Specifically, the Clark III court found there was no "indicat[ion] that Wells Fargo

was responsible or involved in the charges Ogletree and Lively filed against him" and thus, any

allegations of any "wrongdoing relating to this event are not plausible." Id. Moreover, the court

found that "Clark's plea agreement, wherein [he] stipulated to one count of stalking, establishes

that Ogletree's and Lively's complaints, as wells as the actions of law enforcement in charging

him and taking him into custody, were legally valid." Id. Finally, the court found that plaintiffs

"claims that are premised on his July 2013 interactions with the police and subsequent arrest and

criminal conviction fail." Id.

       Accordingly, because the Clark III court squarely addressed plaintiffs accusations

against Wells Fargo relating to any wrongdoing in connection with his arrest, plea deal, and

conviction, and found that Wells Fargo was not responsible or involved, res judicata precludes



8 - FINDINGS AND RECOMMENDATION

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re-litigation of those issues here.    Siegel, 143 F.3d at 528-29; Tahoe-Sierra Preservation

Council, Inc., 322 F.3d at 1077.

       Finally, this court finds unpersuasive plaintiffs argument that res judicata does not apply

here because his RICO claim against Wells Fargo in Clark Ill was dismissed without reaching

the merits. In addition to the Clark Ill court's findings stated above, the Clark Ill court also

considered plaintiffs accusations that Wells Fargo violated RICO by "intentionally harassing

him by malicious prosecution of groundless civil and criminal offenses" and found that

plaintiffs "RICO claims are defective in many respects." Clark Ill, 2014 WL 2998600, 4. The

Clark Ill court found that "Clark's claims are based, in part, on the alleged injustices he suffered

pursuant to his previous litigation with Wells Fargo" in the Clark I and Clark II suits, however,

"because those issues were previously litigated between the same parties and resulted in a final

judgment, they cannot form the basis of this action." Id. at 4-5 (internal quotations omitted).

Moreover, the Clark Ill court found that plaintiff "fails to evince a pattern of racketeering

activity" and, therefore, could not "conclude that there is any continuing threat of criminal

activity." Id. The Clark Ill court, therefore, granted Wells Fargo's Rule 12(b)(6) motion to

dismiss plaintiffs RICO claims against it. Id. at 5. Accordingly, this court finds that plaintiffs

RICO claim against Wells Fargo in Clark Ill was decided on the merits. Fed. R. Civ. P. 41(b);

Stewart, 297 F.3d at 957; Communication Mgmt. Servs., LLC, 67 F. Supp. 3d at 1169.

       Because plaintiffs claims in Clark III were decided on the merits, the only remaining

issues are whether there is privity between parties and an identity of claims.        Tahoe-Sierra

Preservation Council, Inc., 322 F.3d at 1077. It is undisputed that this action involves the same

parties as the prior Clark Ill action against Wells Fargo. See Pl.'s Opp'n to Wells Fargo's First

Mot. to Dismiss (#77), 10 ("plaintiff concedes that Wells Fargo N.A. was a party to the prior



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case 6:13-cv-01546-AA."). Accordingly, this court finds that there is privity between the parties.

Moreover, plaintiff previously admitted that an identity of claims exists between the instant suit

and the Clark III suit. See Id. ("Plaintiff concedes that the same facts and laws were at issue in

the prior [Clark III] case."). However, to be sure, an inspection of the Clark III opinion and

plaintiffs claims in the instant case confirms that an identity of claims exists.

       As previously stated, in Clark III the court found that: (1) Wells Fargo is not responsible

for any wrongdoing relating to plaintiffs arrests, plea deal, or conviction; (2) plaintiffs claims

based on previous litigation with Wells Fargo could not form the basis of that action because

those issues were previously litigated between the same parties and resulted in a final judgment;

and (3) plaintiff failed to evince a pattern of racketeering activity. Similarly, plaintiff asserts

here that Wells Fargo violated the RICO Act: (1) through alleged wrongdoing stemming from his

arrests, plea deal, and conviction; (2) by commencing the Clark I suit against him; and (3) by

committing at least two predicate acts constituting a pattern of racketeering.

       Accordingly, because there is privity between the parties, an identity of claims, and a

previous judgment on the merit of those claims, this court finds that res judicata precludes

plaintiffs RICO claim against Wells Fargo here. As such, Wells Fargo's motion to dismiss

plaintiffs claims against it with prejudice (# 110) should be granted and its motion to strike

plaintiffs FAC should be dismissed as moot. Further, Wells Fargo's Request for Judicial Notice

of its Motion to Dismiss for Failure to State a Claim(# 112) should also be dismissed as moot.

                                          CONCLUSION

       For the reasons stated, Wells Fargo's motion to dismiss plaintiffs claims against it with

prejudice (# 110) should be granted and its Request for Judicial Notice of its Motion to Dismiss

for Failure to State a Claim(# 112) should be denied as moot.



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                                     SCHEDULING ORDER

       The Findings and Recommendation will be referred to a district judge. Objections, if any,

are due fourteen (14) days from service of the Findings and Recommendation. If no objections

are filed, the Findings and Recommendation will go under advisement on that date. If objections

are filed, a response is due fourteen (14) days after being served with a copy of the objections.

When the response is due or filed, whichever date is earlier, the Findings and Recommendation



       DATED this
                        .,
will go under advisement.

                     __i_   day of April, 2016.




11 - FINDINGS AND RECOMMENDATION

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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

ANDREW G. CLARK,                                                    CASE NO. 6:14-cv-01103-TC
    Plaintiff,
                                                     RESPONSE TO ORDER TO SHOW
               v.                                    CAUSE

WELLS FARGO BANK, N.A.; OGLETREE,
DEAKINS, NASH, SMOAK & STEWART,
P.C.; and ERIC HASSELMAN,

       Defendants.

       In response to the Order to Show Cause, upon review of the proceedings prior to

undersigned counsel appearing in this case, it appears that indeed Ogletree et al. was not served.

The court has already dismissed the claims against Wells Fargo (upon which the claims against

Ogletree are based). Review of the record indicates that the two-year statute of limitations

against Ogletree expired before undersigned counsel was retained and substituted her appearance

in this case. Therefore the time to serve Ogletree expired before undersigned counsel was

retained and substituted her appearance in this case, and service now would be futile.

       Therefore undersigned counsel submits that Ogletree must be dismissed from this case.

       Respectfully submitted February 23, 2017.




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                                               /s/ Marianne Dugan
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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

ANDREW G. CLARK,

              Plaintiff,                                   Civ. No. 6:14-cv-1103-JR

              v.                                           ORDER

ERIK HASSELMAN, et al.,

            Defendants.
_____________________________

MCSHANE, Judge:

       Based on counsel’s response, ECF No. 131, to the order to show cause, the claims against

defendant Ogletree Deakins Nash Smoak and Stewart, P.C. are dismissed, with prejudice.

IT IS SO ORDERED.

       DATED this 24th day of February, 2017.



                                           _______/s/ Michael J. McShane ________
                                                   Michael McShane
                                               United States District Judge
1 –ORDER



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                             NOT FOR PUBLICATION                           FILED
                      UNITED STATES COURT OF APPEALS                       AUG 27 2019
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
                             FOR THE NINTH CIRCUIT

WELLS FARGO BANK, N.A.,                          No.    18-35887

                  Plaintiff-Appellee,            D.C. No. 6:11-cv-06248-AA

 v.
                                                 MEMORANDUM*
ANDREW G. CLARK,

                  Defendant-Appellant.

                     Appeal from the United States District Court
                              for the District of Oregon
                       Ann L. Aiken, District Judge, Presiding

                           Submitted on August 19, 2019**

Before:        SCHROEDER, PAEZ, and HURWITZ, Circuit Judges.

      Andrew G. Clark appeals pro se from the district court’s order denying his

motion to vacate the district court’s judgment in Wells Fargo Bank, N.A.’s action

alleging violations of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, and

state law. We have jurisdiction under 28 U.S.C. § 1291. We review for an abuse



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).


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of discretion. United States v. Sierra Pac. Indus., Inc., 862 F.3d 1157, 1166 (9th

Cir. 2017). We affirm.

      The district court did not abuse its discretion by denying Clark’s motion to

vacate judgment, which Clark brought nearly six years after the judgment was

entered, because Clark failed to present any facts that were unknown to him at the

time of the entry of judgment. See Sierra Pac. Indus., Inc., 862 F.3d at 1167-1168

(explaining that although a motion for relief for fraud on the court is not subject to

a one-year time limit under Fed. R. Civ. P. 60(d)(3), “relief for fraud on the court is

available only where the fraud was not known at the time of settlement or entry of

judgment”). To the extent Clark’s motion sought disqualification of the district

judge, there was no error in denying the motion because it is untimely. See United

States v. Rogers, 119 F.3d 1377, 1382 (9th Cir. 1997) (failure to file a

disqualification motion until more than one and one-half years after party became

aware of the grounds for disqualification rendered his motion untimely).

      We do not consider matters not specifically and distinctly raised and argued

in the opening brief, or arguments and allegations raised for the first time on

appeal. See Padgett v. Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009).

      AFFIRMED.




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                     United States Court of Appeals for the Ninth Circuit

                                      Office of the Clerk
                                       95 Seventh Street
                                    San Francisco, CA 94103

            Information Regarding Judgment and Post-Judgment Proceedings

Judgment
     •   This Court has filed and entered the attached judgment in your case.
         Fed. R. App. P. 36. Please note the filed date on the attached
         decision because all of the dates described below run from that date,
         not from the date you receive this notice.

Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
    •     The mandate will issue 7 days after the expiration of the time for
          filing a petition for rehearing or 7 days from the denial of a petition
          for rehearing, unless the Court directs otherwise. To file a motion to
          stay the mandate, file it electronically via the appellate ECF system
          or, if you are a pro se litigant or an attorney with an exemption from
          using appellate ECF, file one original motion on paper.

Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1)
Petition for Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

(1)     A.      Purpose (Panel Rehearing):
        •       A party should seek panel rehearing only if one or more of the following
                grounds exist:
                ►    A material point of fact or law was overlooked in the decision;
                ►    A change in the law occurred after the case was submitted which
                      appears to have been overlooked by the panel; or
                ►    An apparent conflict with another decision of the Court was not
                      addressed in the opinion.
        •       Do not file a petition for panel rehearing merely to reargue the case.

        B.      Purpose (Rehearing En Banc)
        •       A party should seek en banc rehearing only if one or more of the following
                grounds exist:



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                ►        Consideration by the full Court is necessary to secure or maintain
                         uniformity of the Court’s decisions; or
                ►        The proceeding involves a question of exceptional importance; or
                ►        The opinion directly conflicts with an existing opinion by another
                         court of appeals or the Supreme Court and substantially affects a
                         rule of national application in which there is an overriding need for
                         national uniformity.

(2)     Deadlines for Filing:
        •    A petition for rehearing may be filed within 14 days after entry of
             judgment. Fed. R. App. P. 40(a)(1).
        •    If the United States or an agency or officer thereof is a party in a civil case,
             the time for filing a petition for rehearing is 45 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the mandate has issued, the petition for rehearing should be
             accompanied by a motion to recall the mandate.
        •    See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the
             due date).
        •    An order to publish a previously unpublished memorandum disposition
             extends the time to file a petition for rehearing to 14 days after the date of
             the order of publication or, in all civil cases in which the United States or an
             agency or officer thereof is a party, 45 days after the date of the order of
             publication. 9th Cir. R. 40-2.

(3)     Statement of Counsel
        •     A petition should contain an introduction stating that, in counsel’s
              judgment, one or more of the situations described in the “purpose” section
              above exist. The points to be raised must be stated clearly.

(4)     Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
        •    The petition shall not exceed 15 pages unless it complies with the
             alternative length limitations of 4,200 words or 390 lines of text.
        •    The petition must be accompanied by a copy of the panel’s decision being
             challenged.
        •    An answer, when ordered by the Court, shall comply with the same length
             limitations as the petition.
        •    If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
             petition for panel rehearing or for rehearing en banc need not comply with
             Fed. R. App. P. 32.


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      •       The petition or answer must be accompanied by a Certificate of Compliance
              found at Form 11, available on our website at www.ca9.uscourts.gov under
              Forms.
      •       You may file a petition electronically via the appellate ECF system. No paper copies are
              required unless the Court orders otherwise. If you are a pro se litigant or an attorney
              exempted from using the appellate ECF system, file one original petition on paper. No
              additional paper copies are required unless the Court orders otherwise.

Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
       •     The Bill of Costs must be filed within 14 days after entry of judgment.
       •     See Form 10 for additional information, available on our website at
             www.ca9.uscourts.gov under Forms.

Attorneys Fees
     •     Ninth Circuit Rule 39-1 describes the content and due dates for attorneys fees
           applications.
     •     All relevant forms are available on our website at www.ca9.uscourts.gov under Forms
           or by telephoning (415) 355-7806.

Petition for a Writ of Certiorari
       •     Please refer to the Rules of the United States Supreme Court at
             www.supremecourt.gov

Counsel Listing in Published Opinions
     •     Please check counsel listing on the attached decision.
     •     If there are any errors in a published opinion, please send a letter in writing
           within 10 days to:
           ►      Thomson Reuters; 610 Opperman Drive; PO Box 64526; Eagan, MN 55123
                  (Attn: Jean Green, Senior Publications Coordinator);
            ►     and electronically file a copy of the letter via the appellate ECF system by using
                  “File Correspondence to Court,” or if you are an attorney exempted from using
                  the appellate ECF system, mail the Court one copy of the letter.




       Post Judgment Form - Rev. 12/2018                                                           3
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                         UNITED STATES COURT OF APPEALS
                              FOR THE NINTH CIRCUIT
                                 Form 10. Bill of Costs
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form10instructions.pdf

9th Cir. Case Number(s)

Case Name
The Clerk is requested to award costs to (party name(s)):



I swear under penalty of perjury that the copies for which costs are requested were
actually and necessarily produced, and that the requested costs were actually
expended.
Signature                                                                 Date
(use “s/[typed name]” to sign electronically-filed documents)

                                                                          REQUESTED
COST TAXABLE
                                                                 (each column must be completed)
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DOCUMENTS / FEE PAID                                                          Cost per Page
                                                        Copies        Copy                               COST

Excerpts of Record*                                                               $                 $

Principal Brief(s) (Opening Brief; Answering
Brief; 1st, 2nd , and/or 3rd Brief on Cross-Appeal;                               $                 $
Intervenor Brief)

Reply Brief / Cross-Appeal Reply Brief                                            $                 $

Supplemental Brief(s)                                                             $                 $

Petition for Review Docket Fee / Petition for Writ of Mandamus Docket Fee                           $


                                                                                       TOTAL: $

*Example: Calculate 4 copies of 3 volumes of excerpts of record that total 500 pages [Vol. 1 (10 pgs.) +
Vol. 2 (250 pgs.) + Vol. 3 (240 pgs.)] as:
No. of Copies: 4; Pages per Copy: 500; Cost per Page: $.10 (or actual cost IF less than $.10);
TOTAL: 4 x 500 x $.10 = $200.
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Form 10                                                                                           Rev. 12/01/2018
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                                               U.S. District Court
                                         District of Oregon (Eugene (6))
                                  CIVIL DOCKET FOR CASE #: 6:11-cv-06248-AA


 Wells Fargo Bank, N.A. v. Clark                                                        Date Filed: 08/05/2011
 Assigned to: Judge Ann L. Aiken                                                        Date Terminated: 11/29/2012
 Demand: $75,000                                                                        Jury Demand: None
 Case in other court: Ninth Circuit, 18-35887                                           Nature of Suit: 890 Other Statutory Actions
 Cause: 28:1331 Fed. Question: Breach of Contract                                       Jurisdiction: Federal Question

 Plaintiff
 Wells Fargo Bank, N.A.                                                  represented by David P. R. Symes
                                                                                        Littler Mendelson, PC
                                                                                        121 SW Morrison Street
                                                                                        Suite 900
                                                                                        Portland, OR 97204
                                                                                        503-221-0309
                                                                                        Fax: 503-961-8198
                                                                                        Email: dsymes@littler.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Leah C. Lively
                                                                                        Davis Wright Tremaine, LLP
                                                                                        1300 SW Fifth Avenue
                                                                                        Suite 2400
                                                                                        Portland, OR 97201-5630
                                                                                        503-241-2300
                                                                                        Fax: 503-778-5299
                                                                                        Email: leahlively@dwt.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Amanda Bolliger Crespo
                                                                                        Ogletree Deakins Nash Smoak & Stewart
                                                                                        P.C.
                                                                                        222 SW Columbia St.
                                                                                        Suite 1500
                                                                                        Portland, OR 97201
                                                                                        503-552-2140
                                                                                        Fax: 503-224-4518
                                                                                        Email:
                                                                                        amanda.crespo@ogletreedeakins.com
                                                                                        TERMINATED: 02/17/2016

                                                                                        Elizabeth A. Falcone
                                                                                        Ogletree Deakins Nash Smoak & Stewart

https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                                             1/13


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                                                                                        P.C.
                                                                                        222 SW Columbia Street
                                                                                        Suite 1500
                                                                                        Portland, OR 97201
                                                                                        503-552-2140
                                                                                        Fax: 503-224-4518
                                                                                        Email:
                                                                                        elizabeth.falcone@ogletreedeakins.com
                                                                                        ATTORNEY TO BE NOTICED


 V.
 Defendant
 Andrew G. Clark                                                         represented by Andrew G. Clark
                                                                                        3270 Storey Ridge Road
                                                                                        Eugene, OR 97405
                                                                                        (541) 510-3915
                                                                                        PRO SE


  Date Filed             #     Docket Text
  08/05/2011               1 Complaint. Filing Fee in amount of $350 collected. Receipt No. 600006735. Summons
                             issued as to Defendant Andrew G. Clark on 8/9/11. Filed by Wells Fargo Bank, N.A.
                             against Andrew G. Clark. (Attachments: # 1 Civil Cover Sheet, # 2 Summons Issued)
                             (ljb) (Entered: 08/09/2011)
  08/05/2011               2 Motion for Temporary Restraining Order. Oral Argument requested. Filed by Wells Fargo
                             Bank, N.A. (ljb). Added Motion for Preliminary Injunction on 8/12/2011 (jw). (Entered:
                             08/09/2011)
  08/05/2011               3 Declaration of Leah C. Lively. Filed by Wells Fargo Bank, N.A. (Related document(s):
                             Motion for Temporary Restraining Order 2 .) (ljb) (Entered: 08/09/2011)
  08/05/2011               4 Declaration of Elsie Reiser. Filed by Wells Fargo Bank, N.A. (Related document(s):
                             Motion for Temporary Restraining Order 2 .) (ljb) (Entered: 08/09/2011)
  08/05/2011               5 Certificate of Compliance with Fed R Civ P 65(b)(1)(B). Filed by Wells Fargo Bank,
                             N.A. (ljb) (Entered: 08/09/2011)
  08/08/2011               6 Answer to 1 Complaint. Filed by pro se Andrew G. Clark. (ljb) (Entered: 08/09/2011)
  08/10/2011               7 Scheduling Order by U.S. District Judge Michael R. Hogan regarding Motion for
                             Temporary Restraining Order 2 . Oral Argument is set for 8/22/2011 at 11:00AM in
                             Eugene Courtroom 1 before U.S. District Judge Michael R. Hogan. Ordered by U.S.
                             District Judge Michael R. Hogan. (jw) (Entered: 08/10/2011)
  08/10/2011               8 Discovery and Pretrial Scheduling Order and Notice of Case Assignment to Magistrate
                             Judge Thomas M. Coffin. Discovery is to be completed by 12/8/2011. Joint Alternate
                             Dispute Resolution Report is due by 1/9/2012. Pretrial Order is due by 1/9/2012. Ordered
                             by Magistrate Judge Thomas M. Coffin. (ljb) (Entered: 08/10/2011)
  08/10/2011               9 Clerk's Notice of Mailing to Defendant Andrew G. Clark regarding Discovery order 8 .
                             (ljb) (Entered: 08/10/2011)
  08/10/2011             10 ORDER: Granting Motion for a Temporary Restraining Order 2 . Defendant shall have
                            10 days from the date of this order to show cause in writing why a Preliminary Injunction
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                                           2/13


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                               should not be issued. This order shall remain in full force and effect until oral argument is
                               heard as to Preliminary Injunction on 8/22/2011 at 11:00AM in Eugene Courtroom 1
                               before U.S. District Judge Michael R. Hogan. Signed on 8/10/2011 by U.S. District Judge
                               Michael R. Hogan. (jw) (Entered: 08/10/2011)
  08/10/2011             11 Clerk's Notice of Mailing to Andrew Clark regarding Order on Motion for Temporary
                            Restraining Order 10 . (jw) (Entered: 08/10/2011)
  08/15/2011             12 Show Cause, Motion to Dismiss, Motion to Vacate Order on Motion for Temporary
                            Restraining Order 10 . (Exhibits to plaintiff's document filed in hard copy in Clerk's
                            Office). Filed by Andrew G. Clark. (ljb) (Entered: 08/17/2011)
  08/18/2011             13 Notice of Appearance of Amanda A. Bolliger appearing on behalf of Wells Fargo Bank,
                            N.A. Notice of Appearance of Elizabeth A. Falcone and Amanda A. Bolliger Filed by on
                            behalf of Wells Fargo Bank, N.A. (Bolliger, Amanda) (Entered: 08/18/2011)
  08/18/2011             14 Show Cause Motion to Dismiss Additional Evidence (8-19-2011). Filed by Andrew G.
                            Clark. (ljb) (Entered: 08/18/2011)
  08/19/2011             15 Declaration of Teresa White in Support of Wells Fargo Bank, N.A.'s Motion for
                            Preliminary Injunction. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion
                            for Temporary Restraining Order, Motion for Preliminary Injunction 2 .) (Falcone,
                            Elizabeth) (Entered: 08/19/2011)
  08/19/2011             16 Declaration of Douglas Grenz in Support of Wells Fargo Bank, N.A.'s Motion for
                            Preliminary Injunction. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion
                            for Temporary Restraining Order, Motion for Preliminary Injunction 2 .) (Attachments: #
                            1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit)
                            (Falcone, Elizabeth) (Entered: 08/19/2011)
  08/19/2011             17 Declaration of Christina Duea in Support of Plaintiff Wells Fargo Bank, N.A.'s Motion for
                            Preliminary Injunction. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion
                            for Temporary Restraining Order, Motion for Preliminary Injunction 2 .) (Attachments: #
                            1 Exhibit 1, # 2 Exhibit 2) (Falcone, Elizabeth) (Entered: 08/19/2011)
  08/19/2011             18 Declaration of Leah C. Lively in Support of Plaintiff Wells Fargo Bank N.A.'s Motion for
                            Preliminary Injunction. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion
                            for Temporary Restraining Order, Motion for Preliminary Injunction 2 .) (Attachments: #
                            1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5) (Falcone, Elizabeth)
                            (Entered: 08/19/2011)
  08/22/2011             19 MINUTES of Proceedings: Motion Hearing Held regarding Motion for Preliminary
                            Injunction 2 . Ordered Motion is taken under advisement. Leah Lively, Amanda Bolliger,
                            and Elizabeth Falcone present as counsel for plaintiffs. Andrew Clark present as pro se
                            defendant. Court Reporter: Deb Wilhelm. U.S. District Judge Michael R. Hogan
                            presiding. (Related document: Motion for Preliminary Injunction 2 .) (jw) (Entered:
                            08/22/2011)
  08/22/2011             20 Clerk's Notice of Mailing to Andrew Clark regarding Motion Hearing Held 19 . (jw)
                            (Entered: 08/22/2011)
  08/22/2011             21 Motion to Direct in Advance of Oral Arguments. Filed by Andrew G. Clark. (ljb)
                            (Entered: 08/22/2011)
  08/22/2011             22 "Defendant Challenge to Venue Defendant Challenge to Applicability of laws cited in
                            Plaintiff Court filings subject case". Filed by Andrew G. Clark (Attachments: # 1 Part 2
                            of Oversized Document, # 2 Part 3 of Oversized Document) (ljb) (Entered: 08/22/2011)
  08/23/2011             23 ORDER: Granting Motion for a Preliminary Injunction 2 . Signed on 8/22/2011 by U.S.
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                                    3/13


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                               District Judge Michael R. Hogan. (jw) (Entered: 08/23/2011)
  08/23/2011             24 ORDER: Denying Motion to Dismiss, Motion to Vacate 12 ; Denying Motion to Dismiss
                            14 , and Granting Motion 21 . Ordered by U.S. District Judge Michael R. Hogan. (jw)
                            (Entered: 08/23/2011)
  08/23/2011             25 Clerk's Notice of Mailing to Andrew G. Clark regarding Order 23 and Order 24 . (jw)
                            (Entered: 08/23/2011)
  10/28/2011             26 Motion for Order Motion for Leave to File Under Seal Exhibits to Wells Fargo's Motion
                            for Contempt and Order Requiring Defendant to Comply With Standards of
                            Professionalism in All Communications With Wells Fargo and Its Counsel. Filed by Wells
                            Fargo Bank, N.A.. (Attachments: # 1 Proposed Order Proposed Order) (Lively, Leah)
                            (Entered: 10/28/2011)
  10/28/2011             27 Memorandum in Support of Motion for Leave to File Exhibits to Wells Fargo's Motion
                            for Contempt and Order Requiring Defendant to Comply With Standards of
                            Professionalism in All Communications With Wells Fargo and Its Counsel. Filed by Wells
                            Fargo Bank, N.A.. (Related document(s): Motion for Order, 26 .) (Lively, Leah) (Entered:
                            10/28/2011)
  10/31/2011             28 Motion to Compel. Filed by Andrew G. Clark. (ljb) (Entered: 11/01/2011)
  10/31/2011             29 Motion to Bifurcate. Filed by Andrew G. Clark. (Attachments: # 1 Part 2 of Oversized
                            Document, # 2 Part 3 of Oversized Document, # 3 Part 4 of Oversized Document, # 4
                            Part 5 of Oversized Document) (ljb) (Entered: 11/02/2011)
  11/02/2011             30 ORDER: Granting Motion for Order 26 . The Court grants leave for Wells Fargo to file
                            under seal three exhibits to be attached to its anticipated motion. The Court also orders
                            the clerk to seal any subsequently filed documents that repeat the statements contained in
                            the proposed sealed communications. Ordered by U.S. District Judge Michael R. Hogan.
                            (jw) (Entered: 11/02/2011)
  11/02/2011             31 Clerk's Notice of Mailing to Andrew G. Clark regarding Order 30 . (jw) (Entered:
                            11/02/2011)
  11/03/2011             32 Motion for Contempt and Order Requiring Defendant to Comply With Standards of
                            Professionalism in All Communications With Wells Fargo and Its Counsel, Motion for
                            Order . Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered: 11/03/2011)
  11/03/2011             33 Memorandum in Support of Plaintiff Wells Fargo's Motion for Contempt and Order
                            Requiring Defendant to Comply With Standards of Professionalism in All
                            Communications With Wells Fargo and Its Counsel. Filed by Wells Fargo Bank, N.A..
                            (Related document(s): Motion - Miscellaneous, Motion for Order 32 .) (Lively, Leah)
                            (Entered: 11/03/2011)
  11/03/2011             34 Declaration of Leah C. Lively in Support of Plaintiff Wells Fargo Bank, N.A.'s Motion for
                            Contempt and Order Requiring Defendant to Comply With Standards of Professionalism
                            in All Communications With Wells Fargo and Its Counsel. Filed by Wells Fargo Bank,
                            N.A.. (Related document(s): Motion - Miscellaneous, Motion for Order 32 .)
                            (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6
                            Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9) (Lively, Leah) (Entered:
                            11/03/2011)
  11/03/2011             35 Declaration of David P.R. Symes in Support of Plaintiff Wells Fargo's Motion for
                            Contempt and Order Requiring Defendant to Comply With Standards of Professionalism
                            in All Communications With Wells Fargo and Its Counsel. Filed by Wells Fargo Bank,
                            N.A.. (Related document(s): Motion - Miscellaneous, Motion for Order 32 .)

https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                                 4/13


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                               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4) (Lively, Leah)
                               (Entered: 11/03/2011)
  11/04/2011             36 Certificate of Service by Wells Fargo Bank, N.A. Certificate of Service re Exhibit 4 to
                            Declaration of Leah C. Lively (filed under seal) Filed by Wells Fargo Bank, N.A..
                            (Lively, Leah) (Entered: 11/04/2011)
  11/04/2011             37 Certificate of Service by Wells Fargo Bank, N.A. Certificate of Service re Exhibit 4a to
                            Declaration of Leah C. Lively (filed under seal) Filed by Wells Fargo Bank, N.A..
                            (Lively, Leah) (Entered: 11/04/2011)
  11/04/2011             43 Motion to Supplement Record and Affidavit. Filed by Andrew G. Clark. (cp) (Entered:
                            11/09/2011)
  11/07/2011             38 Notice of Case Reassignment: This case has been reassigned from Magistrate Judge
                            Thomas M. Coffin to Judge Michael R. Hogan. (eo) (Entered: 11/07/2011)
  11/07/2011             39 Scheduling Order by U.S. District Judge Michael R. Hogan. Joint Status Report is due by
                            12/8/2011. Ordered by U.S. District Judge Michael R. Hogan. (jw) (Entered: 11/07/2011)
  11/07/2011             40 Clerk's Notice of Mailing to Andrew G. Clark regarding Scheduling Order 39 . (jw)
                            (Entered: 11/07/2011)
  11/07/2011             41 Motion for Judgment as a Matter of Law. Filed by Andrew G. Clark. (sln) (Entered:
                            11/08/2011)
  11/07/2011             42 Exhibit 4A re Motion for Contempt and Order Requiring Defendant to Comply With
                            Standards of Professionalism in All Communications With Wells Fargo and Its Counsel
                            32 . Filed by Wells Fargo Bank, N.A.. Filed Under Seal (sln) (Entered: 11/08/2011)
  11/17/2011             44 Response in Opposition to Plaintiff's Motion to Compel Compensation to Motion to
                            Compel 28 . Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered: 11/17/2011)
  11/17/2011             45 Response in Opposition to Defendant's Motion to Bifurcate to Motion to Bifurcate 29 .
                            Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered: 11/17/2011)
  11/23/2011             46 Response in Opposition to Defendant's Motion for Judgment as a Matter of Law to
                            Motion for Judgment 41 . Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered:
                            11/23/2011)
  11/23/2011             47 Declaration of Leah C. Lively in Support of Wells Fargo's Response in Opposition to
                            Defendant's Motion for Judgment as a Matter of Law. Filed by Wells Fargo Bank, N.A..
                            (Related document(s): Response in Opposition to Motion 46 .) (Attachments: # 1 Exhibit
                            1, # 2 Exhibit 2) (Lively, Leah) (Entered: 11/23/2011)
  11/28/2011             48 Motion for Joinder. Filed by Andrew G. Clark. (ljb) (Entered: 11/28/2011)
  11/28/2011             49 Motion to Require Bond of Plaintiff; Motion of Contempt of Court of Plaintiff. Filed by
                            Andrew G. Clark. (ljb) (Entered: 11/28/2011)
  11/28/2011             50 Motion to Remove/Augment Counsel of Plaintiff; Motion to Sanction Counsel of
                            Plaintiff. Filed by Andrew G. Clark. (ljb) (Entered: 11/28/2011)
  11/28/2011             51 Motion to Supplement Record; Response to Plaintiff's Response Re: Opposing of
                            Defendant's Motion to Bifurcate. Filed by Andrew G. Clark. (ljb) (Entered: 11/28/2011)
  11/28/2011             52 Motion to Supplement Record; Response to Plaintiff's Response; Re: Opposing
                            Defendant's Motion to Compensate. Filed by Andrew G. Clark. (ljb) (Entered:
                            11/28/2011)
  11/28/2011             53 Response in Opposition to Defendant's Motion to Supplement Record to Motion to
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                                    5/13


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                               Supplement 43 . Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered: 11/28/2011)
  11/28/2011             54 Declaration of Leah C. Lively in Support of Wells Fargo's Response in Opposition to
                            Defendant's Motion to Supplement Record. Filed by Wells Fargo Bank, N.A.. (Related
                            document(s): Response in Opposition to Motion 53 .) (Attachments: # 1 Exhibit 1)
                            (Lively, Leah) (Entered: 11/28/2011)
  11/29/2011             55 Motion to for Separate Trial; Application for Anti-Cartel; Application for RICO
                            Regulations Against Plaintiff and/or Securitas, Inc.; Joindered. Filed by Andrew G.
                            Clark. (ljb) (Entered: 11/29/2011)
  12/07/2011             56 Plaintiff's Version of Joint Status Report. Filed by Andrew G. Clark. (ljb) (Entered:
                            12/08/2011)
  12/08/2011             57 Joint Status Report . Filed by All Plaintiffs. (Lively, Leah) (Entered: 12/08/2011)
  12/08/2011             58 Declaration of Leah C. Lively in Support of Joint Status Report. Filed by All Plaintiffs.
                            (Related document(s): Joint Status Report 57 .) (Attachments: # 1 Exhibit 1, # 2 Exhibit
                            2) (Lively, Leah) (Entered: 12/08/2011)
  12/09/2011             59 Scheduling Order by U.S. District Judge Michael R. Hogan regarding Motion to Compel
                            28 , Motion to Bifurcate 29 , Motion for Contempt and Order Requiring Defendant to
                            Comply With Standards of Professionalism in All Communications With Wells Fargo and
                            Its Counsel 32 , Motion for Judgment 41 , Motion to Supplement 43 , Motion for Joinder
                            48 , Motion for Bond 49 , Motion to Remove/Augment Counsel 50 , Motion to
                            Supplement 51 , Motion to Supplement 52 , and Motion to Bifurcate 55 . Oral Argument
                            is set for 12/21/2011 at 11:00AM in Eugene Courtroom 1 before U.S. District Judge
                            Michael R. Hogan. Ordered by U.S. District Judge Michael R. Hogan. (jw) (Entered:
                            12/09/2011)
  12/09/2011             60 Clerk's Notice of Mailing to Andrew G. Clark regarding Scheduling Order 59 . (jw)
                            (Entered: 12/09/2011)
  12/15/2011             61 Status Report re: Clarification of Motions Submitted by Defendant and Attorney Pro Se
                            Andrew G. Clark. Filed by Andrew G. Clark. (ljb) (Entered: 12/15/2011)
  12/15/2011             62 Response to Motion for Joinder 48 . Filed by Wells Fargo Bank, N.A. (Lively, Leah)
                            Modified for clarity of the record on 12/16/2011 (ljb). (Entered: 12/15/2011)
  12/15/2011             63 Declaration of Leah C. Lively in Response to Defendant's Motion for Joinder. Filed by
                            Wells Fargo Bank, N.A.. (Related document(s): Response to Motion 62 .) (Attachments:
                            # 1 Exhibit 1) (Lively, Leah) (Entered: 12/15/2011)
  12/15/2011             64 Response to Motion for Bond 49 . Filed by Wells Fargo Bank, N.A.. (Lively, Leah)
                            (Entered: 12/15/2011)
  12/15/2011             65 Declaration of Leah C. Lively in Well Fargo's Response to Require Bond of Plaintiff and
                            Motion for Contempt of Court. Filed by Wells Fargo Bank, N.A.. (Attachments: # 1
                            Exhibit 1) (Lively, Leah) (Entered: 12/15/2011)
  12/15/2011             66 Response to Defendant's Motions to Remove/Augment Counsel of Plaintiff and to
                            Sanction Counsel of Plaintiff to Motion 50 . Filed by Wells Fargo Bank, N.A.. (Lively,
                            Leah) (Entered: 12/15/2011)
  12/15/2011             67 Declaration of Leah C. Lively in Well Fargo's Response to Defendant's Motions to
                            Remove/Augment Counsel of Plaintiff and to Sanction Counsel of Plaintiff. Filed by Wells
                            Fargo Bank, N.A.. (Attachments: # 1 Exhibit 1) (Lively, Leah) (Entered: 12/15/2011)
  12/15/2011             68 Response to Defendant's Motion for Separate Trial to Motion to Bifurcate 55 . Filed by
                            Wells Fargo Bank, N.A.. (Lively, Leah) (Entered: 12/15/2011)
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                                  6/13


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  12/15/2011             69 Declaration of Leah C. Lively in Wells Fargo's Response to Defendant's Motion for
                            Separate Trial. Filed by Wells Fargo Bank, N.A.. (Attachments: # 1 Exhibit 1) (Lively,
                            Leah) (Entered: 12/15/2011)
  12/21/2011             70 MINUTES of Proceedings: Motion Hearing Held regarding Motion to Compel 28 ,
                            Motion to Bifurcate 29 , Motion for Contempt 32 , Motion for Judgment 41 ,Motion to
                            Supplement 43 , Motion for Joinder 48 , Motion for Bond 49 , Motion to
                            Remove/Augment Counsel 50 , Motion to Supplement 51 , Motion to Supplement 52 ,
                            and Motion to Bifurcate 55 . Ordered Motions are taken under advisement. Leah Lively
                            present as counsel for plaintiff. Andrew Clark present as pro se defendant. Court
                            Reporter: Sara Wilson. U.S. District Judge Michael R. Hogan presiding. (Related
                            documents: Motion for Bond 49 , Motion to Supplement 51 , Motion to Supplement 43 ,
                            Motion to bifurcate 29 , Motion for Joinder 48 , Motion-Miscellaneous 32 , Motion to
                            bifurcate 55 , Motion for judgment 41 , Motion to Supplement 52 , Motion-Miscellaneous
                            50 , Motion to compel 28 .) (jw) (Entered: 12/21/2011)
  12/21/2011             71 Clerk's Notice of Mailing to Andrew G. Clark regarding Minutes of Proceedings 70 . (jw)
                            (Entered: 12/21/2011)
  01/11/2012             72 ORDER: Motion to Compel 28 ; Motion to Bifurcate 29 ; Motion to Supplement 43 ;
                            Motion for Judgment as a Matter of Law 41 ; Motion for Joinder 48 ; Motion to Require
                            Bond 49 ; Motion to Remove Counsel 50 ; Motions to Supplement Record 51 and 52 ;
                            and Motion for Separate Trial 55 are DENIED. Plaintiff's Motion for Contempt and
                            Order requiring Plaintiff to Comply with Standards of Professionalism in Communication
                            with Wells Fargo and Its Counsel 32 is DENIED in part and GRANTED in part. Signed
                            on 1/11/2012 by U.S. District Judge Michael R. Hogan. (jw) (Entered: 01/11/2012)
  01/11/2012             73 Clerk's Notice of Mailing to Andrew G. Clark regarding Order 72 . (jw) (Entered:
                            01/11/2012)
  04/06/2012             74 Scheduling Order by U.S. District Judge Michael R. Hogan. Status Conference is set for
                            5/8/2012 at 09:30AM by Telephone before U.S. District Judge Michael R. Hogan. The
                            Court will initiate the call. Ordered by U.S. District Judge Michael R. Hogan. (jw)
                            (Entered: 04/06/2012)
  04/06/2012             75 Clerk's Notice of Mailing to Andrew G. Clark regarding Scheduling Order 74 . (jw)
                            (Entered: 04/06/2012)
  04/25/2012             76 Order Amending Order 72 . Order is amended as follows: Plaintiff's Motion for Contempt
                            and Order requiring Defendant to Comply with Standards of Professionalism in
                            Communication with Wells Fargo and Its Counsel 32 is DENIED in part and GRANTED
                            in part. Ordered by U.S. District Judge Michael R. Hogan. (jw) (Entered: 04/25/2012)
  04/25/2012             77 Clerk's Notice of Mailing to Andrew G. Clark regarding Order 76 . (jw) (Entered:
                            04/25/2012)
  04/26/2012             78 Motion for Relief from Joint Filing Requirements. Filed by Wells Fargo Bank, N.A..
                            (Lively, Leah) (Entered: 04/26/2012)
  04/26/2012             79 Declaration of Leah C. Lively in Support of Motion for Relief From Joint Filing
                            Requirements. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion -
                            Miscellaneous 78 .) (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                            4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10,
                            # 11 Exhibit 11) (Lively, Leah) (Entered: 04/26/2012)
  04/27/2012             80 Scheduling Order by U.S. District Judge Michael R. Hogan regarding Motion for Relief
                            from Joint Filing Requirements 78 . Oral Argument is set for 5/8/2012 at 09:30AM by

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                               Telephone before U.S. District Judge Michael R. Hogan. The Court will initiate the call.
                               Ordered by U.S. District Judge Michael R. Hogan. (jw) (Entered: 04/27/2012)
  04/27/2012             81 Clerk's Notice of Mailing to Andrew G. Clark regarding Order 80 . (jw) (Entered:
                            04/27/2012)
  04/27/2012             82 OFFICIAL COURT TRANSCRIPT OF PROCEEDINGS FILED Oral Argument held on
                            8/22/2011 before Judge Michael R. Hogan, Court Reporter Deborah Wilhelm, telephone
                            number (541) 431-4113. Transcript may be viewed at Court's public terminal or
                            purchased from the Court Reporter/Transcriber before the deadline for Release of
                            Transcript Restriction. Afterwards it may be obtained through PACER-See Policy at
                            ord.uscourts.gov. Notice of Intent to Redact Transcript is due by 5/7/2012. Redaction
                            Request due 5/21/2012. Redacted Transcript Deadline set for 6/1/2012. Release of
                            Transcript Restriction set for 7/30/2012. (Wilhelm, Deb) (Entered: 04/27/2012)
  05/08/2012             83 MINUTES of Proceedings: Telephone Status Conference and Motion Hearing Held
                            regarding Motion for Relief from Joint Filing Requirements 78 . Ordered motion is
                            granted. Parties are given 2 weeks to file in writing a proposed mediator. Leah Lively
                            present as counsel for plaintiff. Andrew Clark present as pro se defendant. (Court
                            Reporter Deb Wilhelm.) U.S. District Judge Michael R. Hogan presiding. (Related
                            document: Motion for Relief from Joint Filing Requirements 78 ) (jw) (Entered:
                            05/08/2012)
  05/08/2012             84 Clerk's Notice of Mailing to Andrew G. Clark regarding Minutes of Proceedings 83 . (jw)
                            (Entered: 05/08/2012)
  06/06/2012             85 Notice of Proposed Mediator re: 83 . (ljb) (Entered: 06/06/2012)
  06/12/2012             86 Notice of Plaintiff's Proposal Regarding Mediation Filed by Wells Fargo Bank, N.A.
                            (Lively, Leah) (Entered: 06/12/2012)
  07/03/2012             87 Scheduling Order by U.S. District Judge Michael R. Hogan. Settlement Conference is set
                            for 7/10/2012 at 01:30PM in Judge Hogan's 5th Floor Chambers at the Wayne L. Morse
                            U.S. Courthouse in Eugene. Ordered by U.S. District Judge Michael R. Hogan. (jw)
                            (Entered: 07/03/2012)
  07/03/2012             88 Clerk's Notice of Mailing and telephone call to Andrew G. Clark regarding Scheduling
                            Order 87 . (jw) (Entered: 07/03/2012)
  07/10/2012             89 OFFICIAL COURT TRANSCRIPT OF PROCEEDINGS FILED Motion Hearing held
                            on 12/21/2011 before Judge Michael R. Hogan, Court Reporter Sara Fahey Wilson,
                            telephone number 541-485-0111. Transcript may be viewed at Court's public terminal or
                            purchased from the Court Reporter/Transcriber before the deadline for Release of
                            Transcript Restriction. Afterwards it may be obtained through PACER-See Policy at
                            ord.uscourts.gov. Notice of Intent to Redact Transcript is due by 5/10/2012. Redaction
                            Request due 5/31/2012. Redacted Transcript Deadline set for 6/11/2012. Release of
                            Transcript Restriction set for 8/3/2012. (Wilhelm, Deb) (Entered: 07/10/2012)
  07/10/2012             90 MINUTES of Proceedings: Settlement Conference held 7/10/2012. Case does not settle.
                            David Symes, Leah Lively present as counsel for plaintiff(s). Andrew Clark, Pro se
                            present as defendant(s). U.S. District Judge Michael R. Hogan presiding. (cw) (Entered:
                            07/10/2012)
  07/10/2012             91 Clerk's Notice of Mailing to Andrew Clark regarding Settlement Conference, 90 . (cw)
                            (Entered: 07/10/2012)
  07/18/2012             92 Scheduling Order by U.S. District Judge Michael R. Hogan. Dispositive Motions are due
                            by 8/15/2012. The pretrial order shall be lodged 30 days following the Court's ruling on

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                               any dispositive motions. Ordered by U.S. District Judge Michael R. Hogan. A copy of
                               this order was mailed to plaintiff on this date. (cw) (Entered: 07/18/2012)
  08/09/2012             93 Motion for Temporary Injunction of Hearing and Process of Sheriff Sale of My
                            Homestead - Emergency Basis. Filed by Andrew G. Clark. (ljb) (Entered: 08/09/2012)
  08/09/2012             94 Motion to Move Trial: Original Case and Counterclaims. Filed by Andrew G. Clark. (ljb)
                            (Entered: 08/09/2012)
  08/09/2012             95 Motion to Find Attorney for Plaintiff in Contempt of Court. Filed by Andrew G. Clark.
                            (ljb) (Entered: 08/09/2012)
  08/09/2012             96 Motion to Compel Production of Evidence. Filed by Andrew G. Clark. (ljb) (Entered:
                            08/09/2012)
  08/09/2012             97 Motion to Refer Plaintiff and Attorney to Department of Justice for Investigation of
                            Racketeering and Anti-Trust Activity. Filed by Andrew G. Clark. (ljb) (Entered:
                            08/09/2012)
  08/09/2012             98 Motion for Extension of Time to File Motion for Summary Judgment. Filed by Wells
                            Fargo Bank, N.A.. (Lively, Leah) (Entered: 08/09/2012)
  08/09/2012             99 Declaration of Leah C. Lively in Support of Motion for Extension of Time to File Motion
                            for Summary Judgment. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion
                            for Extension of Time 98 .) (Lively, Leah) (Entered: 08/09/2012)
  08/10/2012           100 ORDER: Denying Motion or Temporary Injunction of Hearing and Process of Sheriff
                           Sale of My Homestead 93 ; Denying Motion to Move Trial: Original Case and
                           Counterclaims. 94 ; Denying Motion o Find Attorney for Plaintiff in Contempt of Court
                           95 ; Denying Motion to Compel 96 ; Denying Motion to Refer Plaintiff and Attorney to
                           Department of Justice for Investigation of Racketeering and Anti-Trust Activit 97 .
                           Ordered by U.S. District Judge Michael R. Hogan. (sln) (Entered: 08/10/2012)
  08/10/2012           101 Clerk's Notice of Mailing to Andrew Clark regarding Order 100 . (sln) (Entered:
                           08/10/2012)
  08/10/2012           102 Motion for Separate Trial Against Plaintiff Wells Fargo: Perjury in Court Affidavits and
                           Motions. Filed by Andrew G. Clark. (ljb) (Entered: 08/13/2012)
  08/10/2012           103 Motion to Refer Leah C. Lively to Oregon and California Bar Association for
                           Disciplinary Action: Negligent Malpractice, Fee-Goughing. Filed by Andrew G. Clark.
                           (ljb) (Entered: 08/13/2012)
  08/13/2012           104 ORDER: Granting Motion for Extension of Time to File Motion for Summary Judgment
                           98 . Dispositive Motions are due by 8/22/2012. Ordered by U.S. District Judge Michael
                           R. Hogan. (sln) (Entered: 08/13/2012)
  08/22/2012           105 Motion for Summary Judgment and Motion for Entry of Permanent Injunction. Filed by
                           Wells Fargo Bank, N.A.. (Lively, Leah). (Entered: 08/22/2012)
  08/22/2012           106 Memorandum in Support Motion for Summary Judgment and for Entry of Permanent
                           Injunction. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion for Summary
                           Judgment 105 .) (Lively, Leah) (Entered: 08/22/2012)
  08/22/2012           107 Declaration of Leah C. Lively in Support of Plaintiff's Motion for Summary Judgment
                           and for Entry of Permanent Injunction. Filed by Wells Fargo Bank, N.A.. (Related
                           document(s): Motion for Summary Judgment 105 .) (Attachments: # 1 Exhibit 1, # 2
                           Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                           Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10) (Lively, Leah) (Entered: 08/22/2012)

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  08/22/2012           108 Declaration of Douglas Grenz in Support of Wells Fargo's Motion for Summary Judgment
                           and For Entry of Permanent Injunction. Filed by Wells Fargo Bank, N.A.. (Related
                           document(s): Motion for Summary Judgment 105 .) (Attachments: # 1 Exhibit 1) (Lively,
                           Leah) (Entered: 08/22/2012)
  08/23/2012           109 Motion for Order Granting Leave to File Under Seal Exhibit One to Declaration of
                           Douglas Grenz in Support of Wells Fargo's Motion for Summary Judgment and for
                           Preliminary Injunction. Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered:
                           08/23/2012)
  08/23/2012            110 Memorandum in Support of Motion for Leave to File Under Seal Exhibit One to
                            Declaration of Douglas Grenz in Support of Wells Fargo's Motion for Summary
                            Judgment and for Entry of Permanent Injunction. Filed by Wells Fargo Bank, N.A..
                            (Related document(s): Motion for Order 109 .) (Lively, Leah) (Entered: 08/23/2012)
  08/24/2012            111 ORDER: Granting Motion for Leave to File Under Seal Exhibit One to Declaration of
                            Douglas Grenz in Support of Wells Fargo's Motion for Summary Judgment and for
                            Preliminary Injunction 109 . Ordered by U.S. District Judge Michael R. Hogan. (sln)
                            (Entered: 08/24/2012)
  08/27/2012            112 FILED UNDER SEAL Exhibit One to Declaration of Douglas Grenz in Support of
                            Plaintiff's Motion for Summary Judgment and for Entry of Permanent Injunction. Filed
                            by Wells Fargo Bank, N.A.. (Related document(s): Declaration 108 .) (ljb) (Entered:
                            08/27/2012)
  08/28/2012            113 Second Motion for Contempt Order. Filed by Wells Fargo Bank, N.A.. (Lively, Leah)
                            (Entered: 08/28/2012)
  08/28/2012            114 Memorandum in Support of Plaintiff's Second Motion for Contempt Order. Filed by
                            Wells Fargo Bank, N.A.. (Related document(s): Motion - Miscellaneous 113 .) (Lively,
                            Leah) (Entered: 08/28/2012)
  08/28/2012            115 Declaration of Leah C. Lively in Support of Plaintiff's Second Motion for Contempt
                            Order. Filed by Wells Fargo Bank, N.A.. (Related document(s): Motion - Miscellaneous
                            113 .) (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                            5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit
                            11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, #
                            17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22
                            Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27
                            Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30) (Lively, Leah) (Entered:
                            08/28/2012)
  08/29/2012            116 Motion/Affidavit to Enter Audio Recording of Lane County Circuit Court. Filed by
                            Andrew G. Clark. (ljb) (Entered: 08/29/2012)
  08/29/2012            117 Motion to Enter Correspondence. Filed by Andrew G. Clark. (ljb) (Entered: 08/29/2012)
  08/31/2012            118 Motion to Compel Production. Filed by Andrew G. Clark. (ljb) (Entered: 08/31/2012)
  08/31/2012            119 Motion to Compel Production. Filed by Andrew G. Clark. (ljb) (Entered: 08/31/2012)
  09/04/2012           120 Response in Opposition to Defendant Clark's Motion for Separate Trial to Motion 102 .
                           Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered: 09/04/2012)
  09/04/2012           121 Response in Opposition to Defendant Clark's Motion to Refer Leah C. Lively for
                           Disciplinary Action to Motion 103 . Filed by Wells Fargo Bank, N.A.. (Lively, Leah)
                           (Entered: 09/04/2012)
  09/04/2012           122 Declaration of Leah C. Lively in Support of Plaintiff's Response to Defendant Clark's

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                               Motion to Refer Leah C. Lively for Disciplinary Action. Filed by Wells Fargo Bank, N.A..
                               (Related document(s): Response in Opposition to Motion 121 .) (Attachments: # 1
                               Exhibit 1, # 2 Exhibit 2) (Lively, Leah) (Entered: 09/04/2012)
  09/04/2012           123 Amended Declaration of Leah C. Lively in Support of Plaintiff's Response to Defendant
                           Clark's Motion to Refer Leah C. Lively for Disciplinary Action. Filed by Wells Fargo
                           Bank, N.A.. (Related document(s): Response in Opposition to Motion 121 .)
                           (Attachments: # 1 Exhibit 1, # 2 Exhibit 2) (Lively, Leah) (Entered: 09/04/2012)
  09/11/2012           124 Motion to Unseal PACER Record. Filed by Andrew G. Clark. (ljb) (Entered: 09/11/2012)
  09/17/2012           125 Response in Opposition to Defendant's Motion to Enter Correspondence to Hon. Judge
                           Michael Hogan and 8.28.12 Letter to Federal Bureau Investigation Demanding
                           Investigation of Kidnapping and Conspiracy to Kidnap to Motion 117 . Filed by Wells
                           Fargo Bank, N.A.. (Lively, Leah) (Entered: 09/17/2012)
  09/17/2012           126 Response in Opposition to Motion to Compel 119 . Filed by Wells Fargo Bank, N.A..
                           (Lively, Leah) (Entered: 09/17/2012)
  09/17/2012           127 Response in Opposition to Defendant's Motion to Enter Audio Record of Lane County
                           Circuit Court Hearings to Motion 116 . Filed by Wells Fargo Bank, N.A.. (Lively, Leah)
                           (Entered: 09/17/2012)
  09/17/2012           128 Declaration of Leah C. Lively in Support of Plaintiff's Response to Defendant's Motion to
                           Enter Audio Record of Lane County Circuit Court Hearings. Filed by Wells Fargo Bank,
                           N.A.. (Related document(s): Response in Opposition to Motion 127 .) (Lively, Leah)
                           (Entered: 09/17/2012)
  09/17/2012           129 Response in Opposition to Motion to Compel 118 . Filed by Wells Fargo Bank, N.A..
                           (Lively, Leah) (Entered: 09/17/2012)
  09/19/2012           130 Motion to Compel Production. Filed by Andrew G. Clark. (ljb) (Entered: 09/19/2012)
  09/19/2012           131 Motion to Suspend Practice of Law on National Basis. Filed by Andrew G. Clark. (ljb)
                           (Entered: 09/19/2012)
  09/25/2012           132 Response in Opposition to Defendant's Motion to Unseal Pacer Record to Motion 124 .
                           Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered: 09/25/2012)
  10/03/2012           133 Order advising pro se defendant of Federal Summary Judgment Standards. Signed on
                           10/3/12 by U.S. District Judge Michael R. Hogan. (sln) (Entered: 10/03/2012)
  10/03/2012           134 Clerk's Notice of Mailing to Andrew Clark regarding Order 133 . (sln) (Entered:
                           10/03/2012)
  10/05/2012           135 ORDER: Plaintiff's Motion for Summary Judgment and for Entry of Permanent
                           Injunction 105 is granted to the extent detailed in the order; Plaintiff's Second Motion for
                           Order of Contempt 113 is granted; All other pending motions are denied as moot. Signed
                           on 10/5/12 by U.S. District Judge Michael R. Hogan. (sln) (Entered: 10/09/2012)
  10/09/2012           136 Clerk's Notice of Mailing to Andrew Clark regarding Order 135 . (sln) (Entered:
                           10/09/2012)
  10/31/2012           137 Motion for Attorney Fees . Filed by Wells Fargo Bank, N.A.. (Lively, Leah) (Entered:
                           10/31/2012)
  10/31/2012           138 Memorandum in Support . Filed by Wells Fargo Bank, N.A.. (Related document(s):
                           Motion for Attorney Fees 137 .) (Lively, Leah) (Entered: 10/31/2012)
  10/31/2012           139 Declaration of Leah C. Lively in Support of Plaintiff's Motion for Attorneys' Fees. Filed
                           by Wells Fargo Bank, N.A.. (Related document(s): Motion for Attorney Fees 137 .)
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                               (Attachments: # 1 Exhibit A) (Lively, Leah) (Entered: 10/31/2012)
  11/02/2012           140 ORDER: Granting Plaintiff's Motion for Attorney Fees and Costs 137 .Plaintiff is hereby
                           awarded attorney fees in the amount of $2,088.45. This action is dismissed. Signed on
                           11/2/2012 by Chief Judge Ann L. Aiken. (lg) (Entered: 11/05/2012)
  11/05/2012           141 Clerk's Notice of Mailing copy of Order #140 to Andrew G. Clark. (lg) (Entered:
                           11/05/2012)
  11/06/2012           142 Notice of Case Reassignment: This case has been reassigned from Judge Michael R.
                           Hogan to Chief Judge Ann L. Aiken. (eo) (Entered: 11/06/2012)
  11/06/2012           143 Clerk's Notice of Mailing to Andrew G. Clark regarding Case Reassignment Notice # 142
                           . (eo) (Entered: 11/06/2012)
  11/29/2012           144 Judgment by clerk. (lg) (Entered: 11/29/2012)
  02/11/2013           145 Motion for Declaration of Mistrial. Filed by Andrew G. Clark. (ljb) (Entered:
                           02/11/2013)
  02/28/2013           146 Response in Opposition to Motion for Mistrial 145 . Filed by Wells Fargo Bank, N.A..
                           (Lively, Leah) (Entered: 02/28/2013)
  03/25/2013           147 Motion for Declaration of Mistrial; Motion to Order Personal Remediation; Affidavit and
                           motion to augment record. Filed on emergency basis. Filed by Andrew G. Clark. (ljb)
                           (Entered: 03/25/2013)
  04/05/2013           148 Motion to Unseal all PACER Records in Case and Affidavit and Motion to Augment
                           Record. Filed by Andrew G. Clark. (ljb) (Entered: 04/08/2013)
  04/10/2013           149 Motion to Remand to Congress for Hearing and to Dept. of Justice. Emergency Hearing
                           and Action Necessary. Filed by Andrew G. Clark. (ljb) (Entered: 04/10/2013)
  05/14/2013           150 ORDER: Denying Defendant's Motion for Declaration of Mistrial 145 ; Denying
                           Defendant's Motion for Declaration of Mistrial 147 ; Denying Defendant's Motion for
                           Order Personal Remediation 147 ; Denying Defendant's Motion to Unseal All Pacer
                           Records 148 ; Denying Defendant's Motion to Remand 149 . Copy of this order mailed to
                           Andrew G. Clark. Signed on 5/14/2013 by Chief Judge Ann L. Aiken. (lg) (Entered:
                           05/14/2013)
  02/17/2016           151 OFFICIAL COURT TRANSCRIPT OF PROCEEDINGS FILED Telephone Oral
                           Argument held on 5/8/2012 before Judge Michael R. Hogan, Court Reporter Deborah
                           Wilhelm, telephone number 541-505-0760. Transcript may be viewed at Court's public
                           terminal or purchased from the Court Reporter/Transcriber before the deadline for
                           Release of Transcript Restriction. Afterwards it may be obtained through PACER-See
                           Policy at ord.uscourts.gov. Notice of Intent to Redact Transcript is due by 2/29/2016.
                           Redaction Request due 3/14/2016. Redacted Transcript Deadline set for 3/24/2016.
                           Release of Transcript Restriction set for 5/20/2016. (cw) (Entered: 02/17/2016)
  01/12/2018           152 Motion to Vacate Judgments. Filed by Andrew G. Clark. (Attachments: # 1
                           Memorandum) (jk) (Entered: 01/16/2018)
  01/12/2018           153 Declaration of Andrew G. Clark. Filed by Andrew G. Clark. (Related document(s):
                           Motion to Vacate 152 .) (Attachments: # 1 Exhibit) (jk) (Entered: 01/16/2018)
  09/28/2018           154 ORDER: Denying Motion to Vacate 152 . See, formal Order. Signed on 9/28/2018 by
                           Judge Ann L. Aiken. (rdr) (Entered: 09/28/2018)
  09/28/2018           155 Clerk's Notice of Mailing to Andrew G. Clark on 9/28/2018. (rdr) (Entered: 09/28/2018)
  10/19/2018           156 Notice of Appeal to the 9th Circuit regarding Order on motion to Vacate 154 ; Filing fee
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                              12/13


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3/10/2020                                                                       CM/ECF

                               in amount of $505 collected; Receipt No. 12562 issued. Filed by Andrew G. Clark. (kf)
                               (Entered: 10/19/2018)
  10/22/2018                   USCA Case Number and Notice confirming Docketing Record on Appeal re Notice of
                               Appeal 156 . Case Appealed to Ninth Circuit Case Number 18-35887 assigned. (kf)
                               (Entered: 10/22/2018)
  11/07/2018           157 Notice of Motion to Vacate 9/28/18 Order on Motion to Vacate 154 . Filed by Andrew G.
                           Clark. (kf) (Entered: 11/07/2018)
  11/07/2018           158 Declaration of Andrew G. Clark in Support of Motion to Vacate 9/28/18 Order denying
                           Motion to Vacate 157 . Filed by Andrew G. Clark. (Attachments: # 1 Exhibits) (kf)
                           (Entered: 11/07/2018)
  02/12/2019           159 ORDER: The Court has considered defendant's motion to vacate 157 , and finds that it
                           raises no new arguments or evidence which would merit vacating the Court's previous
                           Order 154 denying plaintiff's previous motion to vacate 152 . Ordered by Judge Ann L.
                           Aiken. A copy of this Order was mailed to pro se defendant Andrew G. Clark. (ck)
                           (Entered: 02/12/2019)
  08/27/2019           160 USCA Memorandum for the 9th Circuit, USCA #18-35887, re Notice of Appeal 156 .
                           (kf) (Entered: 08/27/2019)
  09/18/2019           161 MANDATE of USCA for the 9th Circuit, USCA # 18-35887, re Notice of Appeal 156 .
                           The judgment of this Court, entered August 27, 2019, takes effect this date. (kf) (Entered:
                           09/18/2019)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                03/10/2020 13:59:24
                                    PACER                    Client
                                                   Gs0075
                                    Login:                   Code:
                                                   Docket    Search    6:11-cv-06248-AA Start date:
                                    Description:
                                                   Report    Criteria: 1/1/1971 End date: 3/10/2020
                                    Billable
                                                   11        Cost:       1.10
                                    Pages:




https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?374326357443243-L_1_0-1                                                        13/13


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                                                                                                                               Location : All Locations Images Help
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                                                            R                               A
                                                                    C       N . 211314234

 State of Oregon VS. ANDREW GLEN CLARK                                                  §                           Case Type:     Offense Misdemeanor
                                                                                        §                            Date Filed:   07/25/2013
                                                                                        §                             Location:    Lane
                                                                                        §            District Attorney Number:     039271301
                                                                                        §
                                                                                        §


                                                                        P       I

                                                                                                                                       Attorneys
 Defendant      CLARK, ANDREW GLEN                                                                                                     JOHN M HALPERN, Jr
                                                                                        DOB: 1958                                       Retained
                                                                                                                                       541 484-4995(W)
                 3270 STONEY RIDGE RD
                 EUGENE , OR 97405
                 SID: OR20232782                                                                                                       KEVIN W BONS
                                                                                                                                        Retained
                                                                                                                                       541 683-0888(W)


                                                                                                                                       Laura Fine Moro
                                                                                                                                        Retained
                                                                                                                                       541 341-4542(W)


 Plaintiff      State of Oregon                                                                                                        ERIK V HASSELMAN
                                                                                                                                       541 682-4261(W)


                                                                    C               I

 Charges: CLARK, ANDREW GLEN                                                                        Statute                   Level                  Date
 1. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 2. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 3. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 4. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 5. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 6. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 7. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 8. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 9. Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012
 10.Stalking                                                                                        163.732(2)(a)             Misdemeanor Class A    08/01/2012



                                                                E           O                   C

            DISPOSITIONS
 07/26/2013 Plea (Judicial Officer: Unassigned, Judge)
              1. Stalking
                       Not Guilty
              10. Stalking
                       Not Guilty
              2. Stalking
                       Not Guilty
              3. Stalking
                       Not Guilty
              4. Stalking
                       Not Guilty
              5. Stalking
                       Not Guilty
              6. Stalking
                       Not Guilty
              7. Stalking
                       Not Guilty
              8. Stalking
                       Not Guilty
              9. Stalking
                       Not Guilty
              Created: 07/26/2013 12:00 AM

 01/09/2014 Disposition (Judicial Officer: Unassigned, Judge)
              1. Stalking
                       Convicted
              Created: 01/14/2014 12:00 AM


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3/6/2020                               https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspx?CaseID=21801304
 01/09/2014 Disposition (Judicial Officer: Unassigned, Judge)
              10. Stalking
                       Dismissed
              2. Stalking
                       Dismissed
              3. Stalking
                       Dismissed
              4. Stalking
                       Dismissed
              5. Stalking
                       Dismissed
              6. Stalking
                       Dismissed
              7. Stalking
                       Dismissed
              8. Stalking
                       Dismissed
              9. Stalking
                       Dismissed
              Created: 01/14/2014 12:00 AM

 01/09/2014 Sentence (Judicial Officer: Unassigned, Judge)
             1. Stalking
                      Converted Disposition:
                         Status: Superseded on: May 16 2014 12:00AM Sentence Status:Superseded Sentence Date:05/16/2014 Jail - Day(s):
                         7.00 Probation to Court - Month(s): 24.00 01 Violate No Laws 02 Inf Crt/Change of Addr 20 No Contact Victim 12
                         Comply with Treatment Credit for Time Served
             Created: 01/14/2014 12:00 AM

 01/09/2014 Amended Sentence (Judicial Officer: Unassigned, Judge) Reason: Supersedes Previous Judgment
             1. Stalking
                      Converted Disposition:
                         Jail - Day(s): 7.00 Probation to Court - Month(s): 24.00 01 Violate No Laws 02 Inf Crt/Change of Addr 20 No Contact
                         Victim Credit for Time Served
             Created: 05/16/2014 12:00 AM


            OTHER EVENTS AND HEARINGS
 07/25/2013 Information
              Created: 07/25/2013 12:00 AM
 07/25/2013 Motion - Arrest Warrant
              Comment: to IRL; District Attorney: ERIK V HASSELMAN
              Created: 07/25/2013 12:00 AM
 07/25/2013 Order - Arrest Warrant (Judicial Officer: Rooke-Ley, Ilisa HR )
              Judge: Ilisa HR Rooke-Ley;
              Created: 07/25/2013 12:00 AM
 07/25/2013 Warrant - Arrest
              Court Action: Signed; Court Action Date: 07/25/2013; Defendant: ANDREW GLEN CLARK
              Signed: 07/25/2013
              Created: 07/25/2013 12:00 AM
 07/26/2013 Arraignment (Judicial Officer: Rooke-Ley, Ilisa HR )
              Comment: Deft will be retaining his own atty; Judge: Ilisa HR Rooke-Ley; Reporter: COURTROOM AUDIO/JAIL
              Created: 07/26/2013 12:00 AM
 07/26/2013 Remove - Inactive Status
              Created: 07/26/2013 12:00 AM
 07/26/2013 Warrant - Recall
              Comment: SERVED BY LCAC THIS DATE;
              Created: 07/26/2013 12:00 AM
 07/26/2013 Return - Service Arrest Warrant
              Comment: served;
              Created: 07/26/2013 12:00 AM
 07/26/2013 Plea - Not Guilty
              Created: 07/26/2013 12:00 AM
 07/26/2013 Arraignment (1:30 PM) ()
              Created: 07/26/2013 12:00 AM
 07/31/2013 Notice
              Comment: posted money for release;
              Created: 07/31/2013 12:00 AM
 08/01/2013 Agreement - Security Release
              Comment: (ESP) Deft to appr 09/04/13 @ 2:30pm/$20,000 SEC posted; Court Action: Security posted; Court Action Date: 07/31/2013;
              Created: 08/01/2013 12:00 AM
 08/07/2013 Agreement - Security Release
              Comment: **AMENDED** (ESP) Deft to appr 09/04/13 @ 2:30pm; Court Action: Security posted; Court Action Date: 07/31/2013;
              Created: 08/07/2013 12:00 AM
 08/27/2013 Certificate - Victim Notification
              Created: 08/27/2013 12:00 AM
 09/04/2013 Appearance (Judicial Officer: Vogt, Debra K. )
              Comment: 35dc set over to 9/16/13; Judge: Debra Kay Vogt;
              Created: 09/04/2013 12:00 AM
 09/04/2013 Hearing - Pre-Trial Conference (2:30 PM) ()
              Comment: $20,000 SEC posted;
              Created: 07/26/2013 12:00 AM
 09/16/2013 Appearance (Judicial Officer: Rasmussen, Karsten H )
              Comment: Settlement sent JAM; Judge: KARSTEN H RASMUSSEN; Reporter: 201 AUDIO/COURTROOM

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3/6/2020                               https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspx?CaseID=21801304
             Created: 09/16/2013 12:00 AM
 09/16/2013 Notice - Trial
             Created: 09/16/2013 12:00 AM
 09/16/2013 Hearing - Settlement Conference (Judicial Officer: McAlpin, Jay A )
             Comment: NO NEGOTIATIONS REACHED/CASE SET FOR TRL ON 11/06/13/DEF SIGNED FOR THIS DATE; Judge: Jay A McAlpin; Reporter:
             204 AUDIO/COURTROOM
             Created: 09/18/2013 12:00 AM
 09/16/2013 Hearing - Pre-Trial Conference (2:30 PM) ()
             Comment: s/o from 9/4/13;
             Created: 09/04/2013 12:00 AM
 10/04/2013 Motion - Attorney Withdrawal
             Privately Retained: LAURA FINE MORO
             Created: 10/08/2013 12:00 AM
 10/07/2013 Appearance (Judicial Officer: Rasmussen, Karsten H )
             Comment: L Fine Moro allowed to withdraw/trial date of 11/6/13 remains; Judge: KARSTEN H RASMUSSEN; Reporter: 201
             AUDIO/COURTROOM
             Created: 10/07/2013 12:00 AM
 10/07/2013 Order - Withdrawal of Attorney (Judicial Officer: Rasmussen, Karsten H )
             Judge: KARSTEN H RASMUSSEN; Privately Retained: LAURA FINE MORO
             Created: 10/08/2013 12:00 AM
 10/07/2013 Motion
             Comment: to Dismiss Charges (TO DKV); Defendant: ANDREW GLEN CLARK
             Created: 10/07/2013 12:00 AM
 10/07/2013 Hearing (2:35 PM) ()
             Comment: MOTION TO WITHDRAW ATTY;
             Created: 10/04/2013 12:00 AM
 10/08/2013 Notice - Trial
             Created: 10/08/2013 12:00 AM
 10/08/2013 Motion
             Comment: to Modify Pretrial Release Conditions by Merging Charges and Re-running Risk Assessment Tool-(RAT) Using Corrected Data;
             Defendant: ANDREW GLEN CLARK
             Created: 10/08/2013 12:00 AM
 10/08/2013 Notice - Hearing
             Created: 10/08/2013 12:00 AM
 10/10/2013 Motion
             Comment: for Demurrer; Defendant: ANDREW GLEN CLARK
             Created: 10/11/2013 12:00 AM
 10/15/2013 Hearing - Oral Argument (Judicial Officer: Vogt, Debra K. )
             Comment: (MOTION TO DISMISS/MOTION TO MODIFY RELEASE CONDITIONS) Crt notified deft of rights he gives up by representing
             himself/Motion to Dismiss and Motion to Modify both DENIED; Judge: Debra Kay Vogt; Reporter: 306 AUDIO/COURTROOM
             Created: 10/31/2013 12:00 AM
 10/15/2013 Hearing - Oral Argument (8:30 AM) ()
             Comment: MOTION TO MODIFY PRETRIAL RELEASE CONDITIONS BY MERGING CHARGES AND RE-RUNNING RISK ASSESSMENT
             TOOL (RAT) USING CORRECTED DATA;
             Created: 10/08/2013 12:00 AM
 10/17/2013 Order - Denial (Judicial Officer: Vogt, Debra K. )
             Comment: Re: Deft's Motion to Modify Pretrial Release Conditions filed on 10/8/13; Judge: Debra Kay Vogt;
             Created: 10/30/2013 12:00 AM
 10/17/2013 Notice - Representation
             Privately Retained: KEVIN W BONS
             Created: 10/21/2013 12:00 AM
 10/17/2013 Demurrer
             Comment: ORAL ARGUMENT REQUESTED; Privately Retained: KEVIN W BONS
             Created: 10/21/2013 12:00 AM
 10/21/2013 Notice - Hearing
             Created: 10/21/2013 12:00 AM
 10/22/2013 Motion
             Comment: to modify RA (matter to be heard 11/5/13); Defendant: ANDREW GLEN CLARK
             Created: 10/23/2013 12:00 AM
 10/28/2013 Motion - Postponement
             Comment: Re: Trial 11/6/13; Privately Retained: KEVIN W BONS
             Created: 11/01/2013 12:00 AM
 10/30/2013 Order - Postponement (Judicial Officer: Rasmussen, Karsten H )
             Comment: Re: Trial 11/6/13/resetting to 1/14/14; Judge: KARSTEN H RASMUSSEN;
             Created: 11/01/2013 12:00 AM
 10/30/2013 Order - Denial (Judicial Officer: Vogt, Debra K. )
             Comment: Second Motion to Modify Pre- Trial Release Conditions and Motion to Compel Production/ It is furthered ordered that any future mot's
             to be filed by aty of rec for either party; Judge: Debra Kay Vogt;
             Created: 10/31/2013 12:00 AM
 10/31/2013 Notice - Trial
             Created: 10/31/2013 12:00 AM
 11/04/2013 Order - Revoke Recognizance Release (Judicial Officer: Rooke-Ley, Ilisa HR )
             Comment: and Affidavit/BW to issue/ and Order to Forfeit Security; Court Action: Signed; Court Action Date: 11/04/2013; Judge: Ilisa HR Rooke-
             Ley; Referee: PRETRIAL SERVICES
             Signed: 11/04/2013
             Created: 11/04/2013 12:00 AM
 11/04/2013 Order - Failure to Comply Warrant (Judicial Officer: Rooke-Ley, Ilisa HR )
             Judge: Ilisa HR Rooke-Ley;
             Created: 11/04/2013 12:00 AM
 11/04/2013 Warrant - Failure to Comply
             Defendant: ANDREW GLEN CLARK
             Created: 11/04/2013 12:00 AM
 11/05/2013 Notice - Hearing
             Created: 11/05/2013 12:00 AM
https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspx?CaseID=21801304                                                                 3/6


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 11/05/2013 Response - State
              Comment: to deft's Motion for Demurrer; Plaintiff: State of Oregon
              Created: 11/05/2013 12:00 AM
 11/05/2013 Hearing (Judicial Officer: McAlpin, Jay A )
              Comment: State files a reponse this morning/ Defense moves to strike/ Crt will allow a s/o to allow def time to review/ Oral argument set 11/6/13/
              deft taken into custody on FTC; Judge: Jay A McAlpin; Reporter: 204 AUDIO/COURTROOM
              Created: 11/05/2013 12:00 AM
 11/05/2013 Hearing - Oral Argument (8:30 AM) ()
              Comment: RE: Demurrer also RE: Motion to Modify RA (Trial reset to 1/14/14);
              Created: 10/21/2013 12:00 AM
 11/06/2013 Appearance (Judicial Officer: McAlpin, Jay A )
              Comment: Court heard arguments from both parties/Court finds first demurrer is timely however the demurrer to make definite is not/State to
              prepare written findings and submit to court; Judge: Jay A McAlpin; Reporter: 204 AUDIO/COURTROOM
              Created: 11/06/2013 12:00 AM
 11/06/2013 Order (Judicial Officer: Rasmussen, Karsten H )
              Comment: Assigning Case to Judge Jay Mcalpin; Court Action: Signed; Court Action Date: 11/06/2013; Judge: KARSTEN H RASMUSSEN;
              Signed: 11/06/2013
              Created: 11/06/2013 12:00 AM
 11/06/2013 Return - Service Arrest Warrant
              Comment: served;
              Created: 11/06/2013 12:00 AM
 11/06/2013 Hearing - Oral Argument (8:30 AM) ()
              Comment: Re: Demurrer (Trial reset to 1/14/14);
              Created: 11/05/2013 12:00 AM
 11/06/2013 CANCELED Trial - Twelve Person Jury (9:30 AM) ()
              Set-Over Def
              Comment: aty @ counter; Event Status: Set-Over Def;
              Created: 09/16/2013 12:00 AM
 11/07/2013 Notice
              Comment: posted money for release;
              Created: 11/07/2013 12:00 AM
 11/08/2013 Agreement - Security Release
              Comment: Deft to appr 1/14/14 @ 9:30am/ $40000 SEC posted/ ESP; Court Action: Security posted; Court Action Date: 11/07/2013;
              Created: 11/08/2013 12:00 AM
 11/08/2013 Order - Forfeiting Security (Judicial Officer: Vogt, Debra K. )
              Comment: and Directing Mailing (Please Note: Deft has posted 2nd security amount separate from this posting); Judge: Debra Kay Vogt;
              Created: 11/13/2013 12:00 AM
 11/08/2013 Certificate - Mailing
              Comment: Order Forfeiting Security and Directing Mailing;
              Created: 11/13/2013 12:00 AM
 12/09/2013 Notice - Substitution of Attorney
              Comment: J.Halpern Retained; Privately Retained: KEVIN W BONS Privately Retained: JOHN M HALPERN
              Created: 12/10/2013 12:00 AM
 12/09/2013 Motion
              Comment: for Remission of Security Forfeiture; Privately Retained: JOHN M HALPERN
              Created: 12/11/2013 12:00 AM
 12/16/2013 Remove - Inactive Status
              Created: 12/16/2013 12:00 AM
 12/16/2013 Notice - Hearing
              Created: 12/16/2013 12:00 AM
 12/19/2013 Hearing (Judicial Officer: Rasmussen, Karsten H )
              Comment: Judge granted the deft's motion for remission of the Security forfeiture; Judge: KARSTEN H RASMUSSEN;
              Created: 12/20/2013 12:00 AM
 12/19/2013 Order (Judicial Officer: Rasmussen, Karsten H )
              Comment: to remit security forfeiture; Court Action: Signed; Court Action Date: 12/19/2013; Judge: KARSTEN H RASMUSSEN;
              Signed: 12/19/2013
              Created: 12/20/2013 12:00 AM
 12/19/2013 Hearing (8:30 AM) (Judicial Officer Vogt, Debra K.)
              Comment: Defendant's motion for remission of security forfeiture;
              Created: 12/16/2013 12:00 AM
 01/06/2014 Notice - Hearing
              Created: 01/06/2014 12:00 AM
 01/09/2014 Convicted
              Created: 01/14/2014 12:00 AM
 01/09/2014 Dismissed
              Created: 01/14/2014 12:00 AM
 01/09/2014 Waiver - Jury Trial
              Defendant: ANDREW GLEN CLARK
              Created: 01/14/2014 12:00 AM
 01/09/2014 Petition
              Comment: to consent to be found guilty by stip facts trial; District Attorney: ERIK V HASSELMAN Defendant: ANDREW GLEN CLARK Privately
              Retained: JOHN M HALPERN
              Created: 01/14/2014 12:00 AM
 01/09/2014 Trial (Judicial Officer: McAlpin, Jay A )
              Comment: stip facts trial-defendant found guilty and was sentenced this date; Judge: Jay A McAlpin; District Attorney: ERIK V HASSELMAN
              Privately Retained: JOHN M HALPERN Reporter: 204 AUDIO/COURTROOM
              Created: 01/14/2014 12:00 AM
 01/09/2014 Hearing - Change Plea (3:00 PM) ()
              Comment: Change of Plea & Sentencing;
              Created: 01/06/2014 12:00 AM
 01/10/2014 Trial - Stipulation
              Est Length of Time: 3 Minute(s);
              Created: 01/13/2014 12:00 AM
 01/13/2014 Judgment - Sentence (Judicial Officer: McAlpin, Jay A )
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                Court Action: Signed; Court Action Date: 01/13/2014; Judge: Jay A McAlpin; Reporter: 204 AUDIO/COURTROOM
                Signed: 01/13/2014
                Created: 01/14/2014 12:00 AM
 01/13/2014   Sentence
                Created: 01/14/2014 12:00 AM
 01/14/2014   Closed
                Created: 01/14/2014 12:00 AM
 01/14/2014   CANCELED Trial - Six Person Jury (9:30 AM) ()
                Cancelled
                Comment: order/ JAM preassigned $40000 SEC posted; Event Status: Cancelled;
                Created: 10/31/2013 12:00 AM
 01/15/2014   Disposition - Reported
                Defendant: ANDREW GLEN CLARK
                Created: 01/15/2014 12:00 AM
 02/15/2014   Notice - Appeal
                Comment: #A156218; Defendant: ANDREW GLEN CLARK
                Created: 03/07/2014 12:00 AM
 03/07/2014   Order - Dismiss on Appeal
                Comment: #A156218 Appellant's Motion;
                Created: 03/07/2014 12:00 AM
 03/11/2014   Order - Denial (Judicial Officer: Rasmussen, Karsten H )
                Comment: Defts Motion for Post Conviction Relief DENIED due to improper filing; Judge: KARSTEN H RASMUSSEN;
                Created: 03/13/2014 12:00 AM
 03/12/2014   Miscellaneous
                Comment: Rec'd Document correcting; Defendant: ANDREW GLEN CLARK
                Created: 03/27/2014 12:00 AM
 03/19/2014   Order - Denial (Judicial Officer: Rasmussen, Karsten H )
                Comment: Defts Motion for Post Conviction Relief DENIED due to improper filing; Judge: KARSTEN H RASMUSSEN;
                Created: 03/20/2014 12:00 AM
 03/21/2014   Petition
                Comment: Amended for Post Conviction Relief; Defendant: ANDREW GLEN CLARK
                Created: 03/27/2014 12:00 AM
 03/27/2014   Miscellaneous
                Comment: Rec'd document titled Motion for Post Conviction Relief not filed-improper. Per order; Defendant: ANDREW GLEN CLARK
                Created: 03/27/2014 12:00 AM
 03/27/2014   Miscellaneous
                Comment: Rec'd document titled Post-con viction relief initial submission of evidence. Not filed improper per order; Defendant: ANDREW GLEN
                CLARK
                Created: 03/27/2014 12:00 AM
 03/31/2014   Order - Denial (Judicial Officer: Rasmussen, Karsten H )
                Comment: Defts Amended Petition for Post Conviction Relief; Judge: KARSTEN H RASMUSSEN;
                Created: 04/01/2014 12:00 AM
 05/16/2014   Sentence - Clerical Revision
                Comment: correct wording re QRA per JAM;
                Created: 05/16/2014 12:00 AM
 05/16/2014   Sentence
                Comment: Def shall provide released from QRA per judgment;
                Created: 05/16/2014 12:00 AM
 07/16/2014   Assigned (Judicial Officer: McAlpin, Jay A )
                Judge: Jay A McAlpin;
                Created: 07/16/2014 12:00 AM
 07/17/2014   Memorandum
                Comment: and Motion to set aside judgment as a result of Fraud Upon the Court (to JAM); Defendant: ANDREW GLEN CLARK
                Created: 07/17/2014 12:00 AM
 07/28/2014   Order (Judicial Officer: McAlpin, Jay A )
                Comment: denying motion to set aside jgmt as a result of fraud; Court Action: Signed; Court Action Date: 07/28/2014; Judge: Jay A McAlpin;
                Signed: 07/28/2014
                Created: 07/29/2014 12:00 AM
 08/26/2014   Memorandum
                Comment: & Motion for Court or District Attorney to Motion to Dismiss Inherent Power of the Court (States Motion/Order Attached) *TO JAM*;
                Defendant: ANDREW GLEN CLARK
                Created: 08/26/2014 12:00 AM
 08/27/2014   Memorandum
                Comment: in further support of court use of inherent power to dismiss and vacate. Report of apparent misconduct or contempt (to JAM);
                Defendant: ANDREW GLEN CLARK
                Created: 08/28/2014 12:00 AM
 08/27/2014   Memorandum
                Comment: in support of 8.26.14 Motion to court of DA to Motion to dismiss Inherent power of the court act of correction of 8/26/14 motion (to
                JAM); Defendant: ANDREW GLEN CLARK
                Created: 08/28/2014 12:00 AM
 09/10/2014   Response - State
                Comment: to deft's motion and order to dismiss charges and set aside conviction; District Attorney: ERIK V HASSELMAN
                Created: 09/17/2014 12:00 AM
 09/15/2014   Order - Denial (Judicial Officer: McAlpin, Jay A )
                Comment: motion to dismiss charges and set aside coviction; Court Action: Signed; Court Action Date: 09/15/2014; Judge: Jay A McAlpin;
                Signed: 09/15/2014
                Created: 09/17/2014 12:00 AM
 09/18/2014   Submitted
                Comment: addendum responsive pleading to Erik Hasselman's 9/10/14 pleading clarification and declaration (to JAM); Defendant: ANDREW
                GLEN CLARK
                Created: 09/19/2014 12:00 AM
 09/25/2014   Order - Dismiss on Appeal
                Comment: Courts own motion Notice of Appeal Untimely #A157239;
                Created: 09/29/2014 12:00 AM
https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspx?CaseID=21801304                                                                        5/6


                                                                                                                                         EXHIBIT 15
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3/6/2020                               https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspx?CaseID=21801304
 10/28/2014 Motion
              Comment: to Vacate Arrest Warrants, Motion to Vacate Search/ Seizure Warrant,Motion Submitted in Camera,Correction of Due Process
              Violations (TO JAM); Defendant: ANDREW GLEN CLARK
              Created: 10/28/2014 12:00 AM
 10/30/2014 Order (Judicial Officer: McAlpin, Jay A )
              Comment: denying defendant motion re: vacate arrest,search& seizure warrants:motion to submit in camera correction of due process violations;
              Court Action: Signed; Court Action Date: 10/30/2014; Judge: Jay A McAlpin;
              Signed: 10/30/2014
              Created: 10/30/2014 12:00 AM
 10/30/2015 Letter
              Created: 10/30/2015 1:40 PM
 01/19/2016 Letter
              Created: 01/28/2016 11:41 AM
 01/19/2016 Letter
              Created: 02/03/2016 10:02 AM


                                                                   F         I



              Defendant CLARK, ANDREW GLEN
              Total Financial Assessment                                                                                                           1,776.50
              Total Payments and Credits                                                                                                           1,776.50
              Balance Due as of 03/06/2020                                                                                                             0.00

 01/14/2014   Transaction Assessment                                                                                                                 750.00
 01/14/2014   Transaction Assessment                                                                                                                 750.00
 02/11/2014   Counter Payment            Receipt # 2759527                                    UNKNOWN                                               (10.00)
 02/28/2014   Transaction Assessment                                                                                                                 252.00
 02/28/2014   Counter Payment            Receipt # 2763460                                    CLARK, ANDREW GLEN                                   (252.00)
 04/28/2014   Counter Payment            Receipt # 2777917                                    UNKNOWN                                                 (2.25)
 07/30/2014   Transaction Assessment                                                                                                                  12.25
 07/30/2014   Counter Payment            Receipt # 2798355                                    CLARK, ANDREW GLEN                                    (12.25)




https://publicaccess.courts.oregon.gov/PublicAccessLogin/CaseDetail.aspx?CaseID=21801304                                                                 6/6


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                                                                                                                    TERMINATED

                                                U.S. District Court
                                          District of Oregon (Eugene (6))
                                  CIVIL DOCKET FOR CASE #: 6:13-cv-01546-AA


 Clark v. Wells Fargo Bank, N.A. et al                                                  Date Filed: 09/03/2013
 Assigned to: Judge Ann L. Aiken                                                        Date Terminated: 07/01/2014
 Case in other court: 9th Circuit, 14-35622                                             Jury Demand: Plaintiff
 Cause: 42:1983 Civil Rights Act                                                        Nature of Suit: 470 Civil (RICO)
                                                                                        Racketeer/Corrupt Organization
                                                                                        Jurisdiction: Federal Question
 Plaintiff
 Andrew G. Clark                                                         represented by Andrew G. Clark
                                                                                        3270 Stoney Ridge Road
                                                                                        Eugene, OR 97405
                                                                                        541-510-3915 & 636-3662
                                                                                        PRO SE


 V.
 Defendant
 Wells Fargo Bank, N.A.                                                  represented by Christian Rowley
 WFB                                                                                    Seyfarth Shaw LLP
                                                                                        560 Mission Street, Suite 3100
                                                                                        San Francisco, CA 94105
                                                                                        (415) 544-1001
                                                                                        Fax: (415) 397-8549
                                                                                        Email: crowley@seyfarth.com
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Peter D. Urias
                                                                                        Seyfarth Shaw LLP
                                                                                        560 Mission Street, Suite 3100
                                                                                        San Francisco, CA 94105
                                                                                        (415) 544-1026
                                                                                        Fax: (415) 397-8549
                                                                                        Email: purias@seyfarth.com
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Sharon C. Peters
                                                                                        Lewis Brisbois Bisgaard & Smith LLP
                                                                                        888 SW Fifth Avenue
                                                                                        Suite 900
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?198224348648874-L_1_0-1                                                            1/10


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                                                                                        Portland, OR 97204-2025
                                                                                        503-944-6913
                                                                                        Fax: 503-222-7261
                                                                                        Email: sharon.peters@lewisbrisbois.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        David C. Campbell
                                                                                        Lewis Brisbois Bisgaard & Smith LLP
                                                                                        888 SW Fifth Avenue
                                                                                        Suite 900
                                                                                        Portland, OR 97204-2025
                                                                                        971-712-2800
                                                                                        Fax: 971-712-2801
                                                                                        Email: david.campbell@lewisbrisbois.com
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Ogletree Deakins Nash Smoak and                                         represented by Steven W. Seymour
 Stewart                                                                                Samuels Yoelin Kantor Seymour & Spinrad,
 TERMINATED: 01/31/2014                                                                 LLP
                                                                                        200 Willamette Wharf
                                                                                        4640 SW Macadam Avenue
                                                                                        Portland, OR 97239-4232
                                                                                        (503)226-2966
                                                                                        Fax: (503) 222-2937
                                                                                        Email: sws@samuelslaw.com
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Wells Fargo Home Mortgage                                               represented by Christian Rowley
 WFHM                                                                                   (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Peter D. Urias
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Sharon C. Peters
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        David C. Campbell
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Wells Fargo and Company                                                 represented by Christian Rowley
 WFC                                                                                    (See above for address)
                                                                                        LEAD ATTORNEY

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                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Peter D. Urias
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sharon C. Peters
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       David C. Campbell
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Securitas Corp.
 TERMINATED: 01/30/2014

 Defendant
 Franklin Codel
 executive vice president

 Defendant
 Sr. James Strother
 executive vice president general counsel-
 legal group

 Defendant
 Michael Heid
 president of WEHM

 Defendant
 Elizabeth Falcone                                                       represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 David P.R. Symes                                                        represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Christopher Mixon                                                       represented by Steven W. Seymour
 general counsel                                                                        (See above for address)
 TERMINATED: 03/03/2014                                                                 ATTORNEY TO BE NOTICED

 Defendant
 Kim Ebert                                                               represented by Steven W. Seymour
 managing partner                                                                       (See above for address)
 TERMINATED: 03/03/2014                                                                 ATTORNEY TO BE NOTICED
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?198224348648874-L_1_0-1                                                     3/10


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 Defendant
 Leah Lively                                                             represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Donald Pearson
 bank president

 Defendant
 Martin Ogno
 security worker

 Defendant
 John Stumpf
 chief executive officer

 Defendant
 Amanda Bollinger                                                        represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Denis R. Brown
 chief executive officer
 TERMINATED: 01/30/2014

 Defendant
 William Hunnicutt
 conflict resolution attorney

 Counter Claimant
 Leah Lively                                                             represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Counter Claimant
 Elizabeth Falcone                                                       represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Counter Claimant
 David P.R. Symes                                                        represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Counter Claimant
 Amanda Bollinger                                                        represented by Steven W. Seymour
 TERMINATED: 03/03/2014                                                                 (See above for address)
                                                                                        ATTORNEY TO BE NOTICED


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 Counter Claimant
 Ogletree Deakins Nash Smoak and                                         represented by Steven W. Seymour
 Stewart                                                                                (See above for address)
 TERMINATED: 01/31/2014                                                                 ATTORNEY TO BE NOTICED

 Counter Claimant
 Kim Ebert                                                               represented by Steven W. Seymour
 managing partner                                                                       (See above for address)
 TERMINATED: 03/03/2014                                                                 ATTORNEY TO BE NOTICED

 Counter Claimant
 Christopher Mixon                                                       represented by Steven W. Seymour
 general counsel                                                                        (See above for address)
 TERMINATED: 03/03/2014                                                                 ATTORNEY TO BE NOTICED


 V.
 Counter Defendant
 Andrew G. Clark


  Date Filed             #    Docket Text
  09/03/2013             1 Complaint. Filing fee in the amount of $400 collected. Receipt No. ORX600008520. Jury
                           Trial Requested: Yes. Filed by Andrew G. Clark against Ogletree Deakins Nash Smoak
                           and Stewart, Securitas Corp., Wells Fargo Bank, N.A., Wells Fargo Home Mortgage, Wells
                           Fargo and Company (Attachments: # 1 Civil Cover Sheet). (ljb) (Entered: 09/03/2013)
  09/03/2013             2 Notice of Case Assignment to Chief Judge Ann L. Aiken and Discovery and Pretrial
                           Scheduling Order. NOTICE: Counsel shall print and serve the summonses and all
                           documents issued by the Clerk at the time of filing upon all named parties in
                           accordance with Local Rule 3-5. Discovery is to be completed by 1/1/2014. Joint
                           Alternate Dispute Resolution Report is due by 1/31/2014. Pretrial Order is due by
                           1/31/2014. Ordered by Chief Judge Ann L. Aiken. (ljb) (Entered: 09/03/2013)
  09/03/2013             3 Clerk's Notice of Mailing Civil Case Assignment Order and Discovery and Pretrial
                           Scheduling Order to Andrew G. Clark. (ljb) (Entered: 09/03/2013)
  09/03/2013             4 Summons Issued as to All Defendants. (ljb) (Entered: 09/03/2013)
  09/26/2013             5 Answer to 1 Complaint, Affirmative Defenses, Counterclaim Andrew G. Clark. Filed by
                           Leah Lively, Elizabeth Falcone, David P.R. Symes, Amanda Bollinger, Ogletree Deakins
                           Nash Smoak and Stewart, Kim Ebert, Christopher Mixon. (Seymour, Steven) (Entered:
                           09/26/2013)
  09/26/2013             6 Motion for Appointment of Guardian Ad Litem for Plaintiff, or in the Alternative, For
                           Dismissal. Oral Argument requested. Filed by Amanda Bollinger, Kim Ebert, Elizabeth
                           Falcone, Leah Lively, Christopher Mixon, Ogletree Deakins Nash Smoak and Stewart,
                           David P.R. Symes. (Seymour, Steven) (Entered: 09/26/2013)
  09/26/2013             7 Declaration of Steven W. Seymour in Support of Defendants' Motion for Appointment of
                           Guardian Ad Litem for Plaintiff, or in the Alternative, For Dismissal. Filed by Amanda
                           Bollinger, Kim Ebert, Elizabeth Falcone, Leah Lively, Christopher Mixon, Ogletree
                           Deakins Nash Smoak and Stewart, David P.R. Symes. (Related document(s): Motion -
                           Miscellaneous, 6 .) (Seymour, Steven) (Entered: 09/26/2013)

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  09/26/2013             8 Memorandum in Support of Defendants' Motion for Appointment of Guardian Ad Litem
                           for Plaintiff, or in the Alternative, for Dismissal. Filed by Amanda Bollinger, Kim Ebert,
                           Elizabeth Falcone, Leah Lively, Christopher Mixon, Ogletree Deakins Nash Smoak and
                           Stewart, David P.R. Symes. (Related document(s): Motion - Miscellaneous, 6 .)
                           (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, #
                           7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, #
                           14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20
                           Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25 Exhibit, # 26 Exhibit,
                           # 27 Exhibit, # 28 Exhibit, # 29 Exhibit, # 30 Exhibit, # 31 Exhibit, # 32 Exhibit, # 33
                           Exhibit, # 34 Exhibit, # 35 Exhibit, # 36 Exhibit, # 37 Exhibit, # 38 Exhibit, # 39 Exhibit,
                           # 40 Exhibit, # 41 Exhibit, # 42 Exhibit, # 43 Exhibit, # 44 Exhibit, # 45 Exhibit)
                           (Seymour, Steven) (Entered: 09/26/2013)
  09/26/2013             9 Corporate Disclosure Statement . Filed by Amanda Bollinger, Kim Ebert, Elizabeth
                           Falcone, Leah Lively, Christopher Mixon, Ogletree Deakins Nash Smoak and Stewart,
                           David P.R. Symes. (Seymour, Steven) (Entered: 09/26/2013)
  09/26/2013           10 Unopposed Motion for Extension of Time to Answer to file first appearances. Filed by
                          Denis R. Brown, Securitas Corp.. (Berg, Paul) (Entered: 09/26/2013)
  09/26/2013            11 Declaration of Paul A. C. Berg in support of defendants Securitas Corp. and Denis R.
                           Brown's motion for extension of time to file first appearances. Filed by Denis R. Brown,
                           Securitas Corp.. (Related document(s): Motion for Extension of Time to Answer a
                           Complaint/Petition 10 .) (Berg, Paul) (Entered: 09/26/2013)
  09/27/2013           12 ORDER: Granting Motion for Extension of Time to Answer 10 . Answer or other
                          appearance by Brown and Securitas is due by 10/21/2013. Ordered by Chief Judge Ann L.
                          Aiken. A copy of this order is mailed to Plaintiff on this date. (cw) (Entered: 09/27/2013)
  10/16/2013           13 Motion to Order/Offer Mediation of Dispute - Affidavit and Motion to Admit Partial
                          Evidence in Advance of Discovery. Filed by Andrew G. Clark. (ljb) (Entered: 10/21/2013)
  10/16/2013           14 Response in Opposition to Motion for Appointment of Guardian Ad Litem for Plaintiff, or
                          in the Alternative, For Dismissal 6 . Filed by Andrew G. Clark. (ljb) (Entered: 10/21/2013)
  10/16/2013           15 Initial Disclosure. Filed by Andrew G. Clark (ljb) (Entered: 10/21/2013)
  10/16/2013           16 Response in Opposition to Motion for Appointment of Guardian Ad Litem for Plaintiff, or
                          in the Alternative, For Dismissal 6 . Filed by Andrew G. Clark. (ljb) (Entered: 10/21/2013)
  10/21/2013           17 Motion to Dismiss Fed. R. Civ. P. 12(b)(6) of Denis R. Brown, Motion to Dismiss for
                          Failure to State a Claim . Filed by Denis R. Brown. (Berg, Paul) (Entered: 10/21/2013)
  10/21/2013           18 Memorandum in Support of Defendant Denis R. Brown's Fed. R. Civ. P. 12(b)(6) Motion to
                          Dismiss. Filed by Denis R. Brown. (Related document(s): Motion to Dismiss, Motion to
                          Dismiss for Failure to State a Claim 17 .) (Berg, Paul) (Entered: 10/21/2013)
  10/21/2013           19 Declaration of Josiah Rocha in Support of Defendant Denis R. Brown's Fed. R. Civ. P.
                          12(b)(6) Motion to Dismiss. Filed by Denis R. Brown. (Related document(s): Motion to
                          Dismiss, Motion to Dismiss for Failure to State a Claim 17 .) (Berg, Paul) (Entered:
                          10/21/2013)
  10/21/2013           20 Motion to Dismiss for Failure to State a Claim Fed. R. Civ. P. 12(b)(6). Filed by Securitas
                          Corp.. (Berg, Paul) (Entered: 10/21/2013)
  10/21/2013           21 Memorandum in Support of Securitas's Fed. R. Civ. P. 12(b)(6) Motion to Dismiss. Filed
                          by Securitas Corp.. (Related document(s): Motion to Dismiss for Failure to State a Claim
                          20 .) (Berg, Paul) (Entered: 10/21/2013)

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  10/22/2013           22 Motion for a More Definite Statement. Declaration of Claim for Relief. Filed by Andrew
                          G. Clark. (ljb) (Entered: 10/22/2013)
  10/22/2013           23 Notice of Correction to Motion for Order 13 . Filed by Andrew G. Clark (Related
                          document(s): Motion for Order 13 .) (ljb) (Entered: 10/22/2013)
  10/24/2013           24 ORDER Pursuant to notification by Lane County Circuit Court, this case is stayed until
                          December 9, 2013, pending plaintiff's criminal charges scheduled for a hearing in Lane
                          County Circuit Court on November 6, 2013. At that time, the parties are directed to submit
                          a written status report to the court. (lg) (Entered: 10/24/2013)
  10/24/2013           25 Scheduling Order by Chief Judge Ann L. Aiken. Written Status Report is due by
                          11/7/2013. Ordered by Chief Judge Ann L. Aiken. (lg) (Entered: 10/24/2013)
  11/07/2013           26 Status Report by Amanda Bollinger, Kim Ebert, Elizabeth Falcone, Leah Lively,
                          Christopher Mixon, Ogletree Deakins Nash Smoak and Stewart, David P.R. Symes. Filed
                          by Amanda Bollinger, Kim Ebert, Elizabeth Falcone, Leah Lively, Christopher Mixon,
                          Ogletree Deakins Nash Smoak and Stewart, David P.R. Symes. (Seymour, Steven)
                          (Entered: 11/07/2013)
  11/08/2013           27 Scheduling Order by Chief Judge Ann L. Aiken. The Court is in receipt of the Joint Status
                          Report filed 11/7/2013. Ordered the stay in this matter is continued through January 24,
                          2014. Ordered further Joint Status Report is due by 1/24/2014. Ordered by Chief Judge
                          Ann L. Aiken. A copy of this order is mailed to Andrew Clark. (cw) (Entered: 11/08/2013)
  11/18/2013           28 Motion to Dismiss Complaint: Ogletree Deakins Attorneys but not Ogletree Deakins. Filed
                          by Andrew G. Clark. (ljb) (Entered: 11/21/2013)
  11/18/2013           29 Motion to Dismiss Parties Named. Filed by Andrew G. Clark. (ljb) (Entered: 11/21/2013)
  11/18/2013           30 Declaration and Response to Motion to Dismiss Fed. R. Civ. P. 12(b)(6) of Denis R. Brown
                          Motion to Dismiss for Failure to State a Claim 17 . Filed by Andrew G. Clark. (ljb)
                          (Entered: 11/21/2013)
  11/18/2013           31 Motion to Supplement/Augment Record. Alternative Dispute Resolution Proposal. Filed
                          by Andrew G. Clark. (ljb) (Entered: 11/21/2013)
  11/25/2013           32 Order.Based on the Status Report filed on November 7, 2013, with this court, this case
                          was stayed until January 24, 2014. All motions filed by any party, including 6 , 13 , 17 , 20
                          , 22 , 28 , 29 and 31 , will also be stayed and not considered by the court until January 24,
                          2014. Ordered by Chief Judge Ann L. Aiken. (lg) (Entered: 11/25/2013)
  11/25/2013           33 Clerk's Notice of Mailing copy of order #32 to Andrew G. Clark. (lg) (Entered:
                          11/25/2013)
  12/27/2013           34 Stipulated Motion for Judgment and Order of Dismissal of Defendant Denis R. Brown.
                          Filed by Denis R. Brown, Securitas Corp.. (Berg, Paul) (Entered: 12/27/2013)
  12/27/2013           35 Stipulated Motion for Judgment and Order of Dismissal of Defendant Securitas Corp..
                          Filed by Denis R. Brown, Securitas Corp.. (Berg, Paul) (Entered: 12/27/2013)
  01/09/2014           36 ORDER: Granting Motion for Stipulated Judgment of Dismissal of Defendant Securitas
                          Corp. 35 . Plaintiff's claim against defendant Securitas Corp. is dismissed without
                          prejudice and without costs or attorney fees to either party. See formal order. Signed on
                          1/9/2014 by Chief Judge Ann L. Aiken. (rh) (Entered: 01/15/2014)
  01/15/2014           37 Clerk's Notice of Mailing copy of docket #36 and attached order to Andrew G. Clark, 3270
                          Stoney Ridge Road, Eugene, OR 97405. (rh) (Entered: 01/15/2014)
  01/15/2014           38 ORDER: Granting Motion for Stipulated Judgment of Dismissal of Defendant Denis R.
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?198224348648874-L_1_0-1                                                7/10


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                              Brown 34 . Plaintiff's claims against Denis R. Brown are dismissed without prejudice and
                              without costs or attorney fees to either party. Signed on 1/15/2014 by Chief Judge Ann L.
                              Aiken. (rh) (Entered: 01/16/2014)
  01/15/2014           39 Clerk's Notice of Mailing Copy of docket #38 and attached order to Andrew G. Clark,
                          3270 Stoney Ridge Road, Eugene, OR 97405. (rh) (Entered: 01/16/2014)
  01/23/2014           40 Status Report by Amanda Bollinger, Kim Ebert, Elizabeth Falcone, Leah Lively,
                          Christopher Mixon, Ogletree Deakins Nash Smoak and Stewart, David P.R. Symes. Filed
                          by Amanda Bollinger, Kim Ebert, Elizabeth Falcone, Leah Lively, Christopher Mixon,
                          Ogletree Deakins Nash Smoak and Stewart, David P.R. Symes. (Attachments: # 1 Exhibit
                          Exhibit A, # 2 Exhibit Exhibit B) (Seymour, Steven) (Entered: 01/23/2014)
  01/24/2014           41 Memorandum in Support. Filed by Andrew G. Clark. (Related document(s): Motion to
                          Supplement 31 .) (ljb) (Entered: 01/24/2014)
  01/24/2014           42 Memorandum in Support of Court Declaring Wells Fargo, et al "Served". Filed by Andrew
                          G. Clark. (ljb) (Entered: 01/24/2014)
  01/31/2014           43 ORDER: Plaintiff's motions for a court order requiring mediation of this case and for
                          admission of certain documents "into discovery" 13 , 31 , as well as his motion for a more
                          definite statement 22 are DENIED. Plaintiff's motions requesting dismissal of individuals
                          or entities 28 , 29 are GRANTED. Based on the terms of the plea agreement entered into
                          by plaintiff and the Lane County District Attorney's Office, unless and until plaintiff
                          retains counsel, defendant Ogletree, Deakins, Nash, Smoak & Stewart P.C. is dismissed
                          from this case and their motion to dismiss 6 is DENIED AS MOOT. Finally, Denis Brown
                          17 and Securitas Corp. 20 motions to dismiss are DENIED AS MOOT due to this court's
                          orders granting the stipulated motions and orders to dismiss for both defendants. See
                          Orders 36 and 38 . Ordered by Chief Judge Ann L. Aiken. Copy of this order sent to Pro
                          Se Plaintiff. (rh) (Entered: 01/31/2014)
  04/17/2014           44 Order. Plaintiff must serve remaining defendant Wells Fargo in compliance with both the
                          Fed. R. Civ. P. and the District's Local Rules by 5/7/2014, or the Court will dismiss this
                          case sua sponte for failure to prosecute. Copy of this order sent to Pro Se Plaintiff. Ordered
                          by Chief Judge Ann L. Aiken. (rh) (Entered: 04/17/2014)
  05/05/2014           45 Return of Service of Complaint, 1 and summons upon Wells Fargo Bank, N.A. served on
                          4/29/2014; Wells Fargo Home Mortgage served on 4/29/2014. Filed by Andrew G. Clark.
                          (ljb) (Entered: 05/05/2014)
  05/05/2014           52 Scheduling Order by Chief Judge Ann L. Aiken. Discovery is to be completed by
                          9/2/2014. Joint Alternate Dispute Resolution Report and Pretrial Order are due by
                          10/2/2014. Ordered by Chief Judge Ann L. Aiken. (rh) (Entered: 05/22/2014)
  05/20/2014           46 Motion for Leave to Appear Pro Hac Vice for Attorney Christian Rowley . Filing fee in the
                          amount of $100 collected; Receipt No.: 25FR3U2K. Filed by Wells Fargo Bank, N.A.,
                          Wells Fargo Home Mortgage, Wells Fargo and Company. (Peters, Sharon) (Entered:
                          05/20/2014)
  05/20/2014           47 Motion for Leave to Appear Pro Hac Vice for Attorney Peter D. Urias . Filing fee in the
                          amount of $100 collected; Agency Tracking ID: 0979-3687440. Filed by Wells Fargo
                          Bank, N.A., Wells Fargo Home Mortgage, Wells Fargo and Company. (Peters, Sharon)
                          (Entered: 05/20/2014)
  05/20/2014           48 Motion to Dismiss for Failure to State a Claim , Alternative Motion for Joinder in
                          Defendant Ogletree, Deakins' Motion for Appointment of Guardian Ad Litem. Filed by
                          Wells Fargo Bank, N.A., Wells Fargo Home Mortgage, Wells Fargo and Company.
                          (Campbell, David) (Entered: 05/20/2014)
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?198224348648874-L_1_0-1                                                    8/10


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  05/20/2014           49 Memorandum in Support . Filed by Wells Fargo Bank, N.A., Wells Fargo Home Mortgage,
                          Wells Fargo and Company. (Related document(s): Motion to Dismiss for Failure to State a
                          Claim, Motion for Joinder,, 48 .) (Campbell, David) (Entered: 05/20/2014)
  05/20/2014           50 Notice re Motion for Leave to Appear Pro Hac Vice, 46 , Motion for Leave to Appear Pro
                          Hac Vice, 47 , Motion to Dismiss for Failure to State a Claim, Motion for Joinder,, 48
                          CERTIFICATE OF SERVICE Filed by Wells Fargo Bank, N.A., Wells Fargo Home
                          Mortgage, Wells Fargo and Company (Related document(s): Motion for Leave to Appear
                          Pro Hac Vice, 46 , Motion for Leave to Appear Pro Hac Vice, 47 , Motion to Dismiss for
                          Failure to State a Claim, Motion for Joinder,, 48 .) (Campbell, David) (Entered:
                          05/20/2014)
  05/20/2014           51 Corporate Disclosure Statement . Filed by Wells Fargo Bank, N.A., Wells Fargo Home
                          Mortgage, Wells Fargo and Company. (Campbell, David) (Entered: 05/20/2014)
  05/21/2014           54 ORDER: Granting Motion for Leave to Appear Pro Hac Vice of Christian Rowley for
                          Wells Fargo Bank, N.A.,Christian Rowley for Wells Fargo Home Mortgage,Christian
                          Rowley for Wells Fargo and Company. Application Fee in amount of $100 collected.
                          Receipt No. 25FR3U2K issued. Signed on 5/21/14 by Chief Judge Ann L. Aiken. (ljb)
                          (Entered: 05/22/2014)
  05/21/2014           55 ORDER: Granting Motion for Leave to Appear Pro Hac Vice of Peter D. Urias for Wells
                          Fargo Bank, N.A.,Peter D. Urias for Wells Fargo Home Mortgage,Peter D. Urias for Wells
                          Fargo and Company. Application Fee in amount of $100 collected. Receipt No. 0979-
                          3687440 issued. Signed on 5/21/14 by Chief Judge Ann L. Aiken. (ljb) (Entered:
                          05/22/2014)
  05/22/2014           53 Clerk's Notice of Mailing copy of Scheduling Order 52 to Andrew G. Clark 3270 Stoney
                          Ridge Road Eugene, OR 97405. (rh) (Entered: 05/22/2014)
  06/05/2014           56 Motion and Memorandum to Deny - Response to Motion to Dismiss Pursuant to FRCP
                          12(B)(6) and Alternatively Motion to Join Motion for Appointment of Guardian. Filed by
                          Andrew G. Clark. (Attachments: # 1 Part 2 of oversized document) (ljb) (Entered:
                          06/05/2014)
  06/11/2014           57 Memorandum in Response to Defendant's Motion to Dismiss Pursuant to FRCP 12(B)(6)
                          and Alternatively Motion to Join Defendant Ogletree Deakins Motion for Appointment of
                          Guardian ad Litem. Filed by Andrew G. Clark. (ljb) (Entered: 06/12/2014)
  06/23/2014           58 Reply memorandum in support of Wells Fargo defendants' motion to dismiss pursuant to
                          Fed. R. Civ. P. 12(B)(6), and, alternatively, motion to join defendant Olgletree Deakins'
                          motion for appointment of guardian ad litem to Motion to Dismiss for Failure to State a
                          Claim Alternative Motion for Joinder in Defendant Ogletree, Deakins' Motion for
                          Appointment of Guardian Ad Litem 48 . Filed by Wells Fargo Bank, N.A., Wells Fargo
                          Home Mortgage, Wells Fargo and Company. (Campbell, David) (Entered: 06/23/2014)
  06/23/2014           59 Certificate of Service by Wells Fargo Bank, N.A., Wells Fargo Home Mortgage, Wells
                          Fargo and Company of Reply to Motion,, 58 Conventional service on pro se plaintiff
                          Andrew Clark Filed by Wells Fargo Bank, N.A., Wells Fargo Home Mortgage, Wells Fargo
                          and Company. (Campbell, David) (Entered: 06/23/2014)
  06/24/2014           60 Amended Certificate of Service by Wells Fargo Bank, N.A., Wells Fargo Home Mortgage,
                          Wells Fargo and Company of Reply to Motion,, 58 (Attachments: # 1 Attachment Reply
                          Memorandum) Filed by Wells Fargo Bank, N.A., Wells Fargo Home Mortgage, Wells
                          Fargo and Company. (Campbell, David) (Entered: 06/24/2014)
  07/01/2014           61 OPINION AND ORDER: Wells Fargo's motion to dismiss 48 is granted and this case is
                          dismissed. Clark's request for oral argument is denied as unnecessary. See formal order.
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?198224348648874-L_1_0-1                                                9/10


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                              Copy of this minute order and formal order sent to pro se plaintiff. Signed on 7/1/2014 by
                              Chief Judge Ann L. Aiken. (rh) (Entered: 07/02/2014)
  07/01/2014           62 Judgment. This action is dismissed. See formal judgment. Signed on by Clerk of Court.
                          Copy of judgment sent to pro se plaintiff. (rh) (Entered: 07/02/2014)
  07/16/2014           63 Motion and Memorandum to Set Aside Judgment Resulting from Fraud Upon the Court.
                          Filed by Andrew G. Clark. (ljb) (Entered: 07/16/2014)
  07/18/2014           64 ORDER: Denying Motion and Memorandum to Set Aside Judgment Resulting from
                          Fraud Upon the Court 63 . Copy of this order sent to Pro Se Plaintiff. Ordered by Chief
                          Judge Ann L. Aiken. (rh) (Entered: 07/18/2014)
  07/22/2014           65 Notice of Appeal to the 9th Circuit from Order on Motion to Dismiss for Failure to State a
                          Claim, 61 , Judgment 62 . (no filing fee of ifp) Filed by Andrew G. Clark. (ljb) (Entered:
                          07/23/2014)
  07/23/2014                  USCA Case Number and Notice confirming Docketing Record on Appeal re Notice of
                              Appeal 65 . Case Appealed to 9th Circuit Case Number 14-35622 assigned. (ljb)
                              (Entered: 07/23/2014)
  07/28/2014           66 Fee Due Order to Show Cause from USCA for the 9th Circuit Case #14-35622 re Notice
                          of Appeal 65 . (ljb) (Entered: 07/28/2014)
  08/18/2014           67 Appeal Fee in amount of $505.00 collected; Receipt No. DORX600009180 issued. (jk)
                          (Entered: 08/18/2014)
  09/03/2014           68 ORDER/MANDATE of USCA for the 9th Circuit, USCA # 14-35622, re Notice of Appeal
                          65 . The appeal is dismissed for failure to pay the docketing/filing fees in this case. This
                          order shall constitute the mandate of this Court. (ljb) (Entered: 09/04/2014)
  09/19/2014           69 Order from USCA for the 9th Circuit, re Notice of Appeal 65 : The motion to reinstate is
                          granted and the appeal is reinstated. Briefing schedule established on 7/23/14 shall
                          continue to govern this appeal. (ljb) (Entered: 09/19/2014)
  02/02/2017           70 Order from USCA for the 9th Circuit re Notice of Appeal 65 : The panel denies petition
                          for panel rehearing. No further filings will be entertained in this closed case. (ljb) (Entered:
                          02/02/2017)
  02/10/2017           71 MANDATE of USCA for the 9th Circuit, USCA # 14-35622, re Notice of Appeal 65 . The
                          ruling of the district court is affirmed. The judgment of this Court, entered 9/21/16, takes
                          effect this date. This constitutes the formal mandate of this Court issued pursuant to Rule
                          41(a) of FRAP. All pending motions are denied. (Attachments: # 1 Memorandum) (ljb)
                          (Entered: 02/13/2017)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                03/06/2020 11:29:27
                                    PACER                     Client
                                                   Gs0075
                                    Login:                    Code:
                                                   Docket     Search      6:13-cv-01546-AA Start date:
                                    Description:
                                                   Report     Criteria:   1/1/1971 End date: 3/6/2020
                                    Billable
                                                   9          Cost:       0.90
                                    Pages:


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                                                                                                        PARTCONS,TERMINATED

                                               U.S. District Court
                                         District of Oregon (Eugene (6))
                                 CIVIL DOCKET FOR CASE #: 6:14-cv-01103-MK


 Clark v. City of Eugene, Oregon et al                                                  Date Filed: 07/11/2014
 Assigned to: Magistrate Judge Mustafa T. Kasubhai                                      Date Terminated: 02/24/2017
 Demand: $4,000,000                                                                     Jury Demand: Plaintiff
 Case in other court: 9th Circuit, 17-35247                                             Nature of Suit: 440 Civil Rights: Other
 Cause: 42:1983 Civil Rights Act                                                        Jurisdiction: Federal Question

 Plaintiff
 Andrew G. Clark                                                         represented by Andrew G. Clark
                                                                                        3270 Stoney Ridge Rd.
                                                                                        Eugene, OR 97405
                                                                                        (541) 510-3915
                                                                                        PRO SE

                                                                                        John E. Haapala , Jr.
                                                                                        401 E. 10th Avenue
                                                                                        Suite 240
                                                                                        Eugene, OR 97401
                                                                                        541-345-8474
                                                                                        Fax: 541-345-3237
                                                                                        Email: jeh@haapalaw.com
                                                                                        TERMINATED: 10/13/2015

                                                                                        Marianne G. Dugan
                                                                                        Attorney at Law
                                                                                        1430 Willamette St. # 359
                                                                                        Eugene, OR 97401
                                                                                        541-338-7072
                                                                                        Fax: 866-650-5213
                                                                                        Email: mdugan@mdugan.com
                                                                                        TERMINATED: 03/24/2017


 V.
 Defendant
 City of Eugene, Oregon                                                  represented by Benjamin J. Miller
 Police Department/Police Auditor                                                       City of Eugene
 TERMINATED: 08/25/2015                                                                 125 E. 8th Avenue, 2nd Floor
                                                                                        Eugene, OR 97401
                                                                                        541-682-8447
                                                                                        Fax: 541-682-5414
                                                                                        Email: ben.j.miller@ci.eugene.or.us
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 Lane County, Oregon
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?668370952971474-L_1_0-1                                                             1/13


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 Sheriff's Department and Jail
 TERMINATED: 09/28/2015

 Defendant
 State of Oregon
 District Attorney's Office for Lane County
 and Pre-Trial Release Office
 TERMINATED: 09/28/2015

 Defendant
 Alex Gardner
 District Attorney for Lane County
 TERMINATED: 09/28/2015

 Defendant
 Wells Fargo Bank, NA                                                    represented by Christian Rowley
 TERMINATED: 06/22/2016                                                                 Seyfarth Shaw LLP
                                                                                        560 Mission Street, Suite 3100
                                                                                        San Francisco, CA 94105
                                                                                        (415) 544-1001
                                                                                        Fax: (415) 397-8549
                                                                                        Email: crowley@seyfarth.com
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Sharon C. Peters
                                                                                        Lewis Brisbois Bisgaard & Smith LLP
                                                                                        888 SW Fifth Avenue
                                                                                        Suite 900
                                                                                        Portland, OR 97204-2025
                                                                                        503-944-6913
                                                                                        Fax: 503-222-7261
                                                                                        Email: sharon.peters@lewisbrisbois.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        David C. Campbell
                                                                                        Lewis Brisbois Bisgaard & Smith LLP
                                                                                        888 SW Fifth Avenue
                                                                                        Suite 900
                                                                                        Portland, OR 97204-2025
                                                                                        971-712-2800
                                                                                        Fax: 971-712-2801
                                                                                        Email: david.campbell@lewisbrisbois.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Peter D. Urias
                                                                                        Seyfarth Shaw LLP
                                                                                        560 Mission Street, Suite 3100
                                                                                        San Francisco, CA 94105
                                                                                        (415) 544-1026
                                                                                        Fax: (415) 397-8549

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                                                                                        Email: purias@seyfarth.com
                                                                                        TERMINATED: 03/30/2015
                                                                                        PRO HAC VICE

 Defendant
 Ogletree, Deakins, Nash, Smoak &
 Stewart, P.C.
 a South Carolina Corporation
 TERMINATED: 02/24/2017

 Defendant
 Eric Hasselman                                                          represented by Vanessa A. Nordyke
 District Attorney's Office for Lane County                                             Oregon Department of Justice
 Oregon, State of Oregon                                                                Trial Division
 TERMINATED: 03/29/2016                                                                 1162 Court Street NE
                                                                                        Salem, OR 97301
                                                                                        503-947-4700
                                                                                        Fax: 503-947-7494
                                                                                        Email: vanessa.a.nordyke@doj.state.or.us
                                                                                        ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
  07/11/2014               1 Complaint. Filing fee in the amount of $400 collected. Receipt No. ORX600009117. Jury
                             Trial Requested: Yes. Filed by Andrew G. Clark against City of Eugene, Oregon, Alex
                             Gardner, Lane County, Oregon, State of Oregon, Wells Fargo Bank, NA (Attachments: #
                             1 Civil Cover Sheet). (ljb) (Entered: 07/15/2014)
  07/11/2014               2 Rule 26 Discovery Filing. Filed by Andrew G. Clark (ljb) (Entered: 07/15/2014)
  07/15/2014               3 Notice of Case Assignment to Magistrate Judge Thomas M. Coffin and Discovery and
                             Pretrial Scheduling Order. NOTICE: Counsel shall print and serve the summonses
                             and all documents issued by the Clerk at the time of filing upon all named parties in
                             accordance with Local Rule 3-5. Discovery is to be completed by 11/12/2014. Joint
                             Alternate Dispute Resolution Report is due by 12/12/2014. Pretrial Order is due by
                             12/12/2014. Ordered by Magistrate Judge Thomas M. Coffin. (ljb) (Entered: 07/15/2014)
  07/15/2014               4 Clerk's Notice of Mailing to Andrew G. Clark regarding Discovery order 3 . (ljb)
                             (Entered: 07/15/2014)
  07/16/2014               5 Notice of Appearance of Sebastian Tapia appearing on behalf of Lane County, Oregon
                             Filed by on behalf of Lane County, Oregon (Tapia, Sebastian) (Entered: 07/16/2014)
  07/22/2014               6 Return of Service by Andrew G. Clark of Complaint, 1 Return of Service Executed as to
                             Wells Fargo Bank, NA served on 7/14/2014, answer due on 8/4/2014. Filed by Andrew
                             G. Clark. (ljb) (Entered: 07/23/2014)
  07/25/2014               7 Motion to Dismiss for Failure to State a Claim . Filed by City of Eugene, Oregon.
                             (Miller, Benjamin) (Entered: 07/25/2014)
  08/01/2014             18 Notice Required under Federal Rule 5.1 Challenge of Constitutionality of State Statutes
                            and/or Application of Statutes to Create Unconstitutional Result. Notice for Court to
                            Perform 28 USC 2403 Certification. Filed by Andrew G. Clark (ljb) Corrected
                            typographical error on 8/8/2014 (plb). (Entered: 08/05/2014)
  08/04/2014               8 Motion for Leave to Appear Pro Hac Vice for Attorney Christian Rowley . Filing fee in
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?668370952971474-L_1_0-1                                                             3/13


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                               the amount of $100 collected; Agency Tracking ID: 0979-3782063. Filed by Wells Fargo
                               Bank, NA. (Campbell, David) (Entered: 08/04/2014)
  08/04/2014               9 Motion for Leave to Appear Pro Hac Vice for Attorney Peter D. Urias . Filing fee in the
                             amount of $100 collected; Agency Tracking ID: 0979-3782084. Filed by Wells Fargo
                             Bank, NA. (Campbell, David) (Entered: 08/04/2014)
  08/04/2014             10 Motion to Dismiss for Failure to State a Claim . Filed by Wells Fargo Bank, NA.
                            (Campbell, David) (Entered: 08/04/2014)
  08/04/2014             11 Memorandum in Support of Wells Fargo Defendants' motion to dismiss pursuant to Fed.
                            R. Civ. P. 12(B)(6). Filed by Wells Fargo Bank, NA. (Related document(s): Motion to
                            Dismiss for Failure to State a Claim 10 .) (Campbell, David) (Entered: 08/04/2014)
  08/04/2014             12 Request for Judicial Notice in support of Motion to Dismiss for Failure to State a Claim
                            10 . Filed by Wells Fargo Bank, NA. (Attachments: # 1 Exhibit A) (Campbell, David)
                            (Entered: 08/04/2014)
  08/04/2014             13 Corporate Disclosure Statement . Filed by Wells Fargo Bank, NA. (Campbell, David)
                            (Entered: 08/04/2014)
  08/04/2014             14 Motion for Extension of Time to Answer Complaint, 1 . Filed by State of Oregon.
                            (Nordyke, Vanessa) (Entered: 08/04/2014)
  08/04/2014             15 Declaration of Vanessa A. Nordyke . Filed by State of Oregon. (Related document(s):
                            Motion for Extension of Time to Answer a Complaint/Petition 14 .) (Nordyke, Vanessa)
                            (Entered: 08/04/2014)
  08/04/2014             19 ORDER: Granting Motion for Leave to Appear Pro Hac Vice of Peter D. Urias for Wells
                            Fargo Bank, NA. Application Fee in amount of $100 collected. Receipt No. 0979-
                            3782084 issued. Signed on 8/6/14 by Magistrate Judge Thomas M. Coffin. (ljb) (Entered:
                            08/06/2014)
  08/05/2014             16 ORDER: Granting Motion for Extension of Time to Answer 14 . Defendants State of
                            Oregon and Alex Gardner's Answer is due by 10/6/2014. Ordered by Magistrate Judge
                            Thomas M. Coffin. (plb) (Entered: 08/05/2014)
  08/05/2014             17 Clerk's Notice of Mailing to Andrew G. Clark regarding Order on motion for extension of
                            time to answer a Complaint/Petition 16 . (plb) (Entered: 08/05/2014)
  08/06/2014             20 ORDER: Granting Motion for Leave to Appear Pro Hac Vice of Christian Rowley for
                            Wells Fargo Bank, NA. Application Fee in amount of $100 collected. Receipt No. 0979-
                            3782063 issued. Signed on 8/6/14 by Magistrate Judge Thomas M. Coffin. (ljb) (Entered:
                            08/06/2014)
  08/14/2014             21 Motion to Assign Case to Mediation or Alternative Dispute Resolution. Filed by Andrew
                            G. Clark. (ljb) (Entered: 08/15/2014)
  08/14/2014             22 Memorandum in Support. Filed by Andrew G. Clark. (Related document(s): Motion to
                            Assign Case to Mediation or Alternative Dispute Resolution 21 .) (ljb) (Entered:
                            08/15/2014)
  08/14/2014             23 Request for Judicial Notice in Opposition to Motion to Dismiss for Failure to State a
                            Claim 7 . Oral Hearing Requested Filed by Andrew G. Clark. (ljb) (Entered: 08/15/2014)
  08/14/2014             24 Response in Opposition to Motion to Dismiss for Failure to State a Claim 7 . Filed by
                            Andrew G. Clark. (ljb) (Entered: 08/15/2014)
  08/14/2014             25 Declaration of More Definite Statement Requested by City of Eugene of Andrew G.
                            Clark. Filed by Andrew G. Clark. (Related document(s): Motion to Dismiss for Failure to
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?668370952971474-L_1_0-1                                                 4/13


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                               State a Claim 7 .) (ljb) (Entered: 08/15/2014)
  08/14/2014             26 Motion/Declaration Allegation Added Against Defendants. Filed by Andrew G. Clark.
                            (ljb) (Entered: 08/15/2014)
  08/14/2014             27 Certificate of Service by Andrew G. Clark Filed by Andrew G. Clark. (ljb) (Entered:
                            08/15/2014)
  08/15/2014             28 Minor Act of Correction to Response in Opposition to Motion to Dismiss for Failure to
                            State a Claim 7 . Filed by Andrew G. Clark. (ljb) (Entered: 08/15/2014)
  08/15/2014             29 First Responsive Pleading to Answer Filed 8/4/14 by Defendant Wells Fargo Bank First
                            Addition to 8/14/14 Response to Defendant City of Eugene. Filed by Andrew G. Clark.
                            (ljb) (Entered: 08/15/2014)
  08/18/2014             30 Response in Opposition to Motion to Dismiss for Failure to State a Claim 7 . Filed by
                            Andrew G. Clark. (Attachments: # 1 Part 2 of Oversized Document) (ljb) (Entered:
                            08/19/2014)
  08/19/2014             31 Certificate of Service by Andrew G. Clark of Motion 26 , Response in Opposition to
                            Motion 28 , Declaration 25 , Response in Opposition to Motion 30 , Certificate of Service
                            27 , Motion 21 , Memorandum in Support of Motion 22 , Request for Judicial Notice
                            Motion to Dismiss for Failure to State a Claim 7 23 , Response in Opposition to Motion
                            24 Filed by Andrew G. Clark. (ljb) (Entered: 08/19/2014)
  08/25/2014             32 Responsive Pleading Motion to Deny Wells Fargo Bank, NA 10 Motion to be Dismissed
                            from Complaint 8.4.14 Request for Judicial Notice. Filed by Andrew G. Clark. (Related
                            document(s): Motion to Dismiss for Failure to State a Claim 10 .) (ljb) (Entered:
                            08/25/2014)
  08/25/2014             33 Reply to Motion to Dismiss for Failure to State a Claim 7 . Filed by City of Eugene,
                            Oregon. (Miller, Benjamin) (Entered: 08/25/2014)
  08/25/2014             34 Declaration of Ben Miller . Filed by City of Eugene, Oregon. (Related document(s):
                            Motion to Dismiss for Failure to State a Claim 7 .) (Miller, Benjamin) (Entered:
                            08/25/2014)
  09/04/2014             35 Responsive Pleading to Wells Fargo Bank Memorandum/Motion Wells Fargo and
                            Company Intervention (voluntary or compulsory). Filed by Andrew G. Clark.
                            (Attachments: # 1 Attachment, # 2 Certificate of Service) (ljb) (Entered: 09/05/2014)
  09/08/2014             36 Motion for a More Definite Statement Purpose and Intent of Defendant's Declaration
                            under Rule 12(e). Filed by Andrew G. Clark. (ljb) (Entered: 09/08/2014)
  09/08/2014             37 Continued Rule 11 Violation by City of Eugene via Attorney 18 USC 1519 Violation
                            Warning. Filed by Andrew G. Clark (ljb) (Entered: 09/08/2014)
  09/08/2014             38 Motion to Compel, Memorandum and Declaration with attachment. Filed by Andrew G.
                            Clark. (Attachments: # 1 Attachment) (ljb) (Entered: 09/08/2014)
  09/08/2014             39 Declaration of Andrew G. Clark: Civil RICO Lawsuit Test a Modest Proposal. Filed by
                            Andrew G. Clark. (ljb) (Entered: 09/08/2014)
  09/08/2014             40 Certificate of Service by Andrew G. Clark of Declaration 39 , Notice 37 , Motion for a
                            More Definite Statement 36 , Motion to Compel 38 . Filed by Andrew G. Clark. (ljb)
                            (Entered: 09/08/2014)
  09/26/2014             41 Motion to Augment Record. UNSIGNED Filed by Andrew G. Clark. (ljb) (Entered:
                            09/26/2014)
  10/06/2014             42 Motion for Stay Discovery. Filed by Alex Gardner, State of Oregon. (Nordyke, Vanessa)
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?668370952971474-L_1_0-1                                               5/13


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                               (Entered: 10/06/2014)
  10/06/2014             43 Motion to Dismiss for Failure to State a Claim Under FRCP Rule 12; Alternative Motion
                            for a More Definite Statement. Filed by State of Oregon, Alex Gardner. (Nordyke,
                            Vanessa) Motion terminated on 3/27/2015 (plb). (Entered: 10/06/2014)
  10/06/2014             44 Memorandum in Support . Filed by Alex Gardner, State of Oregon. (Related
                            document(s): Motion to Dismiss for Failure to State a Claim 43 .) (Nordyke, Vanessa)
                            (Entered: 10/06/2014)
  10/07/2014             45 Motion for Emergency District Court Injunction Demanded in the Public Interests. Filed
                            by Andrew G. Clark. (ljb) (Entered: 10/08/2014)
  10/08/2014             46 Motion for Inclusion of Allegation of Corruption of District Court as Part of RICO. Filed
                            by Andrew G. Clark. (Attachments: # 1 Part 2 of Oversized Document, # 2 Part 3 of
                            oversized document) (ljb) (Entered: 10/08/2014)
  10/09/2014             47 Response to Motion 41 . Filed by City of Eugene, Oregon. (Miller, Benjamin) (Entered:
                            10/09/2014)
  10/09/2014             48 Motion to Compel. Filed by Andrew G. Clark. (# 1 Attachment) (ljb) (Entered:
                            10/10/2014)
  10/14/2014             49 Motion to Compel Wells Fargo Bank to Answer Three Simple Factual Questions. Filed
                            by Andrew G. Clark. (ljb) (Entered: 10/14/2014)
  10/15/2014             50 Motion to Compel. Filed by Andrew G. Clark. (ljb) (Entered: 10/15/2014)
  10/15/2014             51 Motion to Augment Record Lane County, OR as Defendant. Filed by Andrew G. Clark.
                            (ljb) (Entered: 10/15/2014)
  10/15/2014             52 Motion in Limine. Filed by Andrew G. Clark. (ljb) (Entered: 10/15/2014)
  10/15/2014             53 Motion in Limine and in Camera Order of Motions in Court Systems Concerns About
                            Attorney Conduct Hearing May be Necessary. Filed by Andrew G. Clark. (ljb) (Entered:
                            10/15/2014)
  10/23/2014             54 Response in Opposition (titled Defendants' State of Oregon and Gardner's Response to
                            Plaintiff's Motion to Compel and Plaintiff's Motion to Compel) to Motion to Compel 48 ,
                            Motion 41 . Filed by Alex Gardner, State of Oregon. (Nordyke, Vanessa) (Entered:
                            10/23/2014)
  10/28/2014             55 Motion for Trial. Filed by Andrew G. Clark. (Attachment: # 1 Exhibit) (ljb) (Entered:
                            10/29/2014)
  11/03/2014             56 Motion FOR ORDER LIMITING CONTACT. Filed by Wells Fargo Bank, NA.
                            (Attachments: # 1 Attachment Memorandum of Points & Authorities, # 2 Attachment
                            Urias Declaration, # 3 Exhibit A-J, # 4 Attachment Campbell Declaration, # 5 Exhibit A-
                            C) (Urias, Peter) (Entered: 11/03/2014)
  11/04/2014             57 Certificate of Service by Wells Fargo Bank, NA of Motion FOR ORDER LIMITING
                            CONTACT 56 Filed by Wells Fargo Bank, NA. (Urias, Peter) (Entered: 11/04/2014)
  11/04/2014             58 Supplemental Declaration of Peter D. Urias . Filed by Wells Fargo Bank, NA. (Related
                            document(s): Motion - Miscellaneous, 56 .) (Attachments: # 1 Exhibit K, # 2 Attachment
                            Certificate of Service) (Campbell, David) (Entered: 11/04/2014)
  11/12/2014             59 Objection(s) to Consent to Jurisdiction by a US Magistrate Judge. Filed by Andrew G.
                            Clark. (ljb) (Entered: 11/12/2014)
  11/12/2014             60 Memorandum Declaration Attached as Defendant Admission of Need for Trial. Filed by
https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?668370952971474-L_1_0-1                                               6/13


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                               Andrew G. Clark (ljb) (Additional attachment(s) added on 11/13/2014: # 1 Attachment
                               Introduction) (ljb). (Entered: 11/13/2014)
  11/12/2014             61 Motion for Magistrate for 5 Minute Hearing to Christian Rowley of Seyfarth Shaw. Filed
                            by Andrew G. Clark. (ljb) (Entered: 11/13/2014)
  11/12/2014             62 Response in Opposition to Motion FOR ORDER LIMITING CONTACT 56 . Filed by
                            Andrew G. Clark. (ljb) (Entered: 11/13/2014)
  11/12/2014             64 Response in Opposition to Motion FOR ORDER LIMITING CONTACT 56 . Filed by
                            Andrew G. Clark. (Attachments: # 1 Attachment) (ljb) (Entered: 11/14/2014)
  11/12/2014             65 Memorandum Declaring Attached as Defaming Libel by Peter UriasFiled by Andrew G.
                            Clark (ljb) (Entered: 11/14/2014)
  11/13/2014             63 Response in Opposition to Motion FOR ORDER LIMITING CONTACT 56 . Filed by
                            Andrew G. Clark. (ljb) (Entered: 11/13/2014)
  11/18/2014             66 Motion to Dismiss . Filed by Lane County, Oregon. (Tapia, Sebastian) (Entered:
                            11/18/2014)
  11/18/2014             67 Declaration of Sebastian Tapia in Support of Defendant Lane County Oregon Sheriff's
                            Department and Jail's Motion to Dismiss. Filed by Lane County, Oregon. (Related
                            document(s): Motion to Dismiss 66 .) (Tapia, Sebastian) (Entered: 11/18/2014)
  11/24/2014             68 ORDER: Granting Motion for Order Limiting Contact 56 . It is hereby ordered that
                            plaintiff shall not contact or communicate with any officer, director, employee or other
                            person associated with defendant Wells Fargo concerning this litigation or any other
                            matter, without authorization by specific order of this court. Signed on 11/24/2014 by
                            Magistrate Judge Thomas M. Coffin. (plb) (Entered: 11/25/2014)
  11/24/2014             70 ORDER: Granting Motion to Stay Discovery 42 pending resolution of defendants'
                            motions to dismiss 7 , 10 , 43 and 66 . All pretrial deadlines are vacated and will be reset,
                            if necessary, upon resolution of the pending motions to dismiss 7 , 10 , 43 and 66 .
                            Plaintiff is ordered to show cause in writing within 30 days of the date of this order why
                            defendants' motions to dismiss 7 , 10 , 43 and 66 should not be allowed. No extensions of
                            time to comply with this order will be allowed. Plaintiff is advised that failure to show
                            cause as directed will result in the dismissal of this proceeding for failure to prosecute.
                            All other pending motions 21 , 23 , 26 , 36 , 38 , 41 , 45 , 46 , 48 , 49 , 50 , 51 , 52 , 53 ,
                            55 and 61 are denied without prejudice to request reconsideration after plaintiff has filed
                            a response as directed herein. Signed on 11/24/2014 by Magistrate Judge Thomas M.
                            Coffin. (plb) (Entered: 12/01/2014)
  11/25/2014             69 Clerk's Notice of Mailing to Andrew G. Clark regarding Order on Motion -
                            Miscellaneous 68 . (plb) (Entered: 11/25/2014)
  12/01/2014             71 Clerk's Notice of Mailing to Andrew G. Clark regarding Order 70 . (plb) (Entered:
                            12/01/2014)
  12/01/2014             72 Declaration of Self-Reporting Urgent Attention of the Court by Andrew G. Clark. Filed
                            by Andrew G. Clark. (ljb) (Entered: 12/01/2014)
  12/02/2014             73 Response in Opposition (Declaration Opposing Lane County et al Motion to Dismiss 66
                            Case Against Lane County Motion to Deny Lane County Motion). Filed by Andrew G.
                            Clark. (Attachments: # 1 Exhibit) (ljb) (Entered: 12/03/2014)
  12/05/2014             74 Responsive Pleading Augmentation Attached October 6, 2014 State's Motion to Deny
                            Stay of Discovery. Filed by Andrew G. Clark. (Related document(s): Motion for Stay 42
                            .) (Attachments: # 1 Attachment) (ljb) (Entered: 12/08/2014)

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  12/09/2014             75 Motion and Memorandum Objecting to 11/24/14 70 Order of Magistrate. Filed by
                            Andrew G. Clark. (Attachments: # 1 Part 2 of Oversized Document) (ljb) (Entered:
                            12/09/2014)
  12/24/2014             76 Motion for Leave to File Amended Complaint/Petition . Filed by Andrew G. Clark.
                            (Attachments: # 1 Attachment, # 2 Proposed Order, # 3 Attachment) (Haapala, John)
                            (Entered: 12/24/2014)
  12/24/2014             77 Response to Motion to Dismiss for Failure to State a Claim 10 , Motion to Dismiss for
                            Failure to State a Claim 7 , Motion to Dismiss 66 , Motion to Dismiss for Failure to State
                            a Claim Under FRCP Rule 12; Alternative Motion for a More Definite Statement 43 .
                            Filed by Andrew G. Clark. (Haapala, John) (Entered: 12/24/2014)
  01/07/2015             78 Reply to Plaintiff's Response to Motion to Dismiss for Failure to State a Claim Under
                            FRCP Rule 12; Alternative Motion for a More Definite Statement 43 . Filed by Alex
                            Gardner, State of Oregon. (Nordyke, Vanessa) (Entered: 01/07/2015)
  01/07/2015             79 Second Request for Judicial Notice in support of Wells Fargo Bank, N.A.'s motion to
                            dismiss pursuant to Fed. R. Civ. P. 12(B)(6). Filed by Wells Fargo Bank, NA.
                            (Attachments: # 1 Exhibit A, # 2 Exhibit B) (Campbell, David) (Entered: 01/07/2015)
  01/07/2015             80 Reply in support of Wells Fargo Bank, N.A.'s motion to dismiss pursuant to Fed. R. Civ.
                            P. 12(B)(6) to Motion to Dismiss for Failure to State a Claim 10 . Filed by Wells Fargo
                            Bank, NA. (Campbell, David) (Entered: 01/07/2015)
  01/07/2015             81 Response in Opposition Wells Fargo Bank, N.A.'s opposition to plaintiff's motion for
                            leave to file amended complaint to Motion for Leave to File Amended Complaint/Petition
                            76 . Filed by Wells Fargo Bank, NA. (Campbell, David) (Entered: 01/07/2015)
  01/08/2015             82 Response in Opposition to Motion for Leave to File Amended Complaint/Petition 76 .
                            Filed by City of Eugene, Oregon. (Miller, Benjamin) (Entered: 01/08/2015)
  01/08/2015             83 Reply to Plaintiff's Response to Motion to Dismiss for Failure to State a Claim 7 . Filed
                            by City of Eugene, Oregon. (Miller, Benjamin) (Entered: 01/08/2015)
  01/12/2015             84 Response to Motion for Leave to File Amended Complaint/Petition 76 . Filed by Alex
                            Gardner, State of Oregon. (Nordyke, Vanessa) (Entered: 01/12/2015)
  02/11/2015             85 Notice of Appearance of John E. Haapala, Jr appearing on behalf of Andrew G. Clark
                            Filed by on behalf of Andrew G. Clark (Haapala, John) (Entered: 02/11/2015)
  03/27/2015             86 ORDER: Denying Motion for Leave to File Amended Complaint 76 without prejudice to
                            refile the motion that complies with Local Rules 7-1(a) and 15-1(d)(1) not later than
                            4/17/2015. Denying as Moot Motion to Dismiss 7 , Motion to Dismiss 10 , Request for
                            Judicial Notice 12 , Motion to Dismiss 43 , Motion to Dismiss 66 and Request for
                            Judicial Notice 79 without prejudice to refile the motions after plaintiff has filed an
                            amended complaint or in the event that a renewed motion for leave to file an amended
                            complaint is not filed or denied, fourteen (14) days after the deadline to file the renewed
                            motion for leave has expired or after the renewed motion for leave has been denied.
                            Ordered by Magistrate Judge Thomas M. Coffin. (plb) (Entered: 03/27/2015)
  04/09/2015             87 ORDER: I find Judge Coffins Order, 70 , to be neither clearly erroneous nor contrary to
                            law and adopt it in full. I agree fullywith Judge Coffins view that Plaintiffs action can
                            only be characterized as a nuisance lawsuit. Additionally, warning Plaintiff his actions
                            could subject him to contempt of court was entirely appropriate in this instance. Signed
                            on 4/9/2015 by Judge Michael J. McShane. (Copy of Order mailed to Plaintiff) (cp)
                            (Entered: 04/09/2015)
  04/17/2015             88 Unopposed Motion for Extension of Time . Filed by Andrew G. Clark. (Haapala, John)
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                               (Entered: 04/17/2015)
  04/17/2015             89 Memorandum in Support . Filed by Andrew G. Clark. (Related document(s): Motion for
                            Extension of Time 88 .) (Haapala, John) (Entered: 04/17/2015)
  04/17/2015             90 Declaration of John E. Haapala, Jr . Filed by Andrew G. Clark. (Related document(s):
                            Motion for Extension of Time 88 .) (Haapala, John) (Entered: 04/17/2015)
  04/22/2015             91 ORDER: Granting Motion for Extension of Time 88 . Amended Complaint is due
                            5/1/2015. Ordered by Magistrate Judge Thomas M. Coffin. (plb) (Entered: 04/22/2015)
  05/01/2015             92 Motion for Leave to File First Amended Complaint. Filed by Andrew G. Clark.
                            (Attachments: # 1 Exhibit) (Haapala, John) (Entered: 05/01/2015)
  05/01/2015             93 Memorandum in Support . Filed by Andrew G. Clark. (Related document(s): Motion for
                            Leave 92 .) (Haapala, John) (Entered: 05/01/2015)
  05/11/2015             94 Response to Motion for Leave to File First Amended Complaint 92 . Filed by City of
                            Eugene, Oregon. (Miller, Benjamin) (Entered: 05/11/2015)
  05/18/2015             95 Response in Opposition to Motion for Leave to File First Amended Complaint 92 . Filed
                            by Wells Fargo Bank, NA. (Campbell, David) (Entered: 05/18/2015)
  06/01/2015             96 Reply to WF Opposition to Motion for Leave to File First Amended Complaint 92 . Filed
                            by Andrew G. Clark. (Haapala, John) (Entered: 06/01/2015)
  08/24/2015             97 Motion to Dismiss . Filed by Andrew G. Clark. (Haapala, John) (Entered: 08/24/2015)
  08/25/2015             98 ORDER: Granting Motion to Dismiss 97 . This action is dismissed with prejudice as to
                            defendant City of Eugene. Ordered by Magistrate Judge Thomas M. Coffin. (plb)
                            (Entered: 08/25/2015)
  09/21/2015             99 ORDER: Granting Motion for Leave to File Amended Complaint 92 . Amended
                            Complaint is due 9/28/2015. Ordered by Magistrate Judge Thomas M. Coffin. (plb)
                            (Entered: 09/21/2015)
  09/28/2015           100 First Amended Complaint . Filed by Andrew G. Clark against Wells Fargo Bank, NA,
                           Ogletree Deakins Nash Smoak and Stewart, Erik V Hasselman. (Haapala, John) (Entered:
                           09/28/2015)
  09/30/2015           101 Motion to Dismiss . Filed by Eric Hasselman. (Nordyke, Vanessa) (Entered: 09/30/2015)
  10/13/2015           102 Notice of Attorney Substitution:Attorney Marianne Dugan is substituted as counsel of
                           record in place of Attorney John E. Haapala, Jr Filed by All Plaintiffs (Dugan, Marianne)
                           (Entered: 10/13/2015)
  10/15/2015           103 Unopposed Motion for Extension of Time to File a Response/Reply to Motion to Dismiss
                           101 . Filed by All Plaintiffs. (Dugan, Marianne) (Entered: 10/15/2015)
  10/16/2015           104 ORDER: Granting Motion for Extension of Time to File Response to Motion to Dismiss
                           101 filed by Eric Hasselman. Response is due by 11/9/2015. Motion is taken under
                           advisement as of 11/30/2015. Ordered by Magistrate Judge Thomas M. Coffin. (plb)
                           (Entered: 10/16/2015)
  10/16/2015           105 Unopposed Motion for Extension of Time to Answer First Amended Complaint 100 .
                           Filed by Wells Fargo Bank, NA. (Campbell, David) (Entered: 10/16/2015)
  10/19/2015           106 ORDER: Granting Motion for Extension of Time to Answer 105 . Defendant Wells
                           Fargo, NA's Answer is due by 11/16/2015. Ordered by Magistrate Judge Thomas M.
                           Coffin. (plb) (Entered: 10/19/2015)

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  11/09/2015           107 Unopposed Motion for Extension of Time to File a Response/Reply (three days
                           requested) to Motion to Dismiss 101 . Filed by All Plaintiffs. (Dugan, Marianne)
                           (Entered: 11/09/2015)
  11/10/2015           108 ORDER: Granting Motion for Extension of Time to File Response to Motion to Dismiss
                           101 filed by Eric Hasselman. Response is due by 11/12/2015. Motion is taken under
                           advisement as of 12/7/2015. Ordered by Magistrate Judge Thomas M. Coffin. (plb)
                           (Entered: 11/10/2015)
  11/12/2015           109 Response to Motion to Dismiss 101 . Filed by All Plaintiffs. (Dugan, Marianne) (Entered:
                           11/12/2015)
  11/16/2015            110 Motion to Dismiss for Failure to State a Claim , Motion to Strike . Filed by Wells Fargo
                            Bank, NA. (Campbell, David) (Entered: 11/16/2015)
  11/16/2015            111 Memorandum in Support . Filed by Wells Fargo Bank, NA. (Related document(s):
                            Motion to Dismiss for Failure to State a Claim, Motion to Strike 110 .) (Campbell,
                            David) (Entered: 11/16/2015)
  11/16/2015            112 Request for Judicial Notice Motion to Dismiss for Failure to State a Claim, Motion to
                            Strike 110 . Filed by Wells Fargo Bank, NA. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                            # 3 Exhibit C, # 4 Exhibit D) (Campbell, David) (Entered: 11/16/2015)
  11/24/2015            113 Reply (titled "Defendant Hasselman's Reply to Plaintiff's Response to Defendant
                            Hasselman's Motion to Dismiss"). Filed by Eric Hasselman. (Related document(s):
                            Response to Motion 109 .) (Nordyke, Vanessa) (Entered: 11/24/2015)
  12/03/2015            114 Unopposed Motion for Extension of Time to File a Response/Reply to Motion to Dismiss
                            for Failure to State a Claim Motion to Strike 110 , Request for Judicial Notice Motion to
                            Dismiss for Failure to State a Claim, Motion to Strike 110 112 . Filed by All Plaintiffs.
                            (Dugan, Marianne) (Entered: 12/03/2015)
  12/04/2015            115 ORDER: Granting Motion for Extension of Time to File Response to Motion to Dismiss
                            for Failure to State a Claim and Motion to Strike 110 filed by Wells Fargo Bank, NA.
                            Response is due by 12/7/2015. Motion is taken under advisement as of 12/28/2015.
                            Ordered by Magistrate Judge Thomas M. Coffin. (plb) (Entered: 12/04/2015)
  12/07/2015            116 Response to Motion to Dismiss for Failure to State a Claim Motion to Strike 110 . Filed
                            by All Plaintiffs. (Dugan, Marianne) (Entered: 12/07/2015)
  12/07/2015            117 Response to Motion to Dismiss for Failure to State a Claim Motion to Strike 110 . Filed
                            by All Plaintiffs. (Dugan, Marianne) (Entered: 12/07/2015)
  12/07/2015            118 Declaration of Dugan . Filed by All Plaintiffs. (Related document(s): Response to Motion
                            116 , Response to Motion 117 .) (Dugan, Marianne) (Entered: 12/07/2015)
  12/16/2015            119 Unopposed Motion for Extension of Time to File a Response/Reply to Motion to Dismiss
                            for Failure to State a Claim Motion to Strike 110 . Filed by Wells Fargo Bank, NA.
                            (Campbell, David) (Entered: 12/16/2015)
  12/17/2015           120 ORDER: Granting Motion for Extension of Time to File Reply to Motion to Dismiss for
                           Failure to State a Claim; Motion to Strike 110 filed by Wells Fargo Bank, NA, Request
                           for Judicial Notice re: Motion to Dismiss for Failure to State a Claim, Motion to Strike
                           110 112 filed by Wells Fargo Bank, NA. Reply is due by 1/7/2016. Motion is taken under
                           advisement as of 1/11/2016. Ordered by Magistrate Judge Thomas M. Coffin. (plb)
                           (Entered: 12/17/2015)
  01/07/2016           121 Reply to Motion to Dismiss for Failure to State a Claim Motion to Strike 110 . Filed by
                           Wells Fargo Bank, NA. (Campbell, David) (Entered: 01/07/2016)

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  01/07/2016           122 Declaration of Jason M. Allen in Support of Motion to Dismiss and Motion to Strike.
                           Filed by Wells Fargo Bank, NA. (Related document(s): Reply to Motion 121 .)
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)
                           (Campbell, David) (Entered: 01/07/2016)
  02/08/2016           123 Findings & Recommendation: Motion to Dismiss 101 should be granted. Objections to
                           the Findings and Recommendation are due by 2/25/2016. Signed on 2/8/2016 by
                           Magistrate Judge Thomas M. Coffin. (plb) (Entered: 02/10/2016)
  02/08/2016           124 Order referring Findings & Recommendation: Motion to Dismiss 101 should be granted
                           123 , Motion to Dismiss 101 to Judge Michael J. McShane. Ordered by Magistrate Judge
                           Thomas M. Coffin. (plb) (Entered: 02/10/2016)
  03/29/2016           125 ORDER: Adopting Magistrate Judge Coffin's Findings and Recommendation 123 .
                           Granting Erik Hasselman's Motion to Dismiss 101 . Signed on 3/29/2016 by Judge
                           Michael J. McShane. (cp) (Entered: 03/29/2016)
  04/04/2016           126 Findings & Recommendation: Motion to Dismiss for Failure to State a Claim 110 should
                           be granted, Request for Judicial Notice 112 should be denied as moot. Objections to the
                           Findings and Recommendation are due by 4/21/2016. Signed on 4/4/2016 by Magistrate
                           Judge Thomas M. Coffin. (plb) (Entered: 04/05/2016)
  04/04/2016           127 Order referring Motion to Dismiss for Failure to State a Claim 110 , Findings &
                           Recommendation: Motion to Dismiss for Failure to State a Claim 110 should be granted,
                           Request for Judicial Notice 112 should be denied as moot 126 , Request for Judicial
                           Notice 112 to Judge Michael J. McShane. Ordered by Magistrate Judge Thomas M.
                           Coffin. (plb) (Entered: 04/05/2016)
  06/22/2016           128 ORDER: Magistrate Judge Thomas M. Coffin's Findings and Recommendation 126 is
                           adopted. Wells Fargo Bank, N.A.'s Motion to Dismiss 110 is granted and the claims
                           against it are dismissed with prejudice. Wells Fargo's request for judicial notice 112 is
                           Denied as moot. Ordered by Judge Michael J. McShane. (cp) (Entered: 06/24/2016)
  01/18/2017           129 Notice of Case Reassignment: This case has been reassigned from Magistrate Judge
                           Thomas M. Coffin to Magistrate Judge Jolie A. Russo. (eo) (Entered: 01/18/2017)
  01/24/2017           130 Order to Show Cause. On September 28, 2015, plaintiff filed an amended complaint 100
                           against Ogletree Deakins Nash Smoak and Stewart ("Ogletree") among other defendants.
                           All other defendants in this matter have been dismissed. To date, plaintiff has neither
                           requested that summons be issued by the court nor filed a return of service as to Ogletree.
                           Accordingly, plaintiff is ordered to Show Cause in Writing by 2/23/2017 why this matter
                           should not be dismissed for failure to prosecute. Failure to respond to this order may
                           result in dismissal of this matter for failure to prosecute and failure to follow a court
                           order. Ordered by Magistrate Judge Jolie A. Russo. (plb) (Entered: 01/24/2017)
  02/23/2017           131 Notice re Order to Show Cause,, 130 Response to Order Filed by Andrew G. Clark
                           (Related document(s): Order to Show Cause,, 130 .) (Dugan, Marianne) (Entered:
                           02/23/2017)
  02/24/2017           132 Order of Dismissal as to Ogletree, Deakins, Nash, Smoak & Stewart, P.C. Signed on
                           2/24/2017 by Judge Michael J. McShane. (cp) (Entered: 02/27/2017)
  02/24/2017           133 Judgment: Based on the record, judgment for defendants. Signed on 2/24/2017 by Judge
                           Michael J. McShane. (cp) (Entered: 02/27/2017)
  03/20/2017           134 Notice of Appeal to the 9th Circuit. Related Documents: Judgment 133 , Order of
                           Dismissal 132 Filing fee in amount of $505 collected; Receipt No. 11302 issued. Filed by
                           Andrew G. Clark. (ljb) (Entered: 03/21/2017)

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  03/22/2017                   USCA Case Number and Notice confirming Docketing Record on Appeal re Notice of
                               Appeal 134 . Case Appealed to 9th Circuit Case Number 17-35247 assigned. (ljb)
                               (Entered: 03/22/2017)
  03/24/2017           135 Notice of Attorney Withdrawal: Filed by Andrew G. Clark (Dugan, Marianne) (Entered:
                           03/24/2017)
  12/29/2017           136 Order from USCA for the 9th Circuit, USCA # 17-35247, re Notice of Appeal 134 . (kf)
                           (Entered: 12/29/2017)
  01/02/2018           137 Notice of Motion and Motion to Vacate Judgment 133 . Filed by Andrew G. Clark. (jk)
                           (Entered: 01/02/2018)
  01/03/2018           138 Certificate of Service by Andrew G. Clark of Motion to Vacate Judgment 137 . Filed by
                           Andrew G. Clark. (jk) (Entered: 01/03/2018)
  01/04/2018           139 Order from USCA for the 9th Circuit, USCA # 17-35247 re Notice of Appeal 134 . (jk)
                           (Entered: 01/05/2018)
  01/05/2018           140 ORDER: Denying Motion to Vacate 137 the Judgment 133 . Ordered by Judge Michael
                           J. McShane. (cp) (Entered: 01/05/2018)
  01/05/2018           141 Clerk's Notice of Mailing to Andrew G. Clark regarding Order on motion to Vacate 140 .
                           (cp) (Entered: 01/05/2018)
  01/12/2018           142 Augment 1-02-18. Filed by Andrew G. Clark. (Attachments: # 1 Attachment) (jk)
                           (Entered: 01/16/2018)
  05/16/2018           143 Order from USCA for the 9th Circuit, USCA # 17-35247 regarding Notice of Appeal 134
                           . (bd) (Entered: 05/17/2018)
  05/24/2018           144 MANDATE of USCA for the 9th Circuit, USCA # 17-35247, regarding Notice of Appeal
                           134 . The decision of the District Court is AFFIRMED. (Attachments: # 1 Memorandum)
                           (bd) (Entered: 05/25/2018)
  03/08/2019           145 ***SEALED***Letter from Andrew Clark. Filed by Andrew G. Clark. (cp) (Entered:
                           03/08/2019)
  03/08/2019           146 Notice of Motion and Motion to Vacate Judgment 133 . Oral Argument requested. Filed
                           by Andrew G. Clark. (bd) (Entered: 03/08/2019)
  03/08/2019           147 Declaration of Plaintiff Andrew Clark. Filed by Andrew G. Clark. (Related document(s):
                           Motion to Vacate 146 .) (Attachments: # 1 Exhibit) (bd) (Entered: 03/08/2019)
  03/11/2019           148 Notice of Case Reassignment: This case has been reassigned from Magistrate Judge Jolie
                           A. Russo to Magistrate Judge Mustafa T. Kasubhai. (eo) (Entered: 03/11/2019)
  03/11/2019           149 Clerk's Notice of Mailing to Andrew Clark regarding Case Reassignment Notice (# 148 ).
                           (eo) (Entered: 03/11/2019)
  03/12/2019           150 ORDER: The Court previously denied plaintiff's motion to vacate the judgment 133 .
                           ECF No. 140 . Plaintiff's renewed motion to vacate the judgment, 146 , is denied.
                           Ordered by Judge Michael J. McShane. (Copy mailed to plaintiff) (cp) (Entered:
                           03/12/2019)
  04/02/2019           151 Rule 72 - Objection to Magistrate Judge's Non-Dispositive Order: Order on motion to
                           Vacate 150 , and Memorandum. Filed by Andrew G. Clark. (Attachments: # 1
                           Memorandum) (kf) (Entered: 04/02/2019)
  04/02/2019           152 Declaration of Andrew G. Clark regarding Rule 72 - Objection to Magistrate Judge's
                           Non-Dispositive Order 151 . Filed by Andrew G. Clark. (kf) (Entered: 04/02/2019)
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                                                             Transaction Receipt
                                                                03/02/2020 14:13:55
                                   PACER                      Client
                                                   Gs0075
                                   Login:                     Code:
                                                   Docket     Search      6:14-cv-01103-MK Start date:
                                   Description:
                                                   Report     Criteria:   1/1/1971 End date: 3/2/2020
                                   Billable
                                                   10         Cost:       1.00
                                   Pages:




https://ecf.ord.uscourts.gov/cgi-bin/DktRpt.pl?668370952971474-L_1_0-1                                                           13/13


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From: Operation SunriseLAW [mailto:operationsunriselaw@gmail.com]
Sent: Monday, March 16, 2020 12:16 PM
To: matt.keen@ogletree.com; ahollister@osbar.org; leahlively@dwt.com; dsymes@littler.com;
christopher.mixon@ogletree.com; judge@hoganmediation.net; osp.forensics@state.or.us;
Erik.Hasselman@lanecountyor.gov; Steve Seymour (x102); Rowley, Christian;
benjamin.gutman@doj.state.or.us; barry@barrydavislaw.com; David.Campbell@lewisbrisbois.com;
info@bromleynewton.com; purias@seyfarth.com; ellen.f.rosenblum@doj.state.or.us;
sebastian.tapia@co.lane.or.us; ben.j.miller@ci.eugene.or.us; vanessa.a.nordyke@doj.state.or.us;
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boardcommunications@wellsfargo.com
Subject: Crime Report to US Attorney for Oregon

I am hopeful this will allow Wells Fargo to settle my banking employment issues out of the
courts but another purpose of it is to significantly bolster my "Claim for Relief" if needed. I
want to email it to Mr. Mitchell's office later today but I wanted to get Team Input,
particularly State.

I am sorry I am bypassing communication protocol but I need to be sure each of you is directly
aware. My lawsuit can be a civil compromise of crimes against me. I was wrong to state or
imply I could engage in civil compromise of the root crime of the enterprise.

This short, simple document is shocking to the senses. Many of you are forever altered.
Thank you from Andy Clark 3270 Stoney Ridge Rd. Eugene OR 97405 541.510.3915




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March 16, 2020

Dear Ms. Rosenblum, Mr. Hasselman, Mr. Gardiner, Mr. Gutman, Ms. Nordyke

c.c.   Billy Mitchell, United States Attorney for Oregon –
       Mandatory Report of Ongoing Major Federal Felonies

My complaint 6.20.cv.253.aa does a very good job of documenting actions against me and linking
them to my employment at Wells Fargo. But it could leave a reader wondering “what crimes could
possibly have been committed that are so extreme that a group of people would be used to conceal it by
committing a series of RICO crimes including the use of courts to obstruct justice? What evidence
could a lowest-level worker possibly have that proves any of it?

As attorneys you are certain to know that a police report is a very special type of evidence. Attached is
a page from a Eugene, OR police report dated July 19, 2011. It is Page 82 of the complaint. It is from
before all the RICO crimes against me (page 5 of complaint). It shows Wells Fargo corporate security
agent Martin Ogno was aware I had filed reports with Federal Bureau-Investigation (FBI) in Eugene
OR, therefore Wells Fargo was aware. Most shocking, it captures Martin Ogno telling Eugene Police
that he had contacted FBI and that FBI did not take my (just filed in-person and sworn-to well-
evidenced, voluminous) reports seriously. Think of that horrific violation of City of Eugene Police.

After that is a printout of Department of Justice publication “Criminal Resource Manual 1729”. It has
a standard archive disclaimer but the content remains valid. It clearly specifies that the act of
reporting to a federal law enforcement agency such as FBI is what establishes the federal
witness/informant status and relates it to 18 USC 1512.

Stated as RICO: Repeated physical tampering and legal battery of a Federal Witness/Informant in a
Banking Employment Case with purpose and/or effect being to conceal the crime from the FBI and
oversight agencies. Obstruction of justice via corruption of FBI processes and other public corruption.

Stated as Clayton/Sherman ATA (corporate entities): Corporate entities Wells Fargo, Ogletree
Deakins, and Oregon State Bar have a nationwide business model that permitted the RICO violations to
occur and continue and they still do as evidenced by their pleadings to date in 6.20.cv.253.aa.
………….
Mr. Billy Mitchell , US Attorney for Oregon : I would greatly appreciate it if you could contact WFC
responsible corporate officers and authorize them to properly resolve this with me so that we can take the
banking matters out of the courts. I put in a motion under FRCP 24 but my experience so far is that Wells
Fargo management is kept in the dark on anything important.

Wells Fargo & Company (WFC) policy and training required me to report local sales system fraud and
other major business issues in-person to local FBI due to perceived internal retaliation. We were
trained that such reports are essential to protect the Wells Fargo and Company corporate entity from
possible effects of errors or fraud by its (human) workers and management. The situation is
aggravated by the fact my reports included details of sales system fraud including the ‘bogus bank
account scandal’ which later became multi-billion dollar problems. Wells Fargo and Company should
be getting all that money back because the attorneys caused and continued the problem and then “
earned” money pretending to solve the problems.

Thank you from Andy Clark 3270 Stoney Ridge Rd. Eugene OR 97405 541.510.3915

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>>>>>
FBI would
not say that.

Notice no
person at
FBI is
referenced.

It is corruption
of FBI processes
and obstruction.

BTW, I did
report to CIA via
nationwide fax#
and consulate
offices in
Bangalore and
Hyderabad India
due to concerns
related to
system
development
work on the
CORE/ELF
system I had to
use here that
was being badly
programmed in
India.




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   Exhibit 1




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To: urgent   Page 1 of 8                              2020-04-02 14:57:32 (GMT)                     13034846329 From: Andrew Clark




             March 182020         .                                                     Re: Wells Fargo &
             Billy Williams, United States Attorney for Oregon                          Ogletree Deakins
             1000 SW 3rd Ave Ste 600 Portland OR 97204
             c/o Eugene OR Office in Wayne Morse Courthouse

                                      FEDERAL MAJOR VIOLENT CRIME REPORT
                                  Repeated, Physical Tampering of a Federal Witness in Active
                            Department of Labor ﬂ Office of Comptroller of Currency Investigations.
                      Obstruction of Justice Via Rampant Public Corruption Including Hobbs Act Violations.
                           Novel Crimes: Deliberate, Knowing Use of Family Courts as a Means of Tampering,
                    Fraudulent and Coordinated Use of Local, State. and Federal Justice Systems to obstruct.

             My civil complaint 6.20.cv.253.aa does a very good job of documenting actions against me and linking
             them to my employment at Wells Fargo. But unless it is read carefully, it could leave a reader
             wondering “what crimes could possibly have been committed so extreme that a group of people would
             be used to conceal it by committing a series of RICO crimes including the use of courts to obstruct
             justice? What evidence could a lowest-level worker possibly have of it?”

             1. A police report is a very special and perfect type of evidence. Attached is a page from a Eugene. OR
             police report dated July 19, 2011. It is Page 82 of the civil complaint. It is from before all the RICO
             crimes were committed against me. It shows Wells Fargo corporate security agent Martin Ogno was
             aware I had filed reports with Federal Bureau-Investigation (FBI) in Eugene OR, therefore Wells Fargo
             was aware. Most shocking: Eugene Police told Ogno I considered his “well-being visit at my home at
             night by uniformed SWAT police” to be retaliation. Ogno told Eugene Police to ‘fuliggedaboutit’ and
             explains he had contacted FBI and that FBI did not take my (just filed iii-person and sworn-to well-
             evidenced, voluminous) reports seriously. Think of that horrific violation of City of Eugene Police.

             2. After that is a printout of Department of Justice publication “Criminal Resource Manual 1729”. It
             has a standard archive disclaimer but the content is Valid, last updated January 2020. A person who
             reports to a federal law enforcement agency such as FBI is a Federal Witness. Tampering with a
             Federal Witness is a Violation of 18 USC 1512, particularly when Federal investigations are in process.

             3. Two different Federal Investigations were in process. Next exhibits are proof from Department of
             Labor and Office of Comptroller of Currency of recently accepted Federal investigations. The PACER
             system records for SLAPP-suit 6.11.cv.06248.ho and my subsequent civil actions show exactly how the
             courts were used to bypass discovery of the above crimes.

             4. My civil complaint enumerates and documents the RICO crimes committed against me. Please note
             that I presented Tampering using false arrest and jail as violations oi 18 USC 1201 by Wells Fargo/
             Ogletree Deakjns:, armed kidnapping for political or economic motivations. Use of police to tamper
             with a Federal W’itness is absolutely gangland. It is as bad it gets, other than the novel crimes listed
             above and detailed in the civil complaint.

             5. Related but not relevant to the crime report: I motioned for Wells Fargo and Company to intervene.
             It is in PACER. It is possible that everything that happened was actually a Wells Fargo 8: Co. project.
             A metaphor for that is found on www.TheEugeneBlairProject.com. I placed the Circuit Court and
             Police a/v on www.RisePatriot.com and www.WellsFarg0Witz.com (family court).

             Thank you from Andy Clark 3270 Stoney Ridge Rd. Eugene OR 97405 541.510.3915 (exhibits follow)




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 10418113                                            Phoenix- News - Valley Fever ~ Print Version


                      Exhibit 1                                                                                              5‘”




   Sheriff Joe Arpaio's Favorite Law Firm,
   Ogletree Deakins, Cost Taxpayers $2.4
   Million -- in Just Two Years
   By Sarah Fenske
    Published Wed, May 26 2010 at 8:00 AM

                            The battle for control of Maricopa County -- pitting Sheriff Joe Arpaio and County
                            Attorney Andrew Thomas against the Board of Supervisors, judges, and county
                            administrators —— has been costly to both taxpayers and the parties involved.

                            But it's been a major boon to one local law ﬁrm.

                            Ogletree Deakins, a relatively obscure ﬁrm specializing in employment law,
                 V          became Arpaio and Thomas’ go-to legal counsel just as the disputes were heating
       L Eric‘DmL-ll.        up. And, according to public records obtained by New Times, the ﬁrm has billed
       rainmaker             the county for a staggering $2.49 million since January 2009:

                        Most of the work had little to do with employment law ~- and most of the ﬁrm's
    representation has been unsuccessful, legally speaking.                              l

    Ogletree Deakins has fought for the sheriff5 right to take over the count ‘3 computer system. They
    tried to argue that the supervisors didn't have the right to sweep—1mm by
    Thomas and Arpaio. They‘re currently pressing Arpaio's assertion that he shouldn't have to open his
    books to county auditors.

    And, according to the billing records we looked at, it appears likely that Ogletree lawyers may have i
    even been behind one of Arpaio/Thomas’ biggest embarassments: the criminal charges they ﬁled         ‘ '
    against the county's presiding criminal courtlrdgeéS/aqz Donahue.
    WMW__._._
    As New Times        re orte    rlier this   nt 1, prosecutors ﬁled criminal charges against Donahoe
    without bothering to seek a grand jury indictment, They simply ﬁled a direct complaint, and attached
    a "probable cause" statement that, almost word for word, matched a complaint that the sheriff‘s ofﬁce
    had ﬁled with the Arizona Commission on Judicial Conduct one week before. That complaint, detailing
    a conspiracy theorist's view of Judge Donahoe's conduct, was signed by Arpaio's chief deputy, David
    Hendershott.

     It now appears that Hendershott had some help penning the letter:                                                Z “Z

    According to its billing statements, Ogletree charged the county $27,310 for something titled "MCSO
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  cu.-. .l..-_:..._..:...h “mm-ulna.NmnmmmrhA/u am ”mom {unmiin [mnomzn-umu
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 10118/13                                             Phoenix - News - ValieyFever . Print Version

   just one day after Hendershott ﬁled “his" complaint with the judicial conduct commission.

   So did an employment law specialist draft the document that became the basis for the criminal charges
   against the county's presiding criminal court judge? if nothing else, it would explain why the document
   drew guffaws from seasoned prosecutors. Ogletree's lawyers were likely in way over their heads. (And
   really, what was prosecutor Lisa Anhng'hon thinking, merely regurgitating Ogletree‘s letter as a
   criminal complaint?)

   According to the billing statements examined by New Times, Ogletree also advised Andrew Thomas
   on matters involving the State Bar. (That cost the taxpayers $18,929), And, they advised either
   Arpaio or Thomas -— the billings aren‘t clear n about issues relating to the selection of a new county
   attorney. (That cost us another $12,762.)

   Finally, Ogletree billed the county a staggering $1.2 million for something described only as “contract
   compliance.“ County Spokeswoman Cari Gerchick told New Times that county administrators have no
   idea what that means.

    We contacted L. Eric Dowell, a shareholder at Ogletree Deakins and the sheriff's lawyer of choice, to
   ask about the "contract compliance" payments, but we hadn't heard back by press time. We'll post an
   update if we get an answer.

    In the mean time, looking at the wasted $2.4 million and the unexplained $1.2 million and the tens of
    thousands of dollars for failed legal adventures —— well, we never thought we'd say this, but we actually
    miss Dennis Wilenchik. Yes, New Times disagreed with Wilenchik on just about everything. But
    Wilenchik handled some pretty tough cases for Arpaio, not just political crap that should have never
    made its way to a docket.

    And Wileuchik, unlike the sheriffs new $2—milliouweounsel, actually knew how to win.




               Civil Case 6—20—cv—000253 Complaint Filed February 14, 202£lark vs. Wells Fargo et al Page 59 of 131

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Subject:       FW: Faxes from Andrew Clark
Date:          Thursday, April 2, 2020 2:40:34 PM
Attachments:   Greenville 04-02-20 Fax.PDF
               Houston 04-02-20 Fax.PDF
               Portland 04-02-20 Fax.PDF
               Costa Mesa 04-02-20 Fax.PDF
               Los Angeles 04-02-20 Fax.PDF
               St. Louis 04-02-20 Fax.PDF
               Tucson 04-02-20 Fax.PDF
               New Orleans 04-02-20 Fax.PDF
               Birmingham 04-02-20 Fax.PDF
               Phoenix 04-02-20 Fax.PDF
               Kansas City 04-02-20 Fax.PDF
               Chicago 04-02-20 Fax.PDF
               Columbia 04-02-20 Fax.PDF
               Memphis 04-02-20 Fax.PDF
               Tampa 04-02-20 Fax.PDF
               Morristown 04-02-20 Fax.PDF
               Nashville 04-02-20 Fax.PDF
               San Antonio 04-02-20 Fax.PDF
               Atlanta 04-02-20 Fax.PDF
               Charlotte 04-02-20 Fax.PDF




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From: Carcione, Amanda B.
Sent: Thursday, April 02, 2020 12:16 PM
To: 'sws@samuelslaw.com' <sws@samuelslaw.com>;

Cc: Mixon, Christopher A. <Christopher.Mixon@ogletreedeakins.com>
Subject: Faxes from Andrew Clark

Good afternoon.

Attached please find several faxes received this morning from several of our offices. As they
continue to come in, I will send them to your attention.



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Please let me know if you have any questions.

Thank you,
Amanda

Amanda B. Carcione, LTC4 Technology Certified | Practice Assistant | Ogletree, Deakins, Nash,
Smoak & Stewart, P.C.
SunTrust Plaza, 401 Commerce Street, Suite 1200 | Nashville, TN 37219-2446 | Telephone: 615-932-
6631 | Fax: 615-254-1908
amanda.carcione@ogletree.com | www.ogletree.com
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From:           Operation SunriseLAW
To:             John E. Pollino; OSB CAO Intake; bill.williams@usdoj.gov
Subject:        Re: Conferral on Case No. 6:20-cv-00253-AA
Date:           Wednesday, April 8, 2020 9:38:30 AM
Attachments:    billywellsogle_optimize.pdf
                tencharges.pdf


 Please see attached Federal Major Crime Report. It was filed March 26 and provided to Mr.
Billy Williams (USAG for Oregon). I assert that any filing you make that does not
specifically address the root crime is 'obstructive'. A key activity of an attorney who is
participating in a RICO enterprise (or any crime) is filing obstructive pleadings devoid of
consideration of the facts and evidence. I refer to that as 'boilerplate'. I would like to meet
with you or spend some time on the telephone to ensure you understand the attached BEFORE
you file. I am cc'ing your Bar for transparency as well as Mr. Williams.

Obstruction and concealment of that simple root crime of the enterprise is ongoing so the
Statute of Limitations is not tolling. Plus, all activity fits within the 10/4 year RICO
timeframe (given obstruction). The 'stalking conviction' you reference is the result of a Hobbs
Act Violation as detailed in the Complaint. There was no stalking as I proved and I pleaded
guilty to one count because system fraud of Risk Assessment Tool caused intolerable suffering
as described in my complaint. Among the items in "Prayer for Relief" is correction of the
obviously-bogus public records that resulted from your client's repeated and ongoing criminal
activity.

Mr. Pollino: Your clients have absolutely no valid defense to the attached Crime Report.
Please take a few moments to understand it and correctly advise your clients given that
information they tried so hard to obstruct and conceal. Thank you, from Andy Clark
 541.510.3915




          Virus-free. www.avast.com


On Wed, Apr 8, 2020 at 9:17 AM John E. Pollino <jpollino@ghrlawyers.com> wrote:

  Dear Mr. Clark,



  I’m am emailing to confer with you prior to filing several motions in Case No. 6:20-cv-
  00253-AA that you filed in the United States District Court for the District of Oregon,
  Eugene Division, on February 14, 2020. Of the defendants you named in that case, I
  represent Ogletree Deakins, Leah Lively, David Symes, Christopher Mixon, and Steven
  Seymour.



  I plan to file the following motions on Thursday, April 9, 2020:




                                                                                                 EXHIBIT 20
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   1. A Motion to Dismiss;
   2. A Motion for a Protective Order; and
   3. A Motion Declaring Plaintiff a Vexatious Litigant.



The Motion to Dismiss will be based on four grounds:



   1. All claims listed in your complaint are time-barred;
   2. All claims in your complaint are barred by the doctrine of res judicata, or claim
      preclusion;
   3. Failure to state a claim under Federal Rule of Civil Procedure (“FRCP”) 12(b)(6); and
   4. Your inability to sue under FRCP 9(a)(2) based on the plea agreement in your
      criminal stalking conviction.



Regarding the first argument in the Motion to Dismiss, the statute of limitations has run for
all potential claims listed in your complaint. The events described in your complaint
occurred in 2011 or 2013 and are related to your termination from Wells Fargo employment
and subsequent lawsuits brought either by Wells Fargo or by you. The most recent
allegations in your complaint relate to the plea agreement you entered in January 2014
during your criminal stalking case. The longest period under any of the statutes of
limitations for alleged claims in your complaint is five years. Because you filed this lawsuit
on February 14, 2020, any alleged violations that occurred before February 14, 2015, are
outside any statute of limitations. Also, none of the statutes of limitations have been tolled
based on the legal conclusions contained in your complaint.



Regarding the second argument, all your claims are barred by the doctrine of res judicata
because they have been or could have been raised in one of your previous lawsuits against
the same parties or parties in privity. Subsequent and repeat litigation is barred even if it is
based on a different legal theory. The gravamen of your complaint in this matter is the same
as complaints you have made in previous suits against the same defendants, or against
parties in privity with the defendants I represent. All your previous claims have been
adjudicated on the merits under the meaning of FRCP 41(b).



Regarding the third argument, none of your claims in this matter meet the pleading standard
required in federal courts to survive dismissal under FRCP 12(b)(6). The racketeering claims
fail because you did not distinguish between an alleged criminal enterprise and its alleged
participants and you did not allege adequate predicate acts of racketeering activity. Your
constitutional claims under 42 USC § 1983 fail because you have not adequately pled that
the defendants I represent were involved in a public function. Claims regarding employment
retaliation fail under both discrimination because you have not adequately pled your
membership in a protected class and whistleblower laws because you have not adequately
pled that you engaged in a protected activity. Any antitrust claims also fail because the

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complaint alleges that Wells Fargo conspired with and against itself through its agents,
which necessarily causes antitrust claims to fail. Any claims of fraud do not meet the
heightened pleading requirements of FRCP 9(b). Finally, any false arrest claims related to
your criminal conviction fail because those actions are legally valid based on the plea
agreement in that case.



I also intend to move the court for dismissal based on your lack of authority to sue under
FRCP 9(a)(2) without represented counsel. In previous cases, both criminal and civil, you
have been ordered to have no contact with the defendants I represent except through
represented counsel. Because you do not have counsel in this case, I will ask the court to
dismiss this case unless and until you retain counsel, as has been done in previous matters.



Regarding the Motion for a Protective Order and Motion to Declare Plaintiff a Vexatious
Litigant, based on your previous litigation history with my clients, I will be asking the judge
for a protective order to limit all communications in this matter. I will request that any
communications you wish to have with my clients go through me and that you be prohibited
from communicating with my clients directly.



In addition, because of the history regarding the parties in this case, and the barrage of
communications sent to my clients in this and previous matters, I will be asking the court to
declare you a vexatious litigant. Prior to declaring a litigant vexatious, a court must: (1)
provide the litigant notice and a chance to be heard; (2) create an adequate record for
review; (3) make substantive findings as to the frivolous or harassing nature of the litigant’s
actions; and (4) ensure any pre-filing order is narrowly tailored to closely fit the specific
conduct involved. I intend to ask the court for an order prohibiting you from filing any
pleadings, motions, or other materials against my clients, or any lawyers retained to
represent them, without first obtaining leave from the presiding judge of the court.



We ask that you agree to dismiss your claims against my clients and stipulate to a
requirement of court review prior to any further filings in this or any other matter involving
my clients or their retained counsel.



Do not contact my clients directly. Any correspondence regarding this case and my clients
should be directed to me. Please respond with your position regarding these motions and if
you will agree to dismiss your claims.



Sincerely,




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From:           Operation SunriseLAW
To:             John E. Pollino; OSB CAO Intake; bill.williams@usdoj.gov
Subject:        Re: Conferral on Case No. 6:20-cv-00253-AA
Date:           Wednesday, April 8, 2020 10:31:12 AM
Attachments:    stipulatedjudgement.pdf
                mcalpin.pdf


Added note: the attached 'stipulated agreement' was the result of a perfectly-evidenced
"Hobbs Act Violation" 18 USC 1951 including the illegal third party benefits under color of
official rights within a very obvious manufactured 'crime'. Also attached is a letter I mailed
and provided in other manners to local judge Jay McAlpin notifying the local Court of my
obligations under Federal law. All that evidence and far more was COMPLETELY
BYPASSED (I.E. OBSTRUCTED IN THE COURTS), WHICH IS WHY 6:20-cv-253.aa
INCLUDES THE CLAYTON/SHERMAN ATA COMPONENT.

Clayton/Sherman is appropriate for public corporations (and entities such as OSB) who are
allowing, paying for, or using the fruits of what can only be described as "thinly veiled
organized crime". The proven, repeated use of POLICE AND OTHER OFFICIAL ORGANS
to Tamper is generally the defining feature of organized crime, particularly in the USA as I
read the literature. Using the courts and exploiting weaknesses in the case management
system to continue the obstruction of fairly simple facts and evidence is another metric of
"organized crime".

Do you THINK Wells Fargo responsible corporate officers would condone what was inflicted
upon me in their name by YOUR CLIENTS? Keep in mind that my FBI / DOL filing on 5-
25-11 coupled with significant internal reporting and retaliation ( in theory) subjected Wells
Fargo executives to criminal prosecution under Sarbanes-Oxley. 5-25-11 SEC changed
the "whistleblower rules" to NOT require internal reporting under Dodd-Frank but my case
totally comports to the "old rules" which were scary to bank management at the time. I also
made sure Wells Fargo management was aware while still employed there but I later learned
Ogletree Deakins was brought in around May 1, 2011 and routed all my reporting to
themselves using the Wells Fargo email system. Ogletree Deakins was known to do all that
and more (example: Sheriff Joe, Maricopa County AZ as shown in complaint).

Thank you from Andy Clark            541.510.3915



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On Wed, Apr 8, 2020 at 9:38 AM Operation SunriseLAW <operationsunriselaw@gmail.com>
wrote:
  Please see attached Federal Major Crime Report. It was filed March 26 and provided to Mr.
 Billy Williams (USAG for Oregon). I assert that any filing you make that does not
 specifically address the root crime is 'obstructive'. A key activity of an attorney who is
 participating in a RICO enterprise (or any crime) is filing obstructive pleadings devoid of
 consideration of the facts and evidence. I refer to that as 'boilerplate'. I would like to meet
 with you or spend some time on the telephone to ensure you understand the attached
 BEFORE you file. I am cc'ing your Bar for transparency as well as Mr. Williams.



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Obstruction and concealment of that simple root crime of the enterprise is ongoing so the
Statute of Limitations is not tolling. Plus, all activity fits within the 10/4 year RICO
timeframe (given obstruction). The 'stalking conviction' you reference is the result of a
Hobbs Act Violation as detailed in the Complaint. There was no stalking as I proved and I
pleaded guilty to one count because system fraud of Risk Assessment Tool caused
intolerable suffering as described in my complaint. Among the items in "Prayer for Relief"
is correction of the obviously-bogus public records that resulted from your client's repeated
and ongoing criminal activity.

Mr. Pollino: Your clients have absolutely no valid defense to the attached Crime Report.
Please take a few moments to understand it and correctly advise your clients given that
information they tried so hard to obstruct and conceal. Thank you, from Andy Clark
 541.510.3915




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On Wed, Apr 8, 2020 at 9:17 AM John E. Pollino <jpollino@ghrlawyers.com> wrote:

  Dear Mr. Clark,



  I’m am emailing to confer with you prior to filing several motions in Case No. 6:20-cv-
  00253-AA that you filed in the United States District Court for the District of Oregon,
  Eugene Division, on February 14, 2020. Of the defendants you named in that case, I
  represent Ogletree Deakins, Leah Lively, David Symes, Christopher Mixon, and Steven
  Seymour.



  I plan to file the following motions on Thursday, April 9, 2020:



     1. A Motion to Dismiss;
     2. A Motion for a Protective Order; and
     3. A Motion Declaring Plaintiff a Vexatious Litigant.



  The Motion to Dismiss will be based on four grounds:



     1. All claims listed in your complaint are time-barred;
     2. All claims in your complaint are barred by the doctrine of res judicata, or claim
        preclusion;
     3. Failure to state a claim under Federal Rule of Civil Procedure (“FRCP”) 12(b)(6);

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      and
   4. Your inability to sue under FRCP 9(a)(2) based on the plea agreement in your
      criminal stalking conviction.



Regarding the first argument in the Motion to Dismiss, the statute of limitations has run
for all potential claims listed in your complaint. The events described in your complaint
occurred in 2011 or 2013 and are related to your termination from Wells Fargo
employment and subsequent lawsuits brought either by Wells Fargo or by you. The most
recent allegations in your complaint relate to the plea agreement you entered in January
2014 during your criminal stalking case. The longest period under any of the statutes of
limitations for alleged claims in your complaint is five years. Because you filed this
lawsuit on February 14, 2020, any alleged violations that occurred before February 14,
2015, are outside any statute of limitations. Also, none of the statutes of limitations have
been tolled based on the legal conclusions contained in your complaint.



Regarding the second argument, all your claims are barred by the doctrine of res judicata
because they have been or could have been raised in one of your previous lawsuits against
the same parties or parties in privity. Subsequent and repeat litigation is barred even if it is
based on a different legal theory. The gravamen of your complaint in this matter is the
same as complaints you have made in previous suits against the same defendants, or
against parties in privity with the defendants I represent. All your previous claims have
been adjudicated on the merits under the meaning of FRCP 41(b).



Regarding the third argument, none of your claims in this matter meet the pleading
standard required in federal courts to survive dismissal under FRCP 12(b)(6). The
racketeering claims fail because you did not distinguish between an alleged criminal
enterprise and its alleged participants and you did not allege adequate predicate acts of
racketeering activity. Your constitutional claims under 42 USC § 1983 fail because you
have not adequately pled that the defendants I represent were involved in a public
function. Claims regarding employment retaliation fail under both discrimination because
you have not adequately pled your membership in a protected class and whistleblower
laws because you have not adequately pled that you engaged in a protected activity. Any
antitrust claims also fail because the complaint alleges that Wells Fargo conspired with
and against itself through its agents, which necessarily causes antitrust claims to fail. Any
claims of fraud do not meet the heightened pleading requirements of FRCP 9(b). Finally,
any false arrest claims related to your criminal conviction fail because those actions are
legally valid based on the plea agreement in that case.



I also intend to move the court for dismissal based on your lack of authority to sue under
FRCP 9(a)(2) without represented counsel. In previous cases, both criminal and civil, you
have been ordered to have no contact with the defendants I represent except through
represented counsel. Because you do not have counsel in this case, I will ask the court to
dismiss this case unless and until you retain counsel, as has been done in previous matters.


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Regarding the Motion for a Protective Order and Motion to Declare Plaintiff a Vexatious
Litigant, based on your previous litigation history with my clients, I will be asking the
judge for a protective order to limit all communications in this matter. I will request that
any communications you wish to have with my clients go through me and that you be
prohibited from communicating with my clients directly.



In addition, because of the history regarding the parties in this case, and the barrage of
communications sent to my clients in this and previous matters, I will be asking the court
to declare you a vexatious litigant. Prior to declaring a litigant vexatious, a court must: (1)
provide the litigant notice and a chance to be heard; (2) create an adequate record for
review; (3) make substantive findings as to the frivolous or harassing nature of the
litigant’s actions; and (4) ensure any pre-filing order is narrowly tailored to closely fit the
specific conduct involved. I intend to ask the court for an order prohibiting you from filing
any pleadings, motions, or other materials against my clients, or any lawyers retained to
represent them, without first obtaining leave from the presiding judge of the court.



We ask that you agree to dismiss your claims against my clients and stipulate to a
requirement of court review prior to any further filings in this or any other matter
involving my clients or their retained counsel.



Do not contact my clients directly. Any correspondence regarding this case and my
clients should be directed to me. Please respond with your position regarding these
motions and if you will agree to dismiss your claims.



Sincerely,



John Pollino
Garrett Hemann Robertson P.C.
Willamette Professional Center ɸ 1011 Commercial St. NE
Salem, Oregon 97301-1049
(503) 581-1501 ɸ 1-800-581-1501 ɸ Fax (503) 581-5891 ɸ www.ghrlawyers.com

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